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                                                                            Page 1                                                                   Page 2

1                           IN THE UNITED STATES DISTRICT COURT                             1           Videotaped Deposition of Joseph Rannazzisi held
                             FOR THE NORTHERN DISTRICT OF OHIO
                                                                                            2           at:
2                                   EASTERN DIVISION
3                                                                                           3
            ______________________________                                                  4
4
                                                                                            5
            IN RE:      NATIONAL PRESCRIPTION                MDL No. 2804
5           OPIATE LITIGATION                                Case No. 17-md-2804            6
6                                                                                           7
            This document relates to:                        Judge Dan
                                                                                            8                       Williams & Connolly, LLP
7                                                            Aaron Polster
8           The County of Cuyahoga v. Purdue                                                9                       725 12th Street, N.W.
            Pharma, L.P., et al.                                                            10                      Washington, D.C.
9           Case No. 17-OP-45005
                                                                                            11
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.                                                            12
11          Case No. 18-OP-45132                                                            13          Pursuant to Notice, when were present on behalf
12          The County of Summit, Ohio,
                                                                                            14          of the respective parties:
            et al. v. Purdue Pharma, L.P.,
13          et al.
                                                                                            15
            Case No. 18-OP-45090                                                            16
14          _______________________________
                                                                                            17
15
16
                                                                                            18
17                                                                                          19
18                   Videotaped Deposition of Joseph Rannazzisi
                                                                                            20
19                                Washington, D.C.
                                                                                            21
20                                 April 26, 2019
21                                     8:37 a.m.                                            22
22                                                                                          23
23
                                                                                            24
24          Reported by:      Bonnie L. Russo
25          Job No. 3301876                                                                 25

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                                                                            Page 3                                                                   Page 4

                                                                                             1          APPEARANCES (CONTINUED):
1            APPEARANCES:                                                                               On behalf of Plaintiffs:
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1           APPEARANCES (CONTINUED):                                     1            APPEARANCES (CONTINUED):
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24                                                                       24
25                                                                       25

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1           APPEARANCES (CONTINUED):                                     1           APPEARANCES (CONTINUED):
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20          william.davison@ropesgray.com
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            On behalf of H.D. SMITH:                                                 ERIC J. WEISS, ESQ.
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25          william.padgett@btlaw.com                                    25

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1           APPEARANCES (CONTINUED):                                     1                          C O N T E N T S
2                                                                        2          EXAMINATION OF JOSEPH RANNAZZISI                           PAGE
            ALSO PRESENT:                                                3          BY MR. EPPICH                                              16
                                                                         4          BY MR. O'CONNOR                                            92
3           Special Master Cohen
                                                                         5          BY MR. STEPHENS                                            130
            Larry Feldman, Plaintiffs
                                                                         6                                                                    356
4           Renee A. Bacchus, Esq., United States                        7          BY MS. MAINIGI                                             226
            Department of Justice, United States Attorney's              8
5           Office                                                       9
            David M. Finkelstein, Esq., United States                   10
6           Department of Justice, Civil Fraud Section                  11                               EXHIBITS
            Patrick J. Forrest, United States Department of             12
                                                                                    Exhibit 1       Second Amended Notice of                   18
7           Justice, Drug Enforcement Administration
                                                                        13                          Videotaped Deposition of
            Daniel Russo, Videographer
                                                                                                    Joseph Rannazzisi
8                                                                       14
9                                                                                   Exhibit 2       Aggregate Production Quota      31
10                                                                      15                          History for Selected Substances
11                                                                      16          Exhibit 3       Diversion Control Division      34
12                                                                                                  Website Pages
                                                                        17
13
                                                                                    Exhibit 4       Article entitled "Who is                   74
14
                                                                        18                          Joe Rannazzisi: The DEA man
15                                                                                                  who fought the drug companies
16                                                                      19                          and lost"
17                                                                      20          Exhibit 5       Letter date stamped                        100
18                                                                                                  12-29-14
19                                                                      21                          US-DEA-00011611-621
20                                                                      22          Exhibit 6       Cover2 Resources Podcast                   104
                                                                                                    Transcript
21
                                                                        23
22
                                                                                    Exhibit 7       Drug Enforcement                           183
23                                                                      24                          Administration's Regulation
24                                                                                                  on Medicine Hearing 7-12-07
25                                                                      25

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1           EXHIBITS (CONTINUED):                                       1                           P R O C E E D I N G S
2
                                                                        2
            Exhibit 8    Examining the Growing               190
3                        Problems of Prescription                       3                         THE VIDEOGRAPHER:           Good morning.     We
                         Drug and Heroin Abuse                          4           are going on the record at 8:37 a.m. on April
4                        Hearing 4-29-14
5           Exhibit 9    Rogue Online Pharmacies:            211        5           26, 2019.
                         The Growing Problem of                         6                         Please note that the microphones are
6                        Internet Drug Trafficking
                                                                        7           sensitive and may pick up whispering, private
                         Hearing
7                        5-16-07                                        8           conversations and cellular interference.
8           Exhibit 10   Internet Pharmacies                 216        9           Please turn off all cell phones or place them
                         Slide Deck
9                                                                       10          away from the microphones as they can interfere
            Exhibit 11  Prescription Drug Diversion:         218        11          with the deposition audio.              Audio and video
10                      Combating the Scourge
                                                                        12          recording will continue to take place unless
                        Hearing
11                      3-1-12                                          13          all parties agree to go off the record.
12          Exhibit 12 Letter dated 9-27-06                  288
                                                                        14                        This is Media Unit 1 of the
               CAH_MDL_PRIORPROD_DEA12_00006133-136
13                                                                      15          video-recorded deposition of Joseph Rannazzisi
            Exhibit 13 Letter dated 9-27-07                  288        16          taken by counsel for defendant in the matter of
14             CAH_MDL_PRIORPROD_DEA12_00010980-981
15          Exhibit 14 Internet Pharmacies                   356        17          In Re:      National Prescription Opiate filed in
                        Slide Deck                                      18          the United States District Court for the
16                      US-DEA-00002413
                                                                        19          Northern District of Ohio, Eastern Division,
17
18                                                                      20          Case No. 17-MD-2804.
19          (Exhibits included with transcript.)                        21                        This deposition is being held at
20
21                                                                      22          Williams & Connolly located at 725 12th Street,
22                                                                      23          Northwest, Washington, D.C.
23
                                                                        24                        My name is Daniel Russo from the
24
25                                                                      25          firm of Veritext Legal Solutions.               I'm your

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                                                              Page 13                                                                            Page 14

1           videographer today.         The court reporter is                  1                       MR. DAVISON:         William Davison from
2           Bonnie Russo from the firm Veritext Legal                          2           Ropes & Gray for Mallinckrodt and Specgx LLC.
3           Solutions.                                                         3                       MR. O'CONNOR:         Andrew O'Connor from
4                        Counsel and all present in the room                   4           Ropes & Gray for Mallinckrodt.
5           and everyone attending remotely will now state                     5                       MS. O'GORMAN:         Debra O'Gorman from
6           their appearances and affiliations for the                         6           Dechert for Purdue.
7           record, please.                                                    7                       MS. CONROY:        Mildred Conroy from The
8                        MR. EPPICH:       Chris Eppich of                     8           Lanier Law Firm for plaintiffs.
9           Covington & Burling for McKesson.                                  9                       MR. FULLER:        Mike Fuller for the
10                       MS. MONAGHAN:         Meghan Monaghan of              10          plaintiffs.
11          Covington & Burling for McKesson.                                  11                      MR. FARRELL:         Paul Farrell, Jr., for
12                       MS. MAINIGI:        Enu Mainigi, Williams             12          the plaintiffs.
13          & Connolly for Cardinal.                                           13                      MS. SINGER:        Linda Singer, Motley
14                       MS. McNAMARA:         Colleen McNamara of             14          Rice, for the plaintiffs.
15          Williams & Connolly for Cardinal.                                  15                      MR. FINKELSTEIN:           David Finkelstein,
16                       MS. VENTURA:        Catie Ventura from                16          Department of Justice for the DEA.
17          Kirkland & Ellis for Allergan.                                     17                      MR. BENNETT:         James Bennett from the
18                       MR. LIVINGSTON:          Scott Livingston,            18          U.S. Attorney's Office for the Northern
19          Marcus & Shapira for defendant HBC.                                19          District of Ohio for the United States, the DEA
20                       MR. TYE:     Michael Tye of Arnold &                  20          and the witness in his official capacity.
21          Porter for Endo.                                                   21                      MR. UTTER:       Greg Utter here on
22                       MS. WINCKEL:        Emilie Winckel of                 22          behalf of Mr. Rannazzisi as his personal
23          O'Melveny & Myers for J&J and Janssen.                             23          counsel.
24                       MR. STEPHENS:         Neal Stephens from              24                      SPECIAL MASTER COHEN:               David Cohen,
25          Jones Day for Walmart.                                             25          Special Master.

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1                       MR. FORREST:        Patrick Forrest, Drug              1                        MR. LADD:       Matthew Ladd from Morgan
2           Enforcement Administration.                                        2           Lewis on behalf of Rite Aid.
3                       MS. BACCHUS:        Renee Bacchus, U.S.                3                        MR. PADGETT:         Bill Padgett on behalf
4           Attorney's Office, Northern District of Ohio on                    4           of H.D. Smith.
5           behalf of DOJ, DEA and the witness.                                5                        MR. BEISELL:         Patrick Beisell from
6                       MS. AGUINIGA:        Sara Aguiniga, Motley             6           Jones Day on behalf of Walmart.
7           Rice on behalf of plaintiffs.                                      7                        MS. BARBER:        Maureen Barber from
8                       MR. FELDMAN:        Larry Feldman on                   8           Morgan Lewis on behalf of the Teva defendants.
9           behalf of the plaintiffs.                                          9                        THE VIDEOGRAPHER:               Will the court
10                      MS. MOORE:      Kelly Moore on behalf of               10          reporter please swear in the witness.
11          Rite Aid.                                                          11
12                      MR. STOFFELMAYR:          Kaspar                       12                           JOSEPH RANNAZZISI,
13          Stoffelmayr, Walgreens.                                            13          being first duly sworn to tell the truth, the
14                      MR. HOBART:       Geoffrey Hobart from                 14                 whole truth and nothing but the truth,
15          Covington for McKesson.                                            15                          testified as follows:
16                      MS. WICHT:      Jennifer Wicht from                    16                       THE VIDEOGRAPHER:               You may proceed,
17          Williams & Connolly for Cardinal Health.                           17          Counsel.
18                      MR. MATTHEWS:        James Matthews for                18                  EXAMINATION BY COUNSEL FOR McKESSON
19          Anda.                                                              19                       BY MR. EPPICH:
20                      MR. RUIZ:     Anthony Ruiz, Zuckerman                  20                 Q.    Good morning, Mr. Rannazzisi.               My
21          Spaeder for CVS Indiana, LLC and CVS Rx                            21          name is Chris Eppich, I represent McKesson in
22          Services.                                                          22          this litigation and I will be asking you some
23                      THE VIDEOGRAPHER:           Anyone on the              23          questions this morning.
24          call that wants to identify themselves, please                     24                       Please state your full name for the
25          speak up.                                                          25          record.

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                                                                     Page 17                                                                             Page 18

1                  A.      Joseph Thomas Rannazzisi.                                  1           understand the scope of my question.
2                  Q.      Have you been deposed before, Mr.                          2                       Does that make sense?
3           Rannazzisi?                                                               3                  A.   Yes, sir.
4                  A.      I have been through a lot of                               4                  Q.   Now is there anything that would
5           different types of testimony.                    I just don't             5           prevent you from testifying completely and
6           recall if I have ever been deposed.                                       6           truthfully today?
7                  Q.      That's fair.          Let me -- let me just                7                  A.   No, sir.
8           review some of the ground rules for depositions                           8                       MR. EPPICH:        Let me mark as Exhibit
9           before we get in.                                                         9           1.
10                         You have probably noticed the court                        10                      (Deposition Exhibit 1 was marked for
11          reporter is taking down everything that we say                            11          identification.)
12          and so to make her record clear and her life a                            12                      MR. EPPICH:        Exhibit 1 is the second
13          little easier, we will need to talk one at a                              13          amended notice of videotaped deposition of
14          time.       I will ask my questions and then just                         14          Joseph Rannazzisi.
15          ask that you wait before I finish before you                              15                      MS. SINGER:        Excuse me one second,
16          start with your answers.                                                  16          Counsel.    Do you have copies for the plaintiffs
17                         Does that make sense?                                      17          too?
18                 A.      Yes, sir.                                                  18                      BY MR. EPPICH:
19                 Q.      Rather than shaking your head or                           19                 Q.   Sir, have you seen Exhibit No. 1
20          nodding, if you could give a verbal response to                           20          before?
21          my questions.                                                             21                 A.   No, sir.
22                 A.      Yes, sir.                                                  22                 Q.   You haven't seen it?
23                 Q.      If I ask a question and I am not                           23                      You didn't review it in preparation
24          clear, you don't understand, just let me know                             24          for today's deposition?
25          and if you don't let me know, I will assume you                           25                 A.   No.

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1                  Q.      If I you could turn with me to the                         1           of Diversion Control?
2           letter that is Exhibit A, four or five pages                              2                       MR. BENNETT:         Objection.         Calls for
3           in.     Now, this letter is prepared by the U.S.                          3           speculation.
4           Department of Justice.                                                    4                       You can answer.
5                          Have you seen this letter before?                          5                       MS. SINGER:        Excuse me one second.
6                  A.      Yes, I have.                                               6                       Can we ask the people on the phone
7                  Q.      And you understand Exhibit A to be                         7           to mute, please.
8           a -- a letter from the DEA authorizing your                               8                       MR. UTTER:       Go ahead.          You can
9           testimony on certain subjects today?                                      9           answer.
10                 A.      Yes.                                                       10                      THE WITNESS:         Yes.        Yes.   There was
11                 Q.      You were the head of DEA's Office of                       11          an opioid crisis during that time period.
12          Diversion Control from 2005 to 2015; is that                              12                      BY MR. EPPICH:
13          right?                                                                    13                 Q.   And was the opioid crisis getting
14                 A.      Approximately July of 2005 to '15,                         14          worse every year you were the head of the
15          yes.                                                                      15          Office of Diversion Control?
16                 Q.      July of 2005 to what month in 2015?                        16                      MR. BENNETT:         Same objection.
17                 A.      October.       October 31st, 2015.                         17                      THE WITNESS:         Overdoses -- overdose
18                 Q.      Halloween.        One of my favorite days.                 18          deaths increased, yes.
19                 A.      Uh-huh.                                                    19                      BY MR. EPPICH:
20                 Q.      Now, between 2005 and 2015, you were                       20                 Q.   As head of the Office of Diversion
21          the senior-most law enforcement official at the                           21          Control, you were responsible for oversight and
22          DEA responsible for pharmaceutical diversion?                             22          control of all regulatory compliance,
23                 A.      Yes, sir.                                                  23          inspections, and civil and criminal
24                 Q.      Was -- was there an opioid crisis                          24          investigations of approximately 1.6 million DEA
25          the entire time you were the head of the Office                           25          registrants; isn't that correct?

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1                  A.   Yes.                                                     1                 Q.     Distributors have to be registered?
2                  Q.   And you provided leadership to a                         2                 A.     Yes.
3           team of 300 personnel?                                               3                 Q.     Pharmacies have to be registered?
4                  A.   Direct -- direct report,                                 4                 A.     Yes.
5           approximately -- you know, in headquarters,                          5                 Q.     And doctors have to be registered?
6           approximately 300, yes.                                              6                 A.     Yes.
7                  Q.   And you controlled and operating                         7                 Q.     Now, none of those individuals or
8           budget of approximately $350 million, correct?                       8           entities can lawfully handle opioids without
9                  A.   Yes.                                                     9           DEA registration.
10                 Q.   Now, Mr. Rannazzisi, every entity                        10                A.     Yes.
11          that is involved with getting opioids to                             11                Q.     Now, DEA can, when it determines it
12          patients has to be registered with the DEA,                          12          is legally appropriate, suspend or revoke a DEA
13          correct?                                                             13          registration.
14                 A.   Could you repeat that question.                          14                A.     Yes.
15                 Q.   Every entity that is involved with                       15                Q.     For example, that's a way the DEA
16          getting opioids to patients has to be                                16          has to cut off a diverting registrant?
17          registered with the DEA.                                             17                A.     Repeat that question again, please.
18                 A.   No.     That's not correct.                              18                Q.     DEA's authority to suspend or revoke
19                 Q.   Which entities do not have to be                         19          a DEA registration is a way for DEA to cut off
20          registered?                                                          20          a diverting registrant; isn't that correct?
21                 A.   Nurses, pharmacists.              They have              21                A.     That authority, we could stop a
22          no -- they're not registered.                                        22          registrant from conducting transactions with
23                 Q.   But manufacturers have to be                             23          controlled substances, yes.
24          registered?                                                          24                Q.     Yes.
25                 A.   Yes.                                                     25                       You could cut them off, correct?

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                                                               Page 23                                                                           Page 24

1                  A.   Yeah.     Stopping transactions, yes.                    1           data.
2           Cutting them off.                                                    2                         BY MR. EPPICH:
3                  Q.   In fact, it's -- it's DEA's                              3                  Q.     And using ARCOS, DEA monitors the
4           responsibility to do its best to ensure that                         4           flow of DEA-controlled substances from their
5           anyone who is registered to DEA or by DEA is                         5           point of manufacture through commercial
6           acting appropriately.                                                6           distribution channels to point of sale or
7                         MS. SINGER:            Objection.    Vague.            7           distribution to the dispensing retail level?
8                       MR. BENNETT:           Join that objection.              8                         MS. SINGER:          Objection.     Foundation.
9                       THE WITNESS:           It's DEA's                        9                         MR. BENNETT:           Objection.    Vague.
10          responsibility to ensure that the registrant                         10                        THE WITNESS:           DEA can use that
11          population is complying with the code of                             11          system to monitor transactions downstream.
12          federal regulations 21 C.F.R. and also 21 USC,                       12                        BY MR. EPPICH:
13          United States code.                                                  13                 Q.     And that's downstream from the
14                      BY MR. EPPICH:                                           14          manufacturers all the way to the retail level,
15                 Q.   You're familiar with the ARCOS                           15          correct?
16          database?                                                            16                 A.     Yes.     I believe so.
17                 A.   Yes, I am.                                               17                        SPECIAL MASTER COHEN:             Just a
18                 Q.   Manufacturers and distributors are                       18          minute, please.
19          required to report data to ARCOS on every                            19                        We're still hearing folks on the
20          single controlled substance transaction?                             20          phone.      If you are on the phone, please mute
21                 A.   Yes.                                                     21          yourself.
22                 Q.   DEA can then make use of that data,                      22                        BY MR. EPPICH:
23          can't it?                                                            23                 Q.     So, Mr. Rannazzisi, using ARCOS, DEA
24                      MR. BENNETT:           Objection.     Vague.             24          can see the number of opioids sold by
25                      THE WITNESS:           DEA does use that                 25          manufacturers to distributors?

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                                                                   Page 25                                                                               Page 26

1                 A.     Yes.                                                       1           see their own data in the ARCOS database?
2                 Q.     And using ARCOS, DEA can see the                           2                  A.      Again, I'm not sure about that.
3           number of opioids distributed by distributors                           3                  Q.      Registrants requested ARCOS data
4           to pharmacies, hospitals and doctors?                                   4           from DEA at various times, but DEA declined to
5                 A.     Yes.                                                       5           share it, correct?
6                 Q.     Registrants did not have access to                         6                          MR. BENNETT:        Objection.        Compound.
7           ARCOS data during your -- the time you led the                          7                          MS. SINGER:       Objection.         Foundation.
8           Office of Diversion Control, correct?                                   8                          THE WITNESS:        Just answering the
9                 A.     They had access to their own data                          9           question in order --
10          that they submitted to ARCOS.                  But no, not              10                         MR. EPPICH:       Yes.
11          other.                                                                  11                         THE WITNESS:        -- registrants have
12                Q.     So registered --                                           12          requested access to ARCOS that -- for that
13                A.     From the ARCOS.                                            13          data.       And they have been declined, yes.
14                Q.     Pardon me.                                                 14                         BY MR. EPPICH:
15                       Registrants had no access to the                           15                 Q.      But after you left the DEA, it's
16          ARCOS database, correct?                                                16          true that DEA decided registrants should be
17                A.     Except for their own entries, yes.                         17          allowed to access some ARCOS data, correct?
18                Q.     Their own entries that's they                              18                         MR. BENNETT:        Objection.
19          submitted?                                                              19                         THE WITNESS:        I wouldn't know about
20                A.     Yes, that they submitted.                                  20          that.
21                Q.     But they couldn't access those                             21                         BY MR. EPPICH:
22          entries through the ARCOS database, could they?                         22                 Q.      You don't read the press releases
23                A.     I'm not sure about that.                                   23          from the DEA?
24                Q.     There was no portal that you were                          24                         MR. BENNETT:        Objection.
25          aware of that a registrant could log into to                            25                         THE WITNESS:        Again, I -- I have no

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1           direct knowledge of what the DEA did or what                            1           provided to the industry.              But I don't know
2           information they were allow -- they released.                           2           exactly what information that is.
3                        BY MR. EPPICH:                                             3                         BY MR. EPPICH:
4                  Q.    Sitting here today, are you aware                          4                 Q.      And I'm only asking you whether or
5           that registrants can access some data from the                          5           not you know that some information was provided
6           ARCOS database?                                                         6           to registrants in the ARCOS database.
7                        MR. UTTER:         Object.         Just answer the         7                         MR. UTTER:      For the forth time --
8           question.                                                               8                         MS. SINGER:       Objection.         Asked and
9                        MR. BENNETT:           Objection.                          9           answered.
10                       MS. SINGER:          Asked and answered.                   10                        MR. UTTER:      -- you can answer the
11                       MR. UTTER:         You can answer again.                   11          question.      And I'm not going to let you do it
12                       THE WITNESS:           Again, I don't have                 12          again.
13          any direct knowledge of what they have access                           13                        THE WITNESS:        Again, I'm aware that
14          to.                                                                     14          something from ARCOS has been allowed to be
15                       BY MR. EPPICH:                                             15          released to the registrants.                  Correct.    But I'm
16                 Q.    I understand that you're testifying                        16          not aware of what that is.
17          that you have no direct knowledge.                   I'm asking         17                        BY MR. EPPICH:
18          you if you have any knowledge.                                          18                Q.      Do you agree that this is a good
19                       MR. BENNETT:           Objection.                          19          change?
20                       MR. UTTER:         Objection.         Speculation.         20                        MS. SINGER:       Objection.
21                       Go ahead.         You can answer.                          21                        MR. BENNETT:        Objection.
22                       MR. BENNETT:           Objection.       Asked and          22                        MR. UTTER:      Object.
23          answered.                                                               23                        THE WITNESS:        Again, it's -- I don't
24                       THE WITNESS:           Again, I understand                 24          know exactly what they're releasing and how
25          that there was some information that's been                             25          they're releasing it.

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1                       BY MR. EPPICH:                                            1           of ARCOS that could be accessed, purchased to
2                 Q.    Would you agree that access to ARCOS                      2           see that information.
3           helps registrants combat diversion of                                 3                 Q.    What systems were those?
4           controlled substances?                                                4                 A.    IMS data.
5                       MR. BENNETT:         Objection.                           5                       MS. SINGER:         Scope.
6                       THE WITNESS:         Not necessarily.                     6                       THE WITNESS:          Any aggregated data.
7                       MR. BENNETT:         Scope.                               7                       BY MR. EPPICH:
8                       BY MR. EPPICH:                                            8                 Q.    Does the IMS data or aggregated data
9                 Q.    And why not?                                              9           include all of the information that's contained
10                A.    Because --                                                10          within the ARCOS database?
11                      MS. SINGER:        Objection.     Scope.                  11                A.    I don't know if that's correct, no.
12                      MR. BENNETT:         Objection.    Scope.                 12                Q.    DEA established quotas for
13                      THE WITNESS:         I was --                             13          controlled substances for each year, didn't
14                      MR. UTTER:       Go ahead.                                14          they?
15                      THE WITNESS:         Because industry had                 15                A.    Yes, sir.
16          other tools at their disposal to see downstream                       16                Q.    Quotas are set based on the
17          transactions that were not listed as business                         17          estimated medical scientific research and
18          or proprietary.                                                       18          industrial needs of the United States?
19                      BY MR. EPPICH:                                            19                A.    Yes, sir.
20                Q.    But ARCOS -- strike that.                                 20                Q.    Your office, the Office of Diversion
21                      But distributors could not see,                           21          Control, was responsible for setting quotas?
22          without ARCOS, the amount of controlled                               22                A.    Yes, sir.
23          substances each distributor sold to a                                 23                Q.    And as head of the Office of
24          particular customer, correct?                                         24          Diversion Control, it was your responsibility
25                A.    There were systems that were outside                      25          to authorize quotas from 2005 to 2015?

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1                 A.    I authorized the letters.           The                   1           October 8, 2014, that was posted on DEA's web
2           actual quota is authorized by the                                     2           site titled "Aggregate Production Quota History
3           administrator.     It's a delegated function down                     3           For Selected Substances."
4           to me for the letters.                                                4                       Are you familiar with this document?
5                 Q.    But you're part of the process for                        5                 A.    Yes, sir.
6           authorizing a quota, aren't you?                                      6                       MS. SINGER:         Objection.    Foundation
7                 A.    Yes, sir.                                                 7           for the document.
8                 Q.    And quota levels for opioids                              8                       BY MR. EPPICH:
9           constantly increased under your watch, correct?                       9                 Q.    The aggregate production quotas that
10                A.    Yes, sir.                                                 10          are reflected in Exhibit 2, these were the
11                Q.    And, in fact, quota levers -- quota                       11          quotas while you were the head of the Office of
12          levels for opioids increased significantly                            12          Diversion Control, correct?
13          under your watch, correct?                                            13                A.    Yes.
14                      MS. SINGER:        Objection.     Vague.                  14                Q.    Now, I'd like to look at a couple of
15                      MR. BENNETT:         Objection.                           15          these numbers today.          If we -- if we go on the
16                      MR. UTTER:       Same objection.                          16          left side under "Controlled Substance" to
17                      THE WITNESS:         They did increase.                   17          Hydrocodone.
18          But they increased because, by statute, we were                       18                      Do you see that, sir?
19          required to look at certain things.             So yes.               19                A.    Yes, sir.
20                      MR. EPPICH:        Let's mark as Exhibit                  20                Q.    And if we look under year 2005, the
21          2.                                                                    21          quota appears to be 37,604 kilograms, correct?
22                      (Deposition Exhibit 2 was marked for                      22                A.    Yes.
23          identification.)                                                      23                Q.    And as we go across the document to
24                      BY MR. EPPICH:                                            24          2015, the quota is, in 2015, 99,625 kilograms;
25                Q.    Now, sir, Exhibit 2 is a chart dated                      25          is that correct?

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1                 A.       Yes.                                                        1           public pain medication should be available to
2                 Q.       Now, that's -- that's over a hundred                        2           support the legitimate medical needs; isn't
3           percent increase in the Hydrocodone quota by                               3           that correct?
4           DEA under your leadership.                                                 4                        MS. SINGER:          Objection.         Vague.
5                          Do you see that?                                            5           Objection.     Scope.
6                 A.       It is an increase, yes.                                     6                        THE WITNESS:           No.        That's not
7                 Q.       It's a -- over a hundred percent                            7           correct.
8           increase, isn't it?                                                        8                        MR. EPPICH:          Well, let me -- let me
9                 A.       Yes.                                                        9           -- let me show you a statement from the DEA's
10                Q.       Now, let's look at oxycodone.                In             10          web site.
11          the oxycodone line we'll look at the "Sale"                                11                       And we'll mark this as Exhibit No.
12          line.       The quota level for 2005 is 50,490                             12          3.
13          kilograms.                                                                 13                       (Deposition Exhibit 3 was marked for
14                         Do you see that?                                            14          identification.)
15                A.       Yes.                                                        15                       BY MR. EPPICH:
16                Q.       And looking at the year 2015, the                           16                 Q.    Now, Exhibit 3 is a printout of the
17          quota level is 137,500 kilograms.                                          17          DEA's web site where the DEA posted a joint
18                         Do you see that?                                            18          statement from DEA and 21 health organizations
19                A.       Yes.                                                        19          on October 23, 2001.
20                Q.       And that's over 150 percent increase                        20                       MR. UTTER:         Excuse me a moment.             If
21          in the oxycodone quota under your leadership.                              21          you're going to ask the witness about a
22                         Do you see that?                                            22          document, please give him a moment to review
23                A.       Yes, close.         Close to it, yeah.                      23          the document.
24                Q.       Now, by increasing the quota year                           24                       MR. EPPICH:          Absolutely.
25          after year, DEA was telling registrants and the                            25                       MR. UTTER:         And he'll let you know

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                                                                      Page 35                                                                             Page 36

1           when he's done reviewing the document.                                     1                 Q.     In the fourth paragraph, the DEA and
2                          Is that all right?                                          2           these 21 health organizations say:                  "This
3                          MR. EPPICH:         No problem.                             3           consensus statement is necessary based on the
4                          MR. UTTER:        Thank you.                                4           following facts."
5                          MS. SINGER:         Object to this                          5                        Do you see that?
6           document.       It doesn't have a date.                                    6                 A.     Yes.
7                          MR. EPPICH:         The date's on Page 1,                   7                 Q.     And the -- the first bullet
8           Ms. Singer.                                                                8           underneath that paragraph states:
9                          You see the October 23, 2001 date                           9           "Undertreatment of pain is a serious problem in
10          next to the DEA link?                                                      10          the United States, including pain among
11                         MS. SINGER:         Yes.      But again,                    11          patients with chronic conditions and those who
12          there's no source from where this came from.                               12          are critically ill or near death.                  Effective
13                         My objection is noted for the                               13          pain management is an integral and important
14          record.                                                                    14          aspect of quality medical care, and pain should
15                         MR. EPPICH:         Yes, ma'am.                             15          be treated aggressively."
16                         BY MR. EPPICH:                                              16                       Do you see that?
17                Q.       Have you had a chance to review                             17                A.     I do see that.
18          Exhibit 3, sir?                                                            18                Q.     You treat pain aggressively with
19                A.       Yes.                                                        19          pain medication, right?
20                Q.       Have you seen Exhibit 3 before?                             20                       MR. BENNETT:          Objection.       Scope.
21                A.       Never.                                                      21          Objection.     Foundation.
22                Q.       I'd like to turn to Page 2, the                             22                       MR. UTTER:        Just object to whether
23          letter -- excuse me -- the joint statement that                            23          he has the background to answer the question.
24          you've been reviewing.                                                     24                       But go ahead.
25                A.       Uh-huh.                                                     25                       THE WITNESS:          Not necessarily.

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1                       BY MR. EPPICH:                                          1           -- I -- I don't -- I've never even seen this.
2                 Q.    Well, let's look at Bullet 2:           "For            2           I have no idea where this came from.              I don't
3           many patients, opioid analgesics" -- I'm sure I                     3           know who wrote it.
4           pronounced that wrong.                                              4                       And -- and, quite frankly, there's
5                 A.    Analgesics.                                             5           no DEA signature; there's no DEA -- there's no
6                 Q.    -- "analgesics, when used as                            6           document that -- this document has no -- I have
7           recommended by established pain management                          7           no idea where this document came from, where in
8           guidelines, are the most effective way to treat                     8           DEA it came from, or who might have signed off
9           their pain and often the only treatment option                      9           on this document.        But it wasn't me.        Because
10          that provides significant relief."                                  10          in 2001 I was not in headquarters.
11                      This is a statement on the DEA's web                    11                      BY MR. EPPICH:
12          site.                                                               12                Q.    Well, I printed this document from
13                      MR. BENNETT:        Objection.                          13          the DEA's web site yesterday.
14                      MR. UTTER:      Hold on.                                14                      MR. BENNETT:          Objection.
15                      MR. BENNETT:        Foundation.                         15                      BY MR. EPPICH:
16                      MR. UTTER:      Hold on.                                16                Q.    And it --
17                      Is there a question?                                    17                      MS. SINGER:         Objection.     Testifying.
18                      MR. EPPICH:       I asked him if this was               18                      BY MR. EPPICH:
19          a statement on the DEA's web site.                                  19                Q.    And I -- and I'll say this statement
20                      THE WITNESS:        I have no idea.                     20          was on your web site -- I'll strike that.              I'll
21                      MS. SINGER:       Objection.      Foundation.           21          strike that.
22                      MR. UTTER:      He's answered it.                       22                      Sitting here today, do you have any
23                      THE WITNESS:        I have no idea.     I've            23          reason to doubt that this document was posted
24          never seen this document.            And this document              24          on the DEA web site during your tenure at the
25          does not comport to current or -- or post-2004                      25          head of the Office of Diversion Control?

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1                       MR. UTTER:       Object.        Foundation.             1           correct?
2                       MR. BENNETT:         Objection.                         2                       MR. BENNETT:          Objection.    Vague as
3           Foundation.    Objection.          Scope.                           3           to time.
4                       THE WITNESS:         I have no idea.                    4                       MR. UTTER:        Same objection.
5                       BY MR. EPPICH:                                          5                       THE WITNESS:          Could you kind of
6                  Q.   Following the distributor initiative                    6           narrow that a little?           At what point in time?
7           -- you're -- you're familiar with the                               7                       Is it after the distributors signed
8           distributor initiative?                                             8           their memorandum agreement saying that they
9                  A.   Yes, I am.                                              9           would comply with the -- the 1301.74(b)?              Was
10                 Q.   Following the distributor                               10          it after that or before that time?
11          initiative, distributors repeatedly asked DEA                       11                      BY MR. EPPICH:
12          for guidance to clarify confusion in the                            12                Q.    Well, you're aware of the
13          industry, correct?                                                  13          distributor briefings that DEA held with each
14                      MS. SINGER:        Objection.       Lack of             14          of the distributors?
15          foundation.                                                         15                A.    Yes, I am.
16                      THE WITNESS:         I --                               16                Q.    And those began in the fall of 2005,
17                      MR. BENNETT:         Objection.      Vague.             17          correct?
18                      THE WITNESS:         I have no idea what --             18                A.    Yes.
19          what time period, who was asking.               I don't             19                Q.    And they continued for several
20          know.                                                               20          years, correct?
21                      BY MR. EPPICH:                                          21                A.    Yes.
22                 Q.   But when you were the head of the                       22                Q.    And throughout -- especially the
23          Office of Diversion Control, it's true that                         23          first three or four years after the distributor
24          distributors were asking the DEA for guidance                       24          briefings began, distributors raised questions
25          for suspicious order monitoring programs,                           25          with the DEA about the changes, correct?

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1                        MR. BENNETT:         Objection.     Vague.                1           testimony.
2                        MS. SINGER:        Objection.      Vague.                 2                        MR. UTTER:      Same objection.
3                        THE WITNESS:         I'm -- I'm kind of                   3                        Go ahead.
4           confused.                                                              4                        THE WITNESS:        It was years later
5                        What changes are you talking about?                       5           before we heard that, that they were confused.
6                        BY MR. EPPICH:                                            6           Years later.
7                  Q.    Well, DEA -- the -- the distributors                      7                        BY MR. EPPICH:
8           raised questions --                                                    8                  Q.    When did DEA hear that the
9                  A.    Well --                                                   9           distributors were confused?
10                 Q.    -- to DEA, correct?                                       10                 A.    Had to be sometime around 2000 --
11                       Questions that relate --                                  11          the end of 2010 or early 2011.
12                       MR. BENNETT:         Object.                              12                 Q.    And in response to that knowledge,
13                       BY MR. EPPICH:                                            13          did you provide guidance to distributors?
14                 Q.    -- to the -- the -- the comments                          14                 A.    If I remember correctly, there was
15          made by DEA in the distributor briefings?                              15          meetings with individual distributors and also
16                 A.    And those distributor briefings were                      16          with HDMA.
17          pretty extensive.        And they were asked if they                   17                 Q.    But isn't it true that you
18          had any questions before they left.               And they             18          affirmatively stated that it was DEA's policy
19          assured us that they understood what the rules                         19          not to approve any suspicious order monitoring
20          were.                                                                  20          programs?
21                 Q.    And the distributors continued to                         21                 A.    That was the position of the agency.
22          ask the DEA questions ever after those                                 22          And yes, that was stated in at least two of my
23          distributor briefings ended.                                           23          letters to industry.
24                       MR. BENNETT:         Objection.     Vague as              24                 Q.    And it was DEA's policy not to tell
25          to time.     Objection.       Mischaracterizes                         25          registrants that an order is or is not

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1           suspicious, correct?                                                   1                  Q.    During your time as the head of
2                 A.     Well, that's a business decision                          2           Office of Diversion Control, it was DEA's
3           that only the -- the distributor could make.                           3           policy not to tell a registrant if they should
4                        They're the only ones who know their                      4           stop sales to a customer, correct?
5           customer.     And they know what their customers                       5                        MS. SINGER:       Same objection.
6           are doing.     And they know the -- the population                     6                        THE WITNESS:        There were due process
7           around the customer's business.              They know what            7           concerns.     And after consultation with
8           is in the area that could warrant an increase                          8           counsel's office, we decided that that was not
9           or not.                                                                9           appropriate because of the due process
10                       So DEA couldn't make that decision.                       10          concerns.
11          It had to come as a business decision from the                         11                       BY MR. EPPICH:
12          distributor.                                                           12                 Q.    So if a distributor came to you in
13                Q.     So it was DEA's policy not to tell                        13          2007 or '8 or '9 or '10 and said, "We -- we
14          registrants that an order is suspicious?                               14          can't tell if this order is legitimate or
15                       MS. SINGER:       Objection.                              15          suspicious," DEA would refuse to answer?
16                       MR. BENNETT:        Objection.     Asked and              16                       MR. BENNETT:        Objection.      Compound.
17          answered.                                                              17                       MR. UTTER:      Object to the incomplete
18                       MS. SINGER:       Objection.      Scope.                  18          hypothetical.
19          Calls for this witness's opinion on DEA policy.                        19                       You can go ahead and answer if you
20                       MR. UTTER:      Go ahead.                                 20          understand all the elements of the
21                       THE WITNESS:        It was a business                     21          hypothetical.
22          decision that would be made by the distributor                         22                       THE WITNESS:        Yeah.      I'm trying to.
23          whether an order is suspicious.              And DEA made              23                       Could you repeat that question,
24          that very clear to the distributors.                                   24          please.
25                       BY MR. EPPICH:                                            25                       BY MR. EPPICH:

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1                 Q.    Sure.                                                    1                 Q.    And this was the policy at DEA the
2                       If a distributor came to you while                       2           entire time that you were the head of the
3           you were the head of the Office of Diversion                         3           Office of Diversion Control, correct?
4           Control and said, "We cannot tell if this order                      4                 A.    It was --
5           is legitimate or suspicious, the DEA would                           5                       MS. SINGER:       Objection.      Scope.
6           refuse to answer the distributor's question"?                        6                       THE WITNESS:        It was the policy of
7                       MR. UTTER:         Same objection.                       7           the agency.
8                       Go ahead.                                                8                       BY MR. EPPICH:
9                       MS. SINGER:          Objection.                          9                 Q.    Now, Mr. Rannazzisi, I've listened
10                      THE WITNESS:           Yeah.                             10          to a lot of your interviews to prepare for this
11                      MS. SINGER:          Calls for speculation.              11          deposition.    I've heard you blame a lot of
12                      THE WITNESS:           I mean I'd have to                12          people and entities for the opioid crisis.
13          have more information than that.                                     13                      Is that true?
14                      BY MR. EPPICH:                                           14                      MR. BENNETT:        Objection.
15                Q.    But as a general policy --                               15          Argumentative.
16                A.    I can't answer.                                          16                      MS. SINGER:       Objection.      Testifying.
17                Q.    -- it would be DEA's -- it would be                      17                      MR. UTTER:      Lacks foundation.
18          DEA's response to refuse to answer?                                  18          Compound.
19                A.    It's DEA's policy that they do not                       19                      Go ahead.
20          advise when to ship or when to file a                                20                      THE WITNESS:        Could you -- again,
21          suspicious orders.          That's a business decision               21          could you repeat the question.
22          that, under the regulations, is maintained by                        22                      BY MR. EPPICH:
23          the --                                                               23                Q.    Well, it's true that you've blamed
24                Q.    This was the --                                          24          distributors for opioid crisis, isn't it?
25                A.    -- distributor.                                          25                      MR. BENNETT:        Objection.

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1           Argumentative.                                                       1                  Q.   You've blamed doctors?
2                       THE WITNESS:            Based on the                     2                       MR. BENNETT:         Same objection.
3           violations of the distributors in the past,                          3                       THE WITNESS:         Yes.
4           yes, I have.                                                         4                       BY MR. EPPICH:
5                       BY MR. EPPICH:                                           5                  Q.   I've even heard you blame other
6                  Q.   And it's true that you've blamed the                     6           divisions and individuals within DEA --
7           manufacturers for contributing to the opioid                         7                       MR. BENNETT:         Same objection.
8           crisis?                                                              8                       BY MR. EPPICH:
9                       MR. BENNETT:            Same objection.                  9                  Q.   Isn't that true?
10                      THE WITNESS:            I have discussed the             10                 A.   Blame other divisions concerning the
11          manufacturers' role, yes.                                            11          opioid crisis.
12                      BY MR. EPPICH:                                           12                 Q.   Yes, sir.
13                 Q.   And you've blamed the manufacturers,                     13                      MS. SINGER:        Objection.      Scope.
14          haven't you?                                                         14                      THE WITNESS:         I don't recall blaming
15                      MR. BENNETT:            Objection.                       15          other divisions.
16          Argumentative.                                                       16                      BY MR. EPPICH:
17                      MS. SINGER:           Objection.     Asked and           17                 Q.   Well, you've blamed the Office of
18          answered.                                                            18          Chief Counsel within the DEA, correct?
19                      THE WITNESS:            Yes.                             19                      MS. SINGER:        Objection.
20                      BY MR. EPPICH:                                           20                      MR. BENNETT:         Objection.
21                 Q.   And you've blamed pharmacies?                            21                      MS. SINGER:        Scope.
22                      MR. BENNETT:            Objection.                       22                      THE WITNESS:         We've -- chief
23          Argumentative.                                                       23          counsel, in the normal process of moving cases
24                      THE WITNESS:            Yes.                             24          through, we've had differences in cases, yes.
25                      BY MR. EPPICH:                                           25                      BY MR. EPPICH:

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1                 Q.    You've criticized the Office of                               1                  A.    Yes.
2           Chief Counsel.                                                            2                        MS. SINGER:          Objection.       Foundation.
3                       MR. BENNETT:         Objection.        Scope.                 3                        MR. BENNETT:           Objection.      Vague.
4                       THE WITNESS:         I don't recall ever                      4                        BY MR. EPPICH:
5           openly criticizing the Office of Chief Counsel.                           5                  Q.    DEA registers all persons who handle
6                       BY MR. EPPICH:                                                6           Section 2 controlled substances, correct?
7                 Q.    Well, maybe not openly, but in                                7                        MS. SINGER:          Objection.
8           communications within the agency, correct?                                8                        THE WITNESS:           What is --
9                       MR. BENNETT:         Objection.        Scope.                 9                        MS. SINGER:          Mischaracterizes prior
10                      This witness is not authorized to                             10          testimony.
11          disclose attorney-client privileged                                       11                       BY MR. EPPICH:
12          communications.                                                           12                 Q.    I'm sorry.         Schedule II controlled
13                      And to the extent that you can                                13          substances.
14          answer that question without disclosing                                   14                 A.    And repeat the question, please.
15          communications that you have had with chief                               15                 Q.    Yes.     Let's strike that.
16          counsel's office, you may answer.                 If your                 16                       It's true that DEA registers all
17          answer requires you to disclose communications                            17          persons and entities who handle Schedule II
18          that you've had with chief counsel's office,                              18          controlled substances?
19          then you may not answer.                                                  19                       MR. UTTER:         Object.        Asked and
20                      THE WITNESS:         It's communications                      20          answered.
21          with chief counsel's office.                 I can't answer               21                       You may answer it again.
22          that question.                                                            22                       MS. SINGER:          Objection.
23                      BY MR. EPPICH:                                                23          Mischaracterizes prior testimony.
24                Q.    It's true that DEA controls the                               24                       THE WITNESS:           That's -- that's not
25          closed system of drug distribution, right?                                25          true.

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1                       BY MR. EPPICH:                                                1           not -- I'm still not sure what -- what you mean
2                 Q.    It's true the DEA registers all                               2           by -- when you mean -- you said controls the
3           manufacturers, distributors, pharmacies and                               3           amount of transaction.             I don't understand
4           doctors that handle Schedule II controlled                                4           that.
5           substances?                                                               5                       Would you explain?
6                 A.    That's true.         If -- if their                           6                       MR. EPPICH:          I can strike that
7           registration allows them to handle                                        7           question.
8           Schedule IIs, yes.                                                        8                       THE WITNESS:           Yeah.
9                 Q.    And DEA inspects the documentation                            9                       BY MR. EPPICH:
10          of these registrants?                                                     10                Q.    When deciding to grant registration
11                      MR. BENNETT:         Objection.        Vague.                 11          to a manufacturer, distributor, pharmacy or
12                      THE WITNESS:         I'm -- I'm not sure                      12          doctor, the DEA inspects documentation from
13          what you mean by documentation.                                           13          each of these potential registrants, correct?
14                      BY MR. EPPICH:                                                14                A.    You're talking about --
15                Q.    Well, DEA -- DEA controls the amount                          15                      MS. SINGER:          Objection.      Vague.
16          of controlled substances produced, bought, sold                           16                      THE WITNESS:           You're talking about
17          or otherwise transferred between these                                    17          --
18          manufacturers, distributors, pharmacies and                               18                      MR. BENNETT:           Same Objection.
19          doctors, correct?                                                         19                      THE WITNESS:           -- registration
20                      MS. SINGER:        Objection.         Vague.                  20          applications?
21                      MR. BENNETT:         Objection.                               21                      MR. EPPICH:          Yes, sir.
22                      MR. UTTER:       Objection.          Lacks                    22                      THE WITNESS:           Yes.
23          foundation.                                                               23                      BY MR. EPPICH:
24                      Go ahead.                                                     24                Q.    And all of the materials that each
25                      THE WITNESS:         I -- I'm not -- I'm                      25          of these potential registrants submits with

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1           their application, correct?                                           1           the vast majority of diversion occurs when
2                 A.     Yes.                                                     2           someone takes opioids from a friend or family
3                 Q.     Are there many ways diversion can                        3           member?
4           occur -- there are many ways diversion can                            4                        MR. BENNETT:        Objection.
5           occur, correct?                                                       5                        MS. SINGER:       Objection.         Scope and
6                 A.     Yes.                                                     6           vague.
7                 Q.     Opioids can be stolen from a                             7                        MR. BENNETT:        Objection.        Vague.
8           delivery truck?                                                       8           Objection.     Incomplete hypothetical.
9                 A.     Yes.                                                     9           Objection.     Scope.
10                Q.     That's diversion, correct?                               10                       MR. UTTER:      Same objections.
11                A.     That is.                                                 11                       Go ahead.
12                Q.     Someone can use opioids in a way                         12                       THE WITNESS:        You know, no.        I
13          other than how they've been prescribed to them,                       13          wouldn't agree to that.           There's many ways that
14          true?                                                                 14          have nothing to do with taking something from a
15                A.     That's not diversion.                                    15          family member.
16                Q.     Someone can go into their                                16                       BY MR. EPPICH:
17          grandmother's cabinet, take the grandmother's                         17                Q.     When asked what you would do
18          opioids that she got for a legitimate reason;                         18          differently as the head of diversion control in
19          and that's diversion, isn't it?                                       19          an interview, you said publicly that, "I would
20                A.     Technically, yes, that's diversion.                      20          not do anything differently.                 That's for sure."
21                Q.     Someone could take opioids from a                        21                       Is that true?
22          friend who got them for a legitimate reason.                          22                       MR. BENNETT:        Objection.
23          That's diversion.                                                     23          Foundation.
24                A.     Yes.                                                     24                       MR. UTTER:      Same objection.
25                Q.     In fact, you -- you would agree that                     25                       Go ahead.

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1                        THE WITNESS:          I don't remember                   1           access to the ARCOS data?
2           exactly what the context of that question was                         2                        MR. BENNETT:        Objection.        Calls for
3           when they asked me, what we were discussing at                        3           speculation.     Incomplete hypothetical.
4           the time.     So I -- I -- I just don't think it's                    4                        MS. SINGER:       Objection.
5           something I could answer without looking at who                       5                        THE WITNESS:        Again, I have no idea
6           was interviewing me and what the interview was                        6           how they -- what access they have to ARCOS.
7           about.                                                                7           And I was under different limitations, it
8                        BY MR. EPPICH:                                           8           appears, than what they're doing today.
9                 Q.     Well, sitting here today, sir,                           9                        BY MR. EPPICH:
10          thinking about your career as the head of the                         10                Q.     But my question was whether or not
11          Office of Diversion Control, is there anything                        11          you would give them any access to ARCOS data if
12          you would do differently?                                             12          you were to do it again.
13                       MR. BENNETT:          Objection.     Scope.              13                       MR. BENNETT:        Objection.
14          Objection.     Vague.                                                 14                       BY MR. EPPICH:
15                       MR. UTTER:        Objection.       Calls for             15                Q.     Not what they were doing today.
16          speculation.                                                          16                       MR. BENNETT:        Objection.
17                       Go ahead.                                                17          Speculation.     Incomplete hypothetical.                 And
18                       THE WITNESS:          I don't know if -- I               18          asked and answered.
19          don't know if I could answer that right now.                   I      19                       MR. UTTER:      Object.          Assumes he had
20          just don't know.        I mean this -- I would -- I                   20          the authority do that.
21          would have to sit back and think about                                21                       Go ahead.     You can answer.
22          everything we did.          And so I -- I just -- I                   22                       THE WITNESS:        Again, I could only go
23          can't answer that right now.                                          23          with what I could do when I was the head of the
24                       BY MR. EPPICH:                                           24          Office of Diversion Control based on agency
25                Q.     Well, would you give registrants                         25          policy in consultation with counsel and

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1           counsel.    And the agency made a decision that                       1                        MS. SINGER:       Objection.
2           ARCOS data was not -- was business proprietary                        2                        BY MR. EPPICH:
3           and was not going to be released in that                              3                 Q.     -- if you were to go back?
4           manner.                                                               4                        MS. SINGER:       Objection.         Scope.
5                       BY MR. EPPICH:                                            5                        MR. BENNETT:        Object --
6                  Q.   Would you give registrants any more                       6                        THE WITNESS:        I --
7           information or guidance about suspicious order                        7                        MR. BENNETT:        Hold on.
8           monitoring programs and suspicious orders?                            8                        Objection.      Scope.          Objection.
9                       MR. BENNETT:         Objection.                           9           Calls for speculation.           Objection.        Incomplete
10          Speculation.    Objection.          Incomplete                        10          hypothetical.
11          hypothetical.                                                         11                       I will also instruct the witness
12                      MR. UTTER:       Go ahead.                                12          that, to the extent there were internal
13                      MR. BENNETT:         And objection.        Scope.         13          deliberations that were not made public by the
14                      Sorry.                                                    14          DEA during your time there, you are not
15                      THE WITNESS:         I think that the                     15          authorized to disclose those internal
16          suspicious order monitoring regulation                                16          deliberations.
17          1301.74(b) was -- the definition of suspicious                        17                       MR. UTTER:      Same objection.
18          order is very straightforward.                                        18                       Go ahead.
19                      I don't know what other information                       19                       THE WITNESS:        The problem is -- is
20          I could provide to them to clarify what a                             20          the regulation change was not under my
21          suspicious orders is without making a business                        21          authority.     The regulation change would be
22          decision for them, which the regulations would                        22          under the authority of the administrator of the
23          not allow me to do.                                                   23          Drug Enforcement Administration and Department
24                      BY MR. EPPICH:                                            24          of Justice.
25                 Q.   Would you change the regulations --                       25                       That's -- so whether I make that

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1           decision or not, the final decision is the                            1           specific criticism of me?
2           Department of Justice and the Drug Enforcement                        2                        BY MR. EPPICH:
3           Administration leadership.            So I -- I couldn't              3                 Q.     I'm just asking you if you're aware
4           answer that.                                                          4           you've been criticized for your actions as the
5                       BY MR. EPPICH:                                            5           head of Office of Diversion Control.
6                 Q.    And you have no role in that                              6                        MR. BENNETT:        Objection.        Vague.
7           process?    You can't suggests a change?                              7           Also vague as to time.
8                       MS. SINGER:       Objection.      Scope.                  8                        THE WITNESS:        I -- I think that, if
9                       MR. BENNETT:        Objection.     Scope.                 9           you were more specific, I -- I could give you a
10                      You are not authorized to disclose                        10          better answer.
11          internal deliberative process of the agency.                          11                       Do you have a specific instance
12          To the extent you can answer without disclosing                       12          where somebody criticized me.
13          the internal deliberative process of the                              13                Q.     Well, Chuck Rosenberg became the
14          agency, you may answer.                                               14          acting administrator of DEA in 2015, right?
15                      THE WITNESS:        I can't -- I can't                    15                A.     Yes, sir.
16          answer that question.                                                 16                Q.     You were still at DEA at the time
17                      BY MR. EPPICH:                                            17          that he became the acting administrator?
18                Q.    You've been criticized for your                           18                A.     Yes, sir.
19          actions by head of Office of Diversion Control.                       19                Q.     He was your boss, right?
20                      MR. BENNETT:        Objection.                            20                A.     Yes, sir.
21                      BY MR. EPPICH:                                            21                Q.     He told Congress shortly after you
22                Q.    That's true, correct?                                     22          left that you were not doing enough to give
23                      MS. SINGER:       Objection.      Vague.                  23          guidance to the industry.
24                      MR. BENNETT:        Objection.     Vague.                 24                       MS. SINGER:       Objection.         Foundation.
25                      THE WITNESS:        Do you have any                       25                       BY MR. EPPICH:

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1                 Q.    Are you aware of that?                                      1                         MR. BENNETT:        I join that objection.
2                       MR. BENNETT:        Objection.                              2                         MR. UTTER:      Same objection.      Lack of
3           Foundation.    Objection.        Mischaracterizes                       3           foundation.
4           administrator Rosenberg's testimony.                                    4                         Go ahead.
5                       MR. UTTER:      Same objection.                             5                         THE WITNESS:        I would like to see
6                       Go ahead.                                                   6           what he said exactly.
7                       THE WITNESS:        I am aware that he                      7                         BY MR. EPPICH:
8           made statements like that.            I am also aware                   8                 Q.      Are you aware that he said that the
9           that when he made those statements, he was                              9           office was too slow, too opaque, are you ware
10          there for a very brief period of time and never                         10          of that?
11          got a briefing on what the Office of Diversion                          11                A.      I'm aware --
12          Control actually did.                                                   12                        MS. SINGER:       Objection.     Foundation.
13                      BY MR. EPPICH:                                              13                        MR. BENNETT:        Same objections.
14                Q.    Mr. Rosenberg said to Congress, we                          14                        MR. UTTER:      Same objection.
15          have been opaque.       I think we have been slow.                      15                        THE WITNESS:        I am aware that he
16          I think we have been opaque.                I think we                  16          made statements but I don't have the statements
17          haven't responded to them.            We are trying to                  17          in front of me and unless you can produce the
18          issue guidelines for them more quickly.                  We are         18          statements that I could look at.
19          trying to answer their questions.                                       19                        BY MR. EPPICH:
20                      Did you know that Mr. Rosenberg said                        20                Q.      Are you aware that Mr. Rosenberg
21          this to Congress?                                                       21          said that I think we are part of the problem,
22                      MS. SINGER:       Objection.         Foundation.            22          meaning I think DEA has been part of the
23                      If counsel is going to ask the                              23          problem.
24          witness about quotations and documents, I think                         24                        Are you aware of that?
25          the witness should get to see those documents.                          25                        MS. SINGER:       Objection.     Foundation.

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1                        MR. UTTER:      Same objection.                            1           on the record.      This is the start of Media Unit
2                        MR. BENNETT:        Same objection.                        2           No. 2.      The time is 9:37.
3                        THE WITNESS:        I have no idea of when                 3                         You may proceed, Counsel.
4           he -- why he said that or in what context he                            4                         BY MR. EPPICH:
5           said that.                                                              5                 Q.      Mr. Rannazzisi, earlier today you
6                        Do you have the transcripts?                               6           testified that the suspicious order monitoring
7                        BY MR. EPPICH:                                             7           regulation is straightforward; is that correct?
8                  Q.    But you are aware of that statement,                       8                 A.      Yes, sir.
9           sir, aren't you?                                                        9                 Q.      In your opinion, was the -- no
10                 A.    No, I'm not --                                             10          update is needed to that statute or regulation,
11                       MS. SINGER:       Objection.                               11          correct?
12          Mischaracterizes testimony and lack of                                  12                        MR. BENNETT:        Objection.
13          foundation.                                                             13                        MS. SINGER:       Objection.     Foundation.
14                       MR. UTTER:      Same objection.                            14          Scope.
15                       Go ahead.                                                  15                        MR. BENNETT:        Objection.
16                       MR. EPPICH:       May we take a break.                     16                        I will instruct the witness that you
17                       MS. SINGER:       Sure.                                    17          are not authorized to disclose any internal
18                       MR. BENNETT:        Sure.                                  18          deliberations that you had within the agency.
19                       MR. EPPICH:       Let's go off the                         19                        To the extent you can answer that
20          record.                                                                 20          question without disclosing internal
21                       THE VIDEOGRAPHER:              We are going off            21          deliberations that you had in the agency, you
22          the record.     This is the end of Media Unit No.                       22          may answer.
23          1.     The time is 9:25.                                                23                        THE WITNESS:        I can't answer that
24                       (A short recess was taken.)                                24          question, it's based on.
25                       THE VIDEOGRAPHER:              We are going back           25                        BY MR. EPPICH:

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                                                                Page 65                                                                             Page 66

1                 Q.    Well, it's your opinion that no                            1                 Q.     And registrants were using
2           update to the CSA or the C.F.R. were needed for                        2           handwritten suspicious order reports to fulfill
3           registrants, correct?                                                  3           their obligations under the Controlled
4                       MR. BENNETT:          Same instruction.                    4           Substances Act?
5                       MS. SINGER:         Same objections.                       5                        MS. SINGER:       Objection.        Scope.
6                       THE WITNESS:          I go back to my                      6                        MR. BENNETT:        Objection.
7           testimony before.        1301.7 -- 1301.74 was very                    7           Foundation.
8           clear on what a suspicious order is and that's                         8                        MR. UTTER:      Same objection.
9           all I can say.                                                         9                        THE WITNESS:        I have no idea if they
10                      BY MR. EPPICH:                                             10          were using handwritten --
11                Q.    You are aware that the Controlled                          11                       BY MR. EPPICH:
12          Substances Act was enacted in 1971?                                    12                Q.     But there were no computers, were
13                A.    Yes, about that time, yes, sir.                            13          there?
14                Q.    In 1971, it's true that there were                         14                       MR. BENNETT:        Counsel, could you let
15          only a handful of Schedule II controlled                               15          him finish his answer, please.                I don't think
16          substances that were registered?                                       16          he was finished.      I think you interrupted him.
17                      MS. SINGER:         Objection.     Scope.                  17                       THE WITNESS:        Again, I have no idea
18                      THE WITNESS:          There was a lot -- a                 18          how they were filing suspicious orders either
19          lot -- a smaller amount of controlled                                  19          handwritten or otherwise back in the early
20          substances, yes, in 1971.                                              20          '70s.
21                      BY MR. EPPICH:                                             21                       BY MR. EPPICH:
22                Q.    It was a much smaller amount, right?                       22                Q.     But there were no computers
23                A.    Yes.                                                       23          involved?
24                      MS. SINGER:         Objection.                             24                       MS. SINGER:       Objection.
25                      BY MR. EPPICH:                                             25                       MR. BENNETT:        Objection.

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1           Foundation.                                                            1                 Q.     The way distributors report
2                       THE WITNESS:          Again, I have no idea                2           suspicious orders to the DEA has changed in the
3           how they were filing suspicious orders.                                3           last 40 years-plus since 1971; isn't that
4                       BY MR. EPPICH:                                             4           correct?
5                 Q.    This was a time before fax machines.                       5                        MR. BENNETT:        Objection.       Vague.
6                       MR. BENNETT:          Objection.                           6           Objection.     Lacks foundation.             Objection.
7           Foundation.    Scope.                                                  7           Scope.
8                       THE WITNESS:          I just -- I can't tell               8                        MR. UTTER:      Same objection.
9           you what was done in the early '70s.                                   9                        Go ahead.
10                      BY MR. EPPICH:                                             10                       THE WITNESS:        I would say that the
11                Q.    Well, you can agree with me that the                       11          regulation hasn't changed.             It's the same
12          distribution model that we see today has been                          12          regulation but I am sure as technology
13          updated and improved since 1971?                                       13          increases or technology gets better, yes, there
14                      MR. BENNETT:          Objection.                           14          was a change in the way they reported, yes.
15                      MS. SINGER:         Objection.     Foundation.             15                       BY MR. EPPICH:
16          Scope.                                                                 16                Q.     And as technology has improved and
17                      MR. BENNETT:          Same objection.                      17          changed over time, it's still your opinion that
18          Vague.                                                                 18          no update to the CSA is needed to account for
19                      MR. UTTER:        Same objection.                          19          those changes?
20                      Go ahead.                                                  20                       MS. SINGER:       Objection.        Foundation.
21                      THE WITNESS:          I don't -- I don't --                21          Scope.
22          could you clarify what you are saying.               When              22                       THE WITNESS:        I have --
23          you say, "the distribution model," in what part                        23                       MR. BENNETT:        Objection.       Again, I
24          of the distribution model.              What are you --                24          will instruct the witness that he is not
25                      BY MR. EPPICH:                                             25          authorized to disclose any internal

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1           deliberations that occurred at the agency while                         1           opinion that is based on public facts or
2           he was there.                                                           2           information you acquired outside of the
3                       To the extent that you can answer                           3           performance of your official duties, you may
4           this question without disclosing internal                               4           answer.
5           deliberations, you may answer.                                          5                       THE WITNESS:        Again, I have to go
6                       THE WITNESS:         I have no control over                 6           back to -- I have no control over what is
7           the CSA.    The CSA is controlled by Congress and                       7           legislated by Congress or what is signed by the
8           the Administration when the President signs a                           8           President, so I can't answer that question.
9           piece of legislation, so I have no control over                         9                       BY MR. EPPICH:
10          what the President or Congress does in relation                         10                Q.    Sitting here today, you have no
11          to legislation.                                                         11          personal opinion on the subject?
12                      BY MR. EPPICH:                                              12                      MS. SINGER:       Same objections.
13                Q.    In your personal opinion, do you                            13                      MR. BENNETT:        Objection.     Same
14          think that the Controlled Substances Act and                            14          instruction.
15          its corresponding regulations should be updated                         15                      THE WITNESS:        I have no opinion on
16          to account for the changes in technology and                            16          that.
17          the passage of time since 1971?                                         17                      BY MR. EPPICH:
18                      MS. SINGER:        Same objection and                       18                Q.    Before the break, we were discussing
19          asked and answered.                                                     19          some criticism within the DEA.
20                      MR. BENNETT:         I will object.      Scope.             20                      Do you remember that testimony?
21                      You are not authorized to give                              21                      MS. SINGER:       Objection.
22          personal opinions regarding nonpublic facts or                          22          Mischaracterizes prior testimony.
23          information you acquired in the performance of                          23                      MR. BENNETT:        Objection.
24          your official duties.                                                   24                      MR. SMITH:      Same objection.
25                      To the extent that you can form an                          25                      BY MR. EPPICH:

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1                  Q.    Do you remember that discussion?                           1           litigation?
2                  A.    I remember the discussion that we                          2                       MR. EPPICH:       I am asking if he is a
3           had prior to taking the break, yes.                                     3           consultant for plaintiffs' lawyers that are
4                  Q.    Mr. Rannazzisi, are you partially                          4           involved in the opioid litigation.
5           responsible for the opioid crisis?                                      5                       MR. UTTER:      I will instruct you not
6                        MS. SINGER:        Objection.        Scope.                6           to answer to the extent it relates to any
7                        MR. BENNETT:         Objection.                            7           litigation other than the present litigation.
8           Argumentative.      Objection.           Vague.    And                  8                       THE WITNESS:        No, I am not a
9           objection.     Scope.                                                   9           consultant for this present litigation.
10                       If you understand the limitations in                       10                      MS. MAINIGI:        Special Master Cohen,
11          your scope authorization.                                               11          I do believe that that type of question was
12                       MR. UTTER:       Go ahead.                                 12          allowed in Kyle Wright's deposition.             I don't
13                       THE WITNESS:         I don't believe that I                13          want to interrupt the flow, but I would just
14          am responsible for the opioid crisis, no.                               14          ask you make a ruling as to whether we are
15                       BY MR. EPPICH:                                             15          allowed to ask whether this witness acts as a
16                 Q.    Are you a paid consultant for the                          16          consultant to any plaintiff in any opioid
17          plaintiffs' lawyers?                                                    17          litigation.
18                       MR. BENNETT:         Objection.       Vague.               18                      MR. UTTER:      That question was not
19                       MS. SINGER:        Objection.                              19          posed in Karl Wright's deposition.             It had to
20                       THE WITNESS:         I'm a paid consultant.                20          do with him being a consultants to Motley Rice
21                       BY MR. EPPICH:                                             21          which was the current litigation.
22                 Q.    You are a paid consultant for                              22                      MS. MAINIGI:        I do not believe that
23          plaintiffs' lawyers, correct?                                           23          is correct.    I believe he was identified as a
24                       MS. SINGER:        Objection.        Vague.                24          consultant for Rick Fields.             It was not in this
25                       MR. UTTER:       Are you asking in this                    25          litigation.

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1                       SPECIAL MASTER COHEN:              I don't know              1                        MR. EPPICH:          This will be marked as
2           whether -- why don't you ask your question that                          2           Exhibit 4.
3           tees it up.     I'm not sure that you teed it up                         3                        (Deposition Exhibit 4 was marked for
4           exactly.                                                                 4           identification.)
5                       BY MR. EPPICH:                                               5                        BY MR. EPPICH:
6                 Q.    Mr. Rannazzisi, are you a consultant                         6                  Q.    Exhibit 4 is a copy of the October
7           in -- to the plaintiffs' attorneys that are                              7           15, 2017 article in the Washington Post titled:
8           involved in the opioid litigation?                                       8           "Who is Joe Rannazzisi, the DEA man who fought
9                       MS. SINGER:        Objection.        Vague.                  9           the drug companies and lost."
10                      MR. UTTER:       Object.         Work product                10                       Mr. Rannazzisi, have you seen this
11          privilege as it relates to litigation not --                             11          document before?
12          that is not the present litigation.                                      12                 A.    I have seen this article before,
13                      MS. MAINIGI:         Kyle Wright has                         13          yes.
14          identified -- identified himself as a                                    14                 Q.    Let's turn to the last page of the
15          consultant to Rick Fields who is a plaintiff's                           15          article.
16          attorney representing -- a plaintiff's attorney                          16                       MR. UTTER:         Excuse me.      Could the
17          in opioid litigation, but not the MDL.                                   17          witness please review the article so he has the
18                      SPECIAL MASTER COHEN:              Well, with                18          context of any questions.
19          Kyle Wright then I'm not sure it's dispositive.                          19                       MR. EPPICH:          Yes.
20          It seems to me that the witness is being asked                           20                       BY MR. EPPICH:
21          if he is a consulting expert, and normally that                          21                 Q.    Mr. Rannazzisi, please take your
22          is something that is not divulged.                                       22          time with the document.
23                      MR. EPPICH:        May I introduce an                        23                 A.    Thank you.
24          exhibit?                                                                 24                       Okay.
25                      SPECIAL MASTER COHEN:              Sure.                     25                 Q.    Mr. Rannazzisi, on Page 3 of this

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1           document, it is the fifth full paragraph down,                           1                        MR. UTTER:            Same instruction not to
2           it says:    "Today, Rannazzisi is a consultant                           2            answer.
3           for a team of lawyers suing the opioid                                   3                        SPECIAL MASTER COHEN:                I think you
4           industry.     Separately, 41 state attorney                              4            need to answer that question yes or no.
5           generals have banded together to investigate                             5                        MR. UTTER:            Go ahead.
6           the industry.     Hundreds of counties, cities and                       6                        THE WITNESS:             Yes.
7           towns are also suing."                                                   7                        BY MR. EPPICH:
8                       Mr. Rannazzisi, you told the                                 8                  Q.    Which cases are you a paid
9           Washington Post that you were a consultant to                            9            consultant for plaintiffs' lawyers in the
10          the opioid industry -- to the team of lawyers                            10           opioid litigation?
11          suing the opioid industry; is that correct?                              11                       MR. UTTER:            I instruct you not to
12                      MS. SINGER:        Objection.        Lack of                 12           answer.    Work product privilege, other cases
13          foundation.     Mischaracterizes what the article                        13           besides this one.
14          says.                                                                    14                       SPECIAL MASTER COHEN:                That one I
15                      MR. UTTER:       Same objection.                             15           don't think you need to.
16                      You can answer that question.                                16                       BY MR. EPPICH:
17                      THE WITNESS:         I don't recall exactly                  17                 Q.    When did you start becoming a
18          what I told the Post but I believe I did say                             18           consultant to plaintiffs' lawyers?
19          that I was a consultant but I don't know to                              19                       MS. SINGER:            Objection.      Scope.
20          what detail I talked about that.                                         20                       MR. UTTER:            Go ahead.      You can
21                      BY MR. EPPICH:                                               21           answer that.
22                Q.    So let me ask you my question again:                         22                       THE WITNESS:             Yeah.     I am just
23          Are you a paid consultant for the plaintiffs'                            23           trying -- it was sometime I believe in --
24          lawyers in the opioid litigation?                                        24           sometime during 2016.
25                      MS. SINGER:        Same objection.                           25                       BY MR. EPPICH:

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1                 Q.     Are you a paid consultant for any                         1           think that the usual, you know, consultant
2           attorney generals that are involved in the                             2           privilege applies.
3           opioid litigations?                                                    3                       MR. UTTER:         I appreciate your
4                        MS. SINGER:       Same objection.                         4           thought, but I don't -- the rule doesn't say
5                        To the extent that Mr. Rannazzisi                         5           that.
6           is, I don't know, is working with any attorneys                        6                       SPECIAL MASTER COHEN:             Why don't you
7           general I believe that is certainly beyond the                         7           ask --
8           scope and would reveal confidential law                                8                       MR. LIVINGSTON:             We can just go and
9           enforcement information that should not be                             9           hire as many --
10          discussed.                                                             10                      SPECIAL MASTER COHEN:             There is no
11                       MS. MAINIGI:        Attorneys general that                11          argument between counsel.
12          are suing the opioid industry as reflected in                          12                      If you can answer the question in
13          the Washington Post article.                                           13          the way as your attorney instructed you.
14                       MS. SINGER:       First of all, that's                    14                      THE WITNESS:           Could you repeat the
15          not the question.       Second of all, to the extent                   15          question.
16          he is a nondisclosed consulting expert, I don't                        16                      BY MR. EPPICH:
17          think he should answer that question.                                  17                 Q.   Yes, sir.         Are you a paid consultant
18                       MR. UTTER:      To the extent the                         18          for any attorney generals that are involved in
19          question calls for you to disclose you're a                            19          the opioid litigation?
20          consulting expert on a litigation, I will                              20                      MR. UTTER:         You can answer the
21          instruct you not to answer.              Otherwise, you can            21          question to the extent it doesn't reveal your
22          answer the question.                                                   22          consultation in litigation outside the present
23                       MR. LIVINGSTON:          He was hired with                23          litigation.
24          knowledge that this person was going to be a                           24                      THE WITNESS:           My agreement is with
25          key witness, a key fact witness, so I don't                            25          Richard Fields.

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1                        BY MR. EPPICH:                                            1           that you would get paid for your work with the
2                 Q.     Did Mr. Fields approach you or did                        2           Fields firm?
3           you approach Mr. Fields?                                               3                       MR. UTTER:         You can answer that.
4                        MR. UTTER:      I instruct you not to                     4                       THE WITNESS:           Yes.
5           answer, work product.                                                  5                       BY MR. EPPICH:
6                        SPECIAL MASTER COHEN:           I am not                  6                  Q.   Did you sign a contract with them?
7           overruling that.                                                       7                  A.   Yes.
8                        MS. MAINIGI:        Why is that                           8                  Q.   How much are you paid per hour?
9           privileged?                                                            9                       MR. UTTER:         You can answer.
10                       SPECIAL MASTER COHEN:           For the same              10                      THE WITNESS:           $500 an hour.
11          reason that I would not uphold -- for the same                         11                      BY MR. EPPICH:
12          reason I wouldn't direct a witness that is                             12                 Q.   And how many hours have you billed
13          yours to divulge the nature of the relationship                        13          to date?
14          that the expert or consultant has with you.                  I         14                      MR. UTTER:         That I would instruct
15          play it the same way.                                                  15          you not to answer.
16                       What you are after is information                         16                      THE WITNESS:           I don't --
17          that would go to his credibility and bias.                 You         17                      MR. UTTER:         That I would instruct
18          have already got it.                                                   18          you not to answer.
19                       MS. MAINIGI:        We've already got it,                 19                      SPECIAL MASTER COHEN:             No, you can
20          but how -- who approached who is not privileged                        20          answer that question.
21          information.                                                           21                      MR. UTTER:         Go ahead.
22                       SPECIAL MASTER COHEN:           I'm not going             22                      THE WITNESS:           I don't know.
23          to -- I'm not going to argue over my rulings.                          23                      BY MR. EPPICH:
24                       BY MR. EPPICH:                                            24                 Q.   Do you know how much money you
25                Q.     Mr. Rannazzisi, did you understand                        25          received from the Fields firm to date?

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1                       MR. UTTER:         Go ahead.                              1                 A.    No.
2                       THE WITNESS:           I don't know.                      2                 Q.    Now have you talked with the
3                       BY MR. EPPICH:                                            3           plaintiffs' firms about the work you did while
4                  Q.   Is it more than $10,000?                                  4           you were at the DEA?
5                  A.   Yes.                                                      5                       MS. SINGER:          Objection.      Vague.
6                  Q.   More than $50,000?                                        6                       MR. UTTER:         Objection.
7                  A.   Yes.                                                      7                       I instruct you not to answer that.
8                  Q.   More than $100,000?                                       8           I'm gong to instruct you not to answer that.
9                  A.   I would say yes.                                          9                       THE WITNESS:           I didn't hear the
10                 Q.   More than a quarter million dollars?                      10          question.    Can you repeat the question, please.
11                 A.   No.                                                       11                      BY MR. EPPICH:
12                 Q.   Are you billing the Fields firm for                       12                Q.    Have you talked with the plaintiffs'
13          your testimony here today?                                            13          firms that you are hired by about the work you
14                 A.   No.                                                       14          did while you were at the DEA?
15                 Q.   Are you billing the Fields firm for                       15                      MR. UTTER:         Objection.
16          your preparation sessions for this deposition                         16                      I instruct you not to answer.
17          today?                                                                17                      BY MR. EPPICH:
18                 A.   No.                                                       18                      SPECIAL MASTER COHEN:              I am not
19                 Q.   Are you being compensated by any                          19          overruling that.
20          lawyer or entity for your testimony here today                        20                      BY MR. EPPICH:
21          or the preparations for your testimony here                           21                Q.    Did you get any kind of approval
22          today?                                                                22          from the United States Government before you
23                 A.   Well, I was under the impression I                        23          agreed to take a consulting role with the
24          got a witness fee from the defendants.                                24          plaintiffs' lawyers?
25                 Q.   Other than that?                                          25                      MR. UTTER:         You can answer that.

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1                       THE WITNESS:           Yes.                               1                 Q.    Are you aware that Mr. Utter
2                       BY MR. EPPICH:                                            2           represents plaintiffs in the opioid lawsuit?
3                  Q.   And is that approval in writing?                          3                 A.    I believe Mr. Utter does represent
4                  A.   Yes.                                                      4           plaintiffs, yes.
5                  Q.   Do you still have a copy of that                          5                 Q.    And you have had conversations with
6           approval?                                                             6           Mr. Utter about the opioid lawsuit?
7                  A.   I don't -- I don't know if I still                        7                       MR. UTTER:         I'm going to object and
8           have a copy of it.          But the person who did the                8           instruct you not to answer.
9           approval was Roberto Dibella.                                         9                       SPECIAL MASTER COHEN:              It's a yes or
10                 Q.   Do you recall when that approval was                      10          no question.       You can answer yes or no without
11          issued?                                                               11          going into the substance of those
12                 A.   It was right about the time -- right                      12          conversations.
13          after Mr. Fields approached me.                                       13                      THE WITNESS:           Could you repeat.
14                 Q.   And that was in 2016?                                     14                      MR. UTTER:         Go ahead.
15                 A.   I believe it was in '16, yes.                             15                      THE WITNESS:           Could you repeat the
16                 Q.   You have a personal attorney here                         16          question one more time.
17          today?                                                                17                      BY MR. EPPICH:
18                 A.   Yes, sir.                                                 18                Q.    Have you had conversations with Mr.
19                 Q.   Who is paying his fees?                                   19          Utter about the opioid lawsuit?
20                 A.   I -- we just have an agreement that                       20                A.    Yes.
21          Mr. Utter would represent me.                 There's no fee.         21                Q.    Was Mr. Utter referred to you?
22          There's no fee.                                                       22                      MR. UTTER:         I will instruct you not
23                 Q.   You are not paying Mr. Utter's fee                        23          to answer that as part of the consultation work
24          today as he sits here today?                                          24          with Mr. Fields.
25                 A.   No, sir.                                                  25                      SPECIAL MASTER COHEN:              I actually

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1           don't understand the question.                    I'm sorry.             1                       BY MR. EPPICH:
2                         BY MR. EPPICH:                                             2                  Q.   Have you been asked to testify as an
3                  Q.     How did you become acquainted with                         3           expert in any opioid litigation?
4           Mr. Utter?      Was he referred to you by the                            4                       MR. UTTER:       I object and instruct
5           Fields law firm?                                                         5           you not to answer unless you are aware whether
6                         MR. UTTER:        That you can answer.                     6           you have been designated as a testifying expert
7                         THE WITNESS:          I was working with Mr.               7           in that case.
8           Utter.      I got to know him during several                             8                       THE WITNESS:         I have not been
9           meetings we have had and I asked him.                                    9           designated as a testifying expert, but I am
10                        BY MR. EPPICH:                                             10          sure I have been asked over the last year or so
11                 Q.     Have you been asked to testify in                          11          from many different law firms.
12          any of the opioid litigations?                                           12                      BY MR. EPPICH:
13                        MR. UTTER:        You can answer.                          13                 Q.   In fact, you already appeared before
14                        THE WITNESS:          Asked to testify?                    14          the court in this multidistrict litigation,
15                        BY MR. EPPICH:                                             15          correct?
16                 Q.     Yes, sir.                                                  16                 A.   That's true.
17                 A.     I'm sure people have asked me over                         17                 Q.   Were you paid for that testimony?
18          the last year or so, two years.                                          18                 A.   Yes, I was paid.
19                 Q.     Well --                                                    19                 Q.   That was part of your consultancy
20                        MR. BENNETT:          And I will interject                 20          with the Fields firm?
21          an objection as to vague, whether you mean                               21                 A.   It wasn't part of the agreement with
22          testify as an expert because he is testifying                            22          Mr. Fields.
23          now.                                                                     23                 Q.   Who was -- which agreement was that
24                        MR. EPPICH:         Fair enough, James.                    24          testimony for?
25          Thank you.                                                               25                 A.   It wasn't really an agreement.              I

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1           was just asked to appear.               It was with Motley               1           all.
2           Rice.                                                                    2                       BY MR. EPPICH:
3                 Q.     Did Motley Rice pay you for your                            3                  Q.   But it's true that you are a paid
4           time?                                                                    4           speaker on the opioid crisis?
5                 A.     Yes.                                                        5                  A.   I do paid speaking engagements but
6                 Q.     Do you have an agreement with Motley                        6           there is no advertising.            I also do free
7           Rice?                                                                    7           speaking engagements.
8                 A.     I don't believe I have an agreement                         8                  Q.   How much do you get paid for your
9           with Motley Rice, no.                                                    9           speaking engagements on the opioid crisis?
10                Q.     Are you aware that the Motley Rice                          10                 A.   It depends on the audience.              If it's
11          firm represents plaintiffs in this lawsuit?                              11          a parent's group that lost children or loved
12                A.     Yes.                                                        12          ones, it's free.      They pay me to come out and
13                Q.     Do you have a current engagement                            13          talk and -- they pay me my expenses so they
14          with the Motley Rice firm for purposes of this                           14          will pay my flight.        Generally, I don't even
15          opioid lawsuit?                                                          15          take hotel.     They pay my flight out, I speak
16                A.     No.    That was a one-time appearance                       16          and then I leave.
17          to explain ARCOS and quotas.                   That was it.              17                      If it's a group of doctors, it might
18                Q.     Now, in addition to getting paid                            18          be anywhere from 2 to $5,000.                If it's a group
19          consultant fees by the plaintiffs' lawyers, you                          19          of -- another type of group, you know, it just
20          advertise on the Internet as a paid speaker on                           20          depends on the group and it depends on what
21          the opioid crisis; is that true?                                         21          they could pay, I mean, that's -- but for the
22                       MS. SINGER:         Objection.                              22          most part, it's really not set in stone.
23          Mischaracterizes the witness's testimony.                                23                 Q.   What is the most you have been paid
24                       MR. UTTER:        Go ahead.                                 24          for a speaking engagement on the opioid crisis?
25                       THE WITNESS:          I don't advertise at                  25                 A.   The most?      $5,000.

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1                  Q.     Have you signed any book deals on                             1                  Q.     And this was over the course of
2            the opioid crisis?                                                         2           several years, wasn't it?
3                  A.     No.                                                           3                  A.     Yes.
4                  Q.     Are you paid for any TV appearances                           4                  Q.     These e-mails would often have
5            relating to the opioid crisis?                                             5           government documents attached to them.
6                  A.     I don't do television.                                        6                  A.     That's true, yes.
7                  Q.     Are you being paid for any radio                              7                  Q.     In fact, other DEA employees knew to
8            appearances, podcasts?                                                     8           send you e-mail at both your work and personal
9                  A.     No.     I never take any money for                            9           e-mail addresses, didn't they?
10           podcasts.                                                                  10                 A.     Well, I don't know if other
11                 Q.     I want to talk to you briefly about                           11          employees knew that.              It just depends on where
12           your conduct with respect to documents during                              12          we were.      We were having issues with our
13           your time at the DEA.                                                      13          phones.      And sometimes it would just be easier
14                 A.     Yes.                                                          14          to send certain things to my personal account.
15                 Q.     You sent e-mails from your                                    15                 Q.     Do you still maintain copies of
16           government e-mail address to your personal                                 16          these documents and e-mails in your personal
17           e-mail address; is that true?                                              17          accounts?
18                 A.     Uh-huh.        Yes.                                           18                 A.     Everything that I had in the
19                 Q.     You sent work-related e-mails to                              19          personal account that I found I turned over to
20           your personal e-mail address on multiple                                   20          the Department of Justice.
21           occasions?                                                                 21                 Q.     But you still have copies of those
22                        MS. SINGER:           Objection.         Scope.               22          documents, don't you?
23                        BY MR. EPPICH:                                                23                 A.     Well, I was --
24                 Q.     Isn't that true?                                              24                        MS. SINGER:           Objection.
25                 A.     Yes.                                                          25          Argumentative.

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1                        THE WITNESS:            I was told I couldn't                  1                         (A short recess was taken.)
2           get rid of them until the end.                     So yes.                  2                         THE VIDEOGRAPHER:              We are going back
3                        BY MR. EPPICH:                                                 3           on the record.
4                  Q.    And did you share any of these                                 4                         The time is 10:08.
5           documents with "60 Minutes" or the Washington                               5                         You may proceed, Counsel.
6           Post?                                                                       6                EXAMINATION BY COUNSEL FOR MALLINCKRODT
7                  A.    No, sir.                                                       7                       PHARMACEUTICALS AND SPECGX LLC
8                  Q.    You didn't give "60 Minutes" the                               8                         BY MR. O'CONNOR:
9           Washington Post documents at all?                                           9                 Q.      Good morning, Mr. Rannazzisi.
10                 A.    No.                                                            10                A.      Good morning.
11                 Q.    Did you share any of these documents                           11                Q.      My name is Andrew O'Connor.              I
12          with the plaintiffs' lawyers --                                             12          represent one of the manufacturers in the case.
13                 A.    No.                                                            13          I'll be asking you some questions.
14                 Q.    -- that you're doing consulting work                           14                A.      Sure.
15          for?                                                                        15                Q.      I want to return to the topic of
16                 A.    Absolutely not.                                                16          quotas for a few minutes.
17                       MR. EPPICH:           Thank you, Mr.                           17                        DEA considered a number of different
18          Rannazzisi.                                                                 18          factors when determining quotas for controlled
19                       When pass you to one of my                                     19          substances, correct?
20          colleagues.                                                                 20                A.      Yes.
21                       Let's go off the record for a                                  21                Q.      And those factors are set by statute
22          minute.                                                                     22          and regulation, true?
23                       THE VIDEOGRAPHER:                  We are going off            23                A.      Yes.
24          the record.                                                                 24                Q.      They include the total net disposal
25                       The time is 10:04.                                             25          of controlled substances in prior years?

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1                  A.   Yes.                                                  1                       BY MR. O'CONNOR:
2                  Q.   They include trends in is the                         2                 Q.    Sure.
3           national rate of net disposal?                                    3                       In setting quotas for controlled
4                  A.   Yes.                                                  4           substances, the DEA considers information from
5                  Q.   Total actual or estimated                             5           multiple sources, correct?
6           inventories?                                                      6                 A.    Yes.
7                  A.   Yes.                                                  7                       MS. SINGER:          Objection.      Vague.
8                  Q.   Changes in accepted medical use?                      8                       BY MR. O'CONNOR:
9                  A.   Yes.                                                  9                 Q.    Those sources include the Food &
10                 Q.   Economic and physical availability                    10          Drug Administration?
11          of raw materials?                                                 11                A.    Yes.
12                 A.   Yes.                                                  12                Q.    And in every year while you were the
13                 Q.   Any emergencies that might have                       13          head of the Office of Diversion Control, DEA
14          occurred?                                                         14          considered input from the FDA, correct?
15                 A.   Yes.                                                  15                A.    We considered -- yes, we did.
16                 Q.   And any other factors that the DEA                    16                Q.    In addition to setting quotas
17          determines to be relevant, correct?                               17          regarding the total amount of controlled
18                 A.   Yes.                                                  18          substances that are allowed to be produced, DEA
19                 Q.   And in setting quotas for controlled                  19          also sets quotas for individual registrants,
20          substances, the DEA considers input from a                        20          correct?
21          variety of sources, true?                                         21                      MS. SINGER:          Objection.      Compound.
22                      MS. SINGER:          Objection.   Vague.              22                      THE WITNESS:           Could you rephrase
23                      MR. BENNETT:           I join that objection.         23          that question.
24                      THE WITNESS:           Could you repeat the           24                      BY MR. O'CONNOR:
25          question.    I'm sorry.                                           25                Q.    Sure.

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1                       DEA sets quotas for individual                        1           controlled substances, would it grant the
2            manufacturers, correct?                                          2           registrant a quota?
3                  A.   Talking about bulk API                                3                       MR. BENNETT:            Objection.
4            manufacturers?                                                   4                       MS. SINGER:           Objection.
5                  Q.   Let's start with that.                                5           Hypothetical.
6                  A.   Yes.                                                  6                       MR. BENNETT:            Objection.     Incomplete
7                  Q.   Okay.      And DEA also sets individual               7           hypothetical.       And calls for speculation.
8            procurement quota for dosage manufacturers?                      8           Scope.
9                  A.   Yes.      Correct.                                    9                       MR. UTTER:          Same objections.
10                 Q.   Okay.      And in assigning those                     10                      Go ahead.
11           quotas, DEA must stay within the aggregate                       11                      THE WITNESS:            I -- I can't answer
12           production quota that it has set, correct?                       12          that question.        Because it's -- every -- we --
13                 A.   The aggregate production quota is                     13          everything is very fact-specific when it comes
14           the ceiling.      We can't go above that by                      14          to manufacturers in quota.
15           statute.                                                         15                      BY MR. O'CONNOR:
16                 Q.   Understand.                                           16                 Q.   But if -- if you knew for a fact
17                      And that ceiling reflects the                         17          that a manufacturer is diverting controlled
18           legitimate scientific, medical and industrial                    18          substances, you would not give that
19           needs of the United States, correct?                             19          manufacturer a quota --
20                 A.   In addition to import, export --                      20                      MS. SINGER:           Objection.
21           export requirements and -- there are a couple                    21                      BY MR. O'CONNOR:
22           other factors, yeah.                                             22                 Q.   -- correct?
23                 Q.   When assigning a particular dosage                    23                      MS. SINGER:           Hypothetical.
24           manufacturer a procurement quota, if the DEA                     24                      MR. BENNETT:            Objection.     Incomplete
25           knew that that registrant was diverting                          25          hypothetical.       Calls for speculation.            And

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1           scope.                                                                 1           me that it's important that the DEA grant
2                          MR. UTTER:      Same objection.                         2           enough quota so that legitimate patients have
3                          Go ahead.                                               3           access to necessary medication?
4                          THE WITNESS:        I -- I can't answer                 4                        MS. SINGER:       Objection.          Vague.
5           that.       Because there's -- there's processes in                    5                        MR. BENNETT:        Objection.         Scope.
6           place to review and make a determination that                          6                        MR. UTTER:      Go ahead.
7           has other -- there's other components involved,                        7                        THE WITNESS:        Quota, under 826, is
8           not just the Office of Diversion Control.                              8           based on legitimate medical, scientific,
9                          BY MR. O'CONNOR:                                        9           industrial export needs of the country.
10                Q.       Was there ever a time at DEA that                       10                       BY MR. O'CONNOR:
11          the DEA granted a procurement quota to a                               11                Q.     Would you agree that granting
12          manufacturer it knew was diverting products?                           12          adequate quota is necessary to ensure an
13                         MR. BENNETT:        Objection.   Scope.                 13          adequate and uninterrupted supply of
14                         You're not authorized to disclose                       14          pharmaceutical-controlled substances?
15          information regarding any specific nonpublic                           15                A.     I can only agree with what the
16          DEA investigations or activities.                                      16          statute requires.       And the statute requires
17                         To the extent that there's public                       17          that we allot quota to meet the needs of the
18          information that allows you to answer this                             18          medical, industrial and scientific requirements
19          question, you may.          But you may not disclose                   19          of the country.
20          any specific DEA investigations or activities                          20                Q.     And if you don't grant enough quota,
21          that are nonpublic.                                                    21          there can be drug shortages, correct?
22                         THE WITNESS:        I can't answer that                 22                       MS. SINGER:       Objection.          Vague.
23          question.                                                              23          Objection.     Scope.
24                         BY MR. O'CONNOR:                                        24                       THE WITNESS:        I actually -- no.
25                Q.       Mr. Rannazzisi, would you agree with                    25          That's not correct.

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1                          BY MR. O'CONNOR:                                        1                        MR. UTTER:      Go ahead.
2                 Q.       It's not correct that, if there is                      2                        THE WITNESS:        Again, it -- like
3           not enough quota granted, that there could be                          3           everything else, with quota, it -- I have to --
4           drug shortages?                                                        4           I'd have to have a complete set of facts in
5                          MR. BENNETT:        Objection.   Form.                  5           order to answer that question.
6                          THE WITNESS:        It -- it's not correct              6                        MR. O'CONNOR:        Okay.      Mr.
7           because the Drug Enforcement Administration has                        7           Rannazzisi, I'm going to show you a document.
8           no authority to dictate what exactly a                                 8                        Counsel.
9           manufacturer does once they're issued with                             9                        MR. UTTER:      Is this marked as an
10          quota.                                                                 10          exhibit or --
11                         So there may be a situation where a                     11                       MR. O'CONNOR:        Yes.
12          manufacturer decides to divert the amount of                           12                       We'll mark that.          I think we're on
13          quota authority he has to another product,                             13          number --
14          therefore creating a shortage.                                         14                       THE REPORTER:        Exhibit 5.
15                         It's not necessarily the amount of                      15                       MR. O'CONNOR:        -- 6.
16          quota.       It's what they're doing with the quota                    16                       5 or 6.
17          that could create the shortage.                                        17                       THE REPORTER:        5.
18                         BY MR. O'CONNOR:                                        18                       (Deposition Exhibit 5 was marked for
19                Q.       But would you agree that, if the DEA                    19          identification.)
20          set the quota far too low, that could result in                        20                       MS. SINGER:       What is the exhibit
21          a drug shortage?                                                       21          number?
22                         MS. SINGER:       Objection.                            22                       THE REPORTER:        Exhibit 5.
23          Hypothetical.       Calls for speculation.                             23                       MS. SINGER:       Thank you.
24                         MR. BENNETT:        Objection.   Incomplete             24                       MR. O'CONNOR:        Just for the record,
25          hypothetical.       Calls for speculation.         Scope.              25          this is Bates No. US-DEA-00011611.

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1                        BY MR. O'CONNOR:                                               1           experience at DEA, do you agree with that
2                  Q.    Mr. Rannazzisi, do you recognize                               2           statement, as you sit here today?
3           this document?                                                              3                       MS. SINGER:          Objection.      Scope.
4                  A.    Yes, I do.                                                     4                       THE WITNESS:           Drug shortages can
5                  Q.    You wrote it, correct?                                         5           affect the public health.               Absolutely.
6                  A.    Yes.                                                           6                       BY MR. O'CONNOR:
7                  Q.    Okay.                                                          7                  Q.   Okay.     And are you aware that the
8                  A.    I was -- I was part of -- I was part                           8           DEA has been criticized for not simply lowering
9           of the writing team.                                                        9           the quota to help address the problem of opioid
10                 Q.    Okay.     And if you flip to the back                          10          abuse?
11          page, that's your signature or someone signing                              11                      MS. SINGER:          Objection.
12          on your behalf, correct?                                                    12                      MR. BENNETT:           Vague.
13                 A.    That was one of my execs signing on                            13                      MS. SINGER:          Objection.      Foundation.
14          my behalf.     Because I was out of town when it                            14                      MR. BENNETT:           Vague as to time.
15          was finalized.                                                              15                      MR. UTTER:         Same objection.
16                 Q.    But you approved of the letter?                                16                      Go ahead.        You can answer.
17                 A.    Yes.     I -- I had to read it to                              17                      THE WITNESS:           I'm just -- where did
18          approve it.                                                                 18          -- I -- I -- I am aware that that has actually
19                 Q.    And I'm going to direct your                                   19          -- that people have talked about that, both in
20          attention to Page 10 of the document.                                       20          Congress and -- and in the private industry,
21                       Would you just read for me the first                           21          yes.
22          sentence of the conclusion.                                                 22                      BY MR. O'CONNOR:
23                 A.    "There can be no doubt that drug                               23                 Q.   But the truth is DEA can't simply
24          shortages adversely affect the public health."                              24          turn off the supply of opioids through quota
25                 Q.    Based on your knowledge and                                    25          because that would hurt legitimate patients,

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1           correct?                                                                    1           podcasts.
2                        MS. SINGER:          Objection.            Compound.           2                  Q.   Have you appeared on one called
3           Objection.     Foundation.                                                  3           Cover2 Resources?
4                        MR. BENNETT:           Objection.           Form.              4                  A.   Yes.
5           Calls for legal conclusion.                    Scope.                       5                       MR. O'CONNOR:           I'm going to mark
6                        THE WITNESS:           DEA is required, under                  6           Exhibit No. 6.
7           826, to set the quota to meet the legitimate                                7                       (Deposition Exhibit 6 was marked for
8           medical, scientific, industrial needs and                                   8           identification.)
9           export needs of the country.                    And that's what             9                       BY MR. O'CONNOR:
10          we're required to do.                                                       10                 Q.   This is a certified transcript of an
11                       BY MR. O'CONNOR:                                               11          episode of the Cover2 Resources podcast in
12                 Q.    And if you don't set that number                               12          which you appeared.
13          high enough, that might prevention legitimate                               13                      I'll direct your attention to Page
14          patients from receiving medication, correct?                                14          25 of this transcript.
15                       MS. SINGER:          Objection.            Asked and           15                      At the top of the page you say:
16          answered.     Vague.                                                        16          "It's very easy to say, 'Well, all DEA has to
17                       MR. BENNETT:           Objection.           Incomplete         17          do is cut the quota.'            The problem is you can't
18          hypothetical.                                                               18          cut a quota.       In a quota system there's a
19                       THE WITNESS:           Again, I can only go                    19          hundred -- well, let's just come up with a
20          back to 826 and tell you exactly what the                                   20          number -- 100 kilograms of a certain -- of
21          statute says.                                                               21          oxycodone, the basic class, which is what we
22                       BY MR. O'CONNOR:                                               22          set the quota in a basic class.                A hundred
23                 Q.    Okay.     Mr. Rannazzisi, have you ever                        23          kilograms of oxycodone in the basic class form
24          appeared on a podcast?                                                      24          is the quota, and that's based on downstream
25                 A.    Yes.     I've appeared on several                              25          sales, for the most part."

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1                       Now, do you see where I am here?                            1                 Q.    Page 25?
2                  A.   Yeah.     I am following you along.                         2                 A.    25.    Oh.
3                  Q.   Okay.     Now, I'd -- I'd like for you                      3                       "So if I know that a hundred
4           to take a look at what you say in the next                              4           kilograms is the quota, and that's what's going
5           sentence that begins "So."                                              5           to cover all the downstream sales and all the
6                       Could you read that for me?                                 6           research and everything else, and I cut the
7                       MR. UTTER:         Before you do that, make                 7           quota, just cut it by 80 -- by 20 percent, say,
8           sure you understand the context in which this                           8           well, that sound like a great idea.              But
9           is all based at.                                                        9           remember, you have drug seekers competing" for
10                      THE WITNESS:           Yeah.      What I was --             10          real life patients -- "with real life patients
11                      MR. UTTER:         And I object to the fact                 11          for that quota."
12          that there's no foundation to -- to the                                 12                Q.    Do you agree with that statement, as
13          question.     And he's reading the document into                        13          you sit here today?
14          the record without that foundation.                                     14                      MS. SINGER:         Objection.     The
15                      THE WITNESS:           Could I read a couple                15          document is out of context.
16          of pages before?                                                        16                      MR. UTTER:        Go ahead.
17                      MR. O'CONNOR:            Sure.                              17                      THE WITNESS:          I'm sorry.
18                      THE WITNESS:           Thanks.                              18                      BY MR. O'CONNOR:
19                      Okay.                                                       19                Q.    Do you agree with that statement?
20                      BY MR. O'CONNOR:                                            20                A.    Yes.
21                 Q.   Okay.     And could you read, please,                       21                Q.    Because if you were to just cut the
22          the sentence that begins "So if I know."                                22          quota by 80 or even 20 percent, there would be
23                      MR. UTTER:         Object.        Foundation.               23          consequences for real life patients, correct?
24                      THE WITNESS:           What page is that?                   24                A.    Yes.
25                      BY MR. O'CONNOR:                                            25                Q.    Thank you.

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1                       Earlier today you mentioned the                             1           held to the same standards as distributors.
2           distributor initiative.                                                 2                       BY MR. O'CONNOR:
3                       Are you familiar with what that is?                         3                 Q.    So in answer to my question, there
4                  A.   Yes.                                                        4           was not a manufacturers --
5                  Q.   Fair to say that the distributor                            5                       MR. BENNETT:          Objection.
6           initiative involved meetings with distributors                          6                       BY MR. O'CONNOR:
7           on the subject of regulatory compliance?                                7                 Q.    -- initiative, correct?
8                       MR. BENNETT:           Objection.                           8                       MR. BENNETT:          Objection.
9           Foundation.                                                             9           Misstates --
10                      THE WITNESS:           The distributor                      10                      MS. SINGER:         Argumentative.
11          initiative was created to -- to reemphasize                             11          Mischaracterizes the witness's testimony.
12          what requirements under 21 C.F.R. and 21 --                             12                      THE WITNESS:          Again, a distributor
13          the -- the USC were to the distributors to                              13          initiative would encompass manufacturers.
14          ensure that they were acting appropriately and                          14          Because a coincident activity to manufacturing
15          within -- complying with the act and the                                15          is distributing.
16          regulations.                                                            16                      BY MR. O'CONNOR:
17                      BY MR. O'CONNOR:                                            17                Q.    And during the course of the
18                 Q.   During you time as the office -- as                         18          distributor initiative, did you personally meet
19          the head of the Office of Diversion Control,                            19          with any manufacturers?
20          was there ever a manufacturer initiative?                               20                A.    During the distributor initiative, I
21                      MR. BENNETT:           Objection.        Vague.             21          only met with one company.
22                      THE WITNESS:           We -- we -- a                        22                Q.    Was that company a manufacturer?
23          manufacturer -- a coincident activity to                                23                A.    It was a distributor.
24          manufacturing is distributors.                 And                      24                Q.    To your knowledge, did anyone on
25          manufacturers know that they are -- they're                             25          your team meet personally with a manufacturer

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                                                                 Page 109                                                                             Page 110

1           during the distributor initiative meetings?                            1           clear guidance.       1301.74(b) specifically says a
2                  A.    I don't remember exactly.               It seems          2           suspicious order is orders of unusual size,
3           to me that Southwood was actually a                                    3           frequency, or substantially deviating from the
4           manufacturer.       And I'm pretty sure they were                      4           normal ordering pattern.              I think that's pretty
5           part of the initiative.                                                5           straightforward.
6                  Q.    As you sit here today, other than                         6                       BY MR. O'CONNOR:
7           Southwood, you don't recall any meetings with                          7                 Q.    Are you familiar with the phrase
8           manufacturers as part of the distributor                               8           "Know your customer's customer"?
9           initiative, correct?                                                   9                 A.    I've heard that phrase.               But that
10                       MS. SINGER:          Objection.                           10          phrase was used after I -- I left.
11          Mischaracterizes the witness's testimony.                              11                Q.    Okay.     So during your time as the
12                       THE WITNESS:           I don't recall -- you              12          head of the Office of Diversion Control, "Know
13          know, again, we met with a lot of people.                    I         13          your customer's customer" was not a term that
14          don't recall a specific instance or a specific                         14          you were familiar with?
15          manufacturer.       But that doesn't mean that they                    15                A.    No.     Due diligence was the term we
16          weren't.     I just don't recall one.                                  16          utilized.    Due diligence on your customers.
17                       BY MR. O'CONNOR:                                          17          Making sure you know your customers and know
18                 Q.    Would you agree with me that, when                        18          what they're doing.
19          it comes to suspicious order monitoring,                               19                Q.    Okay.     Would you agree that the DEA
20          providing registrants with clear guidance is                           20          did not expect manufacturers to police the
21          important?                                                             21          entire supply chain?
22                       MS. SINGER:          Objection.       Vague.              22                      MR. BENNETT:           Objection.      Vague.
23                       MR. BENNETT:           Objection.      Vague.             23          Incomplete hypothetical.              Scope.
24          Objection.     Scope.                                                  24                      MR. UTTER:         Go ahead.
25                       THE WITNESS:           The registrants had                25                      THE WITNESS:           No.     I -- well, I do

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1           agree that they should have -- they're --                              1                 A.    Uh-huh.
2           they're required to know their customers.                              2                 Q.    And I'd like you to turn to pages 18
3           They're required -- they're held to the same                           3           and 19.
4           standard as a distributor.                                             4                       Bottom of Page 18 you say:                 "People
5                       So yes, they're supposed to know                           5           always say, 'Well, you can't expect us to
6           their customers; they're supposed to be able to                        6           police the -- the supply chain.'                 And I say, 'I
7           make a determination that the drugs that                               7           don't expect you to police the supply chain.
8           they're shipping downstream are not being                              8           But I do expect you to police your own
9           diverted.    The same obligation as the                                9           customers.'"
10          distributor.                                                           10                      Do you see that?
11                      BY MR. O'CONNOR:                                           11                A.    Yes.
12                Q.    But manufacturers aren't required to                       12                Q.    So you expect manufacturers to
13          police the entire supply chain, correct?                               13          police their own customers --
14                      MS. SINGER:          Objection.      Asked and             14                A.    Absolutely.
15          answered.                                                              15                Q.    -- correct?
16                      MR. BENNETT:           Objection.      Vague.              16                      But you do not expect them to police
17          Incomplete hypothetical.              And scope.                       17          the entire supply chain.
18                      THE WITNESS:           Again, they're --                   18                      MR. BENNETT:           Object.
19          they're required to do exactly what                                    19                      MS. SINGER:          Objection.
20          distributors do.                                                       20          Mischaracterizes the document.                 Takes
21                      BY MR. O'CONNOR:                                           21          statements out of context.               And as you know,
22                Q.    Okay.     Take a look at that same                         22          the rule requires that you provide whole of the
23          exhibit you have in front of you --                                    23          context in the relevant document, like here,
24                A.    Yeah.                                                      24          Page 18, in the first full paragraph.
25                Q.    -- No. 6.                                                  25                      MS. MAINIGI:           Special Master Cohen,

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                                                                    Page 113                                                                          Page 114

1           could we ask that there not be speaking and                               1           the -- the distributors and the pharmacies.                 I
2           coaching objections of the type that were made.                           2           think that that's important.
3                           MS. SINGER:          Rule 106.                            3                       Obviously they can't look at the
4                           SPECIAL MASTER COHEN:              You know, an           4           patients unless they actually, you know --
5           objection needs to be succinct.                    And that was           5           they -- they -- they could look at the
6           more than necessary, please.                                              6           pharmacies, and they look -- they look at the
7                           BY MR. O'CONNOR:                                          7           distributors.     And I think that's a
8                  Q.       Do you need the question again?                           8           requirement.
9                  A.       Yes.                                                      9                       It -- the Controlled Substances Act,
10                 Q.       Okay.     But you do not expect                           10          the infrastructure is a system of checks and
11          manufacturers to police the entire supply                                 11          balances.     And for it to work, everybody's got
12          chain, correct?                                                           12          to do what's required of them in their specific
13                          MS. SINGER:          Objection.      Asked and            13          role within the supply chain.
14          answered.        Mischaracterizes the document.                           14                Q.    In terms of what's required of
15                          MR. BENNETT:           Objection.     Vague.              15          manufacturers, did DEA ever issue any sort of
16          Objection.        Incomplete hypothetical.                                16          official guidance informing manufacturers that
17          Objection.        Scope.                                                  17          they were to monitor pharmacies?
18                          THE WITNESS:           Could you clarify what             18                A.    The guidance was that --
19          the entire supply chain is.                                               19                      MR. BENNETT:         Wait a second.
20                          BY MR. O'CONNOR:                                          20                      Objection.       Vague.
21                 Q.       The entire supply chain would refer                       21                      You can answer.
22          to, in addition to the manufacturers, the                                 22                      THE WITNESS:         The guidance was that
23          distributors, the pharmacies, the doctors and                             23          they have to comply with the obligations, both
24          the patient.                                                              24          the manufacturer and the distributors.                It's in
25                 A.       They absolutely should be looking at                      25          the Code of Federal Regulations.             It's

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1           coincident.                                                               1                       MS. SINGER:        Objection.     Lack of
2                           Activity to distribute by a                               2           foundation.
3           manufacturer.           Therefore, they are required to                   3                       THE WITNESS:         The letters were
4           do exactly the same thing that a distributor                              4           written and sent to the manufacturers because
5           did.        That's where the guidance is in the Code                      5           they also had a distribution component which
6           of Federal Regulations.                                                   6           required them to meet the same standards --
7                           BY MR. O'CONNOR:                                          7           legal standards under the Controlled Substances
8                  Q.       Beyond the text of the regulation,                        8           Act and the Code of Federal Regulations in
9           though, DEA never sent a letter to registrants                            9           1301.74(b).
10          informing manufacturers that they needed to                               10                      BY MR. O'CONNOR:
11          monitor the pharmacies distributors were                                  11                Q.    DEA never published a formal
12          selling to, correct?                                                      12          guidance document informing manufacturers that
13                          MR. BENNETT:           Objection.     Vague.              13          they were to monitor the pharmacies
14                          You can answer.                                           14          distributors were selling to, did it?
15                          THE WITNESS:           If I'm not mistaken,               15                      MS. SINGER:        Objection.     Vague.
16          every manufacturer got the 2006 and 2007                                  16                      THE WITNESS:         That would be --
17          letters that laid out what the obligations were                           17          formal guidance, no.         But they're held to the
18          under the Controlled Substances Act in the Code                           18          same standards.     They still have to maintain
19          of Federal Regulations.                                                   19          effective controls against diversion, which is
20                          BY MR. O'CONNOR:                                          20          a statutory obligation as well as a regulatory
21                 Q.       But neither of those letters said                         21          obligation.     And to do that they have to know
22          expressly that manufacturers had to monitor                               22          what is happening with their drugs downstream.
23          pharmacies that distributors were selling to,                             23                      BY MR. O'CONNOR:
24          did they?                                                                 24                Q.    As you sit here today, could you
25                 A.       The --                                                    25          point me to any guidance in writing provided to

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1           any manufacturer that articulates the duty you                            1           charge-back is -- is referred to by different
2           just said existed?                                                        2           monikers throughout the supply chain.
3                          MR. BENNETT:          Objection.     Scope.                3                       But from what I understand, it is --
4                          You're not authorized to disclose                          4           is a manufacturer collects data on downstream
5           any individual DEA investigations or activities                           5           sales through some sort of compensation
6           that are nonpublic.            To the extent that you can                 6           agreement with the distributor or the
7           answer that question without disclosing                                   7           pharmacies.
8           individual DEA investigations or activities                               8                       BY MR. O'CONNOR:
9           with a particular manufacturer that is                                    9                 Q.    When did you first hear the term
10          nonpublic, then you may answer the question.                              10          "charge-back"?
11                         MS. SINGER:         Objection.                             11                A.    A while ago.           Probably sometime
12          Mischaracterizes the witness's testimony.                                 12          before 2010.
13                         MR. UTTER:        Go ahead.                                13                Q.    Okay.     Do you remember how you first
14                         THE WITNESS:          I stand by what I                    14          came to hear that term?
15          said.       The obligations are in the Code of                            15                      MR. BENNETT:           Objection.     Scope.
16          Federal Regulations and also in 21 USC.                    And            16                      You're not authorized to disclose
17          those have been in place since the early '70s.                            17          investigative information that you acquired
18                         BY MR. O'CONNOR:                                           18          that is nonpublic.          To the extent that you have
19                Q.       Mr. Rannazzisi, are you familiar                           19          disclosed publicly when you heard of that or
20          with the term "charge-back"?                                              20          you have public information, you may use that,
21                A.       Yes.                                                       21          but not any confidential investigative
22                Q.       What do you understand a charge-back                       22          information.
23          to be?                                                                    23                      THE WITNESS:           I seem to remember the
24                         MR. BENNETT:          Objection.     Scope.                24          first time I heard about charge-back
25                         THE WITNESS:          "Charge-back" means --               25          information was at a conference.                And it was at

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1           a -- it was at a conference involving multiple                            1                       It's up to the -- the distributor or
2           disciplines within industry and the regulated                             2           the manufacturer, distributor to make a
3           -- the regulators.                                                        3           decision what information they will use to
4                          And it came up in a conversation,                          4           determine a suspicious orders.
5           but I -- I don't recall exactly when.                                     5                       BY MR. O'CONNOR:
6                          BY MR. O'CONNOR:                                           6                 Q.    So DEA never issued any guidance to
7                 Q.       In your understanding, do                                  7           manufacturers informing them that charge-backs
8           charge-backs have any role in the suspicious                              8           were to play a role in suspicious order
9           order monitoring process?                                                 9           monitoring, correct?
10                         MR. UTTER:        Go ahead.       You can                  10                      MS. SINGER:          Objection.      Asked and
11          answer.                                                                   11          answered.
12                         THE WITNESS:          They may, yes.                       12                      BY MR. O'CONNOR:
13                         BY MR. O'CONNOR:                                           13                Q.    I would just like a yes-or-no
14                Q.       Did DEA ever issue any guidance to                         14          answer.
15          manufacturers informing them that charge-backs                            15                      MS. SINGER:          Objection.
16          were to play a role in suspicious order                                   16                      MR. BENNETT:           Objection.
17          monitoring?                                                               17                      The witness can answer the question.
18                A.       D --                                                       18                      THE WITNESS:           Besides the
19                         MR. BENNETT:          Objection.     Vague.                19          regulations and the C.F.R. -- in the CSA, no, I
20          And vague as to time.                                                     20          don't know if they ever issued a regulation --
21                         THE WITNESS:          DEA doesn't -- DEA                   21          any kind of document regarding chargebacks.
22          does not tell a registrant or either the man --                           22                      BY MR. O'CONNOR:
23          or a registrant involved in distribution                                  23                Q.    Okay.     When you were head of the
24          activities what's a suspicious order, besides                             24          Office of Diversion Control, there was a unit
25          the -- the definition in 1301.74(b).                                      25          within that office that analyzed ARCOS data,

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1           correct?                                                                1           months behind because of the reporting
2                  A.     Yes.                                                      2           requirements under the C.F.R., so if you are
3                  Q.     Did that group use ARCOS data to                          3           asking me if ARCOS is timely reported, the
4           look for leads for investigations?                                      4           answer is they are always behind, you know.
5                  A.     They can, yes.                                            5                        So when the investigators look at
6                  Q.     Did they, in fact, do that?                               6           ARCOS data, you are always four to six months
7                  A.     Yes.                                                      7           behind and what was actually shipped
8                  Q.     And would you agree that analyzing                        8           downstream.
9           the ARCOS data was helpful to the agency in                             9                        BY MR. O'CONNOR:
10          generating leads for investigations?                                    10                Q.     Does the fact that the information
11                        MR. BENNETT:           Objection.      Vague.             11          is received on a slight delay affect its
12          And vague as to time.                                                   12          usefulness at identifying diversion?
13                        THE WITNESS:           The analysis of ARCOS              13                A.     Well --
14          information can help, yes, leads for                                    14                       MS. SINGER:       Objection.       Vague.
15          investigations.                                                         15                       THE WITNESS:        Well, it's not a
16                        BY MR. O'CONNOR:                                          16          substitute for suspicious orders if that what
17                 Q.     Did the DEA use ARCOS for                                 17          you are going.     A suspicious order under
18          investigative leads in a timely manner in your                          18          1301.74(b) is reported when discovered.                  ARCOS
19          view?                                                                   19          is four to six months behind so, therefore, we
20                        MS. SINGER:          Objection.       Vague.              20          are always behind.        If we are going solely by
21                        MR. BENNETT:           Objection.      Vague.             21          ARCOS, that is why there is a suspicious order
22          And objection.         Scope.        Regarding opinions.                22          monitoring requirement in the C.F.R.
23                        THE WITNESS:           I don't understand                 23                       MR. BENNETT:        Counsel, we didn't
24          what you mean by "in a timely manner."                                  24          take a break when we switched.               When you get to
25                        ARCOS is generally three to six                           25          a good point, could we take a break.

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1                         MR. O'CONNOR:          Sure.      We can take a           1                        The rule is clear that you don't
2           break now.                                                              2           wait until cross to fill in the next segment.
3                         THE VIDEOGRAPHER:             We are going off            3           This is not a deposition question answer,
4           the record.      This is end of Media Unit No. 2.                       4           question answer, but a running colloquy in an
5           The time is 10:45.                                                      5           interview, and from the plaintiffs' standpoint,
6                         (A short recess was taken.)                               6           both colloquies, counsel took two sentences out
7                         THE VIDEOGRAPHER:             We are going back           7           of context, where the next sentence if it was
8           on the record.        This is the start of Media Unit                   8           read would truly put some question to the point
9           No. 3.      The time is 11:00.                                          9           counsel was making.
10                        You may proceed, Counsel.                                 10                       We ask in the future or even now
11                        MR. SHKOLNIK:          Special Master Cohen,              11          that counsel be directed to go back and present
12          on behalf of Cuyahoga County, CT1 plaintiff,                            12          the question and followup statements to the
13          there was an objection lodged before and there                          13          witnesses.
14          was a series of questions by counsel where he                           14                       MR. O'CONNOR:        First of all --
15          was quoting a specific one sentence from a                              15                       SPECIAL MASTER COHEN:            Go ahead.
16          transcript of an episode of a speech or a                               16                       MR. O'CONNOR:        First of all, we
17          podcast that the witness gave and the objection                         17          think the -- that the questions as posed to the
18          made was under Rule 106 that is entitled:                               18          witness were clear and didn't require any
19          "Remainder of or related to writings or                                 19          further context.
20          recorded statements.            If a party introduced all               20                       Second, we did introduce the entire
21          or part of a writing or a recorded statement,                           21          exhibit as an exhibit, the entire document
22          the adverse party may require the introduction                          22          there.
23          at that time of any other part or any other                             23                       Third, if and when this ever gets to
24          writing or recorded statement that in fairness                          24          be played at trial, we can certainly provide
25          ought to be considered at the same time.                                25          the finder of fact with the entire document.

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1                       SPECIAL MASTER COHEN:               So just an                1            additional context is necessary, and then we
2           observation.       First of all, counsel is free to                       2            can deal with it at that time.
3           make a 106 objection.            I just think that it can                 3                       MS. SINGER:           Okay.
4           be made in five words or less.                 We all know                4                       BY MR. O'CONNOR:
5           what the shorthand is, and so it doesn't need                             5                  Q.   Mr. Rannazzisi, do you know an
6           to be a long speaking objection.                                          6            individual named Lenny Bernstein?
7                       Second of all, this is a discovery                            7                  A.   Yes.
8           deposition and so what happens at trial which                             8                  Q.   He's a reporter at the Washington
9           is really more -- I'm not saying that Rule 106                            9            Post, correct?
10          isn't directed at depositions, but it's more                              10                 A.   Yes.
11          critical at trial and so I just make that                                 11                 Q.   And you have spoken with him in the
12          observation.                                                              12           past?
13                      And finally, I agree that if counsel                          13                 A.   Yes.
14          wants to make a Rule 106 objection and ask that                           14                 Q.   On multiple occasions, correct?
15          additional context be given to the witness,                               15                 A.   Yes.
16          that objection can be made and we can deal with                           16                 Q.   Are you familiar with Scott Higham?
17          it at that time.                                                          17                 A.   Yes.
18                      All right.         Let's resume.                              18                 Q.   He is also a reporter at the
19                      MS. SINGER:          Special Master Cohen,                    19           Washington Post, isn't he?
20          can I just ask a clarifying question about                                20                 A.   Yes.
21          speaking objections, when there is a 106                                  21                 Q.   And you have met with him on
22          objection, do you want us to point you to the                             22           multiple occasions?
23          testimony or --                                                           23                 A.   Yes.
24                      SPECIAL MASTER COHEN:               No.    You just           24                 Q.   And at any time in your meetings
25          need to say we object under Rule 106,                                     25           with Mr. Bernstein and Mr. Higham, did you

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1           provide them with any documents?                                          1                  Q.   Do you remember roughly when that
2                  A.    No.                                                          2           was?
3                  Q.    Are you aware of anyone that                                 3                  A.   It was probably a month or two
4           provided documents belonging to the DEA to Mr.                            4           later.
5           Higham or Mr. Bernstein?                                                  5                  Q.   Did you reach out to them?
6                        MS. SINGER:          Objection.          Scope.              6                  A.   No.
7                        THE WITNESS:           I'm not aware of any                  7                  Q.   They came to you?
8           documents provided to them other than what the                            8                  A.   Yes.
9           department provided to them.                                              9                  Q.   And at any time in your discussions
10                       BY MR. O'CONNOR:                                             10          with Mr. Bernstein and Mr. Higham, did you
11                 Q.    Are you aware that they received                             11          provide them with any information that you
12          confidential documents that were not provided                             12          learned in the course of your duties at DEA?
13          by the department?                                                        13                 A.   Actually, when we talked, I told
14                       MS. SINGER:          Objection.          Foundation.         14          them specifically that the information can be
15                       MR. UTTER:         Same objection.                           15          obtained either through PACER or FOIA, but I
16                       Go ahead.                                                    16          didn't.
17                       THE WITNESS:           No.                                   17                 Q.   So you did not provide them with any
18                       BY MR. O'CONNOR:                                             18          confidential --
19                 Q.    When did you first meet with Mr.                             19                 A.   No.
20          Bernstein?                                                                20                 Q.   -- DEA information.               Okay.
21                 A.    It was -- it was probably in late --                         21                      MR. BENNETT:           Let him finish the
22          probably '16, sometime mid-'16, 2016.                                     22          question first, please.
23                 Q.    Did you meet with Mr. Higham around                          23                      THE WITNESS:           Okay.
24          that same time?                                                           24                      BY MR. O'CONNOR:
25                 A.    I met Mr. Higham later.                                      25                 Q.   When you first consulted with Mr.

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1           Bernstein, had you already been retained by                          1                         MR. BENNETT:           Objection.       Form of
2           plaintiffs' lawyers in connection with the                           2           the question.         Objection to the
3           opioid investigation?                                                3           mischaracterization of the testimony that he
4                           MS. SINGER:       Objection.   Vague.                4           did provide documents to Mr. Bernstein or Mr.
5                           THE WITNESS:        I don't recall.                  5           Higham.
6                           BY MR. O'CONNOR:                                     6                         MS. SINGER:          Objection.        Scope.
7                  Q.       When you first spoke with Mr.                        7                         THE WITNESS:           What was the question
8           Higham, had you been retained by plaintiffs'                         8           again.      I'm sorry.
9           lawyers in connection with the opioid                                9                         BY MR. O'CONNOR:
10          litigation?                                                          10                Q.      Have you ever provided any reporters
11                 A.       I think it was right about that                      11          or journalists DEA documents?
12          time.        I had done -- it was right about that                   12                A.      No.     What I generally do is if a
13          time, because I think they saw that I had done                       13          reporter asks questions, I basically tell them
14          other -- my name was mentioned in other                              14          it's available through FOIA or if it's
15          newspaper articles and so that's when -- when                        15          specific, I tell them to look on PACER.                       Almost
16          Lenny approached me, so I guess it was right                         16          all of our cases are listed on PACER.
17          about that time, yes.                                                17                        MR. O'CONNOR:           We will take a short
18                 Q.       Are you still in contact with Mr.                    18          break and switch questioners.                    Go off the
19          Bernstein or Mr. Higham today?                                       19          record.
20                 A.       I haven't talked to Mr. Bernstein in                 20                        THE VIDEOGRAPHER:              We are going off
21          a long time and Mr. Higham, I talked to him,                         21          the record.         The time is 11:08.
22          you know, probably once every couple of weeks.                       22                        (A short recess was taken.)
23                 Q.       Other than Bernstein or Higham, have                 23                        THE VIDEOGRAPHER:              We are back on
24          you disclosed to any other reporters or                              24          the record.         The time is 11:11.
25          journalists any documents from the DEA?                              25                        You may proceed, Counsel.

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1                       EXAMINATION BY COUNSEL FOR WALMART                       1                  Q.     Of the diversion control group,
2                           BY MR. STEPHENS:                                     2           right?
3                  Q.       Mr. Rannazzisi, good morning.           My           3                  A.     Yes.
4           name is Neal Stephens.              I'm with the Jones Day           4                  Q.     Okay.      So you would help set the
5           law firm and I represent Walmart.                                    5           tone and the culture for how the diversion
6                           How are you this morning?                            6           control group was going to handle every aspect
7                  A.       Fine, thank you.                                     7           of enforcing the Controlled Substances Act?
8                  Q.       I will have some questions for you                   8                         MR. BENNETT:            Objection.       Vague.
9           that relate to the retail chain pharmacies and                       9                         THE WITNESS:            When you say, "set the
10          those will -- in this litigation will include                        10          tone," I'm just curious, what does that mean.
11          Walmart, CVS, Rite Aid, Walgreens and HBC,                           11                        BY MR. STEPHENS:
12          Giant Eagle.        Sometimes I will use them all or                 12                 Q.     So how large is this organization
13          sometimes I may just use brand retail chain                          13          you are running?
14          pharmacies.                                                          14                 A.     Well, in headquarters, it was about
15                 A.       Okay.                                                15          300 -- between contractors and investigators,
16                 Q.       All right.      So I'd like to start by              16          employees, about 340, and then in the field,
17          asking you a few questions about your general                        17          there was probably 600 -- between 5 and 600
18          employment history and your general duties in                        18          diversion investigators and support staff and
19          your various positions at DEA, okay?                                 19          probably about 1200 special agents and task
20                 A.       Yes, sir.                                            20          force officers.
21                 Q.       All right.      As head of the diversion             21                 Q.     So it's a big organization, correct?
22          control unit, your duties would have included                        22                 A.     Uh-huh.
23          the leadership responsibility for the entire                         23                 Q.     And my point was, as the leader,
24          group, correct?                                                      24          kind of like a CEO in a company, part of your
25                 A.       For the entire division.                             25          responsibility and your job duties was to set

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1           the tone for how the organization was going to                       1                        THE WITNESS:        We basically
2           go about doing its business; is that fair?                           2           investigated diversion across the board.
3                        MS. SINGER:         Same objection as to                3                        BY MR. STEPHENS:
4           vagueness.                                                           4                  Q.    Okay.   And part of the role as the
5                        MR. BENNETT:          Join that Objection.              5           leader was to try and identify who was
6                        THE WITNESS:          If you are saying what            6           diverting; is that fair?
7           the priorities are, how -- what the priorities                       7                  A.    Investigators identified who was
8           are, our priorities are based on what the field                      8           diverting.
9           management feels the priorities are and then                         9                  Q.    And they reported up to you as the
10          just following what the violations or -- of the                      10          leader?
11          Controlled Substances Act in the code of                             11                       MS. SINGER:       Objection.
12          federal regulations.                                                 12                       THE WITNESS:        Not every case, no.
13                       BY MR. STEPHENS:                                        13                       BY MR. STEPHENS:
14                Q.     As the deputy assistant                                 14                 Q.    Some of the investigators who were
15          administrator for the diversion control group,                       15          trying to identify where diversion was
16          would you agree that you supervised DEA's                            16          occurring reported up to you, right?
17          efforts to identify where diversion was                              17                 A.    Investigations would be reported up
18          occurring in the United States?                                      18          to me on an as-needed basis.
19                A.     I supervised, yes, diversion cases                      19                 Q.    Did you help set DEA's practices and
20          in general.                                                          20          policies regarding how DEA would investigate
21                Q.     As part of your duties, do you also                     21          and prosecute diversion matters, including who
22          agree that you supervised DEA's efforts to                           22          to target for potential prosecution of
23          identify precisely who was diverting controlled                      23          criminal, civil or administrative enforcement
24          substances?                                                          24          actions?
25                       MR. BENNETT:          Objection.   Vague.               25                       MS. SINGER:       Objection.     Compound

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1           question and vague.                                                  1           administrative, civil or criminal diversion
2                        MR. BENNETT:           I will join those                2           matters?
3           objections.                                                          3                       MS. SINGER:       Objection.     Vague and
4                        MR. UTTER:         Same objection.                      4           compound question.
5                        THE WITNESS:           Could you repeat the             5                       MR. BENNETT:        Objection.    Scope.
6           question one more time, please.                                      6                       You are not authorized to disclose
7                        BY MR. STEPHENS:                                        7           any information that would reveal the internal
8                  Q.    I am just trying to understand, as                      8           deliberative process of the United States
9           the leader of the diversion control group, did                       9           Department of Justice and you may not disclose
10          you help set policies and protocols regarding                        10          any matters of prosecutorial discretion.
11          how DEA was going to conduct its investigation                       11                      To the extent that you can answer
12          of diversion matters?                                                12          the question without disclosing those areas of
13                       MS. SINGER:          Same objection.                    13          information, you may answer.
14                       MR. BENNETT:           Same objection.                  14                      MR. UTTER:      Go ahead.
15                       THE WITNESS:           Policies and protocols           15                      THE WITNESS:        Like all
16          are set by the agency.              I don't -- I don't               16          investigations, there is levels of review that
17          unilaterally create policies and protocols.                          17          it must go through, so U.S. attorneys are
18          It's done by the agency with my input.                               18          generally involved in these decisions as is
19                       BY MR. STEPHENS:                                        19          counsel's office and also other individuals
20                 Q.    But that would be part of your job                      20          within the Drug Enforcement Administration
21          duties to provide input to that, correct, sir?                       21          leadership.
22                 A.    Yes.                                                    22                      BY MR. STEPHENS:
23                 Q.    All right.         And part of your job                 23                Q.    Mr. Rannazzisi, I understand that
24          duties would also involve supervising and                            24          others might be involved.            But my point is,
25          proving certain charging decisions in                                25          this is part of the general duties that you had

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1           while you were deputy assistant administrator                        1                 Q.     But it was part of your general
2           for diversion control to supervise and approve                       2           duties to be involved in that process; is that
3           at times certain charging decisions in                               3           fair, sir?
4           administrative, civil or criminal matters?                           4                 A.     I was involved but --
5                        MS. SINGER:          Objection.    Vague.               5                        MS. SINGER:          Objection.
6           Still a compound question.                                           6           Mischaracterizes the witness's testimony.
7                        MR. BENNETT:           I join those                     7                        THE WITNESS:           I was involved but I
8           objections.                                                          8           was not the ultimate decisionmaker on that.
9                        THE WITNESS:           In administrative                9                        BY MR. STEPHENS:
10          cases, I would approve certain things.                In             10                Q.     Okay.     But your involvement was part
11          civil and criminal cases, that falls on the                          11          of your general duties; is that fair?
12          shoulders of the U.S. attorney.                                      12                A.     Yes.
13                       BY MR. STEPHENS:                                        13                Q.     Thank you.         All right.      A part of
14                 Q.    Okay.     Would you help establish the                  14          your general duties also included speaking on
15          manner in which DEA was going to interact with                       15          DEA's behalf to Congress or the media or other
16          registrants including what information DEA                           16          law enforcement agencies or industry and
17          might provide to registrants to reduce                               17          community groups about diversion issues while
18          diversion?                                                           18          you were the deputy assistant administrator for
19                       MS. SINGER:          Objection.    Vague.               19          diversion control?
20                       BY MR. STEPHENS:                                        20                       MS. SINGER:          Same objection as to
21                 Q.    As part of your general job duties?                     21          compounded question.
22                 A.    Any dealings with registrants, any                      22                       MR. BENNETT:           Compound and vague.
23          information would -- we would consult with                           23                       MR. UTTER:         Same objection.
24          counsel's office and the administrator before                        24                       Go ahead.
25          we do that.                                                          25                       THE WITNESS:           One of my requirements

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1           was that I would -- I would be assigned to do                        1           provided to Congress, that was part of your
2           testimony before Congress or speak to --                             2           general duties on behalf of DEA as the leader
3           regulated -- the regulated community,                                3           of diversion control to provide that
4           regulatory agencies, law enforcement, community                      4           information through to Congress?
5           groups, parent's groups and things like that,                        5                        MS. SINGER:           Objection.     Compound
6           so yes.                                                              6           question.
7                       BY MR. STEPHENS:                                         7                        MR. UTTER:          Go ahead.
8                 Q.    And as part of your duties when you                      8                        THE WITNESS:            Yes, it was the -- it
9           would provide information to Congress, some of                       9           was the -- my job responsibility to put forth
10          that information that you were providing was                         10          the Department of Justice and the DEA's
11          information on where DEA's diversion group saw                       11          position on matters related to that particular
12          diversion occurring in the United States.                            12          hearing for Congress.
13                      MS. SINGER:          Objection.    Compound              13                       BY MR. STEPHENS:
14          question.                                                            14                 Q.    Okay.      As part of your general
15                      THE WITNESS:           I testified over 32               15          duties as the leader of the diversion control
16          times, over a long stretch, a long period of                         16          group, as deputy assistant administrator, did
17          time, so that's changed -- that all changed as,                      17          you also participate in making sure that DEA
18          you know, as the drug issues changed, so I                           18          did not do anything to contribute to the
19          provided information, whatever information at                        19          diversion of controlled substances?
20          that point in time the Drug Enforcement                              20                       MS. SINGER:           Objection.     Vague.
21          Administration and the Department of Justice                         21          Compounded question.
22          thought was appropriate for that particular                          22                       MR. BENNETT:            Objection.    Vague.
23          hearing.                                                             23                       THE WITNESS:            DEA follows a
24                      BY MR. STEPHENS:                                         24          requirements under 21 U.S.C. and the code of
25                Q.    Okay.     And the information that you                   25          federal regulations.             We were not in the

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1           business of creating diversion.                We are in the          1           the diversion control group's diversion
2           business of making sure the registered -- the                         2           investigators?
3           regulated community is complying with the law                         3                 A.    No.
4           and the regulations.                                                  4                       MR. BENNETT:           Objection.     Vague.
5                       BY MR. STEPHENS:                                          5                       THE WITNESS:           I -- I oversee the
6                  Q.   Part of your duties included                              6           hiring with the administrator's office.
7           interacting with field division leadership at                         7           Training is done by a separate training office.
8           the various field offices for DEA around the                          8                       BY MR. STEPHENS:
9           country?                                                              9                 Q.    Okay.     Would your group provide
10                 A.   Yes.                                                      10          information to the training group as to how to
11                 Q.   And also interacting with United                          11          train diversion investigators?
12          States attorney's offices on matters; is that                         12                A.    I'm sure --
13          fair?                                                                 13                      MR. BENNETT:           Objection.     Scope.
14                 A.   Yes.                                                      14                      You can answer that question "yes"
15                 Q.   You also would interact with other                        15          or "no" only.
16          federal law enforcement agencies and state and                        16                      THE WITNESS:           Yes.
17          local law enforcement agencies regarding                              17                      BY MR. STEPHENS:
18          diversion issues, correct?                                            18                Q.    So part of your general duties would
19                 A.   That's --                                                 19          have been ensuring that the training group who
20                      MS. SINGER:           Objection.     Vague.               20          was training DEA's diversion investigators had
21                      THE WITNESS:            That's correct.                   21          what you thought was the appropriate
22                      BY MR. STEPHENS:                                          22          information to train up the diversion
23                 Q.   And as the leader of your group,                          23          investigators?
24          would you also at a high level oversee the                            24                      MS. SINGER:          Objection.
25          hiring, training and continuing education of                          25          Mischaracterizes the witness's testimony.                  And

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1           compound.                                                             1           training of diversion investigators.
2                       THE WITNESS:           And I'm just trying to             2                       I'm only trying to make sure that I
3           think.                                                                3           understand that that was part of the -- the job
4                       Could you repeat it one more time.                        4           duties that you supervised for diversion
5                       BY MR. STEPHENS:                                          5           control, that they participated at some level
6                 Q.    Yes, sir.                                                 6           in that process.
7                       Part of your general duties would                         7                       That's fair, right?
8           have been ensuring that the training group                            8                       MR. BENNETT:           Objection.     Vague.
9           responsible for training DEA's diversion                              9                       BY MR. STEPHENS:
10          investigators had the information that your                           10                Q.    Yes?     Is that fair?
11          group, the diversion control group, thought was                       11                A.    Well, who participated?
12          appropriate for the diversion investigation --                        12                Q.    That the diversion control group
13          diversion investigators to learn during the                           13          participated at some level in providing
14          training.                                                             14          information through the training.
15                      MS. SINGER:          Same objections.                     15                A.    Yeah.     Certainly.           Certainly people
16                      THE WITNESS:           I believe that                     16          in the diversion control group did, yes.
17          training got information, yes, from my people.                        17                Q.    And would the diversion
18          But they also reached out to field entities to                        18          investigators be trained on how to conduct due
19          make sure that what they're -- what they're                           19          diligence on applications for registrations
20          training -- or their training program is the                          20          from doctors and pharmacies?
21          most up-to-date information.                                          21                      MS. SINGER:          Objection.      Scope.
22                      BY MR. STEPHENS:                                          22                      MR. BENNETT:           You can answer.
23                Q.    Okay.     Fair enough, Mr. Rannazzisi.                    23                      THE WITNESS:           I'm not sure what --
24          And I'm not suggesting that your group was the                        24          I -- I know there's training on applicants.                    I
25          only one that provided information through the                        25          know there's both formal training and then

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1           training in the field.              I just -- I'm not sure           1           diversion control would have provided some
2           exactly what that training entails.                                  2           guidance on was how diversion investigators
3                        BY MR. STEPHENS:                                        3           could use ARCOS data and suspicious order
4                 Q.     Okay.     Mr. Rannazzisi, for your                      4           report information in diversion investigations.
5           benefit, I'm not asking you to know like the 40                      5                         MS. SINGER:          Objection.     Foundation.
6           bullet points that are covered --                                    6           Compound question.
7                 A.     Right.                                                  7                         MR. BENNETT:           Objection.    Scope.
8                 Q.     -- in the slide deck.                                   8                         To the extent that your answer would
9                        All I'm trying to understand is                         9           reveal investigative or intelligence gathering
10          whether diversion control group would have been                      10          and the summation techniques whose
11          involved in providing some information about                         11          effectiveness would thereby be impaired, you're
12          training diversion investigators on how to                           12          not authorized to answer.                 To the extent that
13          conduct due diligence on applications for                            13          you can answer without disclosing such
14          registration by doctors and pharmacies.                              14          information, you may.
15                       MS. SINGER:          Objection.    Asked and            15                        MR. UTTER:         Same objection.
16          answered.                                                            16                        Go ahead.
17                       THE WITNESS:           I'm pretty sure the              17                        THE WITNESS:           Investigators were
18          Office of Diversion Control did provide input                        18          trained in ARCOS.
19          on applicants.        We have a whole applicant                      19                        BY MR. STEPHENS:
20          section, and I know they've trained before.                          20                Q.      Okay.     And without getting into any
21                       BY MR. STEPHENS:                                        21          details, again, of every bit of information
22                Q.     Okay.     And did part of your job                      22          that appear in a slide deck, some of that
23          duties also -- again, talking about the                              23          information would have come through the
24          training of diversion investigators, another                         24          training from the diversion control group, your
25          topic that would have been included that                             25          group.

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1                  A.     You mean the Office of Diversion                       1                 Q.      And there are approximately 23 field
2           Control.                                                             2           divisions in the United States?
3                         And I'm -- I'm not sure.                               3                 A.      It's changed over the last three
4                  Q.     Your office -- the office -- I'm                       4           years.      I'm not sure how many --
5           sorry.      I'll --                                                  5                 Q.      Okay.
6                  A.     It's the -- it's the Office of                         6                 A.      -- there is.
7           Diversion Control.                                                   7                 Q.      During your time, from 2005 to 2015,
8                  Q.     Okay.     I apologize to you.         I'll get         8           approximately how many DEA field divisions were
9           that right.      Office of Diversion Control.               Got      9           there?
10          it.                                                                  10                A.      I believe there was 20 or 21.
11                        The Office of Diversion Control                        11                Q.      Okay.     And a DEA field division can
12          would have -- as far as the training, would                          12          cover several states where there are several
13          have provided some information for diversion                         13          major cities in a region, right?
14          investigators as to suspicious order report                          14                A.      Yes.
15          information; is that fair?                                           15                Q.      So, for example, my understanding is
16                 A.     Again, that would come from training                   16          that you spent some time in the Detroit field
17          with input from the field and from the Office                        17          division; is that right?
18          of Diversion Control.                                                18                A.      Yes.
19                 Q.     Okay.     So let me ask you some kind                  19                Q.      The -- the main field division
20          of basic questions about DEA's org chart so I                        20          headquarters is in the City of Detroit for the
21          understand how the Office of Diversion Control                       21          Detroit region, right?
22          fits in.                                                             22                A.      The Detroit division office is in
23                        Each DEA field division is run by a                    23          Detroit, yes.
24          special agent in charge.                                             24                Q.      Okay.     There are satellite offices
25                 A.     Yes.                                                   25          in other major cities in the region though,

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1           correct?                                                                  1                 A.     He was a resident agent in charge
2                 A.     Yes.                                                         2           for a resident office.              Cleveland was a
3                 Q.     For example, there's a -- a district                         3           resident office.
4           office in Cleveland, correct?                                             4                 Q.     Okay.     And in DEA terms that's a
5                        MR. BENNETT:           Objection.     Vague as               5           RAC, right, a resident agent --
6           the time.                                                                 6                 A.     Right.
7                        BY MR. STEPHENS:                                             7                 Q.     -- in charge?
8                 Q.     During your time in 2005 and 2015,                           8                 A.     Yes.
9           there was a district office in Cleveland; is                              9                 Q.     Now, DEA structures -- typically
10          that fair?                                                                10          structures its enforcement group in a separate
11                A.     No.     It was a resident office in                          11          organization than the diversion group, right?
12          Cleveland.                                                                12                       MR. BENNETT:           Objection.        Vague.
13                Q.     Okay.     So --                                              13                       THE WITNESS:           Not necessarily.
14                A.     The district office sat in Columbus.                         14          Because there are tactical diversion squads
15                Q.     Okay.     So during your time, the                           15          that have both special agents, diversion
16          district office would have had a resident agent                           16          investigators, and task force officers in the
17          in charge as the number one agent in the -- in                            17          same group.
18          that office in Cleveland, right?                                          18                       BY MR. STEPHENS:
19                A.     No.                                                          19                Q.     Okay.     Enforcement agents are
20                       MS. SINGER:          Objection.      Vague.                  20          special agents, correct?
21                       BY MR. STEPHENS:                                             21                A.     Yes.
22                Q.     What was the title of the highest                            22                Q.     Enforcement agents carry guns and
23          ranking DEA officer in Cleveland during your                              23          badges, and they investigate drug
24          time as deputy administrator -- assistant                                 24          trafficking -- typically investigate drug
25          administrator?                                                            25          traffic organizations who traffic illegal drugs

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1           like cocaine.                                                             1                        Historically the Miami field office,
2                        MS. SINGER:          Objection.      Compound                2           during your tenure, would have had enforcement
3           question.                                                                 3           groups that are filled with enforcement agents
4                        MR. BENNETT:           Objection.     Vague.                 4           only, correct?
5           And scope.                                                                5                        MS. SINGER:          Objection.         Compound
6                        MR. UTTER:         Go ahead.                                 6           question.     And vague.
7                        THE WITNESS:           Enforcement agents,                   7                        MR. BENNETT:           Objection.        Vague.
8           special agents, carry guns.                 They have arrest              8           Also objection.        Scope.
9           authority, arrest powers.                But they investigate             9                        You can answer.
10          all -- all criminal -- all criminal, civil                                10                       THE WITNESS:           Yes.        There -- there
11          violations of the Controlled Substances Act.                              11          are diversion groups that are strictly
12          They are not limited to what they investigate.                            12          diversion investigators with nothing -- they
13                       BY MR. STEPHENS:                                             13          don't have any other type of investigative
14                Q.     Okay.     The -- in the field there are                      14          personnel.
15          many diversion investigator squads that are                               15                       BY MR. STEPHENS:
16          comprised of diversion investigators, correct?                            16                Q.     And the flip side of that is there
17                A.     Yes.                                                         17          are enforcement groups that are filled only
18                       MS. SINGER:          Objection.                              18          with agents, right?
19                       MR. BENNETT:           Objection.                            19                A.     Yes.
20                       MS. SINGER:          Compound.                               20                Q.     And the other group that you
21                       MR. BENNETT:           And objection.     Vague.             21          mentioned is a TDS squad, which might be a bit
22                       BY MR. STEPHENS:                                             22          of a hybrid where it's got a little bit of both
23                Q.     And -- and, Mr. Rannazzisi, in the                           23          some enforcement agents and some diversion
24          field offices -- let's take the Miami field                               24          agents and maybe some state and local officers,
25          office, for example.                                                      25          too, correct?

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1                        MS. SINGER:         Objection.        Compound            1           but a number, probably half that.
2           question.                                                              2                  Q.    About 50?
3                        MR. BENNETT:          Objection.       Scope.             3                  A.    Yeah.
4                        THE WITNESS:          The tactical -- the                 4                  Q.    How many of those 50 special agents
5           tactical diversion squad is generally made up                          5           in charge came up through the ranks as
6           of diversion investigators, special agents and                         6           diversion investigators at DEA?
7           task force officers.                                                   7                        MS. SINGER:           Objection.       Scope.
8                        BY MR. STEPHENS:                                          8                        MR. BENNETT:            Objection.      Scope.
9                  Q.    Now, during your ten years running                        9                        You can answer if you know.
10          the -- as deputy assistant administrator and                           10                       THE WITNESS:            I -- I only know of --
11          running the Office of Diversion you would have                         11          of one.     I'm sure there are others, but I only
12          interacted with a lot of special agents in                             12          know of one in particular.
13          charge that were running field divisions; is                           13                       BY MR. STEPHENS:
14          that fair?                                                             14                 Q.    Would you agree that, of the 50 or
15                       MR. BENNETT:          Objection.       Vague.             15          so special agents in charge that you had
16                       THE WITNESS:          I've met and talked to              16          experience working with, they had more
17          most, if not all, the special agents in charge                         17          experience handling DEA enforcement
18          during my tenure, yes.                                                 18          investigations as opposed to DEA diversion
19                       BY MR. STEPHENS:                                          19          investigations?
20                 Q.    Okay.    And that -- would that be                        20                       MS. SINGER:           Objection.       Foundation.
21          more than a hundred?                                                   21          And compound question.
22                 A.    There's generally 21, when I was                          22                       MR. BENNETT:            Objection.      Vague.
23          there, special agents in charge.                  And they             23          And scope.
24          rotated in and out, retired.                  I don't know.            24                       THE WITNESS:            I -- I -- I can't
25          Probably -- I don't know if it was a hundred,                          25          agree to that.         Because I don't know each

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1           individual's -- each individual special agent                          1                 Q.     So if a diversion investigator is
2           in charge's background or what kind of cases he                        2           going to make it all the way to become a SAC,
3           worked --                                                              3           at some point that diversion investigator is
4                       MR. STEPHENS:          Okay.                               4           going to need to become a special agent, right?
5                       THE WITNESS:          -- during his career.                5                 A.     Yes.
6                       BY MR. STEPHENS:                                           6                 Q.     Okay.
7                 Q.    Is -- an SAC is a level 1811                               7                        MS. SINGER:          Objection.       Compound
8           position in DEA terms, correct?                                        8           question.
9                       MR. BENNETT:          Objection.       Scope.              9                        BY MR. STEPHENS:
10                      THE WITNESS:          Yes.                                 10                Q.     So is it fair to say then that one
11                      BY MR. STEPHENS:                                           11          of your challenges as deputy administrator was
12                Q.    A -- a diversion employee can -- can                       12          trying to get special agents in charge in the
13          reach an 1801 level, correct?                                          13          various field divisions to prioritize diversion
14                      MR. BENNETT:          Objection.       Scope.              14          matters on equal footing with enforcement
15                      THE WITNESS:          When you say an 1801                 15          investigation?
16          level, are you talking -- they're -- they're                           16                       MS. SINGER:          Objection.       Compound
17          1801s.                                                                 17          question.     Lack of foundation.               And vague.
18                      MR. STEPHENS:          Okay.                               18                       MR. BENNETT:           Objection.      Vague.
19                      THE WITNESS:          Yeah.       They -- they             19          Objection.     Scope.
20          don't cross over.                                                      20                       THE WITNESS:           The field divisions
21                      BY MR. STEPHENS:                                           21          are -- they operate autonomously.                  So the
22                Q.    Right.                                                     22          special agent in charge decides what the
23                      So to be a SAC, you have to be an                          23          priorities field divisions are and their field
24          1811, correct?                                                         24          management plans and just what their senior
25                A.    Yes.                                                       25          leadership in the division -- they make that

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1           decision.                                                                 1           whoever their leadership is, be it a group
2                       So -- but I've never really had                               2           supervisor or a DPM, within the field division.
3           problems with the field divisions not                                     3           Or they'll call headquarters and talk to me.
4           addressing diversion issues, no.                                          4                        BY MR. STEPHENS:
5                 Q.    So the special agent in charge would                          5                 Q.     Would you expect a RAC who runs a --
6           have some authority as to setting his or her                              6           a resident office in 2015 to know how many
7           priorities on the investigations that they were                           7           suspicious order reports had come into his or
8           going to pursue; is that fair?                                            8           her office that year?
9                 A.    Yes.                                                          9                        MR. BENNETT:        Objection.    Scope.
10                Q.    Let me just get the terminology                               10          Calls for speculation.
11          right.                                                                    11                       THE WITNESS:        I would have no idea.
12                      A RAC runs a resident office, right?                          12                       BY MR. STEPHENS:
13                A.    Yes.                                                          13                Q.     Would you expect that a RAC who is
14                Q.    Okay.     Would you expect that a RAC                         14          running a resident office in 2015 to have
15          who is running a resident office in 2015 would                            15          received training at DEA regarding what DEA
16          be familiar with a suspicious order report?                               16          might be able to do with a suspicious order
17                      MR. BENNETT:           Objection.        Scope.               17          report to investigate potential sources of
18          Calls for speculation.                                                    18          diversion?
19                      THE WITNESS:           I would have no idea                   19                       MS. SINGER:       Object --
20          what each individual RAC knows.                   But I do know           20                       MR. BENNETT:        Objection.
21          that it -- most RACs, most special agents in                              21                       MS. SINGER:       Go ahead.
22          charge, and most, yeah, ASACs, assistant                                  22                       MR. BENNETT:        Objection.    Scope.
23          special agents in charge, when they have                                  23          Objection.     Calls for speculation.
24          questions or they want to know the answer to a                            24                       MS. SINGER:       And objection.
25          diversion question, they will go to their --                              25          Compound question.

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1                       THE WITNESS:            The resident agent in                 1           of diversion?
2           charge responsibilities are to run the office.                            2                        MS. SINGER:        Objection.     Compound
3           The responsibilities for suspicious order                                 3           question.     And scope.
4           monitoring are -- are that of the diversion                               4                        MR. BENNETT:         I'll join both of
5           investigators and the diversion leadership                                5           those objections.
6           within that office.                                                       6                        THE WITNESS:         I seem to remember
7                       BY MR. STEPHENS:                                              7           joint supervisory conferences where ASACs,
8                  Q.   So you would not necessarily expect                           8           RACs, GSs, and DPMs came in to headquarters
9           a RAC or an ASAC to understand how to use a                               9           and/or did it in the field where we discussed
10          suspicious order report in a diversion                                    10          suspicious order monitoring, among other
11          investigation?                                                            11          things, yes.
12                      MR. BENNETT:            Objection.                            12                       BY MR. STEPHENS:
13          Mischaracterizes testimony.                    Calls for                  13                 Q.    Okay.   Would you expect an -- a
14          speculation.                                                              14          resident agent in charge of a resident office
15                      THE WITNESS:            I wouldn't know what                  15          in 2015 to know what information ARCOS could
16          each individual RAC or ASAC knows or doesn't                              16          generate to support diversion investigations?
17          know about suspicious order monitoring.                                   17                       MR. BENNETT:         Objection.    Scope.
18                      BY MR. STEPHENS:                                              18          Calls for speculation.
19                 Q.   As the deputy assistant                                       19                       THE WITNESS:         Again, I can't tell
20          administrator of the Office of Diversion                                  20          you exactly what the resident agents in charge
21          Control, did you take any steps to ensure that                            21          or the assistant special agents in charge knew
22          SACs, ASACs and RACs, the lead supervisors in                             22          about ARCOS.     But they did have more than
23          the various field division offices, all                                   23          competent investigators and GSs and DPMs at
24          received training on how to use a suspicious                              24          their disposal to explain that.
25          order report to investigate potential sources                             25                       BY MR. STEPHENS:

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1                 Q.    With U.S. Attorney's Offices -- you                       1           during the pendency of a criminal
2           would work with U.S. Attorney's Offices who are                       2           investigation?
3           running criminal diversion investigations?                            3                        MS. SINGER:        Objection.       Vague.      And
4                       Did you have experience doing that                        4           foundation.
5           as part of your general duties as deputy                              5                        MR. BENNETT:         Objection.      Scope.
6           assistant administrator during your tenure?                           6                        You are not authorized to disclose
7                       MR. BENNETT:           Objection.     Scope.              7           communications that would reveal matters of
8                       You're not authorized to disclose                         8           prosecutorial discretion or attorney-client
9           any information regarding specific DEA                                9           communications.
10          investigations or activities or any matters of                        10                       SPECIAL MASTER COHEN:             It is a
11          prosecutorial discretion involving specific                           11          yes-or-no question.
12          U.S. Attorneys' Offices.              However, you may                12                       THE WITNESS:         Could you answer the
13          answer the question generally.                                        13          question -- or ask the question again.
14                      THE WITNESS:           I have talked to                   14                       MR. BENNETT:         Well --
15          several U.S. Attorneys -- Assistant United                            15                       MR. UTTER:       His answer suggests a
16          States Attorneys over the years regarding                             16          conversation.
17          investigations, yes.                                                  17                       MR. BENNETT:         Yeah.      I think the
18                      BY MR. STEPHENS:                                          18          answer would -- if he answered "yes," it would
19                Q.    Okay.     And -- and I'm -- I'm not                       19          suggest what that advice was to hold off.
20          going to ask about specific investigations.                           20                       May we speak with the witness?
21                      But did you ever have any                                 21          Because if the answer is "no," then that makes
22          experience, just "yes" or "no," with the                              22          it easy.
23          situation where any prosecutors asked the                             23                       May we speak with the witness out in
24          Office of Diversion Control to hold off on                            24          the hallway for one brief second?
25          pursuing either administrative or civil relief                        25                       SPECIAL MASTER COHEN:             One second.

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1                       MR. BENNETT:           So --                              1           discretion, and the internal deliberative
2                       SPECIAL MASTER COHEN:              Yes, you may.          2           process of the United States Department of
3                       MR. BENNETT:           Thank you.                         3           Justice, and we would instruct the witness not
4                       THE VIDEOGRAPHER:              We are going off           4           to answer beyond "yes" or "no" to the question
5           the record.                                                           5           I just stated.
6                       The time is 11:42.                                        6                        MR. STEPHENS:        He may have changed
7                       (A short recess was taken.)                               7           my question a little bit.
8                       THE VIDEOGRAPHER:              We are back on             8                        MR. BENNETT:        I did.      You said
9           the record.                                                           9           "Office of Diversion Control."               I said him
10                      The time is 11:47.                                        10          personally.
11                      You may proceed, Counsel.                                 11                       MR. STEPHENS:        Okay.      So, Special
12                      MR. BENNETT:           Counsel, Special                   12          Master Cohen, I've got a yes-or-no question
13          Master Cohen, thank you for allowing us the                           13          about communication that may have also filtered
14          opportunity to meet with the witness.                                 14          up to him.     And that's my question.
15                      After consulting with the witness                         15                       SPECIAL MASTER COHEN:            Why don't you
16          and speaking to counsel with DEA, we believe                          16          start with that one, and we see how far we get.
17          that the witness can answer the question                              17                       MR. STEPHENS:        Start with the first
18          whether he personally has had any communication                       18          one?
19          with prosecutors in which he was asked to hold                        19                       SPECIAL MASTER COHEN:            The first
20          off on pursuing either administrative or civil                        20          one, yeah.
21          relief during the pendency of a criminal                              21                       MR. STEPHENS:        Okay.      Yes, sir.
22          investigation.                                                        22                       BY MR. STEPHENS:
23                      Any questions beyond that would                           23                 Q.    So, Mr. Rannazzisi, did you
24          implicate attorney-client privileged                                  24          personally have any communications, during your
25          communications, matters of prosecutorial                              25          tenure as deputy assistant administrator, with

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1           members of U.S. Attorney's Offices or the                                 1                       BY MR. STEPHENS:
2           criminal division of the Justice Department                               2                 Q.    All right.      Mr. Rannazzisi, to
3           related to holding off on civil or                                        3           follow up on my last question, did you have any
4           administrative diversion matters while the                                4           communications in the diversion control group
5           Justice Department or U.S. Attorney's Office                              5           related -- that you're familiar with where U.S.
6           ran a criminal investigation?                                             6           Attorney's Offices conducting criminal
7                       MR. BENNETT:          Objection.        Scope.                7           investigations asked the Office of Diversion
8           Attorney-client privilege.                                                8           Control to hold off on pursuing civil or
9                       You can answer that question "yes"                            9           administrative diversion matters while the U.S.
10          or "no only."                                                             10          Attorney's Office ran a criminal investigation?
11                      THE WITNESS:          No.                                     11                      MR. BENNETT:        Objection.
12                      BY MR. STEPHENS:                                              12          Attorney-client privilege, matters of
13                 Q.   Mr. Rannazzisi --                                             13          prosecutorial discretion, and information that
14                      MS. SINGER:         I'm sorry to interrupt.                   14          would reveal the internal deliberative process
15          But we're not getting it anymore.                                         15          within the United States Department of Justice.
16                      THE REPORTER:           Okay.       Let's go off              16                      Instructing the witness he's not
17          the record for a moment.                                                  17          authorized to answer this question at this
18                      THE VIDEOGRAPHER:                We are going off             18          time.
19          the record.                                                               19                      MR. STEPHENS:        It's -- it's a
20                      The time is 11:49.                                            20          yes-or-no question.       All I'm asking is whether
21                      (A short recess was taken.)                                   21          he -- he was briefed, similar to the question
22                      THE VIDEOGRAPHER:                We are going back            22          that I asked him before, which is whether he
23          on the record.                                                            23          had actual personal interaction with U.S.
24                      The time is 11:52.                                            24          Attorney's Office.
25                      You may proceed, Counsel.                                     25                      MR. BENNETT:        This -- this would go

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1           directly to the heart of attorney-client                                  1           communication.    But that isn't that question.
2           privileged communications when the U.S.                                   2                       MR. STEPHENS:        Let me try and
3           Attorney's Office is discussing with DEA how to                           3           restate.
4           conduct criminal, civil and administrative                                4                       BY MR. STEPHENS:
5           cases.                                                                    5                 Q.    Did you have communications with
6                       It also goes into prosecutorial                               6           anyone in your diversion control group related
7           discretion as far as need to pursue civil cases                           7           to any request from a U.S. Attorney's Office
8           versus when to pursue criminal cases and the                              8           involving the timing of parallel proceedings
9           order of those.                                                           9           where the U.S. Attorney's Office was conducting
10                      And I believe that this witness has                           10          a criminal investigation and the Office of
11          not been authorized to answer those questions.                            11          Diversion Control was running a civil or
12          And it would involved -- even answering just                              12          administrative investigation?
13          "yes" or "no" would involve the nature of the                             13                      MR. BENNETT:        Objection.   Scope.
14          advice that was given or the communications by                            14                      That would require revealing that
15          the attorneys and would instruct the witness                              15          the U.S. Attorney's Office made such a -- a
16          that he's not authorized to answer that                                   16          request or there was communications from the
17          question.                                                                 17          U.S. Attorney's Office.
18                      SPECIAL MASTER COHEN:               Okay.     So              18                      So to the extent that your answer
19          because he specifically asked whether -- you                              19          would disclose communications either with
20          used the word "hold off."             And I think that                    20          counsel of the DEA or with attorneys --
21          that would, if the witness answered it, reveal                            21          attorneys at the U.S. Attorney's Office, you're
22          attorney-client communications.                                           22          not authorized to answer it.
23                      There may be something else you can                           23                      To the extent that you can answer
24          ask that is truly a simple yes-or-no question                             24          without revealing those communications, you may
25          that wouldn't get into the nature of the                                  25          answer the question.

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1                        Do we need to consult out in the                           1                       MR. STEPHENS:           Special Master Cohen,
2           hallway?                                                                2           I would ask for the instruction for the witness
3                        THE WITNESS:        Just briefly.                          3           to answer the question.
4                        MR. BENNETT:        May we go off the                      4                       SPECIAL MASTER COHEN:                 I'm sorry.     I
5           record again to consult with the witness about                          5           need to find it again.
6           matters of privilege?                                                   6                       MR. BENNETT:           It's at 11:55:26.
7                        THE VIDEOGRAPHER:           We are going off               7                       SPECIAL MASTER COHEN:                 Thank you.
8           the record --                                                           8                       MR. BENNETT:           And I think the
9                        MR. BENNETT:        Wait.                                  9           concern is, it says:           Did you have any
10                       MR. STEPHENS:        Yeah.      No.   I don't              10          communications related to a request from the
11          object to that.     Let him go off the record.                          11          U.S. attorney's office involving the timing of
12                       THE VIDEOGRAPHER:           We are off the                 12          parallel proceedings, that would -- even a yes
13          record.     The time is 11:56.                                          13          or no answer would reveal that there had been a
14                       (A short recess was taken.)                                14          request by the U.S. attorney's office involving
15                       THE VIDEOGRAPHER:           We are back on                 15          the timing of parallel proceedings which would
16          the record.     The time is 12:03.                                      16          implicate attorney-client privileged
17                       You may proceed, Counsel.                                  17          communications between the U.S. attorney's
18                       MR. BENNETT:        Thank you.                             18          office and the DEA, so this would be an
19                       We have had an opportunity to speak                        19          indirect way of obtaining the attorney-client
20          with the witness regarding privileged issues                            20          privileged communications.
21          and after reviewing the question that was                               21                      SPECIAL MASTER COHEN:                 It is on the
22          asked, the answer by this witness would reveal                          22          edge of attorney-client privileged
23          privileged attorney-client communications, and                          23          communication and I'm going to have to fall off
24          as a result, I am instructing the witness he is                         24          the fence and say that the witness does not
25          not authorized to answer those questions.                               25          have to answer the question.                   I know that you

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1           are trying to ask questions that don't get into                         1           that.
2           it and I respect that and we will try and let                           2                       BY MR. STEPHENS:
3           you ask those questions, but I also have to                             3                 Q.    Okay.     So let's talk a little bit
4           protect the privilege.                                                  4           about administrative actions.
5                        MR. STEPHENS:        Thank you, Special                    5                       One administrative action that the
6           Master Cohen.                                                           6           Office of Diversion Control could pursue is an
7                        SPECIAL MASTER COHEN:            Okay.                     7           immediate suspension order of a registrant,
8                        BY MR. STEPHENS:                                           8           correct?
9                 Q.     Mr. Rannazzisi, did the Office of                          9                 A.    Yes.
10          Diversion Control ever delay filing an                                  10                Q.    And an immediate suspension order of
11          administrative action while a criminal                                  11          a physician who is a registrant immediately
12          investigation was ongoing?                                              12          suspends that doctor's ability to prescribe
13                       MR. BENNETT:        You are authorized to                  13          prescription opioids, true?
14          answer that question yes or no only.                                    14                A.    It prevents the doctor from
15                       THE WITNESS:        Yes.                                   15          prescribing any controlled substance.
16                       BY MR. STEPHENS:                                           16                Q.    Okay.     How long, based on your
17                Q.     Mr. Rannazzisi, did the Office of                          17          experience with situations where DEA delayed
18          Diversion Control ever delay in filing a civil                          18          filing an administrative action while a
19          action while a criminal investigation was                               19          criminal investigation was ongoing, what was
20          ongoing?                                                                20          the longest amount of time that DEA held off on
21                       MR. BENNETT:        You may answer that                    21          filing an administrative action?
22          question yes or no.                                                     22                      MS. SINGER:          Objection.         Foundation.
23                       I will object to foundation because                        23          Compound question.
24          the DEA doesn't actually file civil actions.                            24                      MR. BENNETT:           Objection.        Scope.
25                       THE WITNESS:        I am not sure about                    25                      You can answer.

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                                                                   Page 173                                                                            Page 174

1                          THE WITNESS:           I am just curious                     1           where DEA was ready to proceed and DEA held off
2           about -- well, my question to clarify is, when                              2           pending the completion of a criminal
3           you say, "delay," what do you mean by "delay?"                              3           investigation?
4                          Do you mean -- well, I am just                               4                       MR. BENNETT:           Objection.
5           curious what delay means.                  How are you using                5                       MS. SINGER:          Objection.     Foundation
6           that?                                                                       6           and compound question.
7                          BY MR. STEPHENS:                                             7                       MR. BENNETT:           Objection.
8                 Q.       In a situation where the Office of                           8           Foundation.     Compound.          Mischaracterizes prior
9           Diversion Control was prepared to file an                                   9           testimony and scope.
10          administrative action because its investigation                             10                      You can answer.
11          hadn't matured to that point, in a situation                                11                      THE WITNESS:           I don't know.    I don't
12          where there was a criminal proceeding, I am                                 12          know.
13          asking you to identify the longest amount of                                13                      BY MR. STEPHENS:
14          time DEA held off on filing an administrative                               14                 Q.   Can you recall a situation where it
15          action while the criminal investigation was                                 15          was more than two months?
16          proceeding?                                                                 16                      MS. SINGER:          Objection.     Asked and
17                         MR. BENNETT:           Objection.                            17          answered.
18          Foundation.       Compound.           Mischaracterizes prior                18                      MR. BENNETT:           Same objections, and I
19          testimony.                                                                  19          will join the asked and answered.
20                         THE WITNESS:           The answer is, I don't                20                      THE WITNESS:           I don't know.    I just
21          know, you know, the longest amount of time.                                 21          don't know.
22                         BY MR. STEPHENS:                                             22                      BY MR. STEPHENS:
23                Q.       Can you give me an estimate as to a                          23                 Q.   Can you remember a situation where
24          situation that you remember where DEA, their                                24          it was as long as 12 months?
25          administrative action had ripened to the point                              25                      MS. SINGER:          Objection.     Asked and

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1           answered.                                                                   1                  Q.   Who was the section chief when you
2                          MR. BENNETT:           Same objections.                      2           left in 2015?
3                          THE WITNESS:           I -- again, I don't                   3                       MR. BENNETT:           Objection.    Scope.
4           know.       I mean, I get the immediate -- the                              4                       You can answer.
5           orders to show cause and I review them.                      I have         5                       THE WITNESS:           They changed over.
6           no idea when the case was done.                   All I -- when             6           I'm not -- I think it might have been Barbara
7           it's presented to me for review, I just go by                               7           Boockholdt or Cathy Gallagher.
8           what is on the document.                                                    8                       BY MR. STEPHENS:
9                          BY MR. STEPHENS:                                             9                  Q.   Okay.     Do you recall who was the
10                Q.       Who on your --                                               10          section chief for the pharmacy --
11                A.       Or the document.                                             11                 A.   I'm sorry, that was pharmaceutical
12                Q.       I'm sorry, Mr. Rannazzisi.              Who on               12          regulatory.     Okay.       Pharmaceutical
13          your team at the Office of Diversion Control                                13          investigations was running a different area and
14          during your tenure would have had that                                      14          so Boockholdt or Gallagher or Carter were in
15          information?                                                                15          charge of pharmaceutical regulatory
16                         MS. SINGER:          Objection.      Scope.                  16          investigations at that point in time, and then
17                         MR. BENNETT:           Objection.     Vague.                 17          pharmaceutical investigations section, the
18                         THE WITNESS:           The pharmaceutical                    18          other side, that was -- I just don't recall who
19          investigations section, or the exec in charge                               19          was running pharmaceutical investigations at
20          of handling the pharmaceutical investigations.                              20          that point in time.
21                         BY MR. STEPHENS:                                             21                 Q.   Okay.     Do you recall who ran that
22                Q.       Okay.     And what is the title of the                       22          section, pharmaceutical investigations section
23          head of the pharmaceutical investigation                                    23          at any point in time from -- during your tenure
24          section, is it a section chief?                                             24          as deputy assistant administrator from '05 to
25                A.       Section chief, yes.                                          25          '15?

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                                                                  Page 177                                                                                Page 178

1                          MR. BENNETT:           Objection.     Scope.                1           think you have?
2                          You can answer.                                             2                        MR. STEPHENS:            I still have a lot of
3                          THE WITNESS:           John Chapinski, Robert               3           questions.
4           Hill, Matt Murphy, I think that pretty much                                4                        THE WITNESS:           Okay.        Why don't we
5           covered it.                                                                5           break then.
6                          BY MR. STEPHENS:                                            6                        THE VIDEOGRAPHER:                 We are going off
7                  Q.      Okay.     Mr. Rannazzisi, I would like                      7           the record.     This is the end of Media Unit No.
8           to transition and ask you some background                                  8           3.     The time is 12:13.
9           questions about some of your experience based                              9                        (A short recess was taken.)
10          on other positions you held at DEA during your                             10                       THE VIDEOGRAPHER:                 We are going back
11          career.                                                                    11          on the record.
12                         MR. BENNETT:           Counsel, I know we had               12                       This is the start of Media Unit No.
13          to step out a couple of times but it is after                              13          4.
14          12:15.       Not sure when you want to take lunch.                         14                       The time is 1:05.
15          It sounds like you were going into a new                                   15                       You may proceed, Counsel.
16          transition area.                                                           16                       BY MR. STEPHENS:
17                         MR. STEPHENS:            I am going into a new              17                 Q.    Mr. Rannazzisi, good afternoon.
18          area.       If you folks want to break and that's                          18                 A.    Good afternoon.
19          good with the Special Master and the court                                 19                 Q.    Earlier today you were asked a few
20          reporter and the witness, I am fine with that.                             20          questions about ARCOS, and you had mentioned
21                         MR. BENNETT:           I'll leave it up to                  21          IMS data.
22          the witness.         I am happy to keep going, I'm                         22                       Do you are call that?
23          happy to take our lunch break now, whatever he                             23                 A.    Yes.
24          prefers.                                                                   24                 Q.    Are --
25                         THE WITNESS:           How much time do you                 25                 A.    Yes.

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1                 Q.      Sir, are you aware whether or not                            1                 Q.    Okay.     Did you, sir, personally
2           IMS data includes distribution data?                                       2           attend any distributor briefing with any retail
3                         MS. SINGER:          Objection.      Vague.                  3           chain pharmacy, including Walmart, Walgreens,
4                         THE WITNESS:           It's my understanding                 4           Rite Aid, CVS, HBC, Giant Eagle?
5           that IMS data includes data for dispensing from                            5                 A.    I personally did not.
6           pharmacies.                                                                6                 Q.    Are you aware as to whether or not
7                         BY MR. STEPHENS:                                             7           anyone who worked for you conducted a
8                 Q.      Okay.     So your understanding is that                      8           distributor briefing with any of those retail
9           IMS data is dispensing data; is that fair?                                 9           chain pharmacies?
10                A.      Yes.                                                         10                      MR. BENNETT:           Objection.       Vague.
11                Q.      You had also -- you mentioned a                              11                      You can answer.
12          distributor briefing.                                                      12                      THE WITNESS:           There were meetings
13                        Do you recall that?                                          13          between some of those companies and staff at
14                A.      Yes.                                                         14          DEA but not in the -- in the -- from the format
15                Q.      Okay.     And you had said something to                      15          of the distributor briefing.
16          the effect of, "They assured us that they                                  16                      BY MR. STEPHENS:
17          understood."                                                               17                Q.    Okay.     So no --
18                        Do you recall saying that?                                   18                A.    That I know of anyway.
19                        MR. BENNETT:           Objection.                            19                Q.    Right.
20          Mischaracterizes past testimony.                                           20                A.    That I know of anyway.
21                        Go ahead.                                                    21                Q.    So just so the record's clear,
22                        THE WITNESS:           The -- yeah.     Before               22          you're not aware, sir, of any distributor
23          they left, they were asked if they understood,                             23          briefing conducted by DEA with the retail chain
24          and they said yes.                                                         24          pharmacies that I've just identified; is that
25                        BY MR. STEPHENS:                                             25          fair?

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                                                                Page 181                                                                            Page 182

1                        MR. BENNETT:           Objection.    Misstates              1                       THE WITNESS:           Speaking to Congress
2           testimony.                                                               2           and speaking to the general public was part of
3                        You can answer.                                             3           my duties as a deputy assist and administrator,
4                        THE WITNESS:           I don't -- I -- I                    4           yes.
5           don't know personally.              It doesn't mean it                   5                       BY MR. STEPHENS:
6           didn't happen.        I just am not aware of any.                        6                  Q.   The prescribers, like manufacturers,
7                        BY MR. STEPHENS:                                            7           distributors and pharmacies, are registrants,
8                 Q.     All right.         Very well.                               8           true?
9                        Sir, I'd like to ask you some                               9                  A.   Yes, sir.
10          questions about some Title 21 issues and your                            10                 Q.   And it's fair to say that the
11          responsibility and your experience                                       11          overwhelming majority of prescribing in America
12          communicating DEA's position on diversion                                12          during your tenure as deputy assistant
13          issues to registrants and Congress and your                              13          administrator was conducted responsibly.
14          duties and responsibilities in expressing where                          14                      MR. BENNETT:           Objection.    Vague.
15          diversion was occurring when you spoke with                              15                      MS. SINGER:          Objection.     Foundation.
16          those folks.     Okay?                                                   16                      MR. BENNETT:           Scope.
17                A.     Okay.                                                       17                      MR. UTTER:         Same objection.
18                Q.     And those tasks would have fallen                           18                      Go ahead.
19          within the scope of your general duties during                           19                      THE WITNESS:           I believe that the
20          your career as deputy assistant administrator;                           20          vast majority of practitioners are doing
21          is that fair?                                                            21          exactly what they were supposed to be doing,
22                       MS. SINGER:          Objection.     Compound                22          yes.
23          question.     Asked and answered.                                        23                      BY MR. STEPHENS:
24                       MR. UTTER:         Same objection.                          24                 Q.   Would you also agree that good
25                       Go ahead.                                                   25          doctors and pharmacists were often the first to

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1           notify DEA about suspected diverters?                                    1                  Q.   Mr. Rannazzisi, I direct you to Page
2                        MS. SINGER:          Objection.     Vague.                  2           218 of the transcript.             Or let -- let's start
3           Compound question.           Outside of the scope.                       3           with Page 217.
4                        MR. BENNETT:           Objection.    Vague.                 4                       Are you with me on Page 217?
5           Scope.                                                                   5                  A.   Yes.
6                        MR. UTTER:         Go ahead.                                6                  Q.   Okay.     And just to identify the
7                        MR. BENNETT:           You can answer.                      7           document, Mr. Rannazzisi, it's dated July 12.
8                        THE WITNESS:           I don't know if it's                 8           These are Questions For the Hearing Record for
9           the first.     I -- we -- we had intelligence come                       9           Joseph T. Rannazzisi, Deputy Assistant
10          in from physicians.           We've had intelligence                     10          Administrator, Office of Diversion Control.
11          come in from pharmacies as well as regulatory                            11                      Do you see that?
12          boards.     But I don't know if it's the first --                        12                 A.   Yes.
13          you know, the first contact with that                                    13                 Q.   And can you describe for the record,
14          particular registrant that they were reporting.                          14          when you would get these -- these questions you
15                       BY MR. STEPHENS:                                            15          would consider them in providing written
16                Q.     Okay.     Mr. Rannazzisi, what I'd like                     16          responses back that would get inserted into the
17          to do is share with you a copy of some                                   17          congressional record?
18          congressional testimony you provided on July                             18                      Is that fair and accurate?
19          12, 2007.     Okay?                                                      19                 A.   Yes.
20                A.     Okay.                                                       20                      MS. SINGER:          Objection.     Vague.
21                       MR. STEPHENS:           And, Bonnie, if you                 21                      BY MR. STEPHENS:
22          could please mark this as the next in order.                             22                 Q.   Okay.     Sir, what I'd -- I'd like to
23                       (Deposition Exhibit 7 was marked for                        23          do is direct you to the second question, which
24          identification.)                                                         24          is on the bottom of 217 and will go to the top
25                       BY MR. STEPHENS:                                            25          of 2 -- Page 218.         And in your response, I'm

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                                                                    Page 185                                                                           Page 186

1           going to direct you to the very first couple of                              1           question.
2           sentences in the response.                                                   2                       BY MR. STEPHENS:
3                        And, sir, just let me know when                                 3                 Q.    Sir, did I read that question
4           you've had an opportunity to read that.                                      4           accurately?
5                        Have you had an opportunity to read                             5                       MS. SINGER:          Objection.    Vague and
6           that paragraph, Mr. Rannazzisi?                                              6           compound.
7                 A.     I just want to read the --                                      7                       THE WITNESS:           Yes.
8                 Q.     Sure.                                                           8                       BY MR. STEPHENS:
9                 A.     -- whole response.                                              9                 Q.    Okay.     And then, sir, your
10                       Okay.                                                           10          response -- and I'm quoting from the second
11                Q.     All right.         So, Mr. Rannazzisi, the                      11          sentence under response -- says, quote:                The
12          question framed by Congress, No. 2 there,                                    12          overwhelming majority of prescribing done by
13          states, quote:        During the hearing, testimony                          13          physicians in America is conducted responsibly.
14          was offered that indicated investigations of                                 14          Often it is these doctors and pharmacists who
15          pain management doctors and other doctors by                                 15          dispense the medication who are the first to
16          DEA have caused concern that physicians who                                  16          alert law enforce to potential prescription
17          practice in this area of medicine are being                                  17          problems.
18          targeted despite the service they provide to a                               18                      Do you see that?
19          number of pain suffers.              Does DEA believe this                   19                A.    Yes.
20          characterization is correct?                    And what is the              20                Q.    Did I read that accurately?
21          process DEA uses to identify and investigate                                 21                A.    Yes.
22          doctors whose practices dispense large                                       22                Q.    Is that your submission back to the
23          quantities of opioids and other pain relievers?                              23          committee on the judiciary of the House of
24                       Sir, did I --                                                   24          Representatives for this hearing on July 12,
25                       MS. SINGER:          Objection.         Compound                25          2007?

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1                        MR. BENNETT:           Objection.        Form.                  1           also not authorized to disclose any information
2           Objection.     It's incomplete reading of his                                2           regarding internal deliberative process or
3           response to the question.                And so I would                      3           recommendations that you made.
4           object under Rule 106.                                                       4                       To the extent that you have a
5                        THE WITNESS:           First of all, this is                    5           personal opinion that it does not rely on
6           not my response.         It's the Department of                              6           internal deliberative process or nonpublic
7           Justice and the administration's response.                       And         7           factual information, you may give it on behalf
8           everything must be vetted through them.                                      8           of yourself personally but are not speaking on
9                        So regardless of what my feelings                               9           behalf of DEA.
10          were at the time, if the department or the --                                10                      THE WITNESS:           Could -- could you
11          the administration, through the vetting                                      11          repeat the question one more time.
12          process, felt that that's what they wanted to                                12                      BY MR. STEPHENS:
13          put in, that's what was put in.                                              13                Q.    Yes.
14                       BY MR. STEPHENS:                                                14                      As of July 12, 2007, did you agree
15                Q.     So then, sir, let me ask you this                               15          with the statement that the overwhelming
16          question:     As of July 12, 2007, did you agree                             16          majority of prescribing done by physicians in
17          with the statement that the overwhelming                                     17          America is conducted responsibly?
18          majority of prescribing done by physicians in                                18                      MR. BENNETT:           Same instruction.
19          America is conducted responsibly?                                            19                      THE WITNESS:           I believe that the
20                       Did you agree with that?                                        20          vast majority of physicians are prescribing
21                       MR. BENNETT:           Objection.        Scope.                 21          responsibly, yes.
22                       You're not authorized to give                                   22                      BY MR. STEPHENS:
23          personal opinions regarding nonpublic facts or                               23                Q.    Do you also agree with the statement
24          information you acquired in the performance of                               24          in the next sentence, Mr. Rannazzisi, that
25          your duties.     You are not -- not -- you are                               25          often is it these doctors and pharmacists who

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                                                              Page 189                                                                              Page 190

1           dispense the medication who are the first to                          1           passing bad paper to a pharmacist, and the
2           alert law enforcement to potential prescription                       2           pharmacist calls the doctor, generally the
3           problems?                                                             3           pharmacist or the doctor is going to call and
4                       MR. BENNETT:          Objection.    Same                  4           say, "I just got a bad script.                   What do you
5           instruction.                                                          5           want me to do with it?"              And it either goes to
6                       THE WITNESS:          If you're talking                   6           law enforcement, the state board, or DEA.
7           about prescription fraud, fraudulent                                  7                       So yes, in that situation,
8           prescriptions, for instance, if a -- a                                8           absolutely.
9           pharmacist receives a prescription and he calls                       9                       BY MR. STEPHENS:
10          the doctor and the doctor says, "I did not                            10                 Q.   Okay.     Mr. Rannazzisi, I'm finished
11          write that prescription," and they make a call                        11          with that exhibit there, sir.
12          to the police, yes.         That -- I would agree.                    12                      In other testimony that you provided
13          And I think that's what they were getting at at                       13          to Congress, you testified about the -- the
14          the time.                                                             14          percentage of prescribers you thought were
15                      BY MR. STEPHENS:                                          15          overprescribed.
16                Q.    So you don't disagree with the                            16                      Do you recall that?
17          statement -- with the context you just                                17                      MR. UTTER:         Object to form.
18          provided; is that fair, Mr. Rannazzisi?                               18                      Go ahead.
19                A.    If the context is --                                      19                      THE WITNESS:           I -- I've done a lot
20                      MS. SINGER:         Objection.                            20          of testimony to Congress.               Do -- if -- if you
21                      THE WITNESS:          Oh.                                 21          have a transcript or...
22                      MS. SINGER:         Mischaracterizes the                  22                      MR. STEPHENS:            Yes, sir.       I do.
23          witness's testimony.                                                  23                      And if I could please have that
24                      THE WITNESS:          If we're talking about              24          marked as the next in order.
25          a prescription fraud case where someone is                            25                      (Deposition Exhibit 8 was marked for

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                                                              Page 191                                                                              Page 192

1           identification.)                                                      1           following, quote:        I don't want to put words in
2                       THE WITNESS:           Thank you.                         2           his mouth, but Mr. Rannazzisi seemed to imply
3                       BY MR. STEPHENS:                                          3           that we are overprescribing.                  Is that a fair
4                  Q.   And here, Mr. Rannazzisi, I'm going                       4           assessment of your testimony?"
5           to direct you to Page 76.                                             5                       Then, sir, it indicates that you
6                  A.   May -- may I go ahead and read it?                        6           responded, quote:        I think that, if you are
7                  Q.   Excuse me?                                                7           talking about 99.5 percent of the prescribers,
8                  A.   May I go ahead and read it.                               8           no, they are not overprescribing.                  But our
9                  Q.   Yes.     And I'll -- I'll point you to                    9           focus is in rogue pain clinics and rogue
10          it, Mr. Rannazzisi, just so you have it.                              10          doctors who are overprescribing.
11                 A.   Sure.                                                     11                      Sir, do you see that?
12                 Q.   Towards the bottom of the page,                           12                A.    Yes.
13          there's a statement by Mr. Burgess.               And then,           13                Q.    Did I read that accurately?
14          in the second-to-last paragraph, you have a                           14                A.    Yes.
15          response.    It is that question and answer that                      15                Q.    Was that a statement that you made
16          I'll direct your attention to, sir.                                   16          in front of the subcommittee on oversight on
17                 A.   Okay.                                                     17          April 29, 2014?
18                 Q.   From -- Mr. Burgess says, quote --                        18                      MR. BENNETT:          Objection.
19          this is on Page 76.           This is hearing dated                   19                      THE WITNESS:          Yes.        Except -- except
20          April 29, 2014, called "Examining the Growing                         20          you didn't include the last line, which it
21          Problems of Prescription Drug and Heroin Abuse                        21          says, actually, they're prescribing -- if
22          Before the Subcommittee on Oversight and                              22          they're -- they are prescribing illegally.
23          Investigations."                                                      23          They are not overprescribing; they're illegally
24                      And, sir, now picking up on the                           24          prescribing.
25          bottom of Page 76, Mr. Burgess says the                               25                      BY MR. STEPHENS:

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                                                                   Page 193                                                                             Page 194

1                  Q.   Right.                                                          1           small percentage is doing a huge amount of
2                       And the -- Mr. Rannazzisi, who                                  2           harm.
3           you're talk about there prescribing illegally,                              3                       MS. MAINIGI:            Special Master Cohen,
4           that's the one half of 1 percent that was                                   4           can I just lodge my own objection to continued
5           drawing your focus at rogue pain clinic and                                 5           coaching of this witness and this time in the
6           their rogue doctors; is that fair?                                          6           guise of a Rule 106 objection.
7                       MR. BENNETT:           Objection.        Form.                  7                       MS. SINGER:           It was a legitimate 106
8                       THE WITNESS:           Yes.        I would say so,              8           objection if you read on in the record here.
9           yes.                                                                        9                       BY MR. STEPHENS:
10                      BY MR. STEPHENS:                                                10                 Q.   So, Mr. Rannazzisi, if I could, I
11                 Q.   Okay.     So --                                                 11          will ask you --
12                      MS. SINGER:          We'll move to lodge a                      12                      MR. BENNETT:            Wait a second.        The
13          Rule 106 objection.                                                         13          witness I don't think got a chance to finish
14                      Mr. Stephens has made the point that                            14          his answer when he was interrupted by counsel.
15          this was a small fraction.                But I think you                   15                      MS. MAINIGI:            I'm sorry.     I thought
16          have to read on in this testimony for the full                              16          he was done.
17          context.                                                                    17                      MR. BENNETT:            Maybe I misunderstood
18                      BY MR. STEPHENS:                                                18          it, but I thought he was still answering the
19                 Q.   So, Mr. Rannazzisi, it was your                                 19          question.
20          testimony that 99.5 percent of prescribers were                             20                      SPECIAL MASTER COHEN:               I don't think
21          not overprescribing, true?                                                  21          so.
22                      MR. BENNETT:           Objection.        Form.                  22                      MS. MAINIGI:            I thought he was.
23                      THE WITNESS:           It -- it was my                          23                      MR. BENNETT:            Mr. Rannazzisi, do you
24          testimony in this context we were talking                                   24          need to complete your answer to the last
25          about -- and I think later on I say that that                               25          question?

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1                       THE WITNESS:           No, that's fine.                         1                 Q.    Okay.     And if the pharmacy filled
2                       MS. MAINIGI:           Sorry.                                   2           that same prescription, that also is not
3                       BY MR. STEPHENS:                                                3           diversion, correct?
4                  Q.   Mr. Rannazzisi, are you good?                                   4                       MR. BENNETT:           Objection.     Scope.
5                  A.   Yes.                                                            5           Incomplete hypothetical.
6                  Q.   Can I move on to my next question,                              6                       THE WITNESS:           I can only go back to
7           sir?                                                                        7           the regulations.        If the pharmacist, who has a
8                  A.   Yes.                                                            8           corresponding responsibility to ensure that a
9                  Q.   All right.         Is it fair to say that a                     9           prescription is effective and valid, if a
10          prescription for a controlled substance issued                              10          pharmacist fills the prescription based on his
11          for a legitimate medical purpose by a                                       11          corresponding responsibility, his red flags
12          registered doctor in the usual course of her                                12          analysis to ensure that that prescription is
13          professional practice is not diversion?                                     13          effective and valid, yes, I don't think that
14                      MS. SINGER:          Objection.         Vague.                  14          would be diversion as long as he's resolved the
15          Compound question.                                                          15          red flags that are presented with the
16                      MR. BENNETT:           Objection.        Scope.                 16          prescription.
17                      THE WITNESS:           If the -- if the                         17                      BY MR. STEPHENS:
18          doctor has made a determination, a medical                                  18                Q.    Okay.     Now, sir, in your testimony,
19          determination that that patient needs that                                  19          you had mentioned that DEA's focus was on rogue
20          controlled substance to treat a specific                                    20          pain clinics and rogue doctors, correct?
21          ailment and the prescription is written                                     21                A.    Yes.
22          appropriately per the requirements in the                                   22                Q.    Those rogue doctors often worked out
23          C.F.R. and the CSA, yes, then I would not think                             23          of rogue pain clinics; is that fair?
24          that would be diversion.                                                    24                      MS. SINGER:          Objection.      Vague.
25                      BY MR. STEPHENS:                                                25                      MR. UTTER:         Object to scope.

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                                                            Page 197                                                                                 Page 198

1                       MR. STEPHENS:          I will withdraw the               1           against some of the rogue Internet pharmacies,
2           question.                                                            2           you started to focus more of your attention on
3                       BY MR. STEPHENS:                                         3           rogue pain clinics; is that fair?
4                  Q.   Sir, is it fair that DEA focused its                     4                        MS. SINGER:          Objection.      Compound
5           attention in the 2005 to, say, 2009 era on                           5           question.
6           rogue Internet pharmacies?                                           6                        MR. BENNETT:           Objection.     Compound
7                       MR. BENNETT:         Objection.    Scope.                7           question and vague.
8                       You can answer.                                          8                        THE WITNESS:           Actually, no.       We had
9                       THE WITNESS:         I would say the -- up               9           taken -- investigated and taken action against
10          until at least 2008, after the Ryan Hate Act                         10          rogue Internet pharmacies before Ryan Hate was
11          was passed, it pretty much shut down most of                         11          passed.     Actually, I think Ryan Hate was passed
12          the Internet pharmacies and there was a switch                       12          because of all the inactivity we had done in
13          to rogue pain clinics.           There has always been               13          the supply chain related to Internet
14          rogue pain clinics but the rogue pain clinics                        14          pharmacies.
15          got -- increased in numbers quite a bit right                        15                       And to clarify, while we had many
16          after Ryan Hate was passed.                                          16          Internet pharmacy cases, we were also doing
17                      BY MR. STEPHENS:                                         17          rogue doctors, rogue pharmacies and rogue pain
18                 Q.   Okay.   So for general purposes, it's                    18          clinics at that point in time, too, so we tried
19          fair that you were focusing your attention on                        19          to focus on where the threat was and at that
20          rogue Internet pharmacies which were a                               20          point in time, we had threats but it just
21          significant problem in the 2005 to 2008 era,                         21          seemed that the vast majority of the cases were
22          and then in that era approximately -- that                           22          Internet-based.        However, there were still
23          approximate period of time, 2008, 2009,                              23          rogue pain clinics, rogue pharmacies and rogue
24          legislation passed and then after the                                24          doctors that were operating independently in
25          legislation passed, DEA takes enforcement                            25          the neighborhoods and communities at that time.

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1                       BY MR. STEPHENS:                                         1           doing investigations in other areas of
2                 Q.    Let me say it this way, and just for                     2           diversion, including, you know, rogue pain
3           your benefit, Mr. Rannazzisi, I am just trying                       3           clinics, rogue doctors and rogue pharmacies
4           to understand what the primary focus was in                          4           that were diverting.
5           2005 when you start to after the -- immediately                      5                        BY MR. STEPHENS:
6           after the passage of the Ryan Hate Act, and                          6                 Q.     Okay.     Is it safe to say that you
7           then if DEA shifted its focus a bit, what it                         7           focused a greater percentage of your energy on
8           shifted its focus to, so let me -- do you                            8           rogue pain clinics after the Ryan Hate Act is
9           understand that that's -- I am asking a couple                       9           passed in 2008 and after DEA goes through a
10          of questions on that, okay?                                          10          series of enforcement actions against rogue
11                      MR. BENNETT:        Objection.    Form.                  11          Internet pharmacies; isn't that fair?
12                      MR. STEPHENS:        Just trying to lay a                12                       MR. BENNETT:           Objection.     Vague.
13          predicate for him, James.                                            13          Compound.
14                      BY MR. STEPHENS:                                         14                       MR. UTTER:         Objection.       Same
15                Q.    Now, in the 2005 to 2008 era leading                     15          objections.
16          up to the Ryan Hate Act, DEA was focused on                          16                       THE WITNESS:           Our resources shifted
17          rogue Internet pharmacies, true?                                     17          to rogue pain clinics because the Internet
18                      MR. BENNETT:        Objection.    Asked and              18          pharmacy cases pretty much went away.                   There
19          answered.                                                            19          was no more domestic brick and mortar
20                      MR. UTTER:      Objection.                               20          pharmacies that were fulfilling Internet orders
21                      MR. BENNETT:        Form.                                21          because Ryan Hate pretty much eliminated them,
22                      MR. UTTER:      Same objection, sorry.                   22          so the resources were shifted over to rogue
23                      THE WITNESS:        We were conducting                   23          pain clinics.
24          Internet pharmacy investigations because there                       24                       BY MR. STEPHENS:
25          were quite a few of them, but we were also                           25                Q.     Mr. Rannazzisi, would you agree that

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1           the vast majority of registrants complied with                    1           answered.
2           the statutory and regulatory obligations under                    2                        MR. UTTER:         Same objection.
3           the Controlled Substances Act?                                    3                        Go ahead.        You can answer again.
4                       MS. SINGER:       Objection.     Vague and            4                        THE WITNESS:           Again, yes, because
5           scope.                                                            5           the vast majority of the registrant population
6                       MR. BENNETT:        Objection.    Calls for           6           are physicians and as I said previously, most
7           speculation.    Scope.                                            7           of the physicians, a vast majority of the
8                       MR. UTTER:      Same objections.                      8           physicians are operating responsibly.
9                       Go ahead.                                             9                        BY MR. STEPHENS:
10                      THE WITNESS:        Are you talking about             10                Q.     Sir, you had -- in response to some
11          particular groups of registrants or classes of                    11          questions from my colleague earlier this
12          registrants or just the registrants in general,                   12          morning, there were some questions about
13          because the doctors make up 1.3 million of the                    13          diversion and diversion occurring from medicine
14          registrant population and more now, so I said a                   14          cabinet involving family and friends.
15          vast majority of doctors are actually acting                      15                       Do you see that -- or do you
16          responsibly.                                                      16          remember that, I should say.
17                      So if you are taking that into                        17                A.     I remember that, yes.
18          account, then yes, because the vast majority of                   18                Q.     All right.         Is it fair to say that
19          the registrant population are physicians.                         19          the most -- that the most common method in
20                      BY MR. STEPHENS:                                      20          which controlled substance prescriptions are
21                Q.    So you would agree with the                           21          diverted may be through family and friends?
22          statement that says the vast majority of DEA                      22                       MS. SINGER:          Objection.     Vague.
23          registrants adhere to their statutory and                         23          Objection.     Scope.
24          regulatory obligations under the CSA, true?                       24                       MR. BENNETT:           I would join in both
25                      MR. BENNETT:        Objection.    Asked and           25          of those objections.            Also object, incomplete

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1           hypothetical and calls for speculation.                           1                        MR. BENNETT:           I will join the
2                       MR. UTTER:      Same objections.                      2           foundation objection.             Objection.     Scope.
3                       Go ahead.                                             3                        MR. STEPHENS:           I will re-ask the
4                       THE WITNESS:        That if you are basing            4           question.
5           that on a survey that was done, yes, but that's                   5                        BY MR. STEPHENS:
6           not what we were seeing in the Drug Enforcement                   6                 Q.     Mr. Rannazzisi, you are aware that
7           Administration when we were out there.                            7           DEA made the statement during your time as
8                       BY MR. STEPHENS:                                      8           deputy assistant administrator, that the
9                 Q.    Did you ever inform the Congress                      9           preliminary data suggested that the most common
10          that as DEA increased its understanding of                        10          method in which controlled substance
11          where abusers acquired prescription drugs, that                   11          prescriptions are diverted may be through
12          preliminary data suggested that the most common                   12          family and friends?
13          method in which controlled substance                              13                       MS. SINGER:          Objection.     Foundation.
14          prescriptions are diverted may be through                         14                       MR. BENNETT:           Objection.    Vague.
15          family and friends?                                               15                       THE WITNESS:           Again, that was the
16                A.    That was an administration opinion                    16          administration's position.                DEA could only
17          and again, they were talking about the trading                    17          report what the administration's position is at
18          of specific pills.       Somebody got a pill and                  18          the time.     We are not autonomous.
19          handed it off, but as far as volume, no.            I             19                       BY MR. STEPHENS:
20          mean, that is not what we were seeing.                            20                Q.     Isn't -- by administration, you mean
21                Q.    DEA made that statement from time to                  21          the Drug Enforcement Administration or do you
22          time about the most common form of diversion                      22          mean the administration of the White House, the
23          being through family and friends, right?                          23          executive branch?
24                A.    That was the administration --                        24                A.     The executive branch.
25                      MS. SINGER:       Objection.     Foundation.          25                Q.     Okay.     So if I understand you

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1           correctly, there would have been times where --                         1           when I was working with DEA in my official
2           and stop me if this is not accurate, were there                         2           capacity as a deputy assistant administrator
3           times when you were providing information to                            3           and while I was the witness that testifies, the
4           Congress under your name where you were making                          4           message comes from the Department of Justice
5           statements that you did not agree with?                                 5           and the White House.
6                       MS. SINGER:          Objection.     Vague.                  6                        You are always told that you are an
7                       MR. BENNETT:           Objection.    Scope.                 7           administration witness, so based on that, that
8                       You are not authorized to disclose                          8           was the administration's position and, you
9           any information regarding the internal                                  9           know, I took the position that if that's the
10          deliberative process or recommendation that you                         10          administration's position, then that's what it
11          made with the Department of Justice.               You also             11          would be.
12          are not authorized to give opinions regarding                           12                       BY MR. STEPHENS:
13          nonpublic facts or information you acquired in                          13                Q.     Okay.     Mr. Rannazzisi, with --
14          the performance of your official duties and you                         14          someone with a 25 year-plus career with DEA,
15          are not authorized to disclose any nonpublic                            15          was it your understanding when you were
16          recommendations you made or you are aware of                            16          providing information through to Congress,
17          concerning any proposed agency action or                                17          either through testimony or through the written
18          position.                                                               18          record, that the accuracy of that information
19                      To the extent that you can offer an                         19          was subject to 18 U.S.C. 1001?
20          opinion that involves public facts or                                   20                       MR. BENNETT:           Objection.        Calls for
21          information you acquired outside of the                                 21          a legal conclusion.           Scope.
22          performance of your official duties, you may                            22                       The witness is not authorized to
23          give your personal opinion, but you are not                             23          discuss his opinion regarding what the law says
24          speaking on behalf of the DEA.                                          24          or does not say.         It is also argumentative.
25                      THE WITNESS:           So all this occurred                 25                       The witness can answer if he has an

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1           answer in his personal capacity, but not on                             1           administration's position based on the
2           behalf of the DEA.                                                      2           information that they had, as a witness for the
3                       THE WITNESS:           That information was                 3           administration, and I relay and testified to
4           based on a survey, the National Survey on Drug                          4           what the administration's position is.
5           Use and Health, and yes, that's what the survey                         5                        BY MR. STEPHENS:
6           said.                                                                   6                 Q.     Okay.     So my question is not on that
7                       BY MR. STEPHENS:                                            7           specific fact now.           My question relates to what
8                 Q.    Okay.     But my question is a little                       8           your understanding was of your obligations and
9           bit different, Mr. Rannazzisi, and it's --                              9           responsibilities when you are testifying in
10          whether it was your understanding as deputy                             10          front of Congress, okay?
11          assistant administrator from 2005 to 2015, and                          11                       MR. UTTER:         I'm going to object to
12          as someone who's testified repeatedly in front                          12          your characterization as a fact.
13          of Congress, that your testimony was subject to                         13                       Go ahead, you can answer.
14          Title 18 U.S.C. 1001 which requires an honest                           14                       MR. BENNETT:           And I will also
15          response to information provided through law                            15          object.     Asked and answered.                 This is the third
16          enforcement or to Congress?                                             16          time you've asked this question where the
17                      MS. SINGER:          Objection.                             17          witness has answered it each time.
18                      MR. BENNETT:           Objection.                           18                       BY MR. STEPHENS:
19          Argumentative.       Calls for a legal conclusion.                      19                Q.     Just yes or no, Mr. Rannazzisi.                 Was
20          Outside the scope of his authorization.                                 20          it your understanding that the information that
21                      MS. SINGER:          Counsel is also                        21          you provided to Congress when you testified in
22          testifying.                                                             22          front of Congress was subject to Title 18
23                      MR. UTTER:         Object to form.                          23          U.S.C. 1001?
24                      Go ahead.                                                   24                       MR. BENNETT:           Objection.        Asked and
25                      THE WITNESS:           Again, that was the                  25          answered.     Argumentative.

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1                        MS. SINGER:       Objection.      Calls for a           1           can answer with a yes or no, again, regarding
2           legal conclusion.                                                    2           your understanding.
3                        THE WITNESS:        The administration's                3                        Let me just add one other thing.             If
4           position and the fed testimony through the                           4           there is a way that you can ask a question
5           administration, that was their position.                 It          5           without reference to the statute, maybe you
6           was based on a survey and I presented the                            6           can't, then that might help.
7           administration's position.             I was not                     7                        BY MR. STEPHENS:
8           testifying on behalf of Joe Rannazzisi, I was                        8                 Q.     Mr. Rannazzisi, was it your
9           testifying on behalf of the administration in                        9           understanding that when you testified in front
10          2007.                                                                10          of Congress, you were testifying under oath and
11                       MR. STEPHENS:        Special Master Cohen,              11          needed to tell the truth?
12          at this point, I would ask --                                        12                A.     Yes.
13                       SPECIAL MASTER COHEN:           You guys are            13                Q.     So I would like to go back to the
14          kind of talking past each other.                                     14          start of your tenure, Mr. Rannazzisi, in 2005
15                       MR. STEPHENS:        I tried to set that                15          and 2006.     Okay?
16          up with a predicate to my last question.                             16                A.     Yes.
17                       SPECIAL MASTER COHEN:           You guys are            17                Q.     Now we had talked about rogue
18          kind of talking past each other.              The last               18          Internet pharmacies a few minutes ago, correct?
19          question you asked was a yes or no question for                      19                A.     Yes.
20          your understanding, and I think you can answer                       20                Q.     Would you agree that not all
21          it with yes or no for your understanding.                            21          Internet pharmacies were rogue Internet
22                       You keep kind of taking that                            22          pharmacies who were diverting opioids?
23          question he is asking and applying it to                             23                A.     No.     In fact, I can't think of an
24          something else, so I want you to kind of listen                      24          Internet pharmacy that was operating at that
25          to the question as it is asked, and see if you                       25          point in time that wasn't rogue.

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1                        MR. STEPHENS:        If I could ask, if                 1           "Approximately how many websites currently
2           you could mark this as next in order, Bonnie.                        2           offer to sell controlled substances illegally
3           Thank you.                                                           3           over the Internet?"
4                        (Deposition Exhibit 9 was marked for                    4                        Do you see that, sir?
5           identification.)                                                     5                 A.     Yes.
6                        BY MR. STEPHENS:                                        6                 Q.     Okay.     Now I'm going to direct your
7                 Q.     So this has been marked as Exhibit                      7           attention to the -- in the very middle of the
8           9.    It is a current transcript from May 16,                        8           response, and there is a sentence there that
9           2007, entitled:     "Rogue Online Pharmacies, the                    9           states:     "It should be noted that there are
10          growing problem with Internet drug trafficking,                      10          legitimate pharmacies that provide controlled
11          a hearing before the Committee of the Judiciary                      11          substances via the Internet and operate daily
12          of the United States Senate."                                        12          within the boundaries of the law."
13                       And, sir, I would direct your                           13                       Do you see that?
14          attention to Page 52.                                                14                       MR. UTTER:         Take your time to read
15                       So, Mr. Rannazzisi, on Page 52, it's                    15          the document so you are familiar with it.
16          entitled:     "Questions for the hearing record                      16                       THE WITNESS:           Okay.
17          for Joseph Rannazzisi deputy assistant                               17                       BY MR. STEPHENS:
18          administrator, office of diversion and                               18                Q.     So my question, sir, is:           Did you
19          control."                                                            19          inform the United States Senate on May 16,
20                       And then the first question states:                     20          2007, that it was the administration's position
21          "At the hearing, witnesses provided testimony                        21          that it should be noted that there are
22          about how easy it is for youth and others to                         22          legitimate pharmacies that provide controlled
23          obtain prescription drugs illegally on the                           23          substances via the Internet and operate daily
24          Internet."                                                           24          within the boundaries of the law?
25                       And it's then 1 Sub A:                                  25                A.     Yes, but there is a difference

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                                                             Page 213                                                                              Page 214

1           between the pharmacies we were talking about                       1           pharmacist, the doctor never saw the patient
2           here and what we consider a rogue Internet                         2           and that's rogue.
3           pharmacy.                                                          3                         That's -- I think the legal term is
4                 Q.    Right.   My point is simply this, Mr.                  4           a conspiracy, and that's what we were talking
5           Rannazzisi.                                                        5           about.      We were not talking about the pharmacy
6                       There are Internet pharmacies and                      6           that would be accessed by a patient who had
7           then, among those Internet pharmacies, there is                    7           already turned in their prescription and
8           a subset, however large it may be, that are                        8           they're just looking for a refill.
9           rogue Internet pharmacies; is that fair?                           9                         BY MR. STEPHENS:
10                      MR. BENNETT:        Objection.     Vague.              10                Q.      Okay.     So then let's focus on these
11                      THE WITNESS:        No.     Because in -- the          11          rogue Internet pharmacies that you just
12          Internet pharmacies that are legal that you're                     12          described.      Okay?
13          talking about are generally pharmacies where                       13                        The rogue Internet pharmacies that
14          you could go online and ask the pharmacist via                     14          were diverting controlled substances often had
15          the Internet for a refill on your prescription.                    15          a ratio where they distributed 95 percent
16          That is an Internet pharmacy.                                      16          controlled substances against 4 percent
17                      The pharmacies that I am dealing                       17          noncontrolled.         Fair?
18          with in the rogue context are pharmacies that                      18                        MS. SINGER:          Objection.        Foundation.
19          had a physician that was sitting in New Jersey,                    19                        MR. BENNETT:           Objection.       Vague.
20          a pharmacist that was sitting in Iowa and in                       20                        MR. UTTER:         Same objections.
21          that facilitation center that was -- the                           21                        Go ahead.
22          transaction was being conducted through a                          22                        THE WITNESS:           I -- 95 percent in
23          survey or a patient questionnaire for cash with                    23          some aspects, they were generally high.                    I
24          no bona fide doctor-patient relationship, no                       24          think we have seen rogue Internet pharmacies go
25          corresponding responsibility review by the                         25          60, 70 percent up to 90, 95 percent depending

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1           on the pharmacy and what their business was.                       1           and vague.
2                        BY MR. STEPHENS:                                      2                         THE WITNESS:           I don't remember -- I
3                  Q.    Did you view a ratio of 95 percent                    3           know the vast majority of the pharmacies, the
4           controlled substances versus 5 percent                             4           brick and mortar pharmacies that we took action
5           noncontrolled substances as a possible                             5           against, were not independent -- they were
6           indication that the Internet pharmacy was                          6           independent.         They were not chain drug stores.
7           diverting?                                                         7                         However, I can't say that every --
8                        MS. SINGER:       Objection.      Calls for           8           every case we had was an independent.                    I just
9           speculation.     Incomplete hypothetical.                          9           don't remember but I am pretty sure that the
10                       MR. BENNETT:        Objection.     Vague as           10          vast majority were independent pharmacies.
11          to time.                                                           11                        BY MR. STEPHENS:
12                       BY MR. STEPHENS:                                      12                Q.      Sir, during your career as deputy
13                 Q.    During your tenure as deputy                          13          assistant administrator, you gave presentations
14          assistant administrator, sir.                                      14          where you used slide decks that described rogue
15                 A.    High volume, high ratio, controlled                   15          Internet pharmacies; is that fair?
16          substance to noncontrolled substance is an                         16                A.      Yes.
17          indicator of a potential problem, yes.                             17                Q.      I would like to show you one of
18                 Q.    And these rogue Internet pharmacies                   18          those.
19          that you dealt with, they were not full range                      19                        (Deposition Exhibit 10 was marked
20          pharmacies, like a retail chain pharmacy, like                     20          for identification.)
21          a Walmart or a CVS or Walgreens or Rite Aid or                     21                        BY MR. STEPHENS:
22          an HBC Giant Eagle, true?                                          22                Q.      Sir, I would direct your attention
23                       MS. SINGER:       Objection.      Compound            23          to Slide 50.
24          question.                                                          24                        MR. BENNETT:           Counsel, may I ask,
25                       MR. BENNETT:        Objection.     Compound           25          where this was produced from?                    It doesn't look

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                                                               Page 217                                                                            Page 218

1           like a DEA document so I am just curious.                                1                 Q.    And you agree that most, if not all,
2           There is no Bates number.               There's no document              2           of the Internet pharmacies operating
3           number on it.                                                            3           domestically between 2005 and 2009 were
4                       MR. STEPHENS:           Let me suggest this,                 4           independently owned, fair?
5           James, I will move on.             I will come back to                   5                       MS. SINGER:         Objection.     Scope.
6           this and answer that question for you.               How's               6           Foundation.
7           that?                                                                    7                       MR. BENNETT:          Objection.    Scope.
8                       MR. BENNETT:           That's fine.    Thank                 8           Calls for speculation.
9           you.                                                                     9                       THE WITNESS:          I'm not sure.    I can
10                      BY MR. STEPHENS:                                             10          tell you the vast majority were independent
11                 Q.   Mr. Rannazzisi, let me ask you this:                         11          pharmacies, but I just -- I just don't remember
12          Do you recall giving presentations where, in                             12          if there was a chain involved in one of the
13          your description of what a rogue pharmacy was,                           13          Internet cases or not.
14          you told people that they were not chain                                 14                      MR. STEPHENS:          If we could mark this
15          pharmacies?                                                              15          as the next in order, Bonnie.
16                      MR. UTTER:         Don't look -- he is not                   16                      (Deposition Exhibit 11 was marked
17          making a reference to the exhibit, so you are                            17          for identification.)
18          not confused.       He is asking a question                              18                      BY MR. STEPHENS:
19          independent of the exhibit.                                              19                Q.    Mr. Rannazzisi, I'm going to direct
20                      THE WITNESS:           If I was reporting                    20          you to Page 2006.
21          what the majority of the pharmacies were, I                              21                      MR. STEPHENS:          And for the record,
22          would say yes, a vast majority of the                                    22          what has been marked as Deposition Exhibit No.
23          pharmacies involved in rogue Internet sales are                          23          11 is hearing testimony from March 1, 2012,
24          independent pharmacies.                                                  24          entitled:     "Prescription Drug Diversion:
25                      BY MR. STEPHENS:                                             25          Combating the Scourge, a hearing before the

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1           Subcommittee of Commerce, Manufacturing and                              1           which indicated that the results of DEA's
2           Trade, the Committee on Energy and Commerce."                            2           diversion investigations of rogue Internet
3                        BY MR. STEPHENS:                                            3           pharmacies revealed that most, if not all, of
4                  Q.    And I would direct your attention to                        4           the domestic-based Internet pharmacies were
5           Page 206.                                                                5           independently owned, true?
6                        Mr. Rannazzisi, I am directing your                         6                  A.   Yes, with the qualification that
7           attention to Question 10 and the last sentence                           7           most, if not all.
8           of the first paragraph of the response.                                  8                  Q.   Correct.        Now Walmart, CVS, Rite
9                  A.    The paragraph that starts:              "As                 9           Aid, Walgreens, HBC Giant Eagle are all chain
10          previously stated?"                                                      10          pharmacies, correct?
11                 Q.    No, it's two sentences just up above                        11                      MS. SINGER:          Objection.     Scope.
12          it.     I will read it for the record.              Mr.                  12                      THE WITNESS:           Yes, that's correct.
13          Rannazzisi, take your time reading it.                                   13                      BY MR. STEPHENS:
14                       The sentences state:              "For example,             14                 Q.   Okay.     Mr. Rannazzisi, you mentioned
15          between 2005 and 2009, many DEA diversion                                15          in some of your prior testimony with me after
16          investigations were initiated against rogue                              16          lunch, the Ryan Hate Act in 2008, right?
17          Internet pharmacies.            The results of those                     17                 A.   Yes.
18          investigations revealed that most, if not all,                           18                 Q.   And the Ryan Hate Act was
19          of the domestic-based Internet pharmacies were                           19          legislation that was focused on trying to help
20          independently-owned pharmacies."                                         20          combat rogue Internet pharmacies, fair?
21                       Do you see that?                                            21                 A.   Yes.
22                 A.    Yes.                                                        22                 Q.   And after the passage of the act, I
23                 Q.    My question, sir, is:              You provided             23          believe you mentioned DEA got traction in --
24          on behalf of the Drug Enforcement                                        24          from the investigation enforcement actions
25          Administration a response back to Congress                               25          against rogue Internet pharmacies and then

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1           rogue pain clinics began to become more of an                         1           Internet pharmacy or pain clinic that you think
2           issue and you started to increase                                     2           is diverting; is that fair?
3           investigations into rogue pain clinics?                               3                 A.    They are operating illegally.
4                        MS. SINGER:          Objection.     Compound             4                 Q.    Now, the rogue pain clinics or some
5           question.                                                             5           of the rogue pain clinics in the 2008, 2009
6                        MR. BENNETT:           Objection.                        6           era, both prescribe and supply oxycodone to
7           Mischaracterizes testimony.                                           7           their patients at the rogue pain clinic?
8                        MR. UTTER:         Go ahead.                             8                       MR. BENNETT:           Objection.    Vague.
9                        THE WITNESS:           We -- once the rogue              9                       THE WITNESS:           Some of them did, yes.
10          Internet pharmacy -- the domestic brick and                           10                      BY MR. STEPHENS:
11          mortar pharmacies involved in those were shut                         11                Q.    And as to those, they were not
12          down, we started moving resources towards the                         12          sending patients to a pharmacy to fill a
13          rogue pain clinics.                                                   13          prescription.       They were doing the supplying
14                       BY MR. STEPHENS:                                         14          right there at the pain clinic, correct?
15                Q.     Okay.     Would you agree that not                       15                      MS. SINGER:          Objection.     Vague.
16          every pain clinic was a rogue pain clinic?                            16                      MR. BENNETT:           Same.
17                       MR. BENNETT:           Objection.    Vague.              17                      THE WITNESS:           In some cases, the
18                       THE WITNESS:           I would agree that                18          clinics were dispensing medication, yes.
19          there are pain clinics out there that are truly                       19                      BY MR. STEPHENS:
20          pain clinics, yes.                                                    20                Q.    All right.         And in response to that,
21                       BY MR. STEPHENS:                                         21          some states passed legislation to require that
22                Q.     And just for our terminology, Mr.                        22          the prescriptions of controlled substances be
23          Rannazzisi, when you use the word "rogue," like                       23          filled at a pharmacy, not at a pain clinic?
24          a rogue pain clinic or a rogue Internet                               24                      MS. SINGER:          Objection.     Foundation.
25          pharmacy, you are communicating that that is an                       25          Beyond the scope of this witness's expertise.

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1                        MR. BENNETT:           I will join both as               1                       BY MR. STEPHENS:
2           objection to foundation and scope.                                    2                 Q.    Mr. Rannazzisi, have you ever used
3                        MR. UTTER:         Same objections.                      3           the term or are you familiar with the term, "a
4                        Go ahead.                                                4           straw purchase?"
5                        THE WITNESS:           I don't know about all            5                 A.    Yes.
6           states, but for instance, Florida did pass two                        6                 Q.    Okay.     Can you please describe what
7           pieces of legislation.              First, the 72 hour rule           7           a straw purchase of a pharmacy would be in this
8           and then they completely eliminated the                               8           scenario?
9           dispensing of any controlled substance.                               9                 A.    The owner of the clinic would
10                       BY MR. STEPHENS:                                         10          basically pay money for an individual to act as
11                Q.     Okay.     And then in response to that                   11          the purchaser of the pharmacy so it doesn't
12          legislation, some of the operators of these                           12          draw attention to the clinic, so you would have
13          rogue pain clinics opened up straw pharmacies                         13          -- we got to see all different types of people
14          that were actually controlled by the rogue pain                       14          in Florida that were trying to apply for
15          clinic?                                                               15          pharmacy licenses at that point in time, that
16                       MS. SINGER:          Objection.     Compound             16          were not medical -- didn't have a background in
17          question again.        Beyond the scope of this                       17          medicine.
18          witness's expertise as a response.                                    18                Q.    Okay.     And some of these straw
19                       MR. BENNETT:           Objection.    Scope.              19          pharmacies did get licensed and registered for
20          Objection.     Vague.                                                 20          a period of time by DEA, correct?
21                       THE WITNESS:           We -- there were                  21                A.    We started a program where we
22          instances where rogue clinics purchased                               22          actually interviewed and reviewed all the
23          pharmacies and started dispensing                                     23          applicants and the vast majority of the
24          prescriptions, and then having the pharmacists                        24          applicants, once they realized -- once we
25          dispense the medication.                                              25          started asking questions, they withdrew their

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1           application.                                                              1                       The time is 1:59.
2                 Q.    Okay.     To your recollection,                               2                       (A short recess was taken.)
3           Mr. Rannazzisi, did any straw pharmacy actually                           3                       THE VIDEOGRAPHER:             We are going back
4           get opened and -- such that it was able to                                4           on the record.
5           dispense prescription controlled substances for                           5                       This is the start of the Media Unit
6           a period of time?                                                         6           No. 5.
7                       MS. SINGER:          Objection.          Compound             7                       The time is 2:15.
8           question.                                                                 8                       You may proceed, Counsel.
9                       MR. BENNETT:           Objection.         Scope.              9              EXAMINATION BY COUNSEL FOR CARDINAL HEALTH
10                      You are not authorized to disclose                            10                      BY MS. MAINIGI:
11          any information regarding any specific                                    11                Q.    Good afternoon, Mr. Rannazzisi.
12          nonpublic DEA investigations or activities.                       To      12                      My name is Enu Mainigi.             And I
13          the extent that you can answer this question                              13          represent Cardinal Health.              And I'll be asking
14          with publicly available information, you may.                             14          you some additional questions this afternoon on
15                      THE WITNESS:           I -- I don't recall                    15          behalf of the distributors.
16          any that got through the system.                                          16                      Mr. Rannazzisi, you joined the DEA
17                      MR. STEPHENS:           Are you okay if we                    17          back in about 1986; is that right?
18          take a break right now?                                                   18                A.    Yes.
19                      MR. BENNETT:           That would be fine.                    19                Q.    And you started as a diversion
20                      MR. STEPHENS:           Yes.                                  20          investigator; is that correct?
21                      MR. BENNETT:           10 minutes?                            21                A.    Yes.
22                      MR. STEPHENS:           Yeah.      10.                        22                Q.    How long did you remain a diversion
23                      THE VIDEOGRAPHER:              We are going off               23          investigator?
24          the record.                                                               24                A.    From 1986 to 1988.
25                      This is the end of Media Unit No. 4.                          25                Q.    And did you go through training as a

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1           diversion investigator?                                                   1           enforcement side of the DEA; is that right?
2                 A.    Yes.                                                          2                       MS. SINGER:         Objection.      Vague.
3                 Q.    That was in 1986?                                             3                       THE WITNESS:          Special agents have
4                 A.    Yes.                                                          4           full arrest powers, authority to carry a firm.
5                 Q.    And who conducted your training?                              5           They work all sorts -- they -- they work all
6                 A.    The diversion training unit at                                6           criminal investigations related to Title 21.
7           Quantico, Virginia.                                                       7                       BY MS. MAINIGI:
8                 Q.    Was Michael Mapes conducting the                              8                 Q.    But the special agents focus on
9           training at that point in time?                                           9           criminal investigations, correct?
10                A.    Michael Mapes was a class                                     10                A.    Yes.
11          coordinator.                                                              11                Q.    And did you remain a special agent
12                Q.    And so did you take any training                              12          -- well, let me retract that.
13          from Mr. Mapes?                                                           13                      Did you remain on the law
14                A.    I don't remember if Mr. Mapes taught                          14          enforcement side of the DEA until you went to
15          or if he was just coordinating the class.                       They      15          headquarters at the end of 2005?
16          had instructors, and they had class                                       16                      MR. BENNETT:          Objection.     Vague.
17          coordinators.       I don't recall if Mr. Mapes was                       17                      MR. UTTER:        Go ahead.
18          actually instructing at that time or if he was                            18                      THE WITNESS:          I remain on the law
19          just the class coordinator.                                               19          enforcement side.        I'm not -- I'm not sure what
20                Q.    Then after you were a diversion                               20          you mean by that.
21          investigator, you became a special agent; is                              21                      BY MS. MAINIGI:
22          that correct?                                                             22                Q.    Let me -- let me rephrase.
23                A.    Yes.                                                          23                      Did you continue to focus on
24                Q.    And you continued to work in -- and                           24          criminal investigations until you arrived at
25          a special agent works essentially on the law                              25          headquarters for your new role at the end of

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1           2005?                                                                       1           1988 to 2004, correct?
2                 A.    I arrived to headquarters in 2004.                              2                  A.       That's correct.
3           And for a brief period of time in 2004, I was                               3                  Q.       You didn't review excessive purchase
4           in the Office of Diversion Control.                                         4           reports in that time period of 1988 to 2004,
5                 Q.    Okay.     So let's just -- let's take                           5           correct?
6           that in bite-size pieces.                                                   6                           MR. BENNETT:           Objection.     Vague.
7                       So from 1988 to 2004, you focused                               7                           THE WITNESS:           I'm excessive purchase
8           primarily on criminal investigations, correct?                              8           reports.        I -- I'm -- I'm sorry.
9                 A.    Yes.                                                            9                           Are you talking about excessive
10                Q.    And from that -- in that time                                   10          purchase reports or suspicious orders?
11          period, 1988 to 2004, you did not regularly                                 11                          BY MS. MAINIGI:
12          interact with wholesale distributors; is that                               12                 Q.       You didn't review excessive purchase
13          right?                                                                      13          reports in that time period from 1988 to 2004,
14                      MR. BENNETT:           Objection.        Vague.                 14          did you?
15                      THE WITNESS:           Yes.        That's correct.              15                 A.       No.
16                      BY MS. MAINIGI:                                                 16                 Q.       Now, you said you arrived in
17                Q.    And you didn't perform any sort of                              17          headquarters in 2004, correct?
18          regulatory inspections of distribution centers,                             18                 A.       Yes.
19          correct?                                                                    19                 Q.       And what was your role in 2004?
20                      MS. SINGER:          Objection.         Vague.                  20                 A.       I was the deputy director of the
21                      THE WITNESS:           That -- that's                           21          Office of Diversion Control.
22          correct.                                                                    22                 Q.       And you said in 2004 you were in
23                      BY MS. MAINIGI:                                                 23          diversion control briefly.
24                Q.    And you didn't provide guidance on                              24                          What was the time period,
25          suspicious order reporting in that time from                                25          approximately?

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1                 A.    I think I arrived in -- in March or                             1                  A.       In the field.
2           April of '04, and I departed in August of '04.                              2                  Q.       The move that you made in August,
3                 Q.    And where did you depart to?                                    3           was that a promotion?
4                 A.    I was -- I took over as the deputy                              4                  A.       They -- they needed -- they needed
5           chief of enforcement operations.                   So I ran all             5           somebody to help out enforcement operations.
6           enforcement operations during that time.                                    6           So they just decided I was the one.
7                 Q.    And so, from August 2004 to the time                            7                           THE REPORTER:          I'm sorry.     They
8           you returned to the department of antidiversion                             8           decided...
9           at the end of 2005, you were in enforcement?                                9                           THE WITNESS:          They decided I was the
10                A.    I was in enforce --                                             10          one.        Because I have a very -- my background is
11                      MS. SINGER:          Objection.         Vague.                  11          in all different types of enforce.                   And they
12                      MR. BENNETT:           Objection.        Form.                  12          needed somebody who had a wide range of
13                      THE WITNESS:           I was in enforcement,                    13          background.
14          but I also had a pharmaceutical -- a deployable                             14                          BY MS. MAINIGI:
15          pharmaceutical section under my control.                                    15                 Q.       So while you were in diversion
16                      BY MS. MAINIGI:                                                 16          control for several months in 2004, what --
17                Q.    And what did that pharmaceutical                                17          what were your responsibilities primarily?
18          section do?    What was its role?                                           18                 A.       I would assist the deputy assistant
19                A.    To assist the field in diversion                                19          administrator in day-to-day functions,
20          investigations.       And they were also deployable.                        20          meetings, review documents, ensure that -- help
21          They could be deployed out to actually help                                 21          him understand where the cases were going, you
22          or -- or initiate investigations in --                                      22          know, what cases were out there.                  Just
23                Q.    And --                                                          23          general -- I was just his deputy.                   So I -- I
24                A.    -- the field.                                                   24          did pretty much whatever he couldn't do or
25                Q.    I'm sorry.                                                      25          didn't -- you know, delegated down to me.

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1                 Q.       And the deputy administrator at that                       1           testimony in front of Congress on the problem
2           point in time was who?                                                    2           of Internet pharmacies; is that right?
3                 A.       William Walker.                                            3                 A.     Yes.
4                 Q.       Then in late 2005 you became the                           4                 Q.     And I think you testified with the
5           acting deputy assistant administrator of the                              5           prior questioner about the evolution that
6           Office of Diversion and Control, right?                                   6           occurred first for the Internet pharmacies and
7                 A.       In -- in July or August of 2005, I                         7           then the switch over to pain clinics, correct?
8           was asked to do both jobs.                 I was asked to run             8                        MR. BENNETT:          Objection.    Misstates
9           diversion control.            Because Mr. Walker had been                 9           testimony.
10          deployed, the military.               So I was asked to                   10                       MR. UTTER:        Same objection.      Go
11          handle both enforcement operations and oversee                            11          ahead.
12          diversion control as well.                                                12                       THE WITNESS:          I testified that, you
13                Q.       And it's in that role as deputy                            13          know, we had an Internet pharmacy problem.                  And
14          assistant administrator, beginning in that end                            14          once the Ryan Haight Act was passed, the -- the
15          of 2005, beginning of 2006 time period, that                              15          problem shifted.        Because most of the
16          you been to testify in front of Congress; is                              16          brick-and-mortars, if not all of the
17          that right?                                                               17          brick-and-mortars, were shut down.
18                A.       No.    I started testifying in front                       18                       And at that point in time, the
19          of Congress in 2004.                                                      19          problem shifted to pain clinics, rogue pain
20                Q.       In the -- the first time you were in                       20          clinics, rogue doctors and pharmacists.
21          antidiversion?                                                            21                       BY MS. MAINIGI:
22                A.       Yes.                                                       22                Q.     When would you pinpoint the issue of
23                Q.       In that 2005, 2006 time period, I                          23          Internet pharmacies really became a problem
24          think as we've -- we've discussed some already                            24          known to the DEA, approximately?
25          with the prior questioners, you had some                                  25                       MR. BENNETT:          Objection.    Scope.

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1           Objection.       Foundation.                                              1           antidiversion began developing a PowerPoint or
2                          THE WITNESS:          Probably before I got                2           a deck related to Internet pharmacies to share
3           to headquarters in 2004.                I'm guessing that it              3           with distributors, correct?
4           was sometime between the end of 2003 and early                            4                        MR. BENNETT:           Objection.
5           2004.       I was getting briefings before I                              5           Foundation.
6           arrived, phone briefings.                 So I think that's               6                        MS. SINGER:          Objection.
7           the first time that we -- we discussed Internet                           7                        THE WITNESS:           I don't know exactly
8           pharmacies.                                                               8           when in 2005, but there was a -- a PowerPoint
9                          BY MS. MAINIGI:                                            9           presentation prepared for Internet pharmacies.
10                Q.       And the phone brief -- briefing that                       10                       BY MS. MAINIGI:
11          you were getting, were those for your new job                             11                 Q.    And it became part of the
12          in antidiversion, or were they in relation to                             12          distributor initiative; is that right?
13          your role in -- as -- as a special agent?                                 13                 A.    It was a PowerPoint that was given
14                A.       Well --                                                    14          in the distributor initiative, yes.
15                         MS. SINGER:         Objection.     Scope.                  15                 Q.    And I think that the name of the
16                         THE WITNESS:          They were preparing me               16          PowerPoint was the Internet Distributor
17          for the deputy director job, which was the                                17          Initiative.
18          number two job in the Office of Diversion                                 18                       Does that sound right to you?
19          Control.       So I was briefed on a number of -- a                       19                       MR. BENNETT:           Objection.
20          number of issues related to the Office of                                 20          Foundation.
21          Diversion Control.            And I seem to remember that                 21                       THE WITNESS:           I -- I don't -- I
22          one of the issues was the Internet pharmacies.                            22          don't recall.
23                         BY MS. MAINIGI:                                            23                       BY MS. MAINIGI:
24                Q.       At some point in time in the 2005                          24                 Q.    Do you -- the Internet -- or excuse
25          time period, the E-commerce section of                                    25          me.

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1                       The distributor initiative concept,                           1           was headed by who?
2           was that a concept that the E-commerce section                            2                  A.    I don't recall.           I -- I think it was
3           of antidiversion came up with?                                            3           Betsy Willis.
4                       MR. BENNETT:           Objection.        Scope.               4                  Q.    And liaison and policy was headed by
5                       You're not authorized to disclose                             5           who?
6           information that would reveal the internal                                6                  A.    I don't recall.
7           deliberative process within the Department of                             7                  Q.    Is it fair to say that the two
8           Justice and DEA.        To the extent that you can                        8           individuals that at least initially developed
9           answer his question without disclosing the                                9           and then delivered the distributor initiative
10          internal deliberative process, you may answer.                            10          were Michael Mapes and Kyle Wright?
11                      THE WITNESS:           It was a collaborative                 11                       MS. SINGER:        Objection.      Scope.
12          effort between the sections.                                              12                       MR. BENNETT:         Objection.     Scope.
13                      BY MS. MAINIGI:                                               13          Foundation.
14                 Q.   And which sections; do you recall?                            14                       THE WITNESS:         They were the primary
15                      MS. SINGER:          Objection.         Scope.                15          -- they delivered the presentation.               And they
16                      MR. BENNETT:           You can answer the                     16          coordinated the presentation at the
17          question.                                                                 17          headquarters level.
18                      THE WITNESS:           It was a collaborative                 18                       But there -- if I'm not mistaken,
19          effort between E-commerce, pharmaceutical                                 19          there were other people that were involved in
20          investigations, liaison and policy.                                       20          those presentations.
21                      BY MS. MAINIGI:                                               21                       BY MS. MAINIGI:
22                 Q.   And E-commerce, at that point in                              22                 Q.    Were you involved at all in
23          time, was headed by Michael Mapes?                                        23          developing the distributor initiative?
24                 A.   Yes.                                                          24                 A.    I reviewed their -- their documents
25                 Q.   And pharmaceutical investigations                             25          and what they were doing before they actually

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1           initiated it.      But I was not present at the                           1           Boggs.
2           meetings.                                                                 2                 Q.     Now, the first of the Internet --
3                  Q.   So the individual one-on-one                                  3           the distributor initiative briefings were
4           distributor meetings that were held beginning                             4           delivered in the fall of 2005.
5           at the end of 2005, for several years                                     5                        Does that sound right to you?
6           thereafter you were not present at those                                  6                 A.     I was thinking some time in August
7           meetings?                                                                 7           or September, yeah.
8                       MS. SINGER:          Objection.         Foundation.           8                 Q.     And you hadn't arrived back at
9                       THE WITNESS:           No.        It was the                  9           antidiversion at that point in time, correct?
10          E-commerce section, liaison and policy,                                   10                A.     I was doing both jobs.          I was
11          pharmaceutical investigations, Office of Chief                            11          bouncing between one building and the other.
12          Counsel, and at least one exec from my office.                            12                Q.     So you had input into what was being
13                      BY MS. MAINIGI:                                               13          presented to the distributors as part of the
14                 Q.   And by one exec from your office,                             14          distributor initiative?
15          who do you mean?                                                          15                       MS. SINGER:       Objection.      Foundation.
16                 A.   What -- I had at that time two or                             16          Vague.
17          three executive assistants.                   So one of them              17                       THE WITNESS:        I reviewed the
18          would be in the -- in the meeting as well.                                18          documents.     But the -- the presentation was
19                 Q.   And your executive assistants at                              19          created again as a collaborative effort with --
20          that point in time were who?                                              20          with those three units in counsel's office.
21                      MR. BENNETT:           Objection.        Vague as             21                       BY MS. MAINIGI:
22          to time.                                                                  22                Q.     Do you recall whether a set -- any
23                      BY MS. MAINIGI:                                               23          set of talking points that the individuals such
24                 Q.   In 2005 time period.                                          24          as Mr. Mapes and Mr. Wright, who were
25                 A.   It was either Mike Heald or Gary                              25          delivering the initiative, would work off of

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1           when they had their distributor meetings?                              1                        MS. SINGER:          Objection.         Vague.     And
2                       MR. BENNETT:          Objection.    Vague.                 2           foundation.
3                       MR. UTTER:        Go ahead.                                3                        THE WITNESS:           Yes.        The -- yes.
4                       THE WITNESS:          I -- I don't recall if               4           That's what they would do.
5           there were talking points.              I know they had                5                        BY MS. MAINIGI:
6           a -- a set presentation, PowerPoint                                    6                 Q.     So fair to say that they primarily
7           presentation, and individualized sales data for                        7           worked off of both the ARCOS data and then the
8           the particular.      But I don't know if there was                     8           PowerPoint deck that had been prepared in
9           a set of talking points, no.                                           9           delivering the distributor initiatives?
10                      BY MS. MAINIGI:                                            10                A.     I don't know if that's all they had.
11                Q.    And with respect to the                                    11          I -- I don't know because I wasn't there.
12          individualized data, was that that they took                           12                Q.     Okay.     To the best of your
13          the ARCOS data for each distributor that they                          13          knowledge, are you aware of anything else
14          were planning to meet with and analyzed that                           14          besides those two items, the PowerPoint deck as
15          data for anomalies?                                                    15          well as the ARCOS data?
16                      MS. SINGER:         Objection.     Vague.                  16                A.     I'm aware of the ARCOS data and the
17                      MR. BENNETT:          Same objection.                      17          PowerPoint.     But I'm not sure what else they
18                      THE WITNESS:          I believe that's what                18          were using.
19          they were doing, yes.                                                  19                Q.     Now, you sent a letter to at least
20                      BY MS. MAINIGI:                                            20          distributor registrants in the September 2006
21                Q.    And so they would go over that data                        21          time period, correct?
22          with the distributor and show the distributor                          22                A.     I think the letter went to
23          with the distributor's own data where the DEA                          23          distributors and manufacturers.
24          had seen some anomalies that were worthy of                            24                Q.     And the topic of the letter was
25          questioning, fair?                                                     25          suspicious order reporting and -- and

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1           monitoring, correct?                                                   1                 Q.     Now, who -- did you draft the
2                  A.   I don't have the letter handy.                             2           letter, or did someone help you draft letter?
3                  Q.   What do you recall it generally as                         3                 A.     It was drafted by several people.
4           being?                                                                 4                 Q.     Do you recall who?
5                  A.   It was to inform the -- the                                5                        MS. SINGER:          Objection.
6           population of distributors and manufacturers                           6                        MR. BENNETT:           Objection.        Scope.
7           what their obligations were under the                                  7                        You're not authorized to disclose
8           Controlled Substances Act and implementing                             8           the infernal deliberative process within the
9           regulations.                                                           9           United States Department of Justice or DEA.                          To
10                 Q.   And fair to say that you sent                              10          the extent that you can answer the question as
11          essentially the same letter out again in                               11          far as who without disclosing the internal
12          February 2007?                                                         12          deliberative process, you may answer.
13                 A.   Yes.                                                       13                       THE WITNESS:           I -- I don't recall.
14                 Q.   And was that because there was a                           14          I -- I -- it was just a -- a normal letter.                          It
15          part of the population that didn't receive the                         15          would be -- go through several people before it
16          letter?                                                                16          got to me.     I would make my corrections.                    And
17                      What was the reason for sending the                        17          it would come back -- go back down.
18          letter out again?                                                      18                       BY MS. MAINIGI:
19                 A.   I don't recall exactly.             But I think            19                Q.     Now, would it surprise you to learn
20          that it was just to ensure that everyone                               20          that Mr. Wright and Mr. Mapes did not get an
21          received the letter.           I don't know if they had                21          opportunity to review that letter before it
22          information that some people didn't get it.                            22          went out?
23          But I think they just decided they were just                           23                       MS. SINGER:          Objection.         Foundation.
24          going to resend it again to ensure that                                24                       MR. BENNETT:           Objection.
25          everybody had it.                                                      25          Foundation.     Objection.           Form.        Objection.

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1           Scope.                                                                  1           several components also were dealing with them.
2                        MR. UTTER:        Same objection.                          2                        BY MS. MAINIGI:
3                        MR. BENNETT:          Just foundation and                  3                 Q.     And in liaison and policy, who do
4           form.                                                                   4           you recall was primarily dealing with the
5                        MR. UTTER:        Same objection.                          5           distributors, let's say in the '06, '07 time
6                        Go ahead.                                                  6           period?
7                        THE WITNESS:          I -- I -- I don't know               7                 A.     I don't recall.          Because liaison
8           if they did or not.                                                     8           policy changed quite a bit.              I mean it changed
9                        BY MS. MAINIGI:                                            9           as people rotated in and retired and left.                 So
10                Q.     Mr. Mapes and Mr. Wright were two of                       10          I just don't recall who was there at the time.
11          the individuals that were primarily dealing                             11                Q.     And you don't to recall -- well,
12          with the distributors at that point in time,                            12          let's broaden the time period.
13          correct?                                                                13                       In the '05 to let's say '09 time
14                       MS. SINGER:         Objection.     Foundation.             14          period, do you remember anyone in liaison and
15          Mischaracterizes the witness's prior testimony.                         15          policy that was dealing with distributors on a
16                       MR. BENNETT:          And objection.     Vague             16          regular basis?
17          regarding the "dealing with."                                           17                       MR. BENNETT:        Objection.     Vague.
18                       MR. UTTER:        Go ahead.                                18                       THE WITNESS:        Maybe Mark Caverly.
19                       MR. BENNETT:          Or objection.    Vague.              19                       BY MS. MAINIGI:
20                       THE WITNESS:          I'm -- I'm not sure.                 20                Q.     I'm sorry?
21          Liaison policy was dealing with the                                     21                A.     Mark Caverly.
22          distributors as well.            And if I'm not mistaken,               22                Q.     Did he attend the distributor
23          the regulatory section, pharmaceutical                                  23          initiative meetings?
24          investigations, were also.               So I -- I -- and I             24                A.     I don't know if he did or not.
25          just -- they were dealing with them, but                                25                Q.     And then in pharmaceutical

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1           investigations, was there any -- I assume, just                         1                 A.     I don't recall a period of time
2           given the name, there wasn't anyone that was                            2           where they stopped.
3           specifically dealing with distributors in that                          3                 Q.     Would it surprise you to learn that
4           department?                                                             4           other folks have testified that they stopped
5                        MR. BENNETT:          Objection.    Form.                  5           for a period of time because of concern about
6           Objection.     Vague.                                                   6           litigation?
7                        THE WITNESS:          I believe they were                  7                        MR. BENNETT:        Objection.     Form.
8           dealing with distributors.               And at that point              8           Objection.     Misstates testimony.           Objection.
9           in time would have been Matt Murphy.                                    9           Foundation.
10                       BY MS. MAINIGI:                                            10                       MR. UTTER:      Same objection.
11                Q.     And was he part of the distributor                         11                       Go ahead.
12          initiative briefings?                                                   12                       THE WITNESS:        I -- I don't recall if
13                A.     I believe he did attend those                              13          they stopped or not.         But lit -- unless we were
14          distributor initiative briefings.                                       14          in litigation with the whole distribution
15                Q.     And then the distributor initiative                        15          population, I -- I don't think that would have
16          briefings went on, to your recollection, how                            16          stopped us from meeting the certain
17          long?                                                                   17          distributors.
18                       They started, as you said, in August                       18                       BY MS. MAINIGI:
19          2005 and went to what time period?                                      19                Q.     So you think the distributor
20                A.     When I left, they were still going                         20          initiative briefings kept going straight
21          on.                                                                     21          through the 2005 through 2016 time period?
22                Q.     In 2016?                                                   22                       MS. SINGER:       Objection.
23                A.     '15.                                                       23          Mischaracterizes the witness's testimony.
24                Q.     Was there a period of time that they                       24                       MR. BENNETT:        Same objection.
25          stopped?                                                                25                       THE WITNESS:        As far --

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1                       MR. UTTER:         Same -- same objection.                  1           So I -- I don't know.           I would assume, like any
2                       Sorry.      Go ahead.                                       2           other meeting, that they're going to talk about
3                       THE WITNESS:           As far as I recall,                  3           trends and changes in trends during the
4           there was no break in the distributor -- now,                           4           briefings, just like they do at the distributor
5           they might not have been doing a huge number                            5           conferences they have.
6           during certain time period, but that generally                          6                       BY MS. MAINIGI:
7           is because of resources.                                                7                 Q.    So going back to your letters, you
8                       But I don't recall any time where we                        8           then sent another letter in December 2007.
9           shut down the distributor initiative for a                              9                       Do you recall that?
10          period of time.                                                         10                A.    Yes.
11                      BY MS. MAINIGI:                                             11                Q.    And what was the purpose of that
12                Q.    And I imagine, with respect to the                          12          letter relative to the prior two that you had
13          distributor initiative, just as the focus of                            13          sent?
14          the DEA evolved from Internet pharmacies to                             14                      MR. BENNETT:          Objection.
15          pain clinics and perhaps on to other issues,                            15                      Same instruction regarding internal
16          that what was being discussed and shared at the                         16          deliberations.      You can answer without
17          distributor initiatives also evolved and                                17          disclosing internal deliberations.
18          changed?                                                                18                      THE WITNESS:          The letter was sent to
19                      MS. SINGER:          Objection.     Compound                19          reinforce the previous two letters and also to
20          question.                                                               20          make note and to pay attention -- ask them to
21                      MR. BENNETT:           Objection.    Form.                  21          pay attention to the Southwood Pharmaceutical
22                      MR. UTTER:         Same objection.                          22          decision that was done in 2007.
23                      Go ahead.                                                   23                      BY MS. MAINIGI:
24                      THE WITNESS:           I don't recall.       Like           24                Q.    And what was it that you wanted
25          I said, I was not in those -- those briefings.                          25          attention focused on with respect to Southwood?

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1                 A.    It was a case regarding a                                   1           Foundation.
2           manufacturer/distributor and we wanted -- the                           2                       THE WITNESS:          Those memos were just
3           case outlined what the obligations were and it                          3           to inform me about the meeting, what was said,
4           was just reinforcing what the obligations that                          4           what was talked about and who was there.
5           we had originally talked about in the                                   5           That's what the meeting was.
6           distributor initiative and then also in the                             6                       BY MS. MAINIGI:
7           first two letters that went out.                                        7                 Q.    If you reviewed the memos and
8                 Q.    So coming out of the -- let me                              8           thought that those delivering the distributor
9           unpackage what you said.                                                9           initiative were not being complete in what they
10                      Coming out of the distributor                               10          -- the messages they delivered, would you have
11          initiatives, at least some times, the attendees                         11          let them know?
12          from DEA wrote up a memo of what they                                   12                      MS. SINGER:         Objection.
13          discussed, right?                                                       13          Hypothetical.      Calls for speculation.
14                A.    No, they always wrote up a memo.                            14                      MR. BENNETT:          Join those objections.
15                Q.    Okay.     They always wrote up a memo,                      15                      MR. UTTER:        Go ahead.
16          and is that a memo you reviewed usually?                                16                      THE WITNESS:          I am just trying to
17                A.    Yes, it would be to me.                                     17          think of what was in the memos.
18                Q.    Okay.     But would you review it?                          18                      If I thought that they were missing
19                A.    Of course.         I review everything that                 19          something, I would probably add it in at the
20          comes across my desk.                                                   20          time, yeah.     I would ask them to include it, or
21                Q.    Okay.     So those memos, did you find                      21          did you talk about this, and if not, why did
22          them to be just a fair and accurate reflection                          22          you not talk about it, but most of the time,
23          of how the meeting went as far as you were                              23          they were pretty complete in what they were
24          aware?                                                                  24          doing.
25                      MR. BENNETT:           Objection.                           25                      BY MS. MAINIGI:

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1                 Q.     And again, I imagine that the focus                       1           Rannazzisi, was -- I imagine that the DEA had a
2           of what was talked about in 2005, 2006 was                             2           different way to deal with Internet pharmacies
3           different than what the focus was in 2010,                             3           than they did with pain clinics, for example;
4           2011, fair?                                                            4           would that be fair?
5                        MS. SINGER:       Objection.      Asked and               5                        MR. BENNETT:        Objection.      Form.
6           answered.                                                              6                        MR. UTTER:      Objection.        Form.
7                        MR. BENNETT:        Objection.     Form.                  7           Vague.
8                        MR. UTTER:      Same objections.                          8                        Go ahead.
9                        Go ahead.                                                 9                        THE WITNESS:        They are different
10                       THE WITNESS:        No, because the                       10          types of cases, but it doesn't change what a
11          regulation never changed, and the whole basis                          11          suspicious order is and a suspicious order over
12          of the distributor initiative was to, one, make                        12          the Internet or for a pharmacy that was
13          sure they understand they must maintain                                13          facilitating the Internet is pretty much the
14          effective controls against diversion under 823                         14          same as a suspicious order on a pharmacy that
15          and then under 1301.71 and then -- and 74, and                         15          is ordering its quantity, you know, unusual
16          then also, what a suspicious order is and what                         16          order, unusual size, frequency or deviating
17          their responsibilities were under suspicious                           17          substantially from the normal ordering pattern.
18          order monitoring Provision of 1301.74(b).                              18          That hasn't changed so it's the same concept.
19                       So the regulation in the statute                          19                       You still have to file suspicious
20          hasn't changed in over 40 years, so the fact                           20          orders regardless of what the method of
21          is, as long as they continued to explain what                          21          diversion is.
22          their responsibilities are, they were doing                            22                       BY MS. MAINIGI:
23          their job.                                                             23                Q.     And so would you -- with DEA in this
24                       BY MS. MAINIGI:                                           24          distributor initiative, just on a regular basis
25                Q.     And where I was going, Mr.                                25          meet maybe every few years with the same

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1           distributor and then in that context, just                             1                        MR. BENNETT:        Misstates testimony.
2           reinforce what the regulations said?                                   2                        MR. UTTER:      Same objection.
3                        MS. SINGER:       Objection.      Compound                3                        BY MS. MAINIGI:
4           question.     Calls for speculation.                                   4                 Q.     Go ahead.     Tell me what you said.
5                        MR. BENNETT:        Objection.     Form.                  5           I'm sorry.
6                        MR. UTTER:      Go ahead.                                 6                 A.     I think what I said was -- to
7                        THE WITNESS:        We were meeting with                  7           explain their obligations for suspicious order
8           distributors that were -- that were not                                8           monitoring under the regulations.
9           provided with the initial distributor briefing                         9                 Q.     And so beyond providing a
10          all throughout that time period.              We also had              10          distributor with what the regulation said about
11          conferences where they came in and we would                            11          their obligation for suspicious order
12          discuss suspicious orders at the conferences,                          12          monitoring, would you provide, to your
13          and they were all invited to attend whether you                        13          knowledge, any additional information or
14          had the initiative distributor initiative                              14          elaboration in these distributor initiative
15          meeting or not.     So we were getting the word                        15          meetings?
16          out that way as well.                                                  16                       MR. BENNETT:        Objection.
17                       BY MS. MAINIGI:                                           17          Foundation.     Vague.
18                Q.     So that makes sense to me, but what                       18                       THE WITNESS:        I am not sure what --
19          -- in terms of -- you said one of the purposes                         19          I'm not sure where you are going -- what you
20          of the distributor initiative was to understand                        20          are looking for.
21          what a suspicious order monitoring system was,                         21                       They were provided with what a
22          for example, right?                                                    22          suspicious order is.         They were provided with
23                       MS. SINGER:       Objection.                              23          examples of suspicious orders.               They were
24          Mischaracterizes the witness's past testimony.                         24          provided with the statute and the regs that
25                       THE WITNESS:        I think what I said --                25          identified what their requirements were under

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1           the act and under the regulations, and they --                        1                        BY MS. MAINIGI:
2           that was followed up by three letters that                            2                 Q.     From the counsel's office?
3           again reinforced what they were told so, you                          3                 A.     Counsel's office and my staff.
4           know, I think that pretty well covers it.                             4                 Q.     So what is a suspicious order?
5                       BY MS. MAINIGI:                                           5                 A.     Well, according to 1301.74(b), it's
6                  Q.   Well, if Mr. -- if Mr. Wright has                         6           an order of unusual size, frequency or
7           testified that he didn't see any of the three                         7           substantially deviating from the normal
8           letters before they were sent out, how are you                        8           ordering pattern.
9           able to emphasize or reinforce in those three                         9                 Q.     And so you said one of the things
10          letters what they -- the distributors had been                        10          that were told or -- to the distributors, in
11          told at these meetings?                                               11          addition to providing them the regulations at
12                 A.   Because counsel --                                        12          these meetings, you said they were told what a
13                      MR. BENNETT:           Wait.      Objection.              13          suspicious order is, right?
14          Foundation.    Objection.            Form.                            14                A.     They were.
15                      You can answer.                                           15                       MS. SINGER:          Objection.     Misstates
16                      THE WITNESS:           Because counsel's                  16          the witness's prior testimony.
17          office was in all the distributor meetings and                        17                       MR. BENNETT:           Same objection.
18          they also assisted in the drafting of those                           18                       MR. UTTER:         Same objection.
19          minutes.                                                              19                       Go ahead.
20                      Now, I'm not sure if Mr. Wright saw                       20                       THE WITNESS:           They were provided
21          those letters or not, but those letters were                          21          with the regulation.            They discussed the
22          drafted, redrafted with the distributor                               22          regulation.     They answered questions related to
23          initiative in mind and the people that were in                        23          the regulation, and then they showed specific
24          that distributor initiative were responsible                          24          examples of what a suspicious order would look
25          for drafting those letters.                                           25          like based on the transactions conducted by

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1           each individual distributor.                                          1           we, the staff has explained to them exactly
2                       BY MS. MAINIGI:                                           2           what is expected of them.                If I am not
3                 Q.    So to your understanding -- have you                      3           mistaken, it was also in Southwood.
4           ever described, and I don't need to know any                          4                 Q.     Okay.     So that is what I am trying
5           names, but just generically, have you ever                            5           to get to.
6           described to a registrant what a suspicious                           6                        When the staff then or you explained
7           order is?                                                             7           exactly what is expected, tell me what you said
8                 A.    I have -- I'm sure that I have                            8           back then.
9           spoken to registrants in registrant meetings,                         9                 A.     Well, I wouldn't know.
10          you know, in conferences where I have explained                       10                       MR. BENNETT:           Objection.
11          what a suspicious order is.                                           11          Foundation.
12                Q.    How do you explain it?                                    12                       You can answer.
13                A.    It's an order of unusual size,                            13                       BY MS. MAINIGI:
14          frequency or substantially deviating from the                         14                Q.     You wouldn't know?
15          normal ordering pattern.                                              15                A.     I know this is a suspicious order.
16                Q.    Those are essentially the exact                           16          I -- what the staff would do is when they'd
17          words from the regulation, correct?                                   17          come in and say, well, we are confused about
18                A.    Yes.                                                      18          something or I don't understand this, they
19                Q.    And have you ever provided to a                           19          would sit down with them and they would say,
20          registrant any elaboration on that definition?                        20          okay, explain why and explain what you're
21                A.    Definition seems pretty                                   21          confused about or whatever it is, and then they
22          straightforward.                                                      22          would explain what the requirements are under
23                Q.    Have registrants asked you for an                         23          the regulations.         So, you know, again, it's
24          elaboration on that definition?                                       24          pretty straightforward regulation, unusual
25                A.    Yes, and we have explained -- or not                      25          size, unusual frequency.

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1                  Q.   So what is an order of unusual size?                       1                 Q.     Anything else that defined unusual
2                  A.   An order of unusual size is a                              2           size in your mind?
3           pattern, we will say, a pharmacy that has been                         3                        MR. BENNETT:           Objection.      Scope.
4           ordering 5,000 tablets of Hydrocodone every                            4           Objection.     Incomplete hypothetical.
5           month for the last three years and they all of                         5                        THE WITNESS:           I'm sure there are
6           a sudden bump it up to 20,000, then 50,000,                            6           other things but right now at this current
7           then a hundred thousand and so on.                 That's              7           moment, I don't have them right off the top of
8           unusual size.                                                          8           my head.
9                  Q.   So it's unusual compared to their                          9                        MS. SINGER:          Is this a good time to
10          past practice?                                                         10          take a break or sometime soon?
11                 A.   Yes.     One of the factors.                               11                       BY MS. MAINIGI:
12                 Q.   What other factors?                                        12                Q.     Can you keep going for a few more
13                      MR. BENNETT:           Objection.      Scope.              13          minutes, Mr. Rannazzisi?
14                      THE WITNESS:           They would be looking               14                A.     Yes, about five more minutes.
15          at other pharmacies that they service in that                          15                Q.     Okay.     Let's go a couple more
16          area, a pharmacy might have an unusually high                          16          minutes.
17          purchase of a specific controlled substance in                         17                       What is an order deviating
18          an area where everybody else was fairly                                18          substantially from a normal pattern?
19          consistent.       That is unusual size as well.                        19                A.     A pharmacy --
20                 Q.   Just a large size compared to other                        20                       MR. BENNETT:           Objection.      Scope.
21          pharmacies in the area?                                                21                       You can answer.
22                 A.   Yes.                                                       22                       THE WITNESS:           A pharmacy that is
23                 Q.   But that large size could perhaps be                       23          ordering Hydrocodone on a regular basis and all
24          explained by nonsuspicious reasons, correct?                           24          of a sudden, he starts ordering large
25                 A.   That's due diligence.                                      25          quantities of hydromorphone for no apparent

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1           reason, and there is no documentation why, and                         1           or he's ordering carisoprodol, he never ordered
2           that might exceed the amount of Hydrocodone.                           2           carisoprodol before, now all of a sudden he is
3           That's -- he never ordered it before and now he                        3           ordering carisoprodol.              That is an ordering
4           is ordering quantities that are inconsistent                           4           pattern deviation.
5           with what he has previously done.                                      5                 Q.     And the phraseology is deviating
6                       BY MS. MAINIGI:                                            6           substantially so what -- tell me what
7                 Q.    That's kind of the same as unusual                         7           substantially means.
8           size, right?                                                           8                        MR. BENNETT:           Objection.      Scope.
9                 A.    No.                                                        9           Objection.     Incomplete hypothetical.
10                Q.    It's different?                                            10                       THE WITNESS:           Substantially means
11                      MR. BENNETT:          Objection.                           11          just that.     It was -- it is something that
12                      BY MS. MAINIGI:                                            12          triggers an inquiry because it's not something
13                Q.    How are those two different?                               13          that has happened in the past.                  It is not
14                A.    Well, it's a pattern.              You've                  14          something that was done in the past.
15          established a pattern of purchasing, and now                           15                       BY MS. MAINIGI:
16          all of a sudden, you are inserting a new drug                          16                Q.     Okay.     And unusual frequency, what
17          in that pattern of purchasing.                It doesn't have          17          does that mean?
18          to be Hydrocodone or hydromorphone.                It could            18                       MR. BENNETT:           Objection.      Scope.
19          be alprazolam, it could be clonazepam, it could                        19                       THE WITNESS:           A person orders
20          be diazepam, it could be any pattern that --                           20          Hydrocodone once a week and all of a sudden, he
21          anything that is different from your normal                            21          is ordering it once a day.
22          ordering pattern, so if all of a sudden, he                            22                       BY MS. MAINIGI:
23          starts -- or the person starts ordering 500                            23                Q.     And doesn't that overlap with order
24          count bottles of alprazolam 2 milligrams, well,                        24          deviating substantially from a normal pattern?
25          that is not within the normal ordering pattern,                        25                A.     No.     It's a frequency.            It's not a

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1           pattern.      A pattern is drugs and types of drugs                     1           including the letters you authored in 2006 and
2           they are ordering, a frequency is just that,                            2           2007, and perhaps also No. 4, which I won't
3           the frequency of purchases.                  Quantity is the            3           waste time reading right now.
4           quantity of purchases.                                                  4                       MR. BENNETT:         The only response I
5                 Q.      Okay.                                                     5           would say, and I know we're not to argue on the
6                         MS. MAINIGI:           Should we go ahead and             6           record is, you did not ask him what registrants
7           take a break.                                                           7           were told about what makes an order suspicious.
8                         THE VIDEOGRAPHER:              We are going off           8                       You asked him what his personal view
9           the record.      This is the end of Media Unit No.                      9           of suspicion was, not what was told, that's why
10          5.    The time is 2:59.                                                 10          I believe it was outside the scope, but I'll
11                        (A short recess was taken.)                               11          still let the witness answer the questions
12                        THE VIDEOGRAPHER:              We are going back          12          based on his personal capacity.
13          on the record.         This is the start of Media Unit                  13                      MS. MAINIGI:         Well, these are all in
14          No. 6.      The time is 3:13.                                           14          his personal capacity, right?                He is not here
15                        You may proceed, Counsel.                                 15          as a 30(b)(6).
16                        MS. MAINIGI:           Counsel for the                    16                      MR. BENNETT:         His personal
17          government, I just wanted to address some of                            17          knowledge, not his official Department of
18          the scope objections that you made, which I do                          18          Justice information.         He is not a 30(b)(6)
19          think are improper.                                                     19          witness, but he has been authorized to disclose
20                        In your authorization letter of                           20          official Department of Justice information as a
21          December 10, 2018, you authorize, among other                           21          former employee, just not on what his official
22          areas for Mr. Rannazzisi, your personal                                 22          Department of Justice information would be on,
23          recollection of your communications with DEA                            23          the definition of an item, for example, of
24          registrants about what makes an order                                   24          unusual size.
25          suspicious under 21 C.F.R. Section 1301.74,                             25                      However, he is still able to answer

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1           that question for you.               You did not ask him,               1           investigation section or E-commerce, you know,
2           what did you tell registrants about what was an                         2           if they were still there, but it wouldn't have
3           unusual size which is what would be within No.                          3           come from my office directly.
4           3.                                                                      4                       BY MS. MAINIGI:
5                         BY MS. MAINIGI:                                           5                 Q.    And were you ever aware of any
6                 Q.      Well, let's make sure we do both,                         6           definition that could have been offered by one
7           Mr. Rannazzisi.                                                         7           of your staff to registrants?
8                         You gave me your definition of                            8                 A.    I wasn't aware of what -- they were
9           unusual size, correct?                                                  9           trained, they are trained to follow what the
10                A.      Yes.                                                      10          regulation says, and I'm sure they can give
11                Q.      And I think you also told me earlier                      11          examples just like I just did, but no, I am not
12          that you don't recall yourself elaborating for                          12          aware of any specific guidance that they gave.
13          any registrant as you did in this deposition,                           13          I mean, we had companies calling in for all
14          what unusual size meant to you, correct?                                14          different types of issues, not just related to
15                        MS. SINGER:          Objection.      Misstates            15          suspicious orders.        They were trained to give
16          prior testimony.                                                        16          guidance based on the regs and the Controlled
17                        MR. BENNETT:           I join that objection.             17          Substances Act.
18                        MR. UTTER:         Same objection.                        18                Q.    Companies would call in, though, I
19                        Go ahead.                                                 19          take it, to ask for further elaboration on the
20                        THE WITNESS:           I don't -- I haven't               20          definition of a suspicious order, correct?
21          had the opportunity -- well, I have never told                          21                      MS. SINGER:        Objection.        Foundation.
22          a registrant what their responsibility is as                            22                      MR. BENNETT:         Same objection.
23          far as what my definition of a suspicious order                         23                      THE WITNESS:         Companies have called
24          is.     That would have come from my staff or the                       24          in to liaison and policy and also to -- back
25          liaison policy section or the pharmaceutical                            25          when E-commerce was E-commerce and other

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1           components and they were provided with                                1           description.     Can you help me figure out
2           guidance.                                                             2           whether I should report this as a suspicious
3                        BY MS. MAINIGI:                                          3           order?
4                 Q.     And the guidance they were provided                      4                       MS. SINGER:         Objection.
5           was what, to your understanding?                                      5           Hypothetical.      Calls for speculation.
6                        MR. BENNETT:          Objection.     Vague.              6                       MR. UTTER:        Same objections.
7                        THE WITNESS:          The guidance they were             7                       Go ahead.
8           provided was based on the regulation and they                         8                       THE WITNESS:          I don't know, that's
9           could answer specific questions related to the                        9           never been presented to me before, so I would
10          regulation, specific -- there might be a                              10          be -- I would be guessing what the answer was.
11          specific set of facts that they were looking at                       11                      BY MS. MAINIGI:
12          and they could provide guidance, but generally,                       12                Q.    You are not aware of whether, as the
13          the guidance followed the regulation.                                 13          head of the anti-diversion control, that
14                       BY MS. MAINIGI:                                          14          registrants would call seeking elaboration on
15                Q.     And by that, you mean they read the                      15          whether what they had in front of them was a
16          regulation to the registrant?                                         16          suspicious order or not to be reported?
17                A.     No.                                                      17                      MS. SINGER:         Objection.
18                       MS. SINGER:         Objection.      Foundation.          18          Argumentative.
19                       THE WITNESS:          No.     What they did              19                      MR. BENNETT:          Objection.   Asked and
20          was, they listened to the registrant and then                         20          answered.
21          based on what the regulation says, try and help                       21                      THE WITNESS:          In my role as the head
22          them work through their issue.                                        22          of the Office of Diversion Control, I have a
23                       BY MS. MAINIGI:                                          23          lot of different things going on at once, and
24                Q.     So a registrant might call and say,                      24          I'm sure that if there was a question that they
25          I have got an order that meets the following                          25          couldn't answer, they would pop their head into

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1           my office and say this is what came about, what                       1           why the term pattern and the term frequency
2           do you think.       But no, I don't recall that ever                  2           were different.
3           happening before.         So they seemed to be able to                3                       Do you recall that?
4           handle it.                                                            4                  A.   Yes.
5                        BY MS. MAINIGI:                                          5                       MS. SINGER:          Objection.    Misstates
6                 Q.     You don't know what they might have                      6           the witness's prior testimony.
7           told a registrant about what defines a                                7                       THE WITNESS:           Again, I explained to
8           suspicious order, correct?                                            8           you what an unusual size pattern substantially
9                        MR. BENNETT:          Objection.                         9           deviating from the norm or -- and frequency,
10          Foundation.                                                           10          unusual frequency.
11                       MS. SINGER:         Objection.      Foundation.          11                      BY MS. MAINIGI:
12                       THE WITNESS:          The liaison and policy             12                 Q.   Do you recall, though, I asked you a
13          section, as well as the other sections are                            13          question about, could pattern and frequency be
14          trained to provide answers that were in                               14          the same?
15          compliance with the regulations in the                                15                 A.   I don't recall that exact question.
16          Controlled Substances Act.                                            16                 Q.   Okay.     Well, do you recall me
17                       BY MS. MAINIGI:                                          17          walking through what normal pattern meant to
18                Q.     So, for example, you gave -- I asked                     18          you and what unusual frequency meant to you?
19          you before we broke whether pattern and                               19                 A.   I recall me giving you a definition,
20          frequency, whether those two terms could                              20          my definition of what normal pattern and
21          overlap, that they could encompass the same                           21          unusual frequency is.
22          type of order, correct?                                               22                 Q.   And then do you recall me following
23                A.     Yes.                                                     23          -- do you recall me following up and saying,
24                Q.     And you told me, no, that they are                       24          well, couldn't your definition of frequency or
25          not intended to overlap and you explained to me                       25          unusual frequency be the same as unusual

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1           pattern?                                                            1                        But in the end, it's up to the
2                 A.     Again, my answer would be depending                    2           distributor to decide whether they're going to
3           on the facts and the suspicious order that had                      3           fill the order or not.             It's a business
4           come in, the transaction that had come in, the                      4           decision.
5           request for the transaction that had come in.                       5                        BY MS. MAINIGI:
6           I would have to look at each individual one and                     6                 Q.     It's a business decision as to
7           see if there is an overlap or not.             But I would          7           whether something is a suspicious order as
8           have to look at the transaction and the                             8           well, correct?
9           request.                                                            9                 A.     Yes.
10                Q.     So sometimes, there could be an                        10                Q.     And it may be that one business
11          overlap between unusual frequency and unusual                       11          faced with a particular order makes a different
12          pattern and sometimes, there wouldn't be; is                        12          decision on the exact same order than another
13          that right?                                                         13          business, correct?
14                       MS. SINGER:       Objection.     Misstates             14                       MS. SINGER:         Objection.
15          the witness's prior testimony.                                      15          Hypothetical.       And calls for the witness to
16                       MR. BENNETT:        Objection.    Incomplete           16          speculate.
17          hypothetical.     Calls for speculation.                            17                       MR. BENNETT:          And objection.        Scope.
18                       MR. UTTER:      Same objections.                       18                       THE WITNESS:          It depends on the type
19                       Go ahead.                                              19          of due diligence they're doing on their
20                       THE WITNESS:        Each individual                    20          customers; whether they know their customers
21          suspicious order, if -- if it rises to a                            21          and what their customers' normal ordering
22          suspicious order, it could meet criteria.              But          22          patterns are; where is their customer situated;
23          it -- again, it depends on the facts of that                        23          is the customer close to a hospital; is the
24          order and that transaction, the -- the -- the                       24          customer close to -- is in a rural area.
25          pharmacy that's making that purchase.                               25                       There's so many dynamics that the

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1           drug enforcement administration doesn't have.                       1           maintaining effective controls against
2           Only the business, the distributor, the                             2           diversion.
3           registrant has that information.                                    3                        BY MS. MAINIGI:
4                        So if you're calling the Drug                          4                 Q.     How does the DEA then go back after
5           Enforcement Administration to -- to -- to get                       5           the fact and determine that something was
6           an okay to release an order, that's not going                       6           suspicious?
7           happen.     Because the Drug Enforcement                            7                        MS. SINGER:         Objection.      Lacks
8           Administration does not know your customer.                         8           foundation.
9           You know the customer.                                              9                        MR. BENNETT:          Objection.     Scope.
10                       BY MS. MAINIGI:                                        10          Also objection.
11                Q.     Only the business, at that point in                    11                       You are not authorized to disclose
12          time, looking at the information before it as                       12          information regarding any specific DEA
13          well as its due diligence, can make the                             13          investigations or activities or any information
14          business decision about whether something is a                      14          that would reveal the internal deliberative
15          suspicious order, correct?                                          15          process of the DEA.
16                       MS. SINGER:       Objection.     Misstates             16                       To the extent that you can answer
17          the witness's prior testimony.                                      17          the question without disclosing those, you may
18                       MR. BENNETT:        And objection.     Scope.          18          answer the question.
19                       THE WITNESS:        Based on the facts of              19                       THE WITNESS:          I can't.     I can't
20          the particular order and the customer, they are                     20          answer it that way.
21          required to make a decision on whether to file                      21                       BY MS. MAINIGI:
22          the suspicious order and not ship or ship.                          22                Q.     You can't tell me how the DEA would
23                       If they ship the order and it's not                    23          then go back and figure out whether something
24          been deemed to be -- their -- their suspicions                      24          is suspicious or not?
25          have not been resolved, then they're not                            25                A.     It's part of the --

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1                        MR. BENNETT:           I'll say --                           1           pattern, and frequency -- that elaboration is
2                        THE WITNESS:           -- investigative                      2           not in any sort of written guidance, is it, to
3           process.                                                                  3           your knowledge?
4                        MR. BENNETT:           And I will say same                   4                 A.     With the exception of the three
5           instruction regarding the scope of your                                   5           letters that discussed suspicious order
6           authorization.                                                            6           monitoring and the fact that we sat down with
7                        BY MS. MAINIGI:                                              7           each individual distributor and talked about
8                 Q.     So let me come back to -- to this --                         8           it.
9           so you gave me your elaboration and further                               9                        It was discussed in the Southwood
10          definition of some of the terminology in 21                               10          decision.     Other than that, no.
11          C.F.R. 1301.74, right?                                                    11                Q.     Okay.     Let's go through those.
12                A.     Yes.                                                         12                A.     Okay.
13                Q.     But your elaboration, your further                           13                Q.     Is it fair to say that the way you
14          definition of unusual size, pattern, frequency,                           14          defined or further defined unusual size for me
15          that's not in the regulation itself, right?                               15          might be different than the way your deputy at
16                       MR. BENNETT:           Objection.                            16          the time might have defined unusual size to a
17                       THE WITNESS:           No.                                   17          registrant?
18                       Oh.                                                          18                       MS. SINGER:          Objection.     Calls for
19                       MR. BENNETT:           Form.                                 19          speculation.
20                       Go ahead.                                                    20                       MR. BENNETT:           Same objection.
21                       THE WITNESS:           No, it's not in the                   21                       MR. UTTER:         Objection.
22          regulation.                                                               22                       Go ahead.
23                       BY MS. MAINIGI:                                              23                       THE WITNESS:           I don't know exactly
24                Q.     And the elaboration that you                                 24          what my deputy or any of the other people would
25          provided me on those terms -- unusual size,                               25          use as an example.           I used -- I gave you

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1           examples of what my -- my position of what an                             1           pattern of unusual size.
2           unusual size is or an unusual frequency.                                  2                 Q.     I thought pattern and size were two
3                        Deposition is based on, you know,                            3           different barometers.
4           my -- my own personal knowledge of how this                               4                 A.     It -- they are.             But what I'm
5           works plus other -- plus previous cases that                              5           talking about, unusual size when you have a --
6           have been made public.                                                    6           a pharmacy that's been ordering a certain
7                        BY MS. MAINIGI:                                              7           amount for a long period of time, and then all
8                 Q.     Sitting here today, you can't tell                           8           of a sudden they bump up their purchases for no
9           me that your definition of unusual size is the                            9           reason.
10          same as Michael Mapes's definition of unusual                             10                       They haven't changed their area.
11          size, right?                                                              11          They haven't moved near a hospital.                And then
12                       MS. SINGER:          Objection.      Calls for               12          they continue to increase without anybody
13          speculation.        Argumentative.                                        13          filing a suspicious order, without anybody
14                       THE WITNESS:           I don't know --                       14          going out and doing due diligence.
15                       MR. BENNETT:           Objection.     Form.                  15                       Okay.     That -- that's -- that's an
16          Objection.     Scope.                                                     16          unusual size that should be followed up.
17                       THE WITNESS:           I don't know what Mr.                 17                Q.     And do you think your definition of
18          Mapes's definition of unusual size is.                 But I'm            18          unusual size would be the same as Mr. Wright's
19          pretty sure it's pretty consistent with what my                           19          definition of unusual size?
20          definition is.                                                            20                A.     I don't --
21                       BY MS. MAINIGI:                                              21                       MS. SINGER:          Objection.     Calls for
22                Q.     Have you guys compared notes on                              22          speculation.
23          that?                                                                     23                       MR. BENNETT:           Objection.    Form.
24                A.     No.     But based on the previous cases                      24          Objection.     Scope.
25          we've done, it's pretty -- pretty easy to see a                           25                       Go ahead.

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1                         THE WITNESS:         I don't know what Mr.                 1                        THE WITNESS:          In those limitations,
2            Wright's definition is on unusual size.                    But          2           I can't answer that question.
3            it's pretty straightforward.                Unusual size is             3                        BY MS. MAINIGI:
4            just that, an unusual size.                                             4                 Q.     Well, let me ask it this way:                 Has
5                         BY MS. MAINIGI:                                            5           DEA provided in written form your explanation
6                  Q.     Why did your division never write                          6           and elaboration of what a suspicious order is
7            down the further elaboration of the terms                               7           to registrants?
8            "unusual size," "pattern" or "frequency" --                             8                 A.     Not as far as I'm aware.              But again,
9                         MS. SINGER:        Objection.        Found --              9           I gave you an explanation my opinion of what a
10                        BY MS. MAINIGI:                                            10          suspicious order of unusual size, frequency or
11                 Q.     -- for distributors?                                       11          deviating substantially from the normal
12                        MS. SINGER:        Sorry.                                  12          ordering pattern.         That was an -- examples and
13                        Objection.        Foundation.        And                   13          a nonexhaustive list of what, in my opinion,
14           objection.     Scope.                                                   14          those are.
15                        MR. BENNETT:         And I would object                    15                       But in the end, only the distributor
16           that it misstates prior testimony.                                      16          could make a decision about what a suspicious
17                        And also I would inform the witness                        17          order of unusual size is.
18           that you are not authorized to disclose the                             18                Q.     And, in fact, under your leadership,
19           internal deliberative process of DEA or                                 19          you felt so strongly, Mr. Rannazzisi, that only
20           information that would disclose nonpublic                               20          a distributor could decide what an unusual size
21           recommendations you made or you're aware of                             21          was or what a suspicious order was that you
22           concerning any proposed agency action.                                  22          essentially told your department not to provide
23                        To the extent that you can answer                          23          explanations and elaborations to registrants,
24           the question without disclosing that, you may                           24          correct?
25           answer.                                                                 25                       MS. SINGER:         Objection.

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1           Argumentative.     Lack of foundation.             Compound              1           meetings, correct?
2           question.                                                                2                        MS. SINGER:         Objection.       Asked and
3                        MR. BENNETT:        I join those                            3           answered.     Lack of foundation.              Calls for
4           objections.                                                              4           speculation.
5                        And I also indicate that the witness                        5                        THE WITNESS:          I don't know exactly
6           is not authorized to disclose any nonpublic                              6           what they said.       But I know they followed the
7           recommendations you made or you're aware of                              7           regulation, which is unusual size, frequency,
8           regarding any proposed agency action or reveal                           8           substantially deviating from the normal
9           the internal deliberative process within the                             9           ordering pattern.
10          Department of Justice or the DEA.                                        10                       BY MS. MAINIGI:
11                       MR. UTTER:      Go ahead.                                   11                Q.     You mentioned the Southwood decision
12                       THE WITNESS:        I've --                                 12          as being perhaps instructive to the registrant
13                       MR. BENNETT:        Otherwise you can                       13          community about what a suspicious order was,
14          answer.                                                                  14          correct?
15                       THE WITNESS:        Yeah.       I've never                  15                A.     Yes.
16          advised any of my people, while I was the head                           16                Q.     How was it instructive?
17          of the Office of Diversion Control, not to                               17                A.     It explained what the
18          elaborate.     And that wouldn't come from me                            18          responsibilities were for suspicious order
19          anyway.     It could come from counsel's office.                         19          monitoring.     It explained what the requirements
20                       BY MS. MAINIGI:                                             20          were to maintain effective controls against
21                Q.     And sitting here today, you don't                           21          diversion.     It explained that, you know, using
22          know, Mr. Rannazzisi, when Mr. Mapes or                                  22          an example of a company that actually was
23          Mr. Wright were asked to elaborate on what they                          23          involved in this type of activity, what they
24          thought a suspicious order was, what they told                           24          did and what the results of what they did were.
25          order registrants at distributor initiative                              25                Q.     Now, Southwood was an Internet

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1           pharmacy?                                                               1           Objection.       Scope.
2                 A.     Southwood was a manufacturer -- a                          2                          THE WITNESS:          I don't know exactly
3           repackager, I guess they would be, who supplied                         3           what you would learn from it.                     Everybody takes
4           Internet, among other types of registrants.                             4           things away from opinions, decisions
5                 Q.     So they were a supplier to an                              5           differently.
6           Internet pharmacy?                                                      6                          But it reinforces what we explained
7                 A.     They were a supplier to several                            7           to the registrant community in the distributor
8           different registrant classes.                                           8           initiatives and then the two memos before about
9                 Q.     And so what are some of the specific                       9           what their obligations are, what they're
10          elaborations of what goes into a suspicious                             10          supposed to do, and how they could maintain
11          order monitoring system that come from                                  11          effective controls against diversion.
12          Southwood?                                                              12                         BY MS. MAINIGI:
13                A.     I don't have the decision.            And I                13                Q.       The -- the word "pattern" -- could
14          read that decision a long time ago.               But -- but            14          the word "pattern" mean two different things
15          that's why the decision was included in the                             15          for two different distributors?
16          December of 2007 letter to the registrant.                              16                         MS. SINGER:         Objection.         Calls for
17                Q.     And if I go to the Southwood                               17          speculation.
18          decision, I -- I would learn more about what                            18                         MR. BENNETT:          I join that objection.
19          the DEA wants to see in the suspicious order                            19          And objection.         Scope.
20          monitoring system?                                                      20                         MR. UTTER:        Object.          Speculation.
21                A.     I think --                                                 21                         Go ahead.
22                       MS. SINGER:       Objection.       Calls for               22                         THE WITNESS:          I -- I -- I don't
23          speculation.                                                            23          know.       I mean it's up to the distributor to
24                       THE WITNESS:        I don't --                             24          decide how he's going to define what a
25                       MR. BENNETT:        Objection.      Form.                  25          quote/unquote pattern is as compared to an

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1           unusual size or frequency.                                              1           in front of you the December 27, 2007 letter,
2                        BY MS. MAINIGI:                                            2           Mr. Rannazzisi.
3                  Q.    Let me go -- you -- you also                               3                          THE WITNESS:           Okay.
4           mentioned, in addition to the Southwood                                 4                          MS. MAINIGI:           Let's go ahead and get
5           decision -- and if -- if we have time today,                            5           those marked as separate exhibits, please.
6           we'll go ahead and get that decision marked so                          6                          (Deposition Exhibit 12 was marked
7           we can go through it.                                                   7           for identification.)
8                  A.    Okay.                                                      8                          (Deposition Exhibit 13 was marked
9                  Q.    But you also referenced your                               9           for identification.)
10          letters, right?                                                         10                         MS. MAINIGI:           Need a break,
11                 A.    Uh-huh.                                                    11          Mr. Rannazzisi?
12                       MS. MAINIGI:         Is it attached to                     12                         THE WITNESS:           No.        I'm fine.
13          the...                                                                  13                         MS. MAINIGI:           Okay.        The September
14                       So let me put in front of you your                         14          2006 letter is Exhibit 12.                   And the December
15          three letters.                                                          15          2007 letter is Exhibit 13.
16                       THE WITNESS:         Okay.                                 16                         BY MS. MAINIGI:
17                       MS. MAINIGI:         Let me -- let me                      17                 Q.      So, Mr. Rannazzisi, I assume you're
18          correct that.                                                           18          still somewhat familiar with these letters,
19                       I'm going to put in front of you                           19          correct?
20          just the September 27, 2006 letter, which I                             20                 A.      For the most part, yes.
21          think is nearly identical to the February 2007                          21                 Q.      Did you take a look at these letters
22          letter, as you recall.                                                  22          as part of your preparation for this
23                       THE WITNESS:         Yes.       I think you're             23          deposition?
24          correct.                                                                24                 A.      Yes.     At the department.
25                       MS. MAINIGI:         And then I'll also put                25                 Q.      So I'm not necessarily going to

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1           direct you to any particular area.                                       1                  A.    Yes.
2                        What -- what I'd like you to just                           2                  Q.    And that's identical to the February
3           direct me to is you indicated that the letters                           3           2007 letter, as you recall?
4           served as further elaboration of what a                                  4                  A.    Yes.
5           suspicious order is.                                                     5                  Q.    Okay.     So we are looking for your
6                        And so, if you could point out to me                        6           further elaboration of what is a suspicious
7           in each letter where that elaboration is, I'd                            7           order.
8           be grateful.                                                             8                        Can you direct us to what paragraph
9                        MS. SINGER:          Objection.     Misstates               9           you are at?
10          the witness's prior testimony.                                           10                       MS. SINGER:          Again, objection.
11                       MR. BENNETT:           Objection.    Form.                  11          Misstates the witness's prior testimony.
12                       MR. UTTER:         Go ahead.                                12                       MR. BENNETT:           Objection to form.
13                       THE WITNESS:           It -- it -- it --                    13                       MR. UTTER:         Go ahead.
14                       BY MS. MAINIGI:                                             14                       THE WITNESS:           Again, it's in the
15                Q.     Well, let's start --                                        15          middle of the page.
16                A.     As far as the definition --                                 16                       BY MS. MAINIGI:
17                Q.     Let's -- let's do one at a time.                            17                 Q.    What page?
18                A.     -- suspicious orders include orders                         18                 A.    That's the definition.
19          of unusual size, orders deviating substantially                          19                       Page 2.
20          from a normal pattern, and orders of unusual                             20                 Q.    Page 2.       Okay.       Middle of the page.
21          frequency.                                                               21                 A.    Suspicious orders include orders of
22                Q.     Okay.     So we're on Exhibit 12?                           22          unusual size, order deviating substantially
23                A.     Yes.                                                        23          from the normal pattern, and orders of unusual
24                Q.     And Exhibit 12 is the September 27,                         24          frequency.
25          2006 letter, right?                                                      25                       It's pretty straightforward.

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1                  Q.    Which paragraph were you -- I just                          1                  Q.    That's not right?
2           want the make sure I didn't miss it.                                     2                        MS. SINGER:          Objection.      Misstates
3                  A.    Right -- right in the middle.                One,           3           the witness's prior testimony.
4           two, three -- fourth paragraph in the -- right                           4                        THE WITNESS:           The -- the letters
5           after 21 C.F.R. 1301.74.                                                 5           reinforce what was in the distributor
6                  Q.    Oh, the paragraph that's cut and                            6           initiative briefings.             And the letters discuss
7           paste, the regulation itself?                                            7           what a suspicious order is.
8                  A.    The one that basically lists the                            8                        Again, the -- it's just reinforcing
9           regulation and what a suspicious order is.                               9           that this is a suspicious order.                 It's pretty
10                 Q.    So besides just repeating what the                          10          straightforward:         unusual size, frequency, or
11          regulation says, does the September 27, 2006                             11          deviating substantially from the normal
12          letter have any elaboration of what a                                    12          ordering pattern.
13          suspicious order is?                                                     13                       BY MS. MAINIGI:
14                 A.    By definition, the regulation                               14                 Q.    I found your elaboration of unusual
15          explains what a suspicious order is.                                     15          size to be helpful.
16                       MR. BENNETT:            And I will object to                16                       Why not include those types of
17          vague.                                                                   17          elaborations in this letter?
18                       BY MS. MAINIGI:                                             18                       MS. SINGER:          Objection.      Counsel is
19                 Q.    So you had indicated to me that the                         19          testifying.
20          letters explained further -- just much like                              20                       MR. BENNETT:           Objection.     Scope.
21          your individual definitions, I thought I                                 21                       You're not authorized to disclose
22          understood you to say that the letters further                           22          the internal deliberative process or any
23          elaborated on what a suspicious order was.                               23          nonpublic recommendations you made or you're
24                       MS. SINGER:           Objection.                            24          aware of regarding what does or does not go
25                       BY MS. MAINIGI:                                             25          into the letter.

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1                        To the extent that you can answer                       1           briefings, we concentrated on size.
2           counsel question without disclosing that, you                        2                        There might have been a pattern --
3           may answer.                                                          3           there might have been a couple of pattern
4                        THE WITNESS:          In the distributor                4           examples as well, but it was mostly size.
5           initiative briefings, they were presented with                       5                        BY MS. MAINIGI:
6           a pattern which showed unusual size.                                 6                 Q.     So the goal was to first show
7                        BY MS. MAINIGI:                                         7           distributors what unusual size could mean,
8                 Q.     And the presentation of this pattern                    8           correct?
9           that was in the ARCOS data that was presented?                       9                 A.     Because we went into patterns and
10                A.     Yes.                                                    10          showed the -- we -- if I'm -- like I said, I
11                Q.     Their own individual ARCOS data?                        11          wasn't in the briefing.           But if I remember
12                A.     The -- the distributor that was                         12          correctly on what the briefing material had, it
13          going through the briefing, we used their ARCOS                      13          showed patterns where we actually saw an
14          data.                                                                14          Internet pharmacy that was -- in their -- in
15                Q.     And so a pattern that emerged for                       15          their patterns they started purchasing
16          one distributor could have been different than                       16          carisoprodol or Xanax, alprazolam, 1 and 2
17          a pattern that emerged for another distributor,                      17          milligram tablets, which was not what they did
18          right?                                                               18          before.
19                A.     I don't know --                                         19                       So it established a pattern with
20                       MS. SINGER:         Objection.     Calls for            20          Hydrocodone.     And it also showed that the
21          speculation.                                                         21          hydrocodone increases over a period of time.
22                       THE WITNESS:          I don't know about                22          And that was what was presented -- that's
23          pattern.     But we were talking about size at                       23          explained to them this is a suspicious order;
24          that moment in time.           If I'm not mistaken, the              24          in our opinion, this is what's suspicious.
25          three initial -- the three initial distributor                       25                Q.     But that suspicion could be

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1           alleviated by some due diligence, right?                             1           objection.     Misstates testimony.
2                 A.     It could be if they were doing due                      2                        THE WITNESS:        On the distributor
3           diligence.     But they weren't.                                     3           briefings, we looked at specific unusual size
4                 Q.     And how do you know they weren't                        4           transactions and patterns.             And we explained to
5           doing due diligence?                                                 5           them that these shouldn't -- these were
6                        MR. BENNETT:          Objection.    Scope.              6           suspicious, in our -- in -- in -- when we
7                        You're not authorized to disclose                       7           looked at them, we believed they were
8           information regarding any specific DEA                               8           suspicious, and we asked them what they thought
9           investigations or activities that are not                            9           of the transactions, is --
10          public.                                                              10                       BY MS. MAINIGI:
11                       To the extent that you can answer                       11                Q.     And --
12          generally, or if you can answer with publicly                        12                A.     -- how it was explained to me.           Yes.
13          available information about DEA, activities you                      13                Q.     I'm sorry.
14          may answer.                                                          14                       And -- and it's possible that they
15                       BY MS. MAINIGI:                                         15          may have had a justification, through due
16                Q.     I'm not looking for specific                            16          diligence, for having concluded that that
17          distributors.                                                        17          particular order was not suspicious, right?
18                       But how can you say across the board                    18                       MS. SINGER:       Objection.     Calls for
19          that there was -- you know there was no due                          19          speculation.
20          diligence?                                                           20                       MR. BENNETT:        I would join that
21                A.     On the --                                               21          objection.
22                       MR. UTTER:        Excuse me.                            22                       MR. UTTER:      Same objection.
23                       Object.      That's not what he said.                   23                       Go ahead.
24                       Go ahead.                                               24                       THE WITNESS:        If they were doing due
25                       MR. BENNETT:          And I would join that             25          diligence, they wouldn't have shipped those

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1           drugs.      But regardless, in one particular                         1           based on size and pattern.              So yes.     And...
2           company, the next go-around -- after we                               2                       BY MS. MAINIGI:
3           notified them of what suspicious was, they                            3                  Q.   But you don't know what that
4           continued to ship in greater quantity                                 4           elaboration was?
5           downstream than before the meeting.                                   5                  A.   No, I don't what that elaboration --
6                         BY MS. MAINIGI:                                         6                  Q.   And that elaboration could have
7                 Q.      You mentioned that -- just tell me                      7           varied from distributor --
8           to the best of your recollection.                                     8                       MR. BENNETT:         Can you let the
9                         You -- I think I heard two things                       9           witness finish his answer, please.
10          from you:      that the distributor briefing                          10                      MS. MAINIGI:         I'm sorry.
11          initially focused on size, and then I heard you                       11                      THE WITNESS:         I don't --
12          say they focussed on size and pattern.                                12                      BY MS. MAINIGI:
13                        What's your best memory?                                13                 Q.   That --
14                A.      I believe it was both size and                          14                      MR. BENNETT:         Hang on.
15          pattern.                                                              15                      Let her answer -- are you finished
16                Q.      Okay.     And so you think that                         16          with your answer to the previous question?
17          Mr. Mapes, when he did these distributor                              17                      THE WITNESS:         I'm sorry.        Go ahead.
18          briefings, may have elaborated on the                                 18                      MS. MAINIGI:         I'm sorry.
19          definition of unusual size and unusual pattern?                       19                      MR. BENNETT:         Okay.      Could you
20                A.      He had to --                                            20          please ask the question now.
21                        MS. SINGER:          Objection.                         21                      And wait for her to finish --
22                        THE WITNESS:           -- because.                      22                      THE WITNESS:         Yes.
23                        MS. SINGER:          -- calls for                       23                      MR. BENNETT:         -- the question before
24          speculation.                                                          24          you answer.
25                        THE WITNESS:           The transactions were            25                      THE WITNESS:         Okay.

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1                         BY MS. MAINIGI:                                         1           order beyond the C.F.R. terminology, right?
2                  Q.     And the elaboration could have                          2                       MR. BENNETT:        Objection.        Misstates
3           varied from distributor to distributor,                               3           prior testimony.
4           correct?                                                              4                       THE WITNESS:        The -- the C.F.R.
5                         MR. BENNETT:            Objection.   Calls for          5           test-- the C.F.R. definition is the official
6           speculation.                                                          6           definition of a suspicious order.
7                         THE WITNESS:            The elaboration was             7                       BY MS. MAINIGI:
8           based on the individual distributor                                   8                 Q.    So how would a local D -- if they
9           transactions.         So I would guess that it could,                 9           could call a local DEA office, how would a
10          based on the transactions they were using at                          10          local DEA office know what to tell them versus
11          the time, yes.                                                        11          what headquarters is telling them?
12                 Q.     Now, for guidance, besides the                          12                      MS. SINGER:       Objection.      Calls for
13          C.F.R., what would a distributor turn to that                         13          speculation.
14          didn't get their distributor briefing until                           14                      MR. BENNETT:        Objection.        Scope.
15          2009 or 2010?                                                         15          Calls for speculation.
16                 A.     Well, they had the letters.             And             16                      MR. UTTER:      Same objection.
17          they could call in to the local DEA offices;                          17                      Go ahead.
18          they could call into the liaison and policy                           18                      THE WITNESS:        The diversion
19          section; they could call into the                                     19          investigators and the headquarters staff are
20          pharmaceutical regulatory section.                                    20          basically told how to answer certain questions.
21                        There was a number of places where                      21                      However, if the -- if the staff in
22          they could call to get their questions                                22          the field -- the -- the -- the field office
23          answered.                                                             23          cannot answer the question, is not comfortable
24                 Q.     So we've already established the                        24          answering the question, they would refer the
25          letter doesn't give a definition of suspicious                        25          question up to liaison and policy.                And liaison

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1           and policy would answer the question.                                 1           what these letters meant?
2                       BY MS. MAINIGI:                                           2                        MS. SINGER:       Objection.     Scope.
3                 Q.    So the field offices, you don't                           3           Objection.     Asked and answered.
4           really know what they said in terms of defining                       4                        THE WITNESS:        I -- again, I'm not
5           what an unusual order was, right?                                     5           aware of the field being confused.             But I'm
6                       MS. SINGER:          Objection.     Misstates             6           pretty sure that, if there was some confusion
7           the witness's prior testimony.                                        7           about the letters, I'd be getting calls from an
8                       MR. BENNETT:           Objection.                         8           -- from the assistant special agents in charge,
9           Argumentative.                                                        9           the DPM, or the SACs.
10                      THE WITNESS:           The field office                   10                       And no, those calls never came in.
11          follows the regulations.                                              11                       BY MS. MAINIGI:
12                      BY MS. MAINIGI:                                           12                Q.     And registrants, were they confused
13                Q.    Did the field office -- is it fair                        13          after receiving the letter -- receiving these
14          to say that, after your letters, there were                           14          letters?
15          diversion investigators that called                                   15                       MS. SINGER:       Objection.     Vague.
16          headquarters and said they were confused about                        16          Lack of foundation.
17          how to administer or interpret these letters?                         17                       MR. BENNETT:        Objection.    Calls for
18                      MS. SINGER:          Objection.     Lack of               18          speculation.
19          foundation.                                                           19                       MR. UTTER:      Same objection.
20                      MR. BENNETT:           Objection.    Scope.               20                       Go ahead.
21                      You can answer.                                           21                       THE WITNESS:        Again, I don't know.
22                      THE WITNESS:           I'm not aware of any               22          That -- those calls would go into liaison and
23          calls from the field regarding the letters.                           23          policy or division -- or the division offices,
24                      BY MS. MAINIGI:                                           24          the DPMs or the pharmaceutical regulatory
25                Q.    The field was not confused about                          25          section.

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1                       And I was not -- I'm not aware of                         1           is suspicious.      The size of an order alone,
2           any calls that came in saying everybody's                             2           whether or not it deviates from a normal
3           confused.                                                             3           pattern, is enough to trigger the registrant's
4                       BY MS. MAINIGI:                                           4           responsibility to report the order as
5                 Q.    Taking a look at Exhibit 13, which                        5           suspicious.     The determination of whether an
6           is your December 2007 letter, does that letter                        6           order is suspicious depends not only on the
7           elaborate on the suspicious orders terminology                        7           ordering patterns or the particular customer
8           in any way?                                                           8           but also on the patterns of the registrant's
9                       MR. BENNETT:           Objection.    Vague.               9           customer base and the patterns throughout the
10                      MR. UTTER:         Take your time.                        10          relevant segment of the regulated industry."
11                      THE WITNESS:           Well, in the last                  11                 Q.    To your knowledge, had this been
12          paragraph it does.                                                    12          sent, this elaboration that is in the December
13                      BY MS. MAINIGI:                                           13          27, 2011 -- 2007 letter, had that been sent to
14                Q.    Last paragraph on the first page or                       14          registrants before in writing?
15          the second page?                                                      15                 A.    This was -- this letter was sent
16                A.    On the first page.                                        16          December 27.     This is the elaboration that was
17                Q.    Okay.                                                     17          sent in December of 2000 -- of 2007.
18                A.    "These criteria are disjunctive and                       18                 Q.    And was there, to your knowledge, a
19          are not all-inclusive.             For example, if an                 19          prior elaboration of this type that had been
20          order deviates substantially from a pattern --                        20          provided to registrants?
21          a normal pattern, the size of the order does                          21                       Essentially was this the first time
22          not matter, and the order should be reported as                       22          that that elaboration was provided in writing?
23          suspicious.    Likewise, a registrant need not                        23                 A.    I don't believe there were any other
24          wait for a normal pattern to develop over time                        24          writings except for the two letters that were
25          before determining whether a particular order                         25          sent before the February and the -- it was the

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1           September and the December letter.                                     1           paragraph on the first page.
2                  Q.     And the September and the February                       2                  A.   Yes.
3           letters did not have this elaboration that you                         3                  Q.   And then again on the second page,
4           just read, right?                                                      4           second paragraph.
5                  A.     No.                                                      5                       Do you see that?
6                  Q.     Do you know what prompted you to                         6                  A.   You said the second paragraph,
7           include it here in this December 2007 letter?                          7           second page?
8                         MR. BENNETT:           Objection.                        8                  Q.   Right.
9                         MS. SINGER:          Objection.                          9                  A.   Yes.
10                        MR. BENNETT:           Scope.                            10                 Q.   Now, essentially you were telling
11                        You're not authorized to disclose                        11          registrants in this letter no more excessive
12          the internal deliberative process.                 You are             12          purchase reports, right?
13          also not allowed to disclose information that                          13                 A.   No.
14          would reveal attorney-client privileged                                14                      MR. BENNETT:           Objection.
15          communications with internal counsel's office.                         15          Mischaracterizes the letter.                  Misstates the
16                        To the extent that you can answer                        16          letter.
17          the question without disclosing that, you may                          17                      THE WITNESS:           We -- we never told
18          answer.                                                                18          anybody not to send in excessive purchase
19                        THE WITNESS:           I can't answer the                19          reports.    What we told them was, "The
20          question with those limitations.                                       20          regulation requires you to file suspicious
21                        BY MS. MAINIGI:                                          21          order reports."
22                 Q.     Now, the December 2007 letter                            22                      And then an excessive purchase
23          references excessive purchase reports, right?                          23          report is -- is not found when the -- it's not
24                 A.     What -- where are you?                                   24          a -- a report that's timely.                  It's a report
25                 Q.     Well, for example, in the third                          25          that's done at the end of the month or end of

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                                                                Page 307                                                                            Page 308

1            the week.                                                             1                       MS. MAINIGI:          How long have we been
2                          A suspicious order report is one                        2           going?
3            that is done when discovered.                  It gives us an         3                       THE VIDEOGRAPHER:             I can tell you.
4            opportunity to -- to act on it -- act on that                         4           We started back at 3:13.             So we've been going
5            suspicious order fairly quickly.                                      5           about 43 minutes.
6                          And so all this letter said was,                        6                       MS. MAINIGI:          Okay.       I think it's
7            "Look, you could do what you want with the                            7           just 43 minutes, Linda.
8            excessive purchases, and we'll gladly accept                          8                       BY MS. MAINIGI:
9            them.      However, it's not a suspicious order                       9                 Q.    So with respect to the difference
10           reported.      Land a suspicious order report is                      10          between the first letter -- first set of
11           what's controlled by the regulation."                                 11          letters and the second letter, do you recall
12                         BY MS. MAINIGI:                                         12          there being confusion in the industry about the
13                 Q.      You had not made those statements                       13          excessive purchase reports?
14           that you just described in your earlier                               14                      MS. SINGER:         Objection.        Calls for
15           letters, your December 2006 and the February                          15          speculation.      Vague.      Foundation.
16           2007 letters, correct?                                                16                      MR. UTTER:        Object to speculation.
17                 A.      No.    Well, I -- we discussed                          17                      Go ahead.
18           suspicious ordering -- suspicious order                               18                      THE WITNESS:          I don't know exactly
19           monitoring and when the -- the suspicious                             19          about the confusion in the industry regarding
20           orders report were to be filled.                  Yes, we did         20          excessive purchase reports.               But an excessive
21           discuss that.        We didn't discuss excessive                      21          purchase report is not a required report under
22           purchase reports.                                                     22          the Code of Federal Regulations or the CSA.
23                         MS. SINGER:          So we've been going                23                      And the reason we were sending the
24           about another hour.             Perhaps we should take                24          letters and did the distributor initiative is
25           another break.                                                        25          to make sure they understood what a suspicious

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1           order report is and when it's to be filed.                              1           in the distributor initiative briefings, to
2                       BY MS. MAINIGI:                                             2           reinforce the fact that people -- that entities
3                  Q.   Now, with respect to suspicious                             3           and registrants must file suspicious orders.
4           order monitoring systems, your 2006 and 2007                            4           That's what those letters were for --
5           letters confirmed that distributors are                                 5                       BY MS. MAINIGI:
6           responsible for coming up with their own                                6                 Q.    What --
7           suspicious order monitoring systems, correct?                           7                 A.    -- and how to file them.
8                  A.   It's in the regs.               That's exactly              8                 Q.    I'm sorry.      That wasn't my question.
9           how it's the written.                                                   9                       You're -- you're a trained attorney,
10                 Q.   By the way, did you view your -- any                        10          correct?
11          of your letters, your '06 or your '07 letters,                          11                      MR. BENNETT:        Objection.
12          as guidance?                                                            12          Argumentative.
13                      MS. SINGER:        Objection.         Calls for a           13                      BY MS. MAINIGI:
14          legal conclusion.                                                       14                Q.    You're a trained attorney?
15                      MR. BENNETT:         Objection.        Vague.               15                A.    I'm a trained attorney, yes.
16                      THE WITNESS:         I'm not sure where                     16                Q.    Do you understand, having held a
17          you're go -- it -- guidance as to what?                                 17          high-level position at the DEA, in addition to
18                      BY MS. MAINIGI:                                             18          being a trained attorney, what the difference
19                 Q.   Well, are you familiar with the term                        19          is between a regulation and guidance?
20          "guidance" in the context of the federal                                20                      MS. SINGER:       Objection.
21          government and agencies?                                                21          Argumentative.      Calls for legal conclusion.
22                      MS. SINGER:        Objection.         Vague.                22          Outside the scope of this deposition.
23                      MR. BENNETT:         Same objections.                       23                      MR. UTTER:      Go ahead.
24                      THE WITNESS:         If -- if you're --                     24                      THE WITNESS:        A regulation goes
25          those letters were to reinforce what occurred                           25          through notice and comment.             A guidance is put

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1           out by the agency.                                                      1                       THE WITNESS:         I'm not sure -- I'm
2                       BY MS. MAINIGI:                                             2           not sure exactly -- could you ask -- ask that
3                 Q.    And so guidance is not law; correct?                        3           question again.
4                       MS. SINGER:       Same objections.                          4                       BY MS. MAINIGI:
5                       THE WITNESS:        Well, it is when                        5                  Q.   Sure.     I can just read back,
6           you're talking about a -- a regulation that's                           6           hopefully, what I said before the objections.
7           been on the books for 40 years where -- where a                         7                       Guidance is not the same as the
8           value -- where what we're doing is reinforcing                          8           regulation; guidance is an elaboration on what
9           that a regulation that's been on the books for                          9           the regulation means, correct?
10          40 years needs to be followed and needs to be                           10                      MS. SINGER:        Same objection.
11          followed in the manner that the regulation sets                         11                      MR. BENNETT:         Same objection.
12          up.                                                                     12                      THE WITNESS:         I'm not sure if this
13                      So all these letters did was say,                           13          letter is guidance.         Although the letter was
14          "This is the regulation.           This is the                          14          sent out to provide the industry with a
15          requirement.    This is what is expected of you."                       15          reinforcement of what was told to them in the
16                      BY MS. MAINIGI:                                             16          initiative briefings, the distributor
17                Q.    Well, guidance is not the same as                           17          initiative briefings.
18          repeating the regulation; guidance is perhaps                           18                      BY MS. MAINIGI:
19          elaboration on what a regulation means,                                 19                 Q.   And by this --
20          correct?                                                                20                 A.   So I'm just not sure --
21                      MR. BENNETT:        Objection.                              21                      MR. BENNETT:         Oh.
22                      MS. SINGER:       Objection.        Counsel is              22                      MS. MAINIGI:         I'm sorry.
23          testifying.    Asking for a legal conclusion.                           23                      MR. BENNETT:         Please allow the
24                      MR. BENNETT:        Objection.       Form.                  24          witness to finish his answer.
25                      MR. UTTER:      Go ahead.                                   25                      THE WITNESS:         So --

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                                                                     Page 313                                                                            Page 314

1                        BY MS. MAINIGI:                                               1                         BY MS. MAINIGI:
2                 Q.     Are you done?                                                 2                  Q.     Are they guidance in the way that I
3                 A.     So I'm just not sure.                                         3           originally posed the question to you, meaning
4                 Q.     Okay.     And by this letter, just for                        4           you are familiar with the concept of federal
5           clarity of the record, is it fair to say that                              5           agencies issuing guidance?
6           you don't know whether the September 2006,                                 6                         MS. SINGER:         Objection.        Compound
7           February 2007 and December 2007 letters that                               7           question.
8           you wrote to the industry or to the registrants                            8                         MR. BENNETT:          Objection.       Vague.
9           are, in fact, guidance, correct?                                           9                         MS. SINGER:         Calls for a legal
10                       MR. BENNETT:           Objection.       Misstates             10          conclusion.
11          testimony.     Objection.           Calls for legal                        11                        THE WITNESS:          Are you talking about
12          conclusion.                                                                12          notice and comment?
13                       MR. UTTER:         Same objection.                            13                        BY MS. MAINIGI:
14                       Go ahead.                                                     14                 Q.     Does guidance go through notice and
15                       THE WITNESS:           I guess it would be                    15          comment?
16          considered some form of guidance to ensure that                            16                 A.     Rulemaking regulations go through
17          they understand what their obligations are                                 17          notice and comment.
18          under C.F.R.                                                               18                 Q.     Guidance doesn't go through notice
19                       BY MS. MAINIGI:                                               19          and comment, right?
20                Q.     So you do think they're guidance.                             20                 A.     No.
21                A.     They're a --                                                  21                 Q.     And, in fact, was it around this
22                       MS. SINGER:          Objection.                               22          time that President Bush issued an executive
23                       THE WITNESS:           -- form of guidance.                   23          order that essentially stated that guidance is
24                       MS. SINGER:          Misstates the witness's                  24          not the same as law?
25          prior testimony.                                                           25                        MS. SINGER:         Objection.        Foundation.

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                                                                     Page 315                                                                            Page 316

1           Calls for a legal conclusion.                   Scope.                     1           to registrants as to what was required to be in
2                        MR. BENNETT:           I join those                           2           a suspicious order monitoring system, correct?
3           objections.                                                                3                         MS. SINGER:        Objection.        Vague.
4                        MR. UTTER:         Same objections.                           4                         THE WITNESS:         The regulation stands
5                        Go ahead.                                                     5           on its own.      I believe the regulation says, the
6                        THE WITNESS:           I don't know about                     6           registrant shall design and operate a system
7           that particular -- I don't know about what                                 7           that identifies and reports suspicious orders.
8           President Bush put out, but I can tell you that                            8                         Again, it's a business decision
9           there is nothing in these documents that                                   9           based on what the registrant's needs are and
10          changes what the regulation and the statute                                10          the Drug Enforcement Administration does not
11          said, so if there is nothing in the document                               11          tell a registrant what that specific system
12          that changes what the regulation and the                                   12          should look like.
13          statute is, then, you know, it's just a letter                             13                        MR. BENNETT:         Counsel, we -- it is
14          informing the registrant community of what                                 14          after 4:00 and I know we are planning on ending
15          their obligations are.                                                     15          right around 5.       Would this be an appropriate
16                       BY MS. MAINIGI:                                               16          time to take our last break for the day?
17                Q.     With respect to coming back to                                17                        MS. MAINIGI:         Sure.       We can take a
18          suspicious order monitoring systems, it was the                            18          break.
19          obligation of the registrant to essentially                                19                        THE VIDEOGRAPHER:            We are going off
20          come up with their own suspicious order                                    20          the record.      This is the end of Media Unit No.
21          monitoring system, correct?                                                21          6.    The time is 4:05.
22                A.     Yes, to design and operate the                                22                        (A short recess was taken.)
23          system.                                                                    23                        THE VIDEOGRAPHER:            We are going back
24                Q.     And there was not any sort of                                 24          on the record.       This is the start of Media Unit
25          guidance or checklist that were provided by DEA                            25          No. 7.      The time is 4:18.

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1                         You may proceed, Counsel.                                1           what constituted a suspicious order monitoring
2                         BY MS. MAINIGI:                                          2           system that complied with regulations?
3                 Q.      Mr. Rannazzisi, I am just looking                        3                        MR. BENNETT:        Objection.     Scope.
4           for a yes or no on the following question:                             4                        You can answer that question yes or
5           Does DEA have internal guidance as to what is a                        5           no only.
6           suspicious order?                                                      6                        THE WITNESS:        I don't know about
7                         MR. BENNETT:        Objection.      Scope.               7           2016, but for 2005 to 2015, no.
8                         You can answer the question yes or                       8                        BY MS. MAINIGI:
9           no only.                                                               9                 Q.     DEA expected registrants to update
10                        THE WITNESS:        No.                                  10          their suspicious order monitoring systems to
11                        BY MS. MAINIGI:                                          11          adopt to changing environments, correct?
12                Q.      And for clarity, let me focus you on                     12                       MR. BENNETT:        Objection.     Scope.
13          time periods with that same question.                                  13          Objection.     Vague.
14                        Let's say from the 2005 through the                      14                       MR. UTTER:      Go ahead.
15          time you left DEA in 2016, that is the time                            15                       THE WITNESS:        DEA expected the
16          period, in that time period of 2005 to 2016,                           16          registrant, the distributor registrants and the
17          yes or no, did DEA have internal guidance as to                        17          manufacturing registrants to design and operate
18          what constitutes a suspicious order?                                   18          a system that will identify and report
19                        MR. BENNETT:        Objection.      Scope.               19          suspicious orders.
20                        You can answer that question yes or                      20                       BY MS. MAINIGI:
21          no only.                                                               21                Q.     And did DEA expect that a registrant
22                        THE WITNESS:        No.                                  22          would update their suspicious order monitoring
23                        BY MS. MAINIGI:                                          23          system to adopt to a changing environment?
24                Q.      In the time period 2005 to 2016, yes                     24                       MS. SINGER:       Objection.      Vague.
25          or no, did DEA have internal guidance as to                            25                       MR. BENNETT:        Objection.     Vague.

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                                                                 Page 319                                                                        Page 320

1           Objection.       Scope.                                                1                 Q.     So you, yourself, have never even
2                          MR. UTTER:      Objection.         Asked and            2           inspected a suspicious order monitoring system,
3           answered.                                                              3           fair?
4                          You can answer again.                                   4                        MR. BENNETT:        Objection.     Misstates
5                          THE WITNESS:        Again, the answer is                5           testimony.     Objection.        Scope.
6           that we expect them to design and operate a                            6                        THE WITNESS:        I have never gone on
7           system that identifies suspicious orders.                              7           site and reviewed a suspicious order monitoring
8                          BY MS. MAINIGI:                                         8           system, no.
9                  Q.      Would a system that identifies                          9                        BY MS. MAINIGI:
10          suspicious orders in 2002, in your mind, be an                         10                Q.     Have you ever viewed one on paper?
11          acceptable system in 2010?                                             11                       MR. SMITH:      Objection.       Scope.
12                         MS. SINGER:       Objection.        Calls for           12                       THE WITNESS:        I may have looked
13          speculation.                                                           13          years ago at the framework of a suspicious
14                         MR. BENNETT:        Objection.       Calls for          14          order monitoring system on paper.
15          speculation.       Incomplete hypothetical and                         15                       BY MS. MAINIGI:
16          scope.                                                                 16                Q.     Do you have an understanding of what
17                         MR. UTTER:      Go ahead.                               17          would separate an acceptable compliance
18                         THE WITNESS:        I don't know because I              18          suspicious order monitoring system from one
19          didn't -- I have never reviewed a 2002                                 19          that was not compliant with regulations?
20          suspicious order monitoring system in 2002 or                          20                       MS. SINGER:       Objection.      Vague.
21          2015.       I mean, I don't know.             I expect that            21          Foundation.     Scope.
22          they will design and operate a system that                             22                       MR. BENNETT:        Join the scope
23          reports, identifies and reports suspicious                             23          objection.
24          orders.                                                                24                       MR. UTTER:      Go ahead.
25                         BY MS. MAINIGI:                                         25                       THE WITNESS:        Again, the suspicious

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1           order monitoring system has to -- is designed                         1                        MR. BENNETT:           Objection.     Scope.
2           by the distributor -- the registrant, and                             2                        MR. UTTER:         Asked and answered for
3           because it's designed by the registrant, you                          3           the third time.
4           know, it's their system to design.               So I -- you          4                        Go ahead.
5           know, again, I'm not sure -- it's their system                        5                        THE WITNESS:           I don't -- I don't
6           to design under the regs.                                             6           know what the different ways of creating a
7                        BY MS. MAINIGI:                                          7           system is.     Again, I can only go by what the
8                 Q.     So how does a registrant know that                       8           regulation says and it is up to the registrant
9           their system is enough that its compliant with                        9           to design and operate a system.
10          the regulations?                                                      10                       BY MS. MAINIGI:
11                       MS. SINGER:       Objection.       Calls for             11                Q.     Was there any single feature that
12          speculation.                                                          12          made a system compliant?
13                       MR. BENNETT:        Objection.      Scope.               13                A.     Yes, that they identify suspicious
14                       THE WITNESS:        Because the regs tell                14          orders or unusual size, frequency or deviating
15          them that they must design and operate a system                       15          substantially from a normal ordering pattern.
16          that identifies suspicious orders and they have                       16                Q.     Could two companies have different
17          to report.     How they create that system is a                       17          suspicious order monitoring systems and they
18          business decision and as long as it identifies                        18          were both compliant?
19          and reports suspicious orders, then -- and they                       19                       MS. SINGER:          Objection.      Calls for
20          are comfortable with that system, then they                           20          the witness to speculate.
21          have a system.                                                        21                       MR. BENNETT:           Objection.     Scope.
22                       BY MS. MAINIGI:                                          22                       THE WITNESS:           Again, I don't -- I
23                Q.     So there is more than one way to                         23          don't know.     It's up to them to decide what
24          design a compliant suspicious order monitoring                        24          their systems are and without seeing or knowing
25          system?                                                               25          about -- knowing about each individual system,

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1           I don't know.     I mean, one system could be --                      1                         MR. UTTER:         Object to speculation.
2           could be identifying suspicious orders and                            2                         Go ahead.
3           another might not identify suspicious orders                          3                         THE WITNESS:           Again, without seeing
4           appropriately.                                                        4           the systems, is it possible, I'm sure anything
5                        BY MS. MAINIGI:                                          5           is possible, but in the end, it falls back to
6                  Q.    Well, what would you be looking for                      6           whether the system can identify -- is designed
7           between those two systems, Mr. Rannazzisi?                            7           to identify and report suspicious orders.
8                  A.    What the reg says.              They have to             8                         BY MS. MAINIGI:
9           identify suspicious orders.                                           9                  Q.     Well, without naming any company
10                 Q.    So if both systems are identifying                       10          names, Mr. Rannazzisi, as head of diversion
11          suspicious orders, companies are reporting                            11          control for so many years, were you somehow
12          suspicious orders, is it possible that two                            12          under the impression that every company had an
13          companies that have employed two different                            13          identical suspicious order monitoring system?
14          systems for suspicious order monitoring could                         14                        MS. SINGER:          Objection.       Foundation.
15          both be compliant?                                                    15          Vague.      Scope.
16                       MS. SINGER:        Objection.        Calls for           16                        MR. BENNETT:           I'll join the scope
17          speculation.     The question has been asked and                      17          objection and also objection.                   Argumentative.
18          answered.                                                             18                        MR. UTTER:         Go ahead.
19                       MR. BENNETT:         Objection.       Scope.             19                        THE WITNESS:           I never really thought
20                       May I have a continuing objection to                     20          about it.      I just knew that they were supposed
21          -- based on scope to all your questions about                         21          to design and operate a system that identifies
22          suspicious order monitoring systems so I don't                        22          suspicious orders.            I knew what a suspicious
23          have to keep objecting?                                               23          order was by definition, and I expected that
24                       MS. MAINIGI:         No.                                 24          they would be the ones to create that system.
25                       MR. BENNETT:         Objection.                          25                        BY MS. MAINIGI:

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1                 Q.       So it's likely then, while you were                        1                        BY MS. MAINIGI:
2           head of diversion control, that there were                                2                 Q.     Yes.
3           companies operating in compliance that had                                3                 A.     I don't know.           Because -- just
4           different suspicious order monitoring systems,                            4           because you have a system doesn't mean you are
5           right?                                                                    5           following your protocols in your system.                   You
6                          MS. SINGER:          Objection.       Calls for            6           might have the greatest system in the world but
7           speculation beyond this witness's experience.                             7           if you are not following your own protocols, if
8                          MR. BENNETT:           Objection.      Scope.              8           you are not looking at each individual order
9                          MR. UTTER:         Objection to whether                    9           that the system kicks out, doing due diligence,
10          they were in compliance.                                                  10          maintaining effective controls against
11                         But go ahead, you can answer.                              11          diversion, then the system is worthless because
12                         THE WITNESS:           Could you repeat that               12          you are not following the protocols that you
13          one question, please.                                                     13          established, so I can't say that.
14                         BY MS. MAINIGI:                                            14                Q.     So following the protocols that you
15                Q.       Sure.     So it's likely then, while                       15          established, is that some sort of guidance that
16          you were head of diversion control, that there                            16          DEA put out to companies?
17          were companies operating in compliance that had                           17                       MS. SINGER:          Objection.     Vague.
18          different suspicious order monitoring systems,                            18                       MR. BENNETT:           Objection.    Vague.
19          correct?                                                                  19          Objection.     Scope.
20                         MS. SINGER:          Same objections.                      20                       THE WITNESS:           It would be -- it
21                         MR. UTTER:         Same objection.                         21          would be common sense for a company to
22                         Go ahead.                                                  22          establish protocols and then follow their own
23                         THE WITNESS:           In compliance with                  23          protocols within their suspicious order
24          what?       In compliance with the suspicious order                       24          monitoring system.
25          monitoring reg?                                                           25                       BY MS. MAINIGI:

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1                 Q.       Does the regulations say to do that?                       1                 Q.     Anything else that would be a key
2                 A.       I don't think the regulation needs                         2           component of a suspicious order monitoring
3           to say that.       That is common sense within your                       3           system?
4           organization.          Why have protocols if you are                      4                 A.     Yes.     That the --
5           not following them.                                                       5                        MR. BENNETT:           Objection.    Vague.
6                 Q.       So sitting here today, Mr.                                 6           Objection.     Scope.
7           Rannazzisi, you can't tell me what the various                            7                        MR. UTTER:         Go ahead.
8           components would be of a successful compliant                             8                        THE WITNESS:           That the order is
9           suspicious order monitoring system?                                       9           reported when discovered.
10                         MS. SINGER:          Objection.       Misstates            10                       BY MS. MAINIGI:
11          the witness's testimony.                 Asked and answered.              11                Q.     Anything else?
12          Scope.                                                                    12                       MR. BENNETT:           Same objection.
13                         MR. BENNETT:           Objection.      Scope.              13                       MS. SINGER:          Objection.     Vague.
14                         MR. UTTER:         Asked and answered for                  14                       THE WITNESS:           Off the top of my head
15          about the fourth time.                                                    15          right now, I can't think of anything else.
16                         You can go ahead, Mr. Rannazzisi.                          16                       BY MS. MAINIGI:
17                         THE WITNESS:           A system that                       17                Q.     Okay.     Do you recall a time where
18          identifies a suspicious order.                    So the company          18          the distributor trade association came to you
19          would have to design and operate a system that                            19          and your colleagues seeking additional guidance
20          identifies a suspicious order which is defined                            20          on reporting suspicious orders and suspicious
21          as an order of unusual size, frequency, or                                21          order monitoring systems?
22          substantially deviating from normal ordering                              22                       MS. SINGER:          Objection.     Vague.
23          patent, a regulation that has been in place for                           23          Lack of foundation.
24          over 40 years.                                                            24                       THE WITNESS:           Do you have a time
25                         BY MS. MAINIGI:                                            25          period?

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1                         BY MS. MAINIGI:                                           1           back and they explained that --
2                  Q.     Say, approximately 2010, '11,                             2                       MR. BENNETT:           I'm going to
3           thereabouts.                                                            3           appropriate and indicate you are not authorized
4                         MR. UTTER:      Go ahead.                                 4           to disclose things that you discussed with
5                         THE WITNESS:        Yes.       There was a                5           general counsel or that general counsel advised
6           meeting.      I was not present but my staff was                        6           you of.
7           present with counsel.                                                   7                       To the extent that you can continue
8                         BY MS. MAINIGI:                                           8           your answer without disclosing attorney-client
9                  Q.     And do you recall that the purpose                        9           privileged communications, you may continue
10          of the meeting was in part to see if DEA would                          10          your answer.
11          provide any additional guidance on either                               11                      THE WITNESS:           I'm sorry.     I can't.
12          identification of suspicious orders or what a                           12          I can't.
13          compliant suspicious order monitoring system                            13                      BY MS. MAINIGI:
14          would look like?                                                        14                Q.    Let me ask it this way:              To your
15                        MS. SINGER:       Objection to form.                      15          knowledge, did DEA ever answer HDMA's questions
16          Vague.      Outside the witness's scope and                             16          regarding guidance on the definition of a
17          capacity.                                                               17          suspicious order?
18                        MR. BENNETT:        Objection.                            18                      MS. SINGER:          Objection.      Vague and
19          Foundation.                                                             19          foundation.
20                        MR. UTTER:      Objection.         Speculation.           20                      MR. BENNETT:           Objection.
21                        Go ahead.                                                 21          Foundation.
22                        THE WITNESS:        I was not at the                      22                      MR. UTTER:         Go ahead.
23          meeting so I really can't tell you, but I seem                          23                      THE WITNESS:           I'm not sure if there
24          to remember that after that meeting, counsel                            24          was a formal request, and I don't know if there
25          and some of the people that worked for me came                          25          was a formal response for a suspicious order.

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1                        BY MS. MAINIGI:                                            1           registrants and the registrants would be
2                 Q.     I'm sorry.      Is it fair to say that                     2           answered.     HDMA is an adequacy group, a
3           DEA, in fact, did not provide HDMA in the 2010,                         3           lobbying group for the distributors.
4           2011 time period with any additional guidance                           4                       BY MS. MAINIGI:
5           on identification of a suspicious order?                                5                 Q.    It's made up of registrants, right?
6                        MS. SINGER:       Objection.       Asked and               6                 A.    Yes.
7           answered.                                                               7                 Q.    Are you saying that if a registrant
8                        MR. BENNETT:        Objection.      Misstates              8           had a question about the definition of a
9           prior testimony.                                                        9           suspicious order or what would make up a
10                       MR. UTTER:      Object to speculation.                     10          compliant suspicious order monitoring system,
11                       Go ahead.                                                  11          that those questions would have been answered
12                       THE WITNESS:        I don't know.                          12          in this time period?
13                       BY MS. MAINIGI:                                            13                      MS. SINGER:          Objection.      Calls for
14                Q.     Sitting here today, do you recall                          14          speculation.       Hypothetical.
15          any that was affirmatively provided?                                    15                      MR. UTTER:         Objection.       Asked and
16                A.     I don't.     I just don't recall.                          16          answered.
17                Q.     Do you recall any guidance provided                        17                      Go ahead.
18          to HDMA about a -- what would make up a                                 18                      THE WITNESS:           What I am saying is
19          compliant suspicious order monitoring system in                         19          that I don't know if HDMA was answered.                I am
20          that same time period?                                                  20          sure that when a distributor or a manufacturer
21                       MS. SINGER:       Objection.       Scope.                  21          or a pharmacy or a physician calls in with
22                       MR. UTTER:      Go ahead.                                  22          questions, their questions would be handled and
23                       THE WITNESS:        I don't recall,                        23          answered.
24          generally, HDMA is not a registrant.               Those                24                      BY MS. MAINIGI:
25          questions would generally come from the                                 25                Q.    Now, during your tenure, it was

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1           DEA's policy not to approve or endorse a                                   1           were no guidelines, right?
2           particular registrant's suspicious order                                   2                       MS. SINGER:        Objection.
3           monitoring system, correct?                                                3                       THE WITNESS:         I'm not sure.
4                       MS. SINGER:         Objection.         Scope.                  4                       BY MS. MAINIGI:
5                       MR. UTTER:        You can answer.                              5                  Q.   There were not any guidelines on
6                       THE WITNESS:          Based on consultation                    6           what made up a successful compliant suspicious
7           with components within DEA and counsel's                                   7           order monitoring system, correct?
8           office, yes, that's correct.                  We did not.                  8                       MR. BENNETT:         Objection.     Vague.
9                       BY MS. MAINIGI:                                                9                       THE WITNESS:         There didn't need to
10                Q.    So if a registrant called and said,                            10          be guidelines because that was the whole idea
11          here is the five components of my suspicious                               11          behind the regulation, to operate, design and
12          order monitoring system, does that meet your                               12          operate a system to identify and report
13          guidelines, you wouldn't answer that question,                             13          suspicious orders.
14          right?                                                                     14                      BY MS. MAINIGI:
15                      MS. SINGER:         Objection.         Calls for               15                 Q.   Now, that regulation came into place
16          speculation.                                                               16          in 1971, right?
17                      MR. UTTER:        Object to the form of                        17                 A.   40-plus years, yes.
18          the question.      There are no guidelines.                                18                 Q.   Were there opioids in 1971?
19                      Go ahead.                                                      19                      MR. BENNETT:         Objection.     Scope.
20                      THE WITNESS:          I -- that was                            20          Lack of foundation.
21          something we would -- we would ask other                                   21                      You can answer.
22          components to -- including counsel's office, to                            22                      MR. UTTER:       Go ahead.
23          look at.                                                                   23                      THE WITNESS:         If you're defining
24                      BY MS. MAINIGI:                                                24          opioids as the semisynthetic or synthetic
25                Q.    And your counsel is right, there                               25          versions, yes, there were opioids.

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1                       BY MS. MAINIGI:                                                1           regulations to provide greater specificity?
2                  Q.   There were opioids in 1971?                                    2                       MS. SINGER:       Objection.      Lack of
3                  A.   Yes.                                                           3           foundation.
4                  Q.   What were they?                                                4                       BY MS. MAINIGI:
5                       MR. BENNETT:           Objection.        Scope.                5                 Q.    Yes or no.
6                       THE WITNESS:           Codeine, morphine,                      6                       MR. BENNETT:        Objection.     Scope.
7           hydromorphone, Hydrocodone, but not in the                                 7                       You are not authorized to disclose
8           tablet form, opium, Methadone, quite a few.                                8           any information that would reveal the internal
9                       BY MS. MAINIGI:                                                9           deliberative process within DEA, information
10                 Q.   So no need for additional guidelines                           10          that would reveal nonpublic recommendations you
11          because the regulation and the wording of the                              11          made or you're aware of concerning any proposed
12          regulation stood the test of time, right?                                  12          agency action.
13                      MS. SINGER:          Objection.         Asked and              13                      To the extent that you are aware of
14          answered.    Argumentative.                                                14          any public recommendations concerning any
15                      MR. BENNETT:           Objection.                              15          proposed agency action, you may answer.             To the
16          Argumentative.       Objection.           Scope.                           16          extent if there is any nonpublic, you may not
17                      MR. UTTER:         Go ahead.                                   17          answer.
18                      THE WITNESS:           Again, the regulation                   18                      MR. UTTER:      Go ahead.
19          is the regulation.          That's what we followed,                       19                      THE WITNESS:        I -- no.
20          yes.                                                                       20                      BY MS. MAINIGI:
21                      BY MS. MAINIGI:                                                21                Q.    No, what?
22                 Q.   Was there a point in time either                               22                A.    You asked me if I knew of any
23          before -- right before your departure or right                             23          movement within DEA to change the suspicious
24          after your departure, that you understood that                             24          order monitoring regulation and the answer is
25          there was a movement within DEA to amend the                               25          no.

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1                 Q.     Okay.     Now, in one of your prior                       1                       BY MS. MAINIGI:
2           answers, you referenced other components                               2                 Q.    I don't think that answered my
3           including counsel's office.                                            3           question.
4                        Without detailing for me or telling                       4                       Yes or no, did -- to your knowledge,
5           me at all about any conversations that involved                        5           did counsel's office or any other components of
6           counsel's office, did you mean by that that if                         6           DEA approve suspicious order monitoring
7           someone asked, is my suspicious order                                  7           systems?
8           monitoring system compliant, that you would                            8                 A.    Nobody approves suspicious order
9           refer them to counsel's office for an answer?                          9           monitoring systems.       I think the letters were
10                       MS. SINGER:          Objection.     Calls for             10          perfectly -- were very clear in the letters
11          speculation.                                                           11          that DEA does not approve a suspicious order
12                       MR. BENNETT:           Objection.    Misstates            12          monitoring system.
13          testimony.                                                             13                Q.    Could one call the counsel's office
14                       MR. UTTER:         Go ahead.                              14          and get some sort of indication that particular
15                       THE WITNESS:           Counsel's office was               15          components of a suspicious order monitoring
16          always consulted on matters of suspicious                              16          system were compliant with regulations or not
17          orders and other matters like that.                But again,          17          compliant with regulations?
18          when I am talking about other components, you                          18                      MS. SINGER:       Objection.
19          have an investigative team and pharmaceutical                          19                      MR. BENNETT:        Objection.    Vague.
20          investigations.        You have an investigative                       20                      To the extent that the question
21          regulatory team and regulatory investigations.                         21          calls for circumstances where DEA executives
22          You have liaison and policy, counsel's office,                         22          and officials would seek advice of counsel,
23          and the executives that worked in the front                            23          you're instructed you're not authorized to
24          office, so all of them generally had some type                         24          answer.
25          of input.                                                              25                      To the extent the question calls for

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1           third parties outside of DEA to call counsel's                         1                       BY MS. MAINIGI:
2           office, you may answer.                                                2                 Q.    To your knowledge, did any of those
3                        MS. SINGER:          Again, speculate --                  3           departments keep track of the questions that
4           calls for speculation.                                                 4           they were asked?
5                        MR. UTTER:         Go ahead.                              5                       MS. SINGER:       Objection.     Scope.
6                        THE WITNESS:           So the question is                 6                       THE WITNESS:        I'm not sure.
7           whether outside individuals could call                                 7                       BY MS. MAINIGI:
8           counsel's office?                                                      8                 Q.    To your knowledge, did any of those
9                        BY MS. MAINIGI:                                           9           departments have internal guidance on what they
10                Q.     Or any other component or department                      10          could or could not say as to suspicious order
11          of DEA and get advice as to particular                                 11          monitoring systems?
12          components of their suspicious order monitoring                        12                A.    The guidance is the regulations.             We
13          system.                                                                13          don't vary far from the regulations.
14                       MR. BENNETT:           Objection.    Scope.               14                Q.    After the December 27, 2007 letter,
15                       Not authorized to disclose any                            15          which went to all registrants, did you send any
16          attorney-client privileged communications.                             16          more letters to registrants related to
17                       To the extent that you can answer                         17          suspicious orders or suspicious order
18          without disclosing attorney-client privileged                          18          monitoring systems?
19          communications, you may answer that question.                          19                      MR. BENNETT:        Objection.    Vague.
20                       THE WITNESS:           Again, there's --                  20          Compound.
21          there's at least two components besides --                             21                      MR. UTTER:      Go ahead.
22          besides counsel's office that could answer                             22                      THE WITNESS:        I don't believe any
23          questions related to suspicious order                                  23          letters went out after that.
24          monitoring:     liaison policy and regulatory                          24                      BY MS. MAINIGI:
25          investigations.                                                        25                Q.    Was there any communication with the

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1           industry, whether it's distributors,                                     1                  A.    They discussed suspicious order
2           manufacturers or pharmacies, in 2008, for                                2           monitoring.
3           example, as to what the DEA was looking for                              3                  Q.    And did anyone from DEA memorialize
4           when it came to suspicious order monitoring and                          4           what DEA said as to what was a suspicious
5           reporting?                                                               5           order?
6                        MS. SINGER:        Objection.       Vague.                  6                  A.    I don't know.
7                        MR. UTTER:       You can answer again.                      7                  Q.    Did anyone from DEA at these
8                        THE WITNESS:         There were conferences                 8           conferences memorialize what was said as to
9           where we explained suspicious order monitoring.                          9           what constituted a suspicious order monitoring
10          There were conferences where we explained what                           10          system?
11          effective controls against diversion was.                  And           11                 A.    I don't know.         I wasn't at those
12          those conferences were attended by                                       12          conferences.     So I didn't see the
13          manufacturers and distributors.                                          13          presentations.
14                       I think there were -- they -- they                          14                 Q.    Who presented at these conferences
15          happened every couple of years, every two years                          15          from DEA?
16          or so.                                                                   16                 A.    The same components that were
17                       BY MS. MAINIGI:                                             17          discussed:     regulatory investigations,
18                Q.     Do you recall when those conferences                        18          E-commerce, liaison and policy, pharmaceutical
19          took place, meaning specific years?                                      19          investigations.
20                A.     No.   But I'm sure that, if they                            20                 Q.    Do you recall ever seeing any report
21          haven't taken it down, it's on the DEA web                               21          of what they might have said at these
22          site.                                                                    22          conferences, those departments?
23                Q.     And you said there would be                                 23                 A.    I don't recall.
24          explanations of what constituted a suspicious                            24                       Counsel's office presented, too, if
25          order at these conferences?                                              25          I'm not mistaken.

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1                  Q.    How do you know that they were told,                        1                        MR. BENNETT:        Objection.
2           for example, "Here's what a suspicious order                             2                        BY MS. MAINIGI:
3           looks like"?                                                             3                  Q.    -- according to the DEA web site --
4                        MS. SINGER:         Objection.        Misstates             4                        MR. BENNETT:        Objection.       I don't
5           the witness's testimony.                                                 5           think he answered your question.
6                        MR. UTTER:        Same objection.                           6                        THE WITNESS:        That conference I did
7                        MR. BENNETT:          Same objection.                       7           not attend.
8                        THE WITNESS:          They discussed                        8                        MS. MAINIGI:        Okay.       Thank you.
9           suspicious order monitoring.                  I don't know if            9                        Thank you, Mr. Bennett.
10          they discussed this is what it looks like.                     I         10                       BY MS. MAINIGI:
11          can assume that that's what they discussed.                              11                 Q.    According to the DEA web site, I'll
12                       BY MS. MAINIGI:                                             12          represent to you that web site says that there
13                 Q.    Now, were you aware of a                                    13          was a pharmaceutical industry conference in
14          pharmaceutical industry conference in 2007?                              14          2009.
15                 A.    They -- I believe they did have one                         15                       Do you recall that conference?
16          in 2007, yes.                                                            16                       MS. SINGER:       Objection to
17                 Q.    And that conference would have                              17          testifying.
18          addressed multiple segments of the industry,                             18                       MR. UTTER:      If you know, go ahead.
19          right?                                                                   19                       THE WITNESS:        I -- I just -- I don't
20                 A.    I believe it was distributors and                           20          recall that -- I don't recall what conferences
21          manufacturers.                                                           21          occurred during those years.                I just know that
22                 Q.    Okay.    And you already said you                           22          we've had these conferences.                I know they were
23          didn't attend that conference personally.                                23          scheduled.     But I -- I -- I don't recall if
24          Okay.                                                                    24          there was a pharmaceutical industry conference
25                       Now --                                                      25          at that point in time, no.

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                                                               Page 345                                                                             Page 346

1                       BY MS. MAINIGI:                                             1           were there as well.
2                 Q.    Were you aware of the fact that                             2                 Q.       Were you aware of the fact that
3           there was not a distributor-specific conference                         3           there's no conference for distributors or
4           between 2007 and 2013?                                                  4           manufacturers between 2009 and 2013?
5                       MS. SINGER:         Objection.      Foundation.             5                          MS. SINGER:       Objection.      Asked and
6                       MR. BENNETT:          Same objection.                       6           answered.       Lack of foundation.
7                       MR. UTTER:        Same objection.                           7                          MR. UTTER:      Same objection.
8                       Go ahead.                                                   8                          MR. BENNETT:        Objection.     Vague.
9                       THE WITNESS:          We wouldn't do a                      9                          THE WITNESS:        I -- I just don't
10          distributor-specific conference.              Because                   10          know.       We had conferences during that time
11          manufacturers also have coincident activities                           11          period.       I just don't know what the title of
12          as a distributor, we would always invite them.                          12          those conference are or who the attendees were.
13                      BY MS. MAINIGI:                                             13                         But I'm pretty sure that we didn't
14                Q.    Are you saying that the 2013                                14          go that long a period of time without having
15          distributor conference was not, in fact, just                           15          some kind of conference that involved
16          for distributors?                                                       16          distributors.
17                A.    I'm saying that, between the time                           17                         BY MS. MAINIGI:
18          period we -- you just talked about, we mixed                            18                Q.       Well, if the web site doesn't really
19          the distributors.                                                       19          reflect any conference between 2009 and 2013,
20                      Now, I'm sure that that distributor                         20          do you think the web site is wrong?
21          conference had manufacturers as well.               Because,            21                         MS. SINGER:       Objection.      Foundation.
22          again, a manufacturer has a coincidental                                22                         THE WITNESS:        I don't know.
23          activity of distribution.              And because of that,             23                         MS. SINGER:       Argumentative.
24          they are held to the same standards.               So they              24                         MR. BENNETT:        Same objection.     Also
25          probably -- I'm almost 99 percent that they                             25          scope.

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1                       MR. UTTER:         Same objection.                          1                          MR. UTTER:      Same objection.
2                       Go ahead.                                                   2                          Go ahead.
3                       THE WITNESS:           I -- I don't know.                   3                          THE WITNESS:        That -- it might have
4                       BY MS. MAINIGI:                                             4           been.       I don't have the report.           So I -- I mean
5                  Q.   Do you recall a 2015 GAO report                             5           I -- it's been a few years since I read that
6           relating to DEA's communications with                                   6           report.
7           registrants?                                                            7                          BY MS. MAINIGI:
8                  A.   Yes.                                                        8                 Q.       Well, did you dis -- do you remember
9                  Q.   And do you recall one of GAO's                              9           disagreeing with that recommendation?
10          recommendations was that DEA needed to provide                          10                A.       Well --
11          greater guidance to registrants regarding its                           11                         MR. UTTER:      Well --
12          regulations?                                                            12                         MS. SINGER:       Objection.
13                      MS. SINGER:          Objection.      Form.                  13          Argumentative.
14                      MR. BENNETT:           Objection.     Scope.                14                         MR. BENNETT:        Objection.     Scope.
15                      THE WITNESS:           I recall that GAO                    15                         To the extent this would require you
16          did -- did an audit of DEA, and they made                               16          to reveal any nonpublic recommendations you
17          recommendations, yes.                                                   17          made or you're aware of or internal
18                      BY MS. MAINIGI:                                             18          deliberative process of the DEA, you're not
19                 Q.   And do you recall that particular                           19          authorized to disclose that.
20          type of recommendation, that DEA ought to                               20                         To the extent that there were public
21          provide guidance regarding the Controlled                               21          comments regarding the GAO report that you
22          Substances Act and its regulations to                                   22          issued, you may testify regarding your personal
23          registrants?                                                            23          recollection of such comments.
24                      MS. SINGER:          Objection.      Foundation.            24                         MR. UTTER:      Objection.
25                      MR. BENNETT:           Objection.     Scope.                25                         Going ahead.

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1                       MS. SINGER:         Objection.        Foundation.          1           guidance regarding its regulations to
2                       THE WITNESS:          That report had some                 2           registrants?
3           serious flaws in it.          The report was based on                  3                       MS. SINGER:          Objection.      Asked and
4           surveys done by manufacturers and distributors                         4           answered.    Misstates the witness's testimony.
5           who had just come off of investigations                                5                       MR. BENNETT:           And objection.     Scope.
6           conducted by DEA.                                                      6                       Same instructions regarding the
7                       And all of them -- the complaints,                         7           scope of your authorization on what you can and
8           if I remember correctly, were, "DEA was not                            8           cannot testify about.
9           communicating with us."                                                9                       MR. UTTER:         Go ahead.
10                      Even though DEA sat down with them                         10                      THE WITNESS:           I'm -- I'm sorry.     You
11          in distributor initiative, even though we sent                         11          got to repeat the question.
12          the letters, even though we had inspectors in                          12                      BY MS. MAINIGI:
13          their facilities doing their jobs.                 But GAO             13                Q.    Sure.
14          still felt, based on a survey done by -- in the                        14                      Did you -- it sounds like -- but
15          industry, that we were not adequately                                  15          tell me if I'm wrong.
16          communicating with them.                                               16                      It sound like you disagreed with the
17                      I remember that.            And I remember we              17          GEAO [sic] recommendation that DEA needed to
18          did have responses to each of the GAO                                  18          provide greater guidance to its registrants.
19          recommendations.       But I don't have them here,                     19                      MS. SINGER:          Objection.      Foundation.
20          and I...                                                               20                      MR. BENNETT:           Same instructions.
21                      BY MS. MAINIGI:                                            21                      MR. UTTER:         Go ahead.
22                Q.    Well, maybe -- maybe we'll look at                         22                      THE WITNESS:           Like I said, I don't
23          it next time.                                                          23          have the report handy.             But it seems to me we
24                      But -- so you didn't agree with                            24          outlined all of the -- all of the communication
25          GAO's recommendation that DEA ought to provide                         25          we had with the industry.               We outlined all of

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1           the avenues that industry could get answers to                         1           a suspicious pattern.
2           their questions.       We outlined all of the                          2                        Do you remember that?
3           inspections that were conducted for industry in                        3                  A.    No.    I don't remember that.
4           their manufacturing and distribution sites.                            4                  Q.    You don't remember that?
5                       We did all of that.               And I -- if I            5                        Do you remember telling the Court
6           remember correctly, GAO had no specific                                6           that there had been ten years of guidance
7           recommendations other than we should                                   7           provided by DEA related to what a suspicious
8           communicate or provide guidance on the regs and                        8           order was?
9           the statute.                                                           9                        MR. BENNETT:           Object to form.
10                      BY MS. MAINIGI:                                            10                       MS. SINGER:          Objection.      Foundation.
11                Q.    To your knowledge, did that happen?                        11                       THE WITNESS:           I -- I don't have any
12                A.    If I'm not mistaken, I -- I retired                        12          document.     I'd like to see what was said.
13          before a response was done on that.                                    13                       Do you have --
14                Q.    Now, do you remember testifying -- I                       14                       BY MS. MAINIGI:
15          think you were asked about it earlier.                                 15                 Q.    Do you --
16                      Do you remember testifying before                          16                 A.    -- have a document that shows what I
17          the Court in Cleveland in this particular                              17          exactly said?
18          matter in January of last year?                                        18                 Q.    Well, to the extent -- let me ask
19                A.    Yes.                                                       19          you this:     Are you aware of ten years of
20                Q.    And I think you testified earlier                          20          guidance being provide by the DEA to
21          that you were retained by Motley Rice to come                          21          registrants regarding what a suspicious order
22          testify there?                                                         22          is?
23                A.    Yes.                                                       23                       MS. SINGER:          Objection.      Asked and
24                Q.    And I think you went over with the                         24          answered repeatedly.
25          Court what was a suspicious orders and what was                        25                       MR. BENNETT:           Objection.     Vague.

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1                         MR. UTTER:         Same objection.       Asked              1           constitutes a suspicious order?
2           and answered.                                                             2                         MS. SINGER:          Objection.      Asked and
3                         You can tell her again.                                     3           answered.
4                         THE WITNESS:           The -- the guidance                  4                         MR. BENNETT:           Objection.     Vague.
5           has always been the same over the last ten                                5                         MR. UTTER:         Same objection.
6           years.                                                                    6                         One more time.
7                         BY MS. MAINIGI:                                             7                         THE WITNESS:           Again, it's the
8                 Q.      The regulation?                                             8           regulation, the meetings, the letters, the
9                 A.      The regulation, yes.                                        9           Southwood decision.            I mean -- yeah.
10                Q.      You think you told Court that, that                         10                        BY MS. MAINIGI:
11          there had been ten years of --                                            11                Q.      The letters meaning your '07 and '06
12                A.      I -- I don't --                                             12          letters, right?
13                Q.      -- ten years of the regulation as                           13                A.      Yes.
14          guidance?                                                                 14                Q.      Any other letters?
15                        MS. SINGER:          Objection.      Foundation.            15                        MS. SINGER:          Objection.      Asked and
16          The witness has asked to be shown the document.                           16          answered.
17                        THE WITNESS:           I -- I don't recall                  17                        THE WITNESS:           I'm not aware of any
18          what I said.         But again, I -- as I said                            18          other letters.
19          previously, if you have a transcript or -- or                             19                        The Southwood decision.              The
20          presentation or something that I could look at,                           20          inspections where -- where we've had inspectors
21          that would -- that would help me -- help my                               21          on site every year going into different
22          recollection.                                                             22          facilities.      And the conferences where we
23                        BY MS. MAINIGI:                                             23          talked about suspicious order monitoring.
24                Q.      Has there been ten years of guidance                        24                        I mean we -- I think that -- that
25          provided by the DEA to registrants as to what                             25          pretty much covers it.

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                                                                  Page 355                                                                                 Page 356

1                         BY MS. MAINIGI:                                             1           that.       I said I'll take it under advisement.
2                 Q.      You had a slide deck at that                                2                          MS. MAINIGI:           Understood.
3           conference, right?                                                        3                          My colleague just needs to
4                 A.      Yes.                                                        4           authenticate a document.                 My understanding is
5                 Q.      Do you still have that slide deck?                          5           he already discussed it with you.
6                 A.      I'd have to look.              It was a --                  6                          MR. BENNETT:           Yeah.      That -- that's
7                 Q.      We'd ask that you produce that.                             7           fine.
8                         Did you have some talking points for                        8                          MS. MAINIGI:           Thank you very much,
9           that conference?                                                          9           Mr. Rannazzisi.
10                A.      No.                                                         10              FURTHER EXAMINATION BY COUNSEL FOR WALMART
11                Q.      Did you have any handwritten notes                          11                         BY MR. STEPHENS:
12          that you made in advance to the conference?                               12                 Q.      Mr. Rannazzisi --
13                A.      I don't know if I have any notes.                           13                 A.      Yes.
14          If I had any notes, they wouldn't be -- I                                 14                 Q.      -- just very quickly.
15          didn't keep them.           But I don't recall if I used                  15                         I showed you a document earlier that
16          notes.      I think I went right off the slides.                          16          was marked as Exhibit 10.                  Your counsel asked
17                        MS. MAINIGI:           Well, Counsel, we'd                  17          me for the Bates numbered version of that,
18          ask that those slides and any related notes be                            18          which I have here now.                It is Bates No. US --
19          produced.                                                                 19          US-DEA-00002413.
20                        I'm going to go ahead --                                    20                         MR. STEPHENS:            And I'd ask the court
21                        MR. UTTER:         I'll take it under                       21          reporter to mark it as the next in order,
22          advisement.                                                               22          please.
23                        MS. MAINIGI:           -- and stop right now                23                         (Deposition Exhibit 14 was marked
24          because my colleague --                                                   24          for identification.)
25                        MR. UTTER:         I'm not agreeing to                      25                         BY MR. STEPHENS:

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1                  Q.     So, Mr. Rannazzisi, just very                               1           was seven and will be retained by Veritext
2           quickly --                                                                2           Legal Solutions.
3                  A.     Yes.                                                        3                            MR. BENNETT:           And what was our total
4                  Q.     -- I'm just going to ask you if you                         4           time on the record?
5           recognize this document.                                                  5                            THE VIDEOGRAPHER:                 Five hours -- six
6                  A.     It's one of the PowerPoints that we                         6           hours and three minutes.
7           did on the Internets.                                                     7                            (Whereupon, the proceeding was
8                  Q.     Okay.     And this is a -- a document                       8           adjourned at 5:03 p.m.)
9           that reflects a presentation that you may have                            9
10          given?                                                                    10
11                 A.     I may have given it.                 Somebody else          11
12          in my staff may have given it.                                            12
13                 Q.     Okay.     And the date at the bottom                        13
14          left is March of 2007; is that right?                                     14
15                 A.     Yes.                                                        15
16                 Q.     Okay.     And it relates to Internet                        16
17          pharmacies?                                                               17
18                 A.     Yes.                                                        18
19                        MR. STEPHENS:            All right.       I have no         19
20          further questions.            Thank you.                                  20
21                        THE VIDEOGRAPHER:                 We are off the            21
22          record at 5:02 p.m.                                                       22
23                        And This concludes the test --                              23
24          today's testimony given by Joseph Rannazzisi.                             24
25                        The total number of media units used                        25

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                                                                                       1                                 Veritext Legal Solutions
1                        CERTIFICATE OF NOTARY PUBLIC                                                                          1100 Superior Ave
2                       I, Bonnie L. Russo, the officer before                         2                                          Suite 1820
                                                                                                                          Cleveland, Ohio 44114
3           whom the foregoing deposition was taken, do                                3                                   Phone: 216-523-1313

4           hereby certify that the witness whose testimony                            4
                                                                                              April 28, 2019
5           appears in the foregoing deposition was duly                               5
                                                                                              To: GREGORY M. UTTER
6           sworn by me; that the testimony of said witness
                                                                                       6
7           was taken by me in shorthand and thereafter                                       Case Name: In Re: National Prescription Opiate Litigation v.
                                                                                       7
8           reduced to computerized transcription under my
                                                                                              Veritext Reference Number: 3301876
9           direction; that said deposition is a true                                  8
                                                                                              Witness:     Joseph Rannazzisi           Deposition Date:     4/26/2019
10          record of the testimony given by said witness;
                                                                                       9
11          that I am neither counsel for, related to, nor                            10      Dear Sir/Madam:
                                                                                      11
12          employed by any of the parties to the action in                                   Enclosed please find a deposition transcript.           Please have the witness
13          which this deposition was taken; and further,                             12
                                                                                              review the transcript and note any changes or corrections on the
14          that I am not a relative or employee of any                               13

15          attorney or counsel employed by the parties                                       included errata sheet, indicating the page, line number, change, and
                                                                                      14
16          hereto, nor financially or otherwise interested                                   the reason for the change.        Have the witness’ signature notarized and
                                                                                      15
17          in the outcome of the action.
                                                                                              forward the completed page(s) back to us at the Production address
18                                                                                    16      shown
                                                                                      17      above, or email to production-midwest@veritext.com.
19                                 <%11937,Signature%>
                                                                                      18
20                                Notary Public in and for                                    If the errata is not returned within thirty days of your receipt of
                                                                                      19
21                                 the District of Columbia
                                                                                              this letter, the reading and signing will be deemed waived.
22                                                                                    20
                                                                                      21      Sincerely,
23          My Commission expires:              June 30, 2020                         22      Production Department
24                                                                                    23
                                                                                      24
25                                                                                    25      NO NOTARY REQUIRED IN CA

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 1                          DEPOSITION REVIEW                                         1                               DEPOSITION REVIEW
                         CERTIFICATION OF WITNESS                                                                  CERTIFICATION OF WITNESS
 2                                                                                    2
        ASSIGNMENT REFERENCE NO: 3301876                                                       ASSIGNMENT REFERENCE NO: 3301876
 3      CASE NAME: In Re: National Prescription Opiate Litigation v.                  3        CASE NAME: In Re: National Prescription Opiate Litigation v.
        DATE OF DEPOSITION: 4/26/2019                                                          DATE OF DEPOSITION: 4/26/2019
 4      WITNESS' NAME: Joseph Rannazzisi                                              4        WITNESS' NAME: Joseph Rannazzisi
 5            In accordance with the Rules of Civil                                   5              In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of                                        Procedure, I have read the entire transcript of
 6      my testimony or it has been read to me.                                       6        my testimony or it has been read to me.
 7            I have made no changes to the testimony                                 7              I have listed my changes on the attached
        as transcribed by the court reporter.                                                  Errata Sheet, listing page and line numbers as
 8                                                                                    8        well as the reason(s) for the change(s).
        _______________        ________________________                               9              I request that these changes be entered
 9      Date                      Joseph Rannazzisi                                            as part of the record of my testimony.
10            Sworn to and subscribed before me, a                                    10
                                                                                                     I have executed the Errata Sheet, as well
        Notary Public in and for the State and County,
                                                                                      11       as this Certificate, and request and authorize
11      the referenced witness did personally appear
                                                                                               that both be appended to the transcript of my
        and acknowledge that:
                                                                                      12       testimony and be incorporated therein.
12
                                                                                      13       _______________        ________________________
                They have read the transcript;
                                                                                               Date                      Joseph Rannazzisi
13              They signed the foregoing Sworn
                                                                                      14
                Statement; and
                                                                                                     Sworn to and subscribed before me, a
14              Their execution of this Statement is of
                                                                                      15       Notary Public in and for the State and County,
                their free act and deed.                                                       the referenced witness did personally appear
15                                                                                    16       and acknowledge that:
                I have affixed my name and official seal                              17             They have read the transcript;
16                                                                                                   They have listed all of their corrections
        this ______ day of_____________________, 20____.                              18             in the appended Errata Sheet;
17                                                                                                   They signed the foregoing Sworn
                         ___________________________________                          19             Statement; and
18                       Notary Public                                                               Their execution of this Statement is of
19                       ___________________________________                          20             their free act and deed.
                         Commission Expiration Date                                   21             I have affixed my name and official seal
20                                                                                    22       this ______ day of_____________________, 20____.
21                                                                                    23                   ___________________________________
22                                                                                                         Notary Public
23                                                                                    24
24                                                                                                                 ___________________________________
25                                                                                    25                           Commission Expiration Date

                                  9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
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                     DGYLFH                                             DQDO\]HG         
                              DJJUHJDWH                                           
                                                              DQDO\]LQJ         
 DFWLYLWLHV              DGYLVH           DJJUHJDWHG                DLG         DQGD          
               DGYLVHG         DJJUHVVLYHO\                    DQGUHZ        
          DGPLQLVWUDWLRQ V                                                                               
                   DGYLVHPHQW            DJR                 DLOPHQW         DQGUHZR FRQQRU        
                                                     DO                           
 DFWLYLW\                DIIHFW          DJUHH                DOHUW     DQJHOHV             
                                              DOOHUJDQ          DQRPDOLHV        
          DGPLQLVWUDWLYH        DIILOLDWLRQV                                                       
 DFWV                       DIILUPDWLYHO\                          DOOHYLDWHG       DQVZHU           
 DFWXDO                                         DOORW                   
                           DIIL[HG                              DOORZ                
 DGG                                                                              
 DGGLWLRQ                  DIWHUQRRQ                        DOORZHG                   
                                                           
                    DJHQFLHV                                       
           DGPLQLVWUDWRU                               DOORZLQJ              
 DGGLWLRQDO                                          DOORZV            
                DJHQF\                           DOSUD]RODP                 
                                                     
                                                DOWR                     
                               DJUHHG                     DPHQG                 
 DGGUHVV                          DJUHHLQJ                   DPHQGHG               
                               DJUHHPHQW                                            
                                       DPHULFD                   
 DGGUHVVHG                 DJHQW                                             
 DGGUHVVHV                                                                            
 DGGUHVVLQJ                        DJXLQLJD               DPHULFDV                     
 DGHTXDF\                                                         DPHULVRXUFHEHUJ              
 DGHTXDWH                        DKHDG                                            
 DGHTXDWHO\      DGPLQLVWUDWRU V                                DPRXQW                   
 DGKHUH                           DJHQWV                                     
 DGMRXUQHG        DGRSW                                        DQVZHUHG 
 DGPLQLVWHU      DGYDQFH                                             
 DGPLQLVWUDWLRQ        DGYHUVH                                               
                                                                           

                                9HULWH[W/HJDO6ROXWLRQV                                                                 9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                             ZZZYHULWH[WFRP                                                        
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 93 of 107. PageID #: 248078

>DQVZHUHGDVNHG@                                                                 3DJH    >DVNHGE@                                                                     3DJH

          DSSHDUDQFH         DSSUR[LPDWHO\                           DVVLVWHG                    
          DSSHDUDQFHV                 DUQROG                  DVVRFLDWLRQ     DWWRUQH\V         DXWKRUL]LQJ 
                        DUQROGSRUWHUFRP                 DVVXPH                     
                                                                         DXWRQRPRXV
           DSSHDUHG                     DUUHVW                                      
                                                                DVVXPHV          DXGLHQFH         DXWRQRPRXVO\
                             DSULO         DUULYHG                  DVVXUHG          DXGLR           
           DSSHDUV                                  DVNLQJ                           DXGLW           DYDLODELOLW\ 
                                                  DWWDFKHG          DXJXVW         DYDLODEOH 
           DSSHQGHG          DUFK               DUWLFOH                              
                              DUFRV                       DWWHQG                             
       DSSOLFDQW                                                     DXWKHQWLFDWH     DYH 
      DSSOLFDQWV             DUWLFOHV                            DXWKRUHG         DYHQXH 
                         DUWLFXODWHV                                   DXWKRULW\       
      DSSOLFDWLRQ              DUXL]                        DWWHQGHG                  
                                    DVDF                     DWWHQGHHV                DYHQXHV 
         DSSOLFDWLRQV             DVDFV             DVNV                                       DZDUH 
 DQVZHULQJ                                       DVSHFW     DWWHQGLQJ         DXWKRUL]DWLRQ           
          DSSOLHV                       DVNHG           DVSHFWV         DWWHQWLRQ                   
                 DSSO\                             DVVHVVPHQW                            
 DQVZHUV          DSSO\LQJ                           DVVLJQHG                                    
           DSSUHFLDWH                          DVVLJQLQJ               DXWKRUL]H          
                  DSSURDFK                         DVVLJQPHQW                          
 DQWKRQ\      DSSURDFKHG                                                 DXWKRUL]HG        
 DQWL                        DUHD               DVVLVW                                  
 DQWLGLYHUVLRQ         DSSURSULDWH                                   DWWRUQH\                
                                              DVVLVWDQW                             
                                                                          
                                                                                  
 DQ\ERG\         DSSURSULDWHO\           DUHDV                                                   
                                                                        
 DQ\PRUH                     DUJXH                                           
 DQ\ZD\       DSSURYDO           DUJXPHQW                                                    
                              DUJXPHQWDWLYH                                                    
 DSL               DSSURYH                                                       
 DSRORJL]H                                                                       E
 DSSDUHQW                                                 DWWRUQH\ V       
                                                                                                                                                                E 
 DSSHDU            DSSURYHG                                             
                                                                                                                                                                  
          DSSURYHV                                                           
                                                                                                                                                                  
                 DSSUR[LPDWH                            DVVLVWDQWV             
                                                                                                                                                                  
                                                                                     

                                 9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                         




>EDFFKXVEHQQHWW@                                                                3DJH    >EHQQHWWEXUOLQJ@                                                             3DJH

 EDFFKXV                                                        ELW        
 EDFN                    EHLVHOO                                         
                   EHOLHYH                                             
                                                     EULFN 
                                           ELWH               
                                                           EODPH         
                                                                         EULHI 
                                                        EODPHG        
                                                           EULHIHG 
                                                     EODPLQJ            
                                                     ERDUG      EULHILQJ 
                                                                                 
           EDVLF                                          ERDUGV            
                                                        ERFNLXV          
        EDVLFDOO\         EHOLHYHG                                       ERJJV              
                       EHORQJLQJ                               ERQD              
                    EHQHILW                                         ERQQLH       EULHILQJV 
      EDVLQJ                                                                          
          EDVLV             EHQQHWW                                        
                                                         ERRFNKROGW         
                                                                             
 EDFNJURXQG       EDWHV                                 ERRN                
                                                           ERRNV            
       EHFN                                             EHUQVWHLQ     ERVV               
 EDFNV         EHFRPLQJ                                         ERVWRQ          
                  EHJDQ                                              ERWWOHV         EULHIO\ 
 EDG                                                                  ERWWRP             
 EDGJHV          EHJLQQLQJ                                EHVW             EURDGHQ 
 EDODQFHV                                                                          EURNH 
 EDQGHG            EHJLQV                                     EHWV\            ERXJKW           EU\DQW 
 EDUEDUD          EHKDOI                                    EHWWHU     ERXQFLQJ        EWODZFRP 
 EDUEHU                                         EH\RQG      ERXQGDULHV      EXGJHW 
 EDUOLWEHFNFRP                                                                     EXLOGLQJ 
                                                                ER\OVWRQ          EXON 
 EDUQHV                                                   EUDQFK       EXOOHW 
 EDURPHWHUV                                     ELDV             EUDQG             
 EDUWOLW                                                ELJ             EUHDN      EXPS 
 EDVH                                                ELOO                      EXUJHVV 
 EDVHG                                           ELOOHG                       
                                             ELOOLQJ              EXUOLQJ 
                                                                                

                                 9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                         
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 94 of 107. PageID #: 248079

>EXVKFKDUJH@                                                                 3DJH   >FKDUJHFRPPRQ@                                                               3DJH

 EXVK                FDVHV                                               FORVHG            FROXPELD 
 EXVLQHVV                                        FODULI\LQJ      FPFQDPDUD           FROXPEXV 
                                                  FODULW\          FRDFKLQJ          FRPEDW 
                                       FKDUJH V                                              
                                    FKDUJHEDFNV            FODVV     FRFDLQH           FRPEDWLQJ 
                                                                       FRGH             
                       FKDOOHQJHV       FKDUJLQJ         FODVVHV                 FRPH 
                                         FKDQFH                                                            
           F                     FDVK                             FKDUW             FOHDU                     
                               FDWK\            FKDQJH                                                     
 F 
                               FDWLH                FKHFNOLVW                FRGHLQH             
 FIU 
                               FDWLHYHQWXUD           FKHFNV                    FRKHQ        
   
                                 FDXVH                   FKLFDJR        FOHYHODQG              
   
                                 FDXVHG                      FKLHI                        
   
                                   FDYHUO\      FKDQJHG                                  
   
                              FDYLWFK                                              
   
                                 FDYLWFKFRP                                                         FRPHV 
 FD 
                               FHLOLQJ                              FOLHQW                  
 FDELQHW 
                                 FHOO                         FKLOGUHQ                              
   
                               FHOOXODU                 FKULV                      FRPIRUWDEOH
 FDK 
                        FDSDFLW\         FHQWHU                      FKULVWRSKHU                         
 FDOLIRUQLD 
                                   FHQWHUV         FKDQJHV           FKURQLF                           FRPLQJ 
 FDOO 
                              FHQWUH               FKXFN                           
   
                        FDUGLQDO     FHR                   FLQFLQQDWL          FOLQLF                    FRPPHQW 
   
                             FHSSLFK                     FLUFXPVWDQFHV                                 
   
                                        FHUWDLQ                                         FRLQFLGHQW       FRPPHQWV 
   
                        FDUH                       FKDQJLQJ         FLWLHV                          
   
                        FDUHHU                                              FOLQLFV                           FRPPHUFH 
   
                                           FKDQQHOV           FLW\              FRLQFLGHQWDO             
 FDOOHG 
                                           FKDSLQVNL         FLW\FHQWHU                                    
   
                        FDULVRSURGRO          FHUWDLQO\         FKDUDFWHUL]DWLRQ       FLYLO              FROODERUDWLYH            
   
                                                                       
 FDOOLQJ 
                        FDUU\           FHUWLILFDWH      FKDUJH                          FROOHDJXH        FRPPHUFLDO 
   
                                                                                     FRPPLVVLRQ
 FDOOV 
                        FDUWHU          FHUWLILFDWLRQ                         FROOHDJXHV          
   
                        FDVH                                                                          
   
                              FHUWLILHG                                         FROOHFWV          FRPPLWWHH 
   
                                  FHUWLI\                                       FORQD]HSDP            FROOHHQ         
   
                                  FKDLQ                   FODULI\                           FROORTXLHV        FRPPRQ 
   
                                                          FORVH         FROORTX\            
   
                                                                                                         
   
                                 9HULWH[W/HJDO6ROXWLRQV                                                                  9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                           




>FRPPXQLFDWHFRQJUHVV@                                                        3DJH   >FRQJUHVVFRUUHFW@                                                            3DJH

 FRPPXQLFDWH            FRPSHQVDWLRQ               FRQGXFW                                 
                                                                               
 FRPPXQLFDWLQJ          FRPSHWHQW                                    FRQVXOWDQWV              
           FRPSHWLQJ               FRQGXFWHG                    FRQVXOWDWLRQ              
                FRPSODLQWV                                                   
 FRPPXQLFDWLRQ          FRPSOHWH                                                              
                                             FRQVXOWHG                  FRQWUROV 
            FRPSOHWHG                                                                           
           FRPSOHWHO\                            FRQJUHVVLRQDO          FRQVXOWLQJ                  
 FRPPXQLFDWLRQV                                FRQGXFWLQJ                                    
        FRPSOHWLRQ                             FRQQHFWLRQ                           
          FRPSOLDQFH                                              FRQWDFW              FRQYHUVDWLRQ
                           FRQIHUHQFH       FRQQROO\                                     
                                               FRQWDLQHG                   FRQYHUVDWLRQV
                      FRPSRXQGHG                                      FRQWH[W                  
        FRPSOLDQW                        FRQUR\                            
                  FRPSULVHG                  FRQVHQVXV                           FRRUGLQDWHG
                     FRPSXWHUL]HG                   FRQVHTXHQFHV                               
                                                                                   FRRUGLQDWLQJ
 FRPPXQLWLHV                     FRPSXWHUV        FRQIHUHQFHV       FRQVLGHU                         
                                                                                            FRRUGLQDWRU
 FRPPXQLW\                           FRQFHQWUDWHG                  FRQVLGHUHG        FRQWLQXH                 
          FRPSOLHG                                                             FRRUGLQDWRUV
                             FRQFHSW                                                             
            FRPSO\                             FRQVLGHUV         FRQWLQXHG                     FRSLHV 
 FRPSDQLHV                         FRQFHUQ                                                     FRQWUROOHG           
             FRPSO\LQJ                  FRQILGHQWLDO       FRQVLVWHQW                    FRS\ 
                      FRQFHUQLQJ                                                        
        FRPSRQHQW                                  FRQVSLUDF\                         FRUQHOO 
                                FRQILUPHG         FRQVWDQWO\         FRQWLQXLQJ             FRUSRUDWH 
 FRPSDQ\          FRPSRQHQWV        FRQFHUQV       FRQIXVHG           FRQVWLWXWHG                               FRUSRUDWLRQ 
                FRQFOXGHG                            FRQWUDFW                     
                 FRQFOXGHV              FRQVWLWXWHV      FRQWUDFWRUV                     FRUUHFW 
                FRQFOXVLRQ                                                            
                                                    FRQVXOW          FRQWULEXWH                   
 FRPSDUHG          FRPSRUW                    FRQIXVLRQ                         FRQWULEXWLQJ                    
           FRPSRXQG                           FRQVXOWDQF\       FRQWURO                   
                                FRQJUHVV          FRQVXOWDQW                          
 FRPSHQVDWHG                                                            
                              FRQGLWLRQV                                              
                                                                                       

                                 9HULWH[W/HJDO6ROXWLRQV                                                                  9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                           
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 95 of 107. PageID #: 248080

>FRUUHFWFXVWRPHU@                                                             3DJH    >FXVWRPHUGHDOV@                                                                 3DJH

                            FUHGLELOLW\                GDWDEDVH                   
        FRUUHFWLRQV     FRXQW            FULPLQDO                                         
                    FRXQWLHV                                                         
       FRUUHFWO\        FRXQWU\                  FXVWRPHU V          GDWH                
                                                                        
                  FRXQW\                  FXVWRPHUV                                 
       FRUUHVSRQGLQJ                                                   
                                                               
                         FRXSOH                                                                
       FRXQVHO                         FXW          GDWH V                          
                                             GDWHG                     
                                FULVLV                                            
                                     FXWWLQJ                                           
                                            FX\DKRJD        GDYLG                
                    FRXUVH                                       GDYLVRQ                   
                                         FYV                                      
                       FULWHULD                      GD\                  
                 FRXUW                                                     
                           FULWLFDO                    G                                 
                            FULWLFDOO\                                                      
                                                                                             G 
                          FULWLFLVP                                                   GHD V 
                                                                                               
                                                                       GD\V                 
                                                                                             GF 
                                      FULWLFL]HG                                  GHD                   
                                                                                               
                    FRYFRP                                                                 
                                                                                               
                    FRYHU                                                                           
                                                                                             GDLO\ 
                                 FULWLFL]LQJ                                                
                                                                                             GDQ 
                FRYHU            FURVV                                                 
                                                                                             GDQLHO 
                                     FVD                                                   
                                                                                             GDWD 
                    FRYHUHG                                                                   
                                                                                               
                                                                                           
                                                                                               
                  FRYHUV                                                                         
                                                                                               
                                FW                                                         
                                                                                               
                         FRYLQJWRQ         FXOWXUH                                                  GHD 
                                                                                               
         FRXQVHO V                   FXULRXV                                                   GHDO 
                                                                                               
                   FUHDWH                                                                   
                                                                                               
                                FXUUHQW                                                        GHDOLQJ 
                                                                                               
                                                                                       
                                                                                               
                 FUHDWHG                                                                     
                                                                                               
                                     FXUUHQWO\                                                       GHDOLQJV 
                                                                                               
                   FUHDWLQJ          FXVWRPHU                                                   GHDOV 
                                                                                               
                                                                         

                                 9HULWH[W/HJDO6ROXWLRQV                                                                      9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                ZZZYHULWH[WFRP                                                             




>GHDOWGHVFULSWLRQ@                                                            3DJH    >GHVLJQGLVWULEXWRU@                                                             3DJH

 GHDOW                  GHOLEHUDWLYH      GHSOR\HG          GHVLJQ            GLD]HSDP         GLUHFWO\            
 GHDU             GHFNV                                               GLEHOOD                              GLVFXVV 
 GHDWK             GHFOLQHG                GHSRVHG                   GLFWDWH            GLUHFWRU           
 GHDWKV            GHHG                    GHSRVLWLRQ                   GLIIHUHQFH                          
 GHEUD                                                                GLV               GLVFXVVHG 
 GHEUDRJRUPDQ          GHHPHG                                              GLIIHUHQFHV       GLVDJUHH           
                                                     GHVLJQDWHG        GLIIHUHQW     GLVDJUHHG          
 GHFHPEHU          GHIHQGDQW                             GHVLJQHG               GLVDJUHHLQJ         
                            GHOLYHUHG                                           GLVFLSOLQHV         
          GHIHQGDQWV                          GHVN                        GLVFORVH         
                             GHOLYHULQJ                  GHVSLWH                             
       GHILQH                                  GHWDLO                                
            GHILQHG          GHOLYHU\                   GHWDLOLQJ                                GLVFXVVLQJ 
 GHFKHUW                 GHSDUW                    GHWDLOV                                 
 GHFKHUWFRP                        GHSDUWHG                     GHWHUPLQDWLRQ                                  GLVFXVVLRQ 
 GHFLGH            GHILQHV          GHSDUWPHQW                                          GLVFXVVLRQV 
           GHILQLQJ                                                    GLVMXQFWLYH 
                                                          GHWHUPLQH                              GLVSHQVH 
 GHFLGHG           GHILQLWLRQ                GHSRVLWLRQV                                                         
                                            GHWHUPLQHV         GLIIHUHQWO\                 
                                     GHSXW\                                                GLVSHQVLQJ 
 GHFLGHV                                    GHWHUPLQLQJ        GLOLJHQFH                  
                                                                                           
 GHFLGLQJ                                  GHWURLW                                   GLVSRVDO 
 GHFLVLRQ                                                            GLVFORVHG          
                                      GHYHORS                                   GLVSRVLWLYH 
                                      GHYHORSHG                 GLVFORVLQJ        GLVWULEXWH 
                                       GHYHORSLQJ                                  GLVWULEXWHG 
               GHSDUWPHQWV                                         GLUHFW                   
                                     GHYLDWHV                              GLVWULEXWLQJ
                            GHSDUWXUH                                                             
         GHILQLWLRQV                             GHYLDWLQJ                             GLVWULEXWLRQ 
           GHOD\           GHSHQGLQJ                                                    
                                                                                  
 GHFLVLRQPDNHU                           GHSHQGV        GHVFULEH                               GLVFRXQW             
                   GHOD\HG                                                              GLVFRYHUHG         
 GHFLVLRQV        GHOHJDWHG                   GHVFULEHG                    GLUHFWHG                       
                                                                                    GLVFRYHU\         GLVWULEXWRU 
                   GHOLEHUDWLRQV         GHSOR\DEOH                                           GLUHFWLQJ         GLVFUHWLRQ         
 GHFN                            GHVFULSWLRQ       GHYLDWLRQ          GLUHFWLRQ                      
                                                                                                                        

                                 9HULWH[W/HJDO6ROXWLRQV                                                                      9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                ZZZYHULWH[WFRP                                                             
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 96 of 107. PageID #: 248081

>GLVWULEXWRUGRFXPHQW@                                                          3DJH     >GRFXPHQWHODERUDWLRQV@                                                       3DJH

                         GLYHUWHUV                    GRXEW            GXO\        HGJH 
                         GLYHUWLQJ                              GXUNLQ             HGXFDWLRQ 
                                              GRZQVWUHDP            GXWLHV       HIIHFW 
                                                          HIIHFWLYH 
                                                                       
                                                                    
                                                                     
                           GLYLVLRQ               GSP                     
                                                    GSPV                     
                                             GRFXPHQWDWLRQ                                    HIIHFWLYHQHVV
                                              GUDIW                       
                                                           GUDIWHG                  HIIRUW 
                                           GRFXPHQWV                                     
                                       GUDIWLQJ                   HIIRUWV 
                                GLYLVLRQV             GUDZ            GXW\              HLWKHU 
                                            GUDZLQJ          G\QDPLFV           
                                            GUXJ               H              
         GLVWULFW                                                                       
                                                                                                                                           H 
                         GLYXOJH                                                      
                                                                                                                                             
                         GLYXOJHG            GRLQJ                                     
                                                                                                                                             
                               GRFWRU                                                 HODERUDWH 
                                                                                                                                             
    GLYHUVLRQ                                                                           
                                                                                                                                             
                                                                               HODERUDWHG 
                                                                                                                                             
                                                                            
                                                                                                                                             
                             GRFWRU V                                                     HODERUDWLQJ
                                                                                                                                           HDJOH 
                       GRFWRUV                                                     
                                                                                                                                             
                                                                                  HODERUDWLRQ
                                                                                                                                           HDUOLHU 
                                                                                     
                                                                                                                                             
                                                                                    
                                                                                                                                             
                                                                       
                                                                                                                                             
                                            GUXJV                                     
                                                                                                                                           HDUO\ 
                                                                                                   
                                                                                                                                             
 GLVWULEXWRU V                                     GRM                                                 
                                                                                                                                           HDVLHU 
                                                GROODUV                                            
                                                                                                                                           HDVW 
 GLVWULEXWRUV                                GRPHVWLF        GXH                               
                                                                                                                                           HDVWHUQ 
                           GRFXPHQW                                                     
                                                                                                                                             
                                                                                     
                                                                                                                                           HDV\ 
             GLYHUW                          GRPHVWLFDOO\                                          HODERUDWLRQV
                                                                                                                                             
            GLYHUWHG                                                                       
                                                                                                                                             
                                      GRVDJH                                        
                                                                                                                                           HFRQRPLF 
                                                                  

                                  9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                  ZZZYHULWH[WFRP                                                          




>HOHPHQWVHYROXWLRQ@                                                            3DJH     >HYROYHGIDFWV@                                                               3DJH

 HOHPHQWV                     HQWULHV               HYROYHG      H[FXVH                     H[WHQW 
 HOHYHQWK                                                 HZHLVV                 H[SHFWHG          
 HOLDV                         HQX                     HZLQFNHO                              
 HOLPLQDWHG                                             H[DFW                                              
                             HQYLURQPHQW                              H[HF            H[SHQVHV            
 HOOLV                                                       H[DFWO\                     H[SHULHQFH          
                             HQYLURQPHQWV           HTXDO                      H[HFV                     
 HPDLO                                     HUD                H[HFXWHG                    
 HPDLQLJL                   HSLVRGH                                 H[HFXWLRQ                    
 HPEDUFDGHUR                                     HULF                                                          
 HPHUJHG                 HSSLFK         HUUDWD                   H[HFXWLYH       H[SHUW        
                                                                           
 HPHUJHQFLHV        HQIRUFLQJ               HVSHFLDOO\                                                   
 HPLOLH        HQJDJHPHQW              HVT                   H[HFXWLYHV      H[SHUWLVH          
 HPSKDVL]H                                                                                       
 HPSOR\HG          HQJDJHPHQWV                                   H[KLELW       H[SLUDWLRQ         
                                            H[DPLQDWLRQ                      H\H 
 HPSOR\HH          HQVXUH                                       H[SLUHV                     I
                                                     H[SODLQ 
                                                                                                                                                                  IDFHG 
 HPSOR\HHV                                           H[DPLQLQJ                     
                                                                                                                                                                  IDFLOLWDWLQJ 
                               HVVHQWLDOO\                               
                                                                                                                                                                  IDFLOLWDWLRQ 
 HPSOR\PHQW                                                    H[DPSOH                 
                                                                                                                                                                  IDFLOLWLHV 
                   HQVXULQJ                                               H[SODLQHG 
                                                                                                                                                                    
 HQDFWHG                                                                   
                                                                                                                                                                  IDFW 
 HQFORVHG          HQWDLOV                                                             
                                                                                                                                                                    
 HQFRPSDVV         HQWHUHG               HVWDEOLVK                             
                                                                                                                                                                    
                   HQWLUH                                               
                                                                                                                                                                    
 HQGHG                               HVWDEOLVKHG                         
                                                                                                                                                                    
 HQGR                                                      
                                                                                                                                                                    
 HQGRUVH                                      H[DPSOHV               
                                                                                                                                                                    
 HQHUJ\                                                        H[SODLQV 
                                                                                                                                                                    
                                      HVWLPDWH                               H[SODQDWLRQ 
                                                                                                                                                                    
 HQIRUFH           HQWLWLHV              HVWLPDWHG                                           
                                                                                                                                                                    
                                                 H[FHHG           H[KLELWV         H[SODQDWLRQV
                                                                                                                                                                    
 HQIRUFHPHQW                          HW           H[FHSWLRQ                   
                                                                                                                                                                  IDFWRUV 
         HQWLWOHG                HYHU\ERG\          H[FHVVLYH      H[LVWHG          H[SRUW 
                                                                                                                                                                    
                                            H[SHFW            
                                                                                                                                                                    
                                    HYHU\ERG\ V                               H[SUHVVLQJ 
                                                                                                                                                                  IDFWV 
            HQWLW\                                           H[SUHVVO\ 
                                                                                                                                                                    
                                  HYROXWLRQ                                H[WHQVLYH 
                                                                                                                                                                    
                                                                                       
                                                                                                                                                                    
                                  9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                  ZZZYHULWH[WFRP                                                          
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 97 of 107. PageID #: 248082

>IDFWXDOIOLJKW@                                                              3DJH    >IOLSIXUWKHU@                                                               3DJH

 IDFWXDO          IDU                              IOLS     IRUHJRLQJ                 IUDXG 
 IDLU                                                IORRU                            IUDXGXOHQW 
                       ILQLVK                     IRUP                   IUHH 
                                     IORULGD                                
                                                                      IUHTXHQF\ 
                                      ILQLVKHG           IORZ                           
                          ILHOGV                 IRFXV                      
            IDUUHOO            ILQNHOVWHLQ                                       
                                                                            
          IDYRULWH                ILUP                                         
           ID[                                                                    
            IGD              ILIWHHQWK                     IRFXVHG                             
        IHDWXUH         ILIWK                                                      
           IHEUXDU\        ILJXUH                                                         
                                      ILUPV                                           
                    ILOH                          IRFXVLQJ                             
                                ILUVW         IRFXVVHG                        
            IHG                                     IRLD                         IULHQG 
           IHGHUDO                                     IROH\                                   IULHQGV 
                 ILOHG                    IROH\FRP                                       
                      ILOLQJ                IRONV     IRUPDO                 IURQW 
                                                              
                                  IROORZ     IRUPDW                   
 IDLUO\                                                              IRUPHU                       
                  IHH     ILOO                   IROORZHG         IRUUHVW                
 IDLUQHVV                                                                IRUWK                    
 IDOO      IHHOLQJV         ILOOHG                            IRUZDUG                   IXOILOO 
                  IHHOV                                                    IRXJKW                       IXOILOOLQJ 
 IDOOHQ          IHHV                                    IROORZLQJ         IRXQG       IRXU        IXOO 
 IDOOV     IHOGPDQ     ILOOV                                                      
 IDPLOLDU         IHOW     ILOWHUHG                            IRXQGDWLRQ         IRXUWK          
                        ILQDO                                                  IXOOHU 
        IHQFH           ILQDOL]HG                                  IR[               IXQFWLRQ 
          ILGH            ILQDOO\          ILWV                               IR[URWKVFKLOGFRP     IXQFWLRQV 
           ILHOG     ILQDQFH            ILYH          IROORZV                                   IXUWKHU 
                   ILQDQFLDOO\                                 IUDFWLRQ          
                  ILQG                          IROORZXS               IUDPHG            
 IDPLOR                                   IODJV          IRRG                    IUDPHZRUN               
 IDPLO\                   ILQGHU           IODZV              IRRWLQJ                                      
                 ILQH       IOLJKW          IRUFH                   IUDQNO\             
                                                                 

                                9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                          




>IXWXUHJRLQJ@                                                                3DJH    >JRQJKHDULQJ@                                                               3DJH

 IXWXUH          JKREDUW                                 JRQJ                    JXLVH              
           J           JLDQW                         JRRG                        JXQV      KGPD 
                                                                 JURXS V           JX\V           
 J 
                       JLYH                                       JURXSV                             
 JDOODJKHU 
                                                                        K            KGPD V 
 JDR 
                                                                                                     KH OO 
                                                                                                                         KG 
                                  JRDO                         JURZLQJ                                KHDG 
                                                                                                                                    KDLJKW 
                                            JRHV         JRYHUQPHQW                                         
 JDR V                                                                                                                       KDOI 
                                                        JVV                                    
 JDU\                                                                                                                              KDOORZHHQ 
                                                                         JXHVV                                    
 JDWKHULQJ                                                                                                                          KDOOZD\ 
                       JLYHQ                       JRLQJ         JUDQGPRWKHU V                                             
 JHDR                                                                                                                                
                                                                                                         
 JHQHUDO                                                                                                                       KDQGHG 
                                                JUDQW        JXHVVLQJ                                  
                                                                                                                          KDQGIXO 
                                                                                                
                                                                                                                            KDQGOH 
                       JLYHV                              JUDQWHG          JXLGDQFH                               
                                                                                                                            
                       JLYLQJ                                                                               
                                                                                                                            
                                                      JUDQWLQJ                                            
                                                                                                                               
                       JODGO\                                JUDWHIXO                                            
                                                                                                                             KDQGOHG 
                       JR                                  JUD\                                       
                                                                                                                             KDQGOLQJ 
                                                  JUHDW                                            KHDGHG 
                                                                                                                              
                                                JUHDWHU                                              
                                                                                                                                  KDQGZULWWHQ 
                                                                                        KHDGTXDUWHUV 
 JHQHUDOO\                                                                                                                            
                                                                                        
                                                                                                                            KDQG\ 
                                                 JUHDWHVW                                            
                                                                                                                            
                                                JUHHQH                                                
                                                                                                                             KDQJ 
                                             JUHHQHNHWFKXP                                     
                                                                                                                            KDSSHQ 
                                                                                                       
                                                                                                                                
                                                    JUHJ                                             
                                                                                                                            KDSSHQHG 
                                                      JUHJRU\                                  KHDOG 
                                                                                                                           
                                               JURXQG                                             KHDOWK 
 JHQHUDOV                                                                                                                       KDSSHQLQJ 
                                                 JURXS                                        
                                                                                                                                      
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 JHQHUDWH                                                                                                                          KDSSHQV 
                                                                                              
 JHQHUDWLQJ                                                                                                                        KDSS\ 
                                                                                             KHDU 
 JHQHULFDOO\                                                                                                                        KDUP 
                                                                                                
 JHRIIUH\                                                                                                                       KDWH 
                                                                                         KHDUG 
 JHWWLQJ                                                                                                                              
                                                                                     
                                                                                                                             
                                                                                                  
                                                                                                                              
                                                   JXLGHOLQHV                               KHDULQJ 
                                                                                                                          KDWWLHVEXUJ 
                                                                                            
                                                                                                                             KEF 
                                                                                           
                                                                                                                                           
                                9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                          
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 98 of 107. PageID #: 248083

>KHDULQJLQFOXGH@                                                                3DJH    >LQFOXGHGLQVSHFWLRQV@                                                         3DJH

              KREDUW       K\SRWKHWLFDO                    LQFOXGHG         LQGLDQDSROLV              LQIUDVWUXFWXUH
                                                                   LQGLFDWH                     
              KROG               LGHQWLI\LQJ                                   LQIHUQDO          LQLWLDO 
                                                        LQGLFDWHG        LQIRUP              
 KHDUW                                 LL          LQFOXGHV                              LQLWLDOO\ 
 KHOG                                                    LQFOXGLQJ                                      
         KROGLQJ                     LLV                          LQGLFDWHV         LQIRUPDWLRQ        LQLWLDWH 
             KRQHVW                      LOOHJDO                LQGLFDWLQJ             LQLWLDWHG 
              KRSHIXOO\                   LOOHJDOO\                LQGLFDWLRQ                  
              KRVSLWDO                                LQFOXVLYH                               LQLWLDWLYH 
                                                    LQFRPSOHWH       LQGLFDWRU                    
 KHOS         KRVSLWDOV                   LOOLQRLV                  LQGLUHFW                     
              KRWHO                      L            LPDJLQH                  LQGLYLGXDO                  
             KRXU                                                                                  
                                                LGHD 
                                               LPPHGLDWH                                      
                                                  
           KRXUV                                                                       
                                                  
                                                      LPPHGLDWHO\                                            
                                                  
           KRXVH                                                                        
                                                  
 KHOSIXO                                              LPSDLUHG                                             
                                                  
                    KRZ V                                   LPSOHPHQWLQJ                                        
                                                LGHQWLFDO 
 KHOSV                KXEEDUG                                                     LQFRQVLVWHQW                             
                                                  
 KHUHWR             KXJH                              LPSOLFDWH         LQFRUSRUDWHG                                        
                                                LGHQWLILFDWLRQ
 KHURLQ               KXK                                                                 LQGLYLGXDO V                 
                                                  
                                                      LPSO\              LQFUHDVH         LQGLYLGXDOL]HG                  
                                                  
 KLJK                                               LPSRUW                                               
                                                  
             KXQGUHG                                LPSRUWDQW                    LQGLYLGXDOV                    
                                                  
                                               LQFUHDVHG                   LQLWLDWLYHV 
                                                  
                                                  LPSUHVVLRQ                                 
                                                  
 KLJKDP          KXQGUHGV                                                                                             
                                                  
               KXQWHU                                   LPSURSHU          LQFUHDVHV        LQGXVWULDO                LQSXW 
                                                LGHQWLILHG 
           KXQWLQJWRQ                            LPSURYHG                                                 
                                                  
           KXUW                                                      LQFUHDVLQJ                                      
                                                  
 KLJKHVW            K\EULG                                 LPV        LQGHSHQGHQW      LQGXVWULHV                   
                                                LGHQWLILHV 
 KLOO                K\GURFRGRQH                                                      LQGXVWU\                     LQTXLU\ 
                                                  
 KLUH                                              LQDFWLYLW\                               LQVHUWHG 
                                                  
 KLUHG                                       LQFOXGH       LQGHSHQGHQWO\                              LQVHUWLQJ 
                                                  
 KLULQJ                                                                       LQIRUPLQJ        LQVSHFWHG 
                                                LGHQWLI\ 
                                                                                                       LQVSHFWLRQV 
                                                  
 KLVWRULFDOO\        K\GURPRUSKRQH                                           LQGLDQD                           
                                                  
 KLVWRU\                                                                                                   
                                                  
                                                                                                            
                                                  
                                   9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                  ZZZYHULWH[WFRP                                                           




>LQVSHFWRUVLQYROYHG@                                                            3DJH    >LQYROYHGNQRZ@                                                                3DJH

 LQVSHFWRUV         LQWHUMHFW        LQWHUYLHZ                               MRE         MXO\           NLQG 
                    LQWHUQDO                           LQYROYHPHQW                               
 LQVSHFWV                  LQWHUYLHZHG                                                            
                                                       LQYROYHV                            
 LQVWDQFH                      LQWHUYLHZLQJ                   LQYROYLQJ                  MXQH               
                       LQWHUYLHZV                              MREV       MXVWLFH       
                            LQWURGXFH                                               NLUNODQG 
 LQVWDQFHV                                          LRZD            MRH                   
 LQVWUXFW                      LQWURGXFHG       LQYHVWLJDWLYH           LVVXH                                 NLUNODQGFRP 
                LQWURGXFWLRQ                             MRKQ                        NOHNDPS 
                                                     MRKQVRQ                    NQHZ 
                  LQYHQWRULHV                 LVVXHG      MRLQ                       
              LQWHUQHW     LQYHVWLJDWH        LQYHVWLJDWRU                                       
                                                                      
 LQVWUXFWHG                                LVVXHV                                      NQRZ 
                                                                           MXVWLILFDWLRQ            
 LQVWUXFWLQJ              LQYHVWLJDWHG      LQYHVWLJDWRUV                                                  
                                                                   MZLFKW                
 LQVWUXFWLRQ                 LQYHVWLJDWLRQ                                           N              
                                                                                      
                                                                                                                                            N 
                                       LVVXLQJ                                                    
                                                                                                                                            NDUO 
                                            LWHP            MRLQHG                                    
                                                                                                                                            NDVSDU 
 LQVWUXFWLRQV                                     LWHPV           MRLQW                                
                                                                                                                                            NDVSDUVWRIIHOPD
                                                       M                                                      
                                                                                                                                              
 LQVWUXFWLYH                                                      MRQHV                                
                                                                                               M                              NHDWLQJ 
                                                                                                           
                                                                                                                                    NHHS 
 LQVWUXFWRUV                                                             MRQHVGD\FRP                                 
                                                                                               M M                                       
 LQWHJUDO                                                                                                                            
                                                                                               MDPHV                                   
 LQWHOOLJHQFH              LQYHVWLJDWLRQV         LQYLWH                                  MRVHSK                                  
                                                                                                                             
                                  LQYLWHG                                                                    
                                                                                                                                NHOO\ 
 LQWHQGHG                         LQYROYH                                                                 
                                                                                               MDPHVEHQQHWW                                 
 LQWHUDFW                                                                                                          
                                                                                                                                        NHOO\PRRUH 
                                LQYROYHG                                                                  
                                                                                               MDQVVHQ                            NHSW 
 LQWHUDFWHG                                                                                                
                                                                                               MDQXDU\                                NHWFKXP 
 LQWHUDFWLQJ         LQWHUQHWV                                                                                         
                                                                                               MHIIUH\                                  NH\ 
                    LQWHUSUHW                                                 MRXUQDOLVWV                               
                                                                                               MHIIUH\VLQGHODU                               
 LQWHUDFWLRQ        LQWHUUXSW                                                                                      
                                                                                                                                        NLFNV 
 LQWHUHVWHG                                                                   MU                                  
                                                                                               MHQQLIHU                            NLORJUDPV 
 LQWHUIHUH           LQWHUUXSWHG                                                 MXGJH                                        
                                                                                               MHUVH\                                   
 LQWHUIHUHQFH                                                                     MXGLFLDU\                                 
                                                                                               MPDWWKHZV                                   
                                                                                                                                

                                   9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                  ZZZYHULWH[WFRP                                                           
   Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 99 of 107. PageID #: 248084

>NQRZOHWWHUV@                                                               3DJH    >OHWWHUVPDLQLJL@                                                                3DJH

                       ODZIXOO\                                                  OREE\LQJ          ORRNV 
       NQRZQ           ODZVXLW                        OLPLWHG           ORFDO            ORV 
         NQRZV                                                  OLQGD                   ORVW 
                            ODZ\HU           OHJDOO\                                                        
       N\OH       ODZ\HUV       OHJLVODWHG               OLQH            ORFDWHG           ORW 
                             OHJLVODWLRQ                       ORGJH              
                      O                                                                  
                                                         OLQN               ORGJHG             
                        O 
                                                 OHJLWLPDWH                OLVW              ORJ               ORYHG 
                        OS 
                                OD\                            OLVWHG             ORJDQ              ORZ 
                        ODFN 
                             OHDG                                    ORQJ       ORZHULQJ 
                          
                                  OHDGHU                           OLVWHQ                   OSD 
                          
                                                           OLVWHQHG                      OVLQJHU 
                          
                                                                                 OXQFK 
                          
                             OHDGHUVKLS        OHQQ\                   OLVWLQJ                         
                          
                                                          OHYHO     OLVWV                                  P
                          
                                        OHWWHU                 OLW                 
                        ODFNV                                                                                                                         P 
                                                         OLWLJDWLRQ           ORQJHVW 
                                                                                                                                                         
                                                                          
                        ODGG                                                                                                                          PD DP 
                                                                                   ORRN 
                        ODLG                                                                                                                               PDFKLQHV 
                              OHDGLQJ                 OHYHOV                   
                        ODQG                                                                                                                               PDGDP 
                                  OHDGV                                           
                        ODQLHU                                                                                                                           PDLO 
                                                       OHYHUV                      
                        ODQLHUODZILUPFRP                                                                                                                          
                                OHDUQ                       OHZLV                   
                                                                                                                                                             PDLOV 
                                                                                      
                        ODUGQHU                                                                                                                                 
                                                   OH[LQJWRQ                         
                        ODUJH                                                                                                                              PDLQ 
                               OHDUQHG                 OLDLVRQ          OLWLJDWLRQV           
                                                                                                                                                     PDLQLJL 
                             OHDYH                                                
                                                                                                                                                   
                              OHG                            OLWWOH          
                        ODUU\                                                                                                                              
                                  OHIW                                         
                        ODWH                                                                                                                           
                                                                                  
                        ODZ                                                                                                                              
 NQRZLQJ                                                       OLYLQJVWRQ         ORRNHG 
                                                                                                                                                    
                                                                                
                                                                                                                                                        
 NQRZOHGJH                                                                                     ORRNLQJ 
                                                                                                                                                       
                                                        OLFHQVHG         OOF          
                                                                                                                                                        
                                  OHJDO                 OLFHQVHV                    
                                                                                                                                                       
                                                             OLIH                             
                                                                                                                                                       
                                          OHWWHUV                        OOS          
                                                                                                                                                   
                                                     OLNHZLVH                 
                                                                                                                                                   
                                                 OLPLWDWLRQV                  
                                                                                                                                                       
                                                                
                                                                                                                                                                   
                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                             




>PDLQLJLPDWHULDOV@                                                          3DJH    >PDWWPLVFKDUDFWHUL]HV@                                                          3DJH

                PDQQHU            PDSHV V       PDWW                PHHWLQJV           
                     PDUFK            PDWWHU                                
                                                                       PLFKDHOW\H 
                PDQRU             PDUFXV            PDWWHUV                              PLFURSKRQHV 
              PDQXIDFWXUH                                 PHDQLQJ                     
                 PDQXIDFWXUHU          PDUN                                          PLG 
                                                                   PLGGOH 
                                             PHDQV                    
                                                           PHHWV            PLGZHVW 
                                                   PHJKDQ         
                        PDUNHG                          PHDQW             PHPEHU          PLNH 
                           PDWWKHZ                PHPEHUV            
                                            PDWWKHZODGG           PHGLD        PHPR          PLOGUHG 
       PDLQWDLQ                                                                           PLOGUHGFRQUR\
                                      PDWWKHZV                     PHPRUDQGXP              
                     PDQXIDFWXUHUV                                                              PLOLWDU\ 
           PDLQWDLQHG                    PDWXUHG                   PHPRULDOL]H       PLOOLJUDP 
          PDLQWDLQLQJ                          PDXUHHQ                                         PLOOLJUDPV 
                                   PDUW                                  PHGLFDO            PHPRU\           PLOOLRQ 
           PDMRU                PDU\ODQG           PFFOXUH                     PHPRV             
        PDMRULW\                 PDVVDFKXVHWWV          PFKXJK                                PLQG 
                                       PFKXJKIXOOHUFRP                PHQWLRQHG          
                          PDVWHU                                                        PLQXWH 
                          PFNHVVRQ       PHGLFDWLRQ                     
                                                PLQXWHV 
                                                                    
                                   PFQDPDUD                                          
                                                               PHGLFLQH           PHULGLDQ            
      PDNLQJ                              PG                       PHVVDJH            
                               PGO                          PHVVDJHV         PLVFKDUDFWHUL]DW
                                                     PHHW         PHW        
                   PDQXIDFWXULQJ                 PHDQ                           PLVFKDUDFWHUL]HV
                                                                                
       PDOOLQFNURGW                                            PHWKDGRQH          
                                                                     PHWKRG            
       PDQ         PDSHV                         PHHWLQJ                      
                                                                                     
         PDQDJHPHQW                     PDWHULDO                              PLDPL             
                        PDWHULDOV                                             
                                                                PLFKDHO         
                                                                                                                        

                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                             
 Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 100 of 107. PageID #: 248085

>PLVFKDUDFWHUL]HVQHLWKHU@                                                      3DJH    >QHWREMHFWLRQ@                                                                3DJH

                     PRUWDUV       QDSROL             QHW                              R              
                       PRWOH\       QDSROLODZFRP          QHYHU                 R              
                                                                     R FRQQRU            
 PLVVLQJ                               QDUURZ                                         REMHFWLQJ 
 PLVVLVVLSSL                                  QDWLRQDO                                    REMHFWLRQ 
 PLVVWDWHV                   PRWOH\ULFHFRP                           QRUPDOO\                  
                                                       QRUWKHUQ                       
                         PRXWK             QDWXUH                                         
                   PRYH                                     QRUWKZHVW                   
                          QHDO                    QRWDUL]HG               
                    PRYHG                                       QRWDU\                     
                     PRYHPHQW         QHDU       QHZ                          
                                   QHDUO\                              
                  PRYLQJ            QHFHVVDULO\               QRWH                 
                                                                                      
                     PXHWKLQJ                                        QRWHG               
                         PXOWLGLVWULFW                           QHZVSDSHU                                   
 PLVWDNHQ                                   QHFHVVDU\          QLFKRODV           QRWHV                         
                   PXOWLSOH                    QRGGLQJ                               
                                           QRQFRQWUROOHG                                    
                                QHHG              QRWLFH                
 PLVXQGHUVWRRG                            PXUSK\                     QRQGLVFORVHG                                  
                 PRQLWRUV                                                                               
 PL[HG           PRQWK               PXWH                    QRQH[KDXVWLYH          QRWLFHG           R JRUPDQ            
 PPRQDJKDQ                        P\HUV                                    QRWLILHG                            
 PRGHO                                   Q                       QRQSXEOLF         QRWLI\            R PHOYHQ\           
 PRPHQW        PRQWKV                                                       QVWHSKHQV                              
                                                Q 
                                           QHHGHG                 QXPEHU            RDWK              
                                                QZ 
                 PRRUH                                                          REMHFW        
                                                  
 PRQDJKDQ                                                                                             
                                                QDPH 
               PRUJDQ                                                                     
                                                  
 PRQH\                                                                                            
                                                  
                 PRUJDQOHZLVFRP                                 QHHGV        QRQVXVSLFLRXV                         
                                                  
 PRQLNHUV                                                                                                
                                                  
 PRQLWRU          PRUQLQJ                                               QRUP                                   
                                                  
                                              QRUPDO                                      
                                                  
                                                                    QXPEHUHG                     
                                                QDPHG 
 PRQLWRULQJ       PRUSKLQH                                   QHLJKERUKRRGV                     QXPEHUV                      
                                                QDPHV 
          PRUWDU                                                                                  
                                                  
                                          QHLWKHU                 QXUVHV                       
                                                QDPLQJ 
                                                                                                                     

                                   9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                           




>REMHFWLRQREMHFWLRQV@                                                          3DJH    >REMHFWLRQVRQHV@                                                              3DJH

                                                        RIILFHUV          
                                                              
                                                                       
                                                   RIILFHV         
                                                                      
                              REOLJDWLRQ                       
                                                                
                                                                       
                                      REOLJDWLRQV                                   
                                                   RIILFLDO           
                                                          
                                                     
                                                               
                                                                
                                   REVHUYDWLRQ                             
                                                     RIILFLDOV         
                              REWDLQ                 RK          
                             REWDLQHG                               
                                 REWDLQLQJ                                
                                 REYLRXVO\                 RKLR       
                                  RFFDVLRQV                           
                                                               
                                   RFFXU                                       
                                RFFXUUHG                       RND\          
                                                                 
                                                                 
                                                                           
                                         RFFXUULQJ                       
                                                                       
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                                            RFFXUV                                 
                         REMHFWLRQV          RFWREHU                         
                                                                  
                                                                
                                      RIIHU                     RPPFRP 
                                       RIIHUHG                            RQFH 
                                                                           
                                       RIILFH                                 
                                             RIILFHU                   
                                                                      RQHV 
                                                                           

                                   9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                           
 Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 101 of 107. PageID #: 248086

>RQJRLQJRXJKW@                                                                3DJH    >RXWFRPHSDWWHUQ@                                                             3DJH

 RQJRLQJ                           RUGHULQJ           RXWFRPH           SDJH             SDUWLHV 
                                              RXWOLQHG                        
 RQOLQH                                                               SDUW\ 
                                             RXWVLGH                 SDUDOOHO         SDVV 
 RS             RSLRLGV                                                          SDVVDJH 
 RSDTXH                                              SDUGRQ            
                                                                SDUHQW V         SDVVHG 
 RSHQHG                                                                          
                                               RYHUGRVH                  SDUN          
 RSHQO\                                   RYHUGRVHV                    SDUW      
 RSHUDWH                                               RYHUODS                          SDVVLQJ 
         RSLXP                    RUGHUV                            SDVWH 
             RSSRUWXQLW\                                                                 SDWHQW 
                                   RYHUSUHVFULEHG                                SDWLHQW 
                                                          SDJHV                 
                                   RYHUSUHVFULELQJ                           
 RSHUDWLQJ           RSSRVHG                                         SDLG                SDWLHQWV 
             RSWLRQ                                                             
             RUGHU                     RYHUUXOLQJ                             
                                                                  
 RSHUDWLRQV                            RYHUVHH                          
                                                       SDLQ                 SDWULFN 
 RSHUDWRUV                                     RYHUVLJKW                            
 RSLDWH                                                                 SDWWHUQ 
                           RYHUZKHOPLQJ                             
 RSLQLRQ                                                           
                                                       SDUWLDOO\          
                                 RZQHG                   SDUWLFLSDWH      
                                                SDUWLFLSDWHG      
                                           RZQHU                                 
                                   RUJ               R[IRUG               SDUWLFXODU        
 RSLQLRQV                             RUJDQL]DWLRQ            R[\FRGRQH                               
                                                                  
                                                                    
 RSLRLG                       RUJDQL]DWLRQV                    S                                          
                                                    SDOR                         
                                                                                             S 
                   RULJLQDOO\                                 SDSHU                       
                                                                                             SP 
                                                                                         
                                                                                             SDFHU 
                                RXJKW                                     SDUDJUDSK             
                                                                                               
                RUGHUHG                                                             
                                                                                             SDGJHWW 
                                                                                                     
                                                                                               
                                  9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                ZZZYHULWH[WFRP                                                           




>SDWWHUQSLWWVEXUJK@                                                           3DJH    >SODFHSUHVFULSWLRQ@                                                          3DJH

                             SKDUPDFLVWV        SODFH                       SROVWHU            SUDFWLFHV 
                                                        SRGFDVWV       SRS               
 SDWWHUQV                                                                SRSXODWLRQ       SUDFWLWLRQHUV
                                            SODFHV            SRLQW                
                                SKDUPDF\           SODLQWLII                           SUHFLVHO\ 
 SDXO                                                                                SUHGLFDWH 
 SD\                                SODLQWLII V                 SRUWDO             
                       SKDUPDFHXWLFDOV                                               SRUWHU      SUHIHUV 
                                         SODLQWLIIV             SRVHG            SUHOLPLQDU\
 SD\LQJ                    SKDUPDFLHV                                       
 SEHLVHOO                                                 SRVLWLRQ         SUHSDUDWLRQ 
 SHQGHQF\                                                                  
                                                                         SUHSDUDWLRQV
 SHQGLQJ            SHULRGV                                                
 SHQQV\OYDQLD        SHUVRQ                                               SUHSDUH 
                                                                         SUHSDUHG 
 SHRSOH        SHUVRQDO                            SODQQLQJ                                      
                                                                      SRVLWLRQV       SUHSDULQJ 
                          SKLODGHOSKLD        SODQV                                       SUHVFULEH 
                            SKRQH         SOD\                        SRVVLEOH           
                                                         SRLQWV                    SUHVFULEHG 
                                               SOD\HG                                   SUHVFULEHUV 
                               SKRQHV        SOHDVH                        SRVW          
                         SKUDVH                  SROLFH                     
                             SKUDVHRORJ\                             SUHVFULELQJ
                   SHUVRQDOO\            SK\VLFDO                        SRVWHG        
 SHUFHQW                       SK\VLFLDQ                                                   
                                                 SROLFLHV        SRWHQWLDO       
                            SK\VLFLDQV                                         
                                                 SROLF\                 SUHVFULSWLRQ 
                                                                        
 SHUFHQWDJH        SHUVRQQHO                                         SRZHUSRLQW         
                                    SLFN                                            
 SHUIHFWO\         SHUVRQV             SLFNLQJ                                             
 SHUIRUP           SKDUPD             SLHFH                                   SRZHUSRLQWV             
 SHUIRUPDQFH                                         SLHFHV       SOO                                              
        SKDUPDFHXWLFDO               SLOO              SOOF                         SRZHUV             
                                      SLOOV             SOXV                                      
 SHULRG                       SKDUPDFLVW       SLQSRLQW                              SUDFWLFH          
                         SLWWVEXUJK          SRGFDVW                                
                                                          

                                  9HULWH[W/HJDO6ROXWLRQV                                                                    9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                ZZZYHULWH[WFRP                                                           
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>SUHVFULSWLRQVSURWRFROV@                                                       3DJH    >SURWRFROVTXHVWLRQ@                                                           3DJH

 SUHVFULSWLRQV          SUHYLRXVO\        SUREDEO\          SURFHVVHV                              SUXGHQWLDO                   
                              SURFXUHPHQW         SURYLGH            SXEOLF                       
                                                                              T             
           SULPDULO\                SURGXFH                                                         
                                                                                                                                            TXDOLILFDWLRQ
 SUHVHQW                                                                                            
                                                                                                                                             
                            SURGXFHG                                                       
                                                                                                                                            TXDOLW\ 
            SULPDU\           SUREOHP                                                          
                                                                                                                                            TXDQWLFR 
                                                                                            
                                                                                                                                            TXDQWLWLHV 
 SUHVHQWDWLRQ           SULQWHG                       SURGXFW                                                 
                                                                                                                                             
         SULQWRXW                                                                              
                                                                                                                                            TXDQWLW\ 
          SULRU                     SURGXFWLRQ                    SXEOLFO\                                
                                                                                                                                             
                                                                             
                                                                                                                                            TXDUWHU 
                              SUREOHPV                                                                           
                                                                                                                                            TXHVWLRQ 
 SUHVHQWDWLRQV                               SURGXFWV                   SXEOLVKHG                              
                                                                                                                                             
                                 SURIHVVLRQDO                        SXUFKDVH                              
                                                                                                                                             
                     SURFHGXUH                                                                             
                                                                                                                                             
 SUHVHQWHG                                      SURJUDP           SURYLGHG                                            
                                                                                                                                             
                      SURFHHG                                                                     
                                                                                                                                             
                             SURJUDPV                                                       
                                                                                                                                             
                                                                                         
                                                                                                                                             
                                     SURPRWLRQ                      SXUFKDVHG                                
                                                                                                                                             
 SUHVLGHQW                            SURPSWHG                                                              
                                                                                                                                             
                              SURQRXQFHG                     SXUFKDVHU                              
                                                                                                                                             
 SUHVV             SULRULWLHV                        SURSRVHG                     SXUFKDVHV                             
                                                                                                                                             
 SUHWW\               SURFHHGLQJ                                                                
                                                                                                                                             
                                                                    SXUFKDVLQJ                             
                                                                                                                                             
            SULRULWL]H       SURFHHGLQJV       SURSULHWDU\                                                    
                                                                                                                                             
         SULRUSURG                                                      SXUGXH                              
                                                                                                                                             
                             SURFHVV       SURVHFXWH                                                     
                                                                                                                                             
            SULYDWH                    SURVHFXWLRQ                      SXUSRVH                                
                                                                                                                                             
                                                                                                
                                                                                                                                             
         SULYLOHJH               SURVHFXWRULDO                       SXUSRVHV                                
                                                                                                                                             
                                         SURYLGHV                                           
                                                                                                                                             
                                              SURYLGLQJ         SXUVXDQW                                 
                                                                                                                                             
                                                             SXUVXH                                  
                                                                                                                                             
 SUHYHQW            SULYLOHJHG              SURVHFXWRUV                                                        
                                                                                                                                             
 SUHYHQWLRQ                                                  SXUVXLQJ                               
                                                                                                                                             
 SUHYHQWV                            SURWHFW                                                         
                                                                                                                                             
 SUHYLRXV                              SURWRFROV         SURYLQJ           SXW                               
                                                                                                                                             
                                      SURYLVLRQ                                       
                                                                                                                                             
                                                                                                
                                                                                                                                             
                                  9HULWH[W/HJDO6ROXWLRQV                                                                     9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                           




>TXHVWLRQHUUHFDOO@                                                             3DJH    >UHFDOOUHJLVWUDQWV@                                                           3DJH

 TXHVWLRQHU                                     UHFRPPHQGHG                           UHJLVWHUV 
 TXHVWLRQHUV                                                                      UHIHUHQFHV        
                                                     UHFRUG         UHIHUUHG         UHJLVWUDQW 
 TXHVWLRQLQJ                                                                            
                                                                  UHILOO      
 TXHVWLRQQDLUH          TXRWDV                                          UHIOHFW           
                                                             UHIOHFWHG          
 TXHVWLRQV                                                                                     
                      UHDGLQJ                                UHIOHFWLRQ        
                                                                 UHIOHFWV           
       TXRWDWLRQV                            UHFHLSW                                   
           TXRWH                     UHDG\              UHFHLYH                  UHIXVH        
                           UHDO        UHFHLYHG                                     
                               UHDOL]HG                               UHJ         
           TXRWLQJ                     UHDOO\                           UHJDUGLQJ          
                                                                                           
                    U                                 UHFHLYHV                                
                                                   UHFHLYLQJ                            
                        U 
                                                                                            
                        UDF 
                                          UHDVRQ             UHFHVV                         UHJLVWUDQW V 
                          
                                                                                      
                          
                                                                   UHFRUG V               UHJLVWUDQWV 
                        UDFV 
                                                                     UHFRUGHG                     
                          
                                                                                          
                        UDGLR 
                                                                              UHFRUGLQJ                    
                        UDLVHG 
                                        UHDVRQV           UHFRJQL]H          UHG                       
                        UDQ 
                                               UHFDOO                           UHGUDIWHG                   
                          
                                                       UHFROOHFWLRQ       UHGXFH                     
                        UDQJH 
 TXLFNO\                                                                UHGXFHG                  
                          
                                                                   UHHG                     
                        UDQNLQJ 
                                                                                      UHHGVPLWKFRP                           
                        UDQNV 
 TXLWH                              UDWH                       UHFRPPHQGDWLRQ                         UHJDUGOHVV         
                        UDQQD]]LVL 
                                   UDWLR                            UHHPSKDVL]H                       
                          
                                                                                                  UHJLRQ         
                          
 TXRWD                             UDZ                                            UHIHU                             
                          
                             UHDFK                       UHFRPPHQGDWLRQV                   UHJLVWHUHG         
                          
                                                                      UHIHUHQFH                  
                          
                               UHDFKHG                                                   
                          
                               UHDG                                          
                          
                                                      UHIHUHQFHG                  
                          
                                                                                                  
                          
                                  9HULWH[W/HJDO6ROXWLRQV                                                                     9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                                 ZZZYHULWH[WFRP                                                           
  Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 103 of 107. PageID #: 248088

>UHJLVWUDQWVUHSRUWHU@                                                        3DJH    >UHSRUWHUVULJKW@                                                             3DJH

                          UHPRWHO\            UHSRUWHUV       UHTXLUHPHQWV           UHVSRQVHV         
                                 UHQHH                                                         
                    UHODWHV       UHSDFNDJHU         UHSRUWLQJ                   UHVSRQVLELOLWLHV        
                                       UHSHDW                                  UHYHDOHG 
 UHJLVWUDWLRQ                                                                  
                      UHODWLQJ                                          UHYHDOLQJ 
                                                           UHTXLUHV          UHVSRQVLELOLW\          
 UHJLVWUDWLRQV                   UHODWLRQ                     UHSRUWV                      UHYLHZ 
                                                                                    
 UHJV                       UHODWLRQVKLS     UHSHDWHGO\               UHVHDUFK                      
                                                                                     
                 UHODWLYH        UHSHDWLQJ                UHVHQG                       
 UHJXODU                                                        UHVLGHQW      UHVSRQVLEOH        
                     UHOD\            UHSKUDVH           UHSUHVHQW                     
 UHJXODUO\       UHJXODWRUV        UHOHDVH                                                       
 UHJXODWHG        UHJXODWRU\        UHOHDVHG          UHSRUW                                    UHYLHZHG 
                                                                         UHVSRQVLEO\             
                         UHOHDVHV                    UHSUHVHQWDWLYHV       UHVROYHG                    
 UHJXODWLRQ               UHOHDVLQJ                                                      
                   UHOHYDQW                      UHSUHVHQWLQJ          UHVRXUFHV                   UHYLHZLQJ 
                                                               UHVWDWH            
                   UHOLHI                 UHSUHVHQWV                  UHVXOW           UHYRNH 
                                                                                                    ULFH 
       UHLQIRUFH        UHOLHYHUV                  UHTXHVW       UHVSHFW           UHVXOWV           
                UHO\                                                     
                     UHPDLQ                                       UHVXPH            
      UHLQIRUFHG                        UHTXHVWHG                  UHWDLO         ULFKDUG 
        UHLQIRUFHPHQW          UHPDLQGHU                         UHTXLUH                                ULFN 
                           UHPHPEHU         UHSRUWHG                     UHVSHFWLYH                  ULG 
          UHLQIRUFHV                                UHVSRQGHG         UHWDLQHG       ULJKW 
      UHLQIRUFLQJ                               UHTXLUHG                                       
                                              UHVSRQVH          UHWLUHG           
      UHODWH                                                             
          UHODWHG                 UHSRUWHU                            UHWUDFW           
                                                       UHWXUQ             
                                                       UHWXUQHG           
                                                                               
                                       UHTXLUHPHQW                    UHYHDO        
 UHJXODWLRQV                                                          
                                                                                  
                                                                                                              

                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                          




>ULJKWVFRSH@                                                                 3DJH    >VFRSHVKDNLQJ@                                                               3DJH

               UXOHV                                              
                                                VFRUQHOO                    VHQWHQFH 
                UXOLQJ                                     VFRWW         VHHLQJ          
                       UXOLQJV          VD\V                                                   
                     UXQ                             VFRXUJH                             
                                                                           VHHN              
                UXQQLQJ                           VFULSW            VHHNHUV          VHQWHQFHV 
                                              VHDO      VHHNLQJ           
                                             VHFRQG                       VHSDUDWH 
                                                       VHHQ       
                                                         
                UXQV                                                    VHSDUDWHO\ 
                 UXUDO           VFHQDULR                                          VHSWHPEHU 
                UXVVR         VFKHGXOH                           VHJPHQW            
       UROH                                                            
                     U[           VFKHGXOHG                       VHJPHQWV          
                U\DQ         VFLHQWLILF                VHFWLRQ        VHOHFWHG           
                                                                           VHULHV 
                                                                 VHOO               
                      VFRSH                    VHOOLQJ      VHULRXV 
                                   V                                                    VHUYHG 
          URRP                                                                 VHPLV\QWKHWLF         VHUYLFH 
                                              V 
           URSHV                                                                               
                                                
        URSHVJUD\FRP                                                               VHQDWH          VHUYLFHV 
                                                
                                                                                    VHVVLRQV 
                                              VDF 
       URVHQEHUJ                                                                 VHQG           VHW 
                                              VDFV 
                                                         VHFWLRQV                 
                                              VDIH 
       URVHQEHUJ V                                                                    VHQGLQJ           
                                              VDJXLQLJD 
 ULSHQHG         URWDWHG                                                   VHH                     
                                              VDOH 
 ULVHV                                                                          VHQLRU             
                                              VDOHV 
 ULWH        URWKVFKLOG                                                                     
                                                
      URXJKO\                                                     VHQVH         
                                                
           UXL]                                                                  
                                              VDUD 
 UQLFKRODV         UXOH                                                                       VHWV 
                                              VDW 
 URDG                                                                    VHQVLWLYH           
                                                
 UREHUW                                                              VHQW          VHWWLQJ 
                                              VDWHOOLWH 
 UREHUWR                                                                                   
                                              VDZ 
 URJXH                                                                               
                                                
      UXOHPDNLQJ                                                                 VHYHQ 
                                                
                                                                                    VKDNLQJ 
                                              VD\LQJ 
                                                                                
                                                
                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                          
  Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 104 of 107. PageID #: 248089

>VKDQQRQVLQJHU@                                                               3DJH   >VLQJHUVSHFLDO@                                                               3DJH

 VKDQQRQ            VKRZV                                     VLW                      
 VKDSLUD       VKXW                                                             
 VKDSLUDFRP                                                        VOLGH     VRUWV 
 VKDUH                                                 VLWH             VRXQG 
            VLF                                                             
 VKDUHG           VLGH                                        VOLGHV          
 VKHHW                                                 VOLJKW           VRXQGV 
                                                               VORZ           
 VKLIWHG         VLJQ                                                        VPDOO            VRXUFH 
        VLJQDWXUH                                VLWHV                               VRXUFHV 
                                                       VLWV              VPDOOHU          
 VKLS                                                      VLWWLQJ      VPFOXUH              
         VLJQHG                                      VPLWK         VRXWK 
 VKLSSHG                                                             VRXWKZRRG 
                                                                       VROG          
 VKLSSLQJ          VLJQLILFDQW                                                                         
 VKNROQLN                                            VLQJOH           VLWXDWHG         VROHO\             
                  VLJQLILFDQWO\                                    VLWXDWLRQ         VROXWLRQV           
 VKRUW        VLJQLQJ                      VLU                     
                                                                               VSDHGHU 
            VLJQV                                                          VRPHERG\          VSHDN 
            VLPLODU                                VLWXDWLRQV                 
            VLPSOH                                      VL[                           
                  VLPSO\                                          VRPHZKDW         VSHDNHU 
 VKRUWDJH                                                     VL]H        VRRQ               
                   VLQFHUHO\                                          VRUU\       VSHDNLQJ 
 VKRUWDJHV         VLQGHODU                                                    
       VLQJHU                                                         
 VKRUWKDQG                                                                      
                                                                             
 VKRUWO\                                                             VSHFJ[ 
 VKRXOGHUV                                                               
 VKRZ                                                      VSHFLDO 
                                                             
                                                                
 VKRZHG                                                         
                                                                      
                                                               
 VKRZQ                                                            
                                                           VRUW         
                                                                                

                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                           




>VSHFLDOVWHSKHQV@                                                             3DJH   >VWHSKHQVVXUH@                                                                3DJH

             VWDUV                               VWUDLJKW         VXEVWDQFHV        VXLQJ 
                 VWDUW                        VWUDLJKWIRUZDUG                  
                                                         VXLWH 
                                                        
                                                                           
                                                                  VXPPDWLRQ 
                                           VWUDZ                      VXPPLW 
                                                                VXSHULRU 
            VWDUWHG           VWDWXWH                     VWUHHW                  VXSHUYLVH 
                                                             VXSHUYLVHG 
                                                        
                                                               VXSHUYLVLQJ
                                        VWUHWFK                        
                     VWDUWV                                       VWULFWO\               VXSHUYLVRU 
 VSHFLILF                      VWDWXWRU\             VWULNH                 VXSHUYLVRUV
                           VWDWH                                                  
        VSHHFK                      VWD\                      VWURQJO\                   VXSHUYLVRU\ 
           VSHQW                      VWHS                    VWUXFWXUHV        VXEVWDQWLDOO\          VXSSOLHG 
             VSRNH                      VWHSKDQ                                                VXSSOLHU 
                                            VWHSKHQV               VXE                         VXSSO\ 
            VSRNHQ          VWDWHG                       VXEFRPPLWWHH                   
                                                                              
         VTXDG                                                                        
                            VWDWHPHQW                    VXEMHFW                       
          VTXDGV                                                       
                                                                      VXSSO\LQJ 
         VTXDUH                                VXEMHFWV           VXEVWLWXWH       VXSSRUW 
                   VVKNROQLN                                  VXEPLVVLRQ       VXFFHVVIXO          
 VSHFLILFDOO\      VWDII                          VWHSV           VXEPLWV                             VXSSRVHG 
                                      VWRIIHOPD\U       VXEPLWWHG         VXFFLQFW            
                                                                       VXGGHQ              
 VSHFLILFLW\                            VWROHQ            VXEVFULEHG              VXUH 
 VSHFXODWH                                        VWRQH                            
            VWDPSHG          VWDWHPHQWV             VWRRG           VXEVHW            VXIIHUV            
 VSHFXODWLRQ        VWDQG                              VWRS        VXEVWDQFH         VXJJHVW            
       VWDQGDUG                                                                   
           VWDQGDUGV                           VWRSSHG                VXJJHVWHG          
                                                                                  
         VWDQGSRLQW       VWDWHV           VWRSSLQJ                 VXJJHVWLQJ         
        VWDQGV                          VWRUHV                      VXJJHVWV             
                                                                                                                 

                                 9HULWH[W/HJDO6ROXWLRQV                                                                   9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                               ZZZYHULWH[WFRP                                                           
  Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 105 of 107. PageID #: 248090

>VXUHWDNHV@                                                                 3DJH    >WDONWKLQN@                                                                 3DJH

                                WDON                 WHVW        
                                            WHOHYLVLRQ                          
                            V\VWHPV                       WHOO       WHVWLILHG          
                                                                        
                                  WDONHG                       
                                                            
                                                             
                                                                
                                                WHVWLILHV          
                                                 WHVWLI\      
                                   W                                             
                                              WDONLQJ                            
                                                                   W 
                                                                                    
                                                                   WDEOHW 
                                                                WHVWLI\LQJ        WHYD 
                                                                   WDEOHWV 
                                                                               WH[W 
                                                                     
                   VZHDU                                             WHOOLQJ                    WKDQN 
                                                                   WDFWLFDO 
                VZLWFK                                                              
                                                                     
                                                                                
                                                                   WDNH 
                      VZLWFKHG                                          WHQ                
                                                                     
                 VZRUQ                                                          
                                                                     
                                                        WHQWK                             
                                                                     
 VXUSULVH                                                        WHQXUH           WHVWLPRQ\           
                                                                     
                         V\QWKHWLF                                                                   
                                                                     
 VXUYH\                V\VWHP                                   WDUJHW                            
                                                                     
                                               WDUJHWHG                          WKDQNV 
                                                                     
                                                WDVN                          WKHUHDERXWV 
                                                                     
 VXUYH\V                                                                                WKLQJ 
                                                                     
 VXVSHFWHG                                               WDVNV           WHUP                  WKLQJV 
                                                                     
 VXVSHQG                                          WDXJKW                            
                                                                     
 VXVSHQGV                                           WGV                             
                                                                     
 VXVSHQVLRQ                                           WHDP                         
                                                                     
                                                                WHUPLQRORJ\                       
                                                                   WDNHQ 
 VXVSLFLRQ                                                                        
                                                                     
                                                    WHFKQLFDOO\                         WKLQN 
                                                                     
 VXVSLFLRQV                                             WHFKQLTXHV                               
                                                                     
 VXVSLFLRXV                                               WHFKQRORJ\       WHUPV                    
                                                                     
                                                                        
                                                                     
                                                 WHHG                                  
                                                                     
                                              WHHV                                    
                                                                   WDNHV 
                                          WHOHFRQIHUHQFH                                    
                                                                     
                                                                                        

                                9HULWH[W/HJDO6ROXWLRQV                                                                  9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                         




>WKLQNWRWDO@                                                                3DJH    >WRZHUXQGHUVWRRG@                                                           3DJH

        WKRXVDQG                WLPLQJ             WRZHU        WUDQVFULSWLRQ                       X
          WKUHDW                                  WRZQ                                       XV 
      WKUHDWV                  WLWOH      WRZQV             WUDQVFULSWV                
           WKUHH                         WUDFN            WUDQVIHUUHG                 
                                       WUDFWLRQ        WUDQVLWLRQ                          
                                        WUDGH                            WXFNHU              
                       WLWOHG                         WUHDW       WXFNHUHOOLVFRP         
                             WRGD\          WUDGLQJ                                             
                                    WUDIILF      WUHDWHG          WXUQ         XVF 
                                  WUDIILFNLQJ       WUHDWPHQW                      
            WLPH                                 WUHQGV                  
                                 WUDLQ                                         XK 
                             WUDLQHG         WULDO     WXUQHG             
                                                                           
                                          WULHG           WY                XOWLPDWH 
                                                         WZR        XQGHUQHDWK 
                                  WUDLQLQJ        WULJJHU                     XQGHUVWDQG 
                                       WULJJHUV                   
                                        WUXFN                         
                                                   WUXH                   
                          WRGD\ V                                    
                                                                    
                             WROG                               
                                                 
                                                              
                              WUDQVDFWLRQ                          
 WKLQNLQJ                                                       
                                                                              
 WKLUG                                          WUDQVDFWLRQV              W\H        
                                               W\SH         
                                                                    XQGHUVWDQGLQJ
 WKLUW\                  WRQH                   WUXO\                
 WKRPDV                                           WUDQVFULEHG                                 
 WKRUQEXUJ                         WRROV              WUDQVFULSW       WUXWK                 
 WKRXJKW                                  WRS                        W\SHV        
                    WLPHO\                             WUXWKIXOO\                   
                           WRSLF                 WU\                    
                    WLPHV                                                     
                            WRWDO              WU\LQJ     W\SLFDOO\     XQGHUVWRRG 
                                                                                       
                                                                                                                  
                                9HULWH[W/HJDO6ROXWLRQV                                                                  9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                              ZZZYHULWH[WFRP                                                         
 Case: 1:17-md-02804-DAP Doc #: 1983-17 Filed: 07/24/19 106 of 107. PageID #: 248091

>XQGHUVWRRGYDJXH@                                                         3DJH    >YDJXHZHQW@                                                                3DJH

                                             YDULRXV           YLHZHG           
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                                                                 
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                                               YDU\            YROXPH          ZDVWH 
 XQLQWHUUXSWHG                                       YDVW                       ZDWFK 
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 XQLW       XQXVXDOO\                                                Z             
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      XVGRMJRY                  XWWHU V                                               
                                                                                                                                     ZDOJUHHQ 
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                                                                  YDJXH                                                  ZDONHU 
                                                          YHUVLRQV                              ZH YH 
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                  XVHIXOQHVV                                                                                      
                                                                                                                          
 XQLWV           XVHV                                                     YHWWHG                                  
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                 XVXDO                                                YHWWLQJ                                
                                                                                                                         
 XQSDFNDJH        XVXDOO\                                               YLGHR                                
                                                                                                                    ZDQW 
 XQTXRWH         XWLOL]HG                                                   YLGHRJUDSKHU                             ZHE 
                                                                                                                        
 XQXVXDO          XWWHU                                                                        
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                                                                                                                       
                                                                                       ZHEVLWH 
                                                                                                                        ZDQWHG 
                                                                                      ZHEVLWHV 
                                                                                                                          
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                                                                                                                     ZDQWV 
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                                                                                                                           
                                           YDOLG                                         ZHQW 
                                                                                                                         ZDUH 
                                            YDOXH            YLGHRWDSHG                               
                                                                                                                         ZDUUDQW 
                                            YDULHG                                   
                                                                                                                    ZDUULQJWRQ 
                                                  YDULHW\          YLHZ                             
                                                                                                                        ZDVKLQJWRQ 
                                                                                               
                                                                                                                       
                                9HULWH[W/HJDO6ROXWLRQV                                                                9HULWH[W/HJDO6ROXWLRQV
 ZZZYHULWH[WFRP                                                            ZZZYHULWH[WFRP                                                         




>ZHQWZLWQHVV@                                                             3DJH    >ZLWQHVV]XFNHUPDQFRP@                                                     3DJH

                                                             ZURWH              ]
 ZHVW                                      ZRUGLQJ                  ]XFNHUPDQ 
                                                   ZRUGV                        
 ZKLGGRQ                                                                     [          ]XFNHUPDQFRP
 ZKLVSHULQJ                                        ZRUN                              
                                                                                                                                     [DQD[ 
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                                                              \
 ZKROHVDOH                                               \HDK 
 ZLFKW                                                     
 ZLGH                                                      
 ZLOOLDP                                                     
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 ZLOOLDPV                                               
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                                                            \HDU 
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 ZLQFNHO                                        ZRUVH              
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 ZLWKGUHZ                                       ZULJKW        \HDUV 
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                                                                       VERITEXT LEGAL SOLUTIONS
                                                             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT
            )HGHUDO5XOHVRI&LYLO3URFHGXUH
                                                         Veritext Legal Solutions represents that the
                         5XOH                         foregoing transcript is a true, correct and complete
                                                         transcript of the colloquies, questions and answers
                                                         as submitted by the court reporter. Veritext Legal
   H 5HYLHZ%\WKH:LWQHVV&KDQJHV                    Solutions further represents that the attached
                                                         exhibits, if any, are true, correct and complete
    5HYLHZ6WDWHPHQWRI&KDQJHV2QUHTXHVWE\WKH   documents as submitted by the court reporter and/or
                                                         attorneys in relation to this deposition and that
  GHSRQHQWRUDSDUW\EHIRUHWKHGHSRVLWLRQLV          the documents were processed in accordance with
                                                         our litigation support and production standards.
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  DIWHUEHLQJQRWLILHGE\WKHRIILFHUWKDWWKH          Veritext Legal Solutions is committed to maintaining
                                                         the confidentiality of client and witness information,
  WUDQVFULSWRUUHFRUGLQJLVDYDLODEOHLQZKLFK         in accordance with the regulations promulgated under
                                                         the Health Insurance Portability and Accountability
   $ WRUHYLHZWKHWUDQVFULSWRUUHFRUGLQJDQG         Act (HIPAA), as amended with respect to protected
                                                         health information and the Gramm-Leach-Bliley Act, as
   % LIWKHUHDUHFKDQJHVLQIRUPRUVXEVWDQFHWR     amended, with respect to Personally Identifiable
  VLJQDVWDWHPHQWOLVWLQJWKHFKDQJHVDQGWKH          Information (PII). Physical transcripts and exhibits
                                                         are managed under strict facility and personnel access
  UHDVRQVIRUPDNLQJWKHP                               controls. Electronic files of documents are stored
                                                         in encrypted form and are transmitted in an encrypted
    &KDQJHV,QGLFDWHGLQWKH2IILFHU V&HUWLILFDWH   fashion to authenticated parties who are permitted to
                                                         access the material. Our data is hosted in a Tier 4
  7KHRIILFHUPXVWQRWHLQWKHFHUWLILFDWHSUHVFULEHG   SSAE 16 certified facility.
  E\5XOH I    ZKHWKHUDUHYLHZZDVUHTXHVWHG
                                                         Veritext Legal Solutions complies with all federal and
  DQGLIVRPXVWDWWDFKDQ\FKDQJHVWKHGHSRQHQW      State regulations with respect to the provision of
                                                         court reporting services, and maintains its neutrality
  PDNHVGXULQJWKHGD\SHULRG                        and independence regardless of relationship or the
                                                         financial outcome of any litigation. Veritext requires
                                                         adherence to the foregoing professional and ethical
                                                         standards from all of its subcontractors in their
                                                         independent contractor agreements.
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                                                         Inquiries about Veritext Legal Solutions'
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                                                         should be directed to Veritext's Client Services
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